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10                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
11                                   SAN FRANCISCO DIVISION
12
      MONTEVILLE SLOAN, JR., RAUL                        Case No.: 16-cv-07244-EMC
13    SIQUEIROS, JOSEPH BRANNAN, LARRY
      GOODWIN, TED EDGECOMB, MARC                        FIRST AMENDED
14    PERKINS, DONALD LUDINGTON, THOMAS                  CLASS ACTION COMPLAINT
      SHORTER, DERICK BRADFORD, GABRIEL
15    DEL VALLE, KEVIN HANNEKEN, GAIL                    JURY TRIAL DEMANDED
16    LANNOM, BRADLEY K. ZIERKE, DAN
      MADSON, JAMES FAULKNER, JOSEPH
17    OLIVIER, SCOTT SMITH, ROSS DAHL,
      DREW PETERSON, MICHAEL WARE,
18    STEVE KITCHEN, JOHN NEUBAUER,
      BARBARA MOLINA, STEVEN EHRKE, BILL
19
      MAUCH, THOMAS GULLING, RONALD
20    JONES, MIKE WARPINSKI, JOHN
      GRAZIANO, JOSHUA BYRGE, RUDY
21    SANCHEZ, CHRISTOPHER THACKER,
      RANDY CLAUSEN, JAMES ROBERTSON,
22    and JONAS BEDNAREK, individually and on
23    behalf of all others similarly situated,

24          Plaintiffs,

25           v.
26
      GENERAL MOTORS LLC,
27
            Defendant.
28

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 1          Plaintiffs Monteville Sloan Jr., Raul Siqueiros, Joseph Brannan, Larry Goodwin, Ted
 2   Edgecomb, Marc Perkins, Donald Ludington, Thomas Shorter, Derick Bradford, Gabriel Del Valle,
 3   Kevin Hanneken, Gail Lannom, Bradley K. Zierke, Dan Madson, James Faulkner, Joseph Olivier, Scott
 4   Smith, Ross Dahl, Drew Peterson, Michael Ware, Steve Kitchen, John Neubauer, Barbara Molina,
 5   Steven Ehrke, Bill Mauch, Thomas Gulling, Ronald Jones, Mike Warpinski, John Graziano, Joshua
 6   Byrge, Rudy Sanchez, Christopher Thacker, Randy Clausen, James Robertson, and Jonas Bednarek
 7   (collectively, “Plaintiffs”), individually and on behalf of the other members of the below-defined
 8   nationwide and statewide classes they respectively seek to represent (collectively, the “Class”), hereby
 9   allege against Defendant General Motors LLC (“GM” or “Defendant”), upon personal knowledge as to
10   themselves and their own acts, and as to all other matters upon information and belief, based upon the
11   investigation made by the undersigned attorneys, as follows:
12                                     I.     NATURE OF THE CASE
13          1.     This class action lawsuit is brought by Plaintiffs seeking damages and equitable relief
14   individually and on behalf of the other Class members, each of whom purchased or leased one or more
15   model year 2010-2013 GM vehicles fitted with GM’s defective Generation IV 5.3 Liter V8 Vortec
16   5300 engines (the “Generation IV Vortec 5300 Engines”).
17          2.     GM made the Generation IV Vortec 5300 Engine available as an engine option in the
18   following vehicles:
19                    2010-2013 Chevrolet Avalanche;
20                    2010-2012 Chevrolet Colorado;
21                    2010-2013 Chevrolet Express 1500;
22                    2010-2013 Chevrolet Silverado 1500;
23                    2010-2013 Chevrolet Suburban;
24                    2010-2013 Chevrolet Tahoe;
25                    2010-2013 GMC Canyon;
26                    2010-2013 GMC Savana 1500;
27                    2010-2013 GMC Sierra 1500;
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 1                       2010-2013 GMC Yukon; and
 2                       2010-2013 GMC Yukon XL.
 3   Those vehicles listed above in which the Defective Engines were installed are defined herein as the
 4   “Class Vehicles.”1
 5            3.     As more fully explained below, the Class Vehicles were engineered to fail. GM failed
 6   to disclose the truth about these vehicles and failed to remedy the well-established defects in the Class
 7   Vehicles that were on the road.
 8            4.     In 2006, for its model year 2007 vehicles, General Motors Corporation (“Old GM”)
 9   introduced its redesigned Generation IV Vortec 5300 Engine and installed it in many of its most
10   popular vehicles, as listed above.
11            5.     Unfortunately, the Generation IV Vortec 5300 Engine consumes an abnormally and
12   improperly high quantity of oil that far exceeds industry standards for reasonable oil consumption.
13   This excessive oil consumption results in low oil levels, insufficient lubricity levels, and corresponding
14   internal engine component damage.
15            6.     On June 8, 2009, Old GM filed for protection under Chapter 11 of the United States
16   Bankruptcy Code. Defendant GM acquired its assets and, for model years 2010-2013, continued
17   manufacturing and selling Chevrolet and GMC vehicles equipped with the Generation IV Vortec 5300
18   Engines.2
19            7.     The excessive oil consumption problem in the Generation IV Vortec 5300 Engines is
20   caused by defective low-tension oil control rings that GM installed within those engines (the “Low-
21   Tension Oil Rings”). The Low-Tension Oil Rings were designed to reduce tension between the oil
22   rings and the cylinder walls. GM ostensibly installed the Low-Tension Oil Rings to improve fuel
23   economy, horsepower, and torque by reducing friction between the oil rings and the cylinder walls.
24   This oil ring design, however, improperly allows engine oil to travel past the pistons and enter the
25

26   1
         “Class Vehicles” are only vehicles produced after GM emerged from bankruptcy on July 10, 2009.
27   2
      Plaintiffs do not assert any claims against Old GM, nor were any of the Class Vehicles manufactured
     by Old GM.
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 1   engine’s combustion chambers, where it is either consumed in the combustion process, or it hardens
 2   and accumulates therein. This defect is referred to herein as the “Low-Tension Oil Ring Defect.”
 3           8.      Exacerbating the excessive oil loss and concomitant engine damage problems caused by
 4   the Low-Tension Oil Ring Defect in the Class Vehicles is GM’s implementation of a defective Oil Life
 5   Monitoring System in each of those vehicles that fails to advise drivers of insufficient oil in their
 6   vehicles until those levels are critically low.
 7           9.      Despite its name, GM’s Oil Life Monitoring System does not monitor oil level. Rather,
 8   it monitors engine conditions, such as revolutions and temperature, to calculate the expected
 9   deterioration in oil quality and thus the time for a recommended oil change. The Oil Life Monitoring
10   System’s adaptive change intervals do not take into account oil level. The result is a system that directs
11   drivers to travel thousands of miles with inadequate lubricity levels, wearing out and damaging moving
12   internal engine components – a particularly serious problem in light of the fact that the Low-Tension
13   Oil Ring Defect causes improper and excessive oil loss in each of the Class Vehicles.
14           10.     GM has attempted stop-gap fixes of the excessive oil loss problem in the Class Vehicles
15   by remedying defects associated with the Generation IV Vortec 5300 Engines’ positive crankcase
16   ventilation (“PCV”) system and Active Fuel Management (“AFM”) system. Those tangential fixes,
17   however, failed to solve the excessive oil loss problem arising from the Low-Tension Oil Rings defect
18   that has plagued – and continues to plague – each of the Class Vehicles.
19           11.     Significantly, GM’s own conduct confirms the defective nature of the Low-Tension Oil
20   Rings in each of the Class Vehicles. Beginning with its model year 2014 vehicles, GM scrapped the
21   Generation IV Vortec 5300 Engine it installed and implemented in the Class Vehicles and replaced it
22   with a materially redesigned Generation V Vortec 5300 engine, which was designed and intended to
23   remedy the excessive oil consumption problem plaguing the Class Vehicles. As part of that 2014
24   model year overhaul, GM abandoned its Low-Tension Oil Ring debacle and retuned to using standard
25   tension oil rings – while, at the same time, reintroducing an oil level sensor.
26           12.     While GM’s 2014 Model Year redesign of its Generation V Vortec 5300 engines
27   confirms the prior defects and may benefit subsequent purchasers and lessees of those vehicles, it did
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 1   nothing for the owners and lessees of the Class Vehicles, namely, Plaintiffs and the other Class
 2   members. Those people remain saddled with their defective Generation IV Vortec 5300 Engines with
 3   no relief from GM.
 4           13.        GM has long known of the excessive oil consumption problem within the Generation IV
 5   Vortec 5300 Engines caused by the Low-Tension Oil Ring Defect and the resulting engine damage.
 6   Despite this knowledge, GM has never disclosed the defects in the Generation IV Vortec 5300 Engines
 7   to consumers. Rather, GM has allowed drivers of the Class Vehicles to continue driving those vehicles,
 8   despite knowing that they are consuming oil at an abnormally high rate, and has continued allowing
 9   drivers of the Class Vehicles to rely on the Oil Life Monitoring System, despite knowing that they were
10   driving well past the point at which their vehicles have consumed the amount of oil necessary for
11   proper engine lubrication and proper operation.          The result is Class Vehicles that suffer internal
12   component wear and eventual engine failure due to unacceptable heat and friction levels caused by the
13   Low-Tension Oil Ring Defect.
14           14.        Each current or former purchaser or lessee of a Class Vehicle paid for a vehicle fitted
15   with a defective engine that consumed an abnormally high volume of oil, subjecting their vehicles to
16   the problems described herein.           Each of these current and/or former owners and/or lessees were
17   damaged in that they paid more for their Class Vehicles than they would have paid had they known
18   about the defect that GM failed to disclose, or they would not have purchased or leased their Class
19   Vehicles at all.
20                                      II.      JURISDICTION AND VENUE
21           15.        This Court has diversity jurisdiction over this action under 28 U.S.C. §§ 1332(a) and (d)
22   because the amount in controversy for the Class exceeds $5,000,000 and Plaintiffs and one or more of
23   the other Class members are citizens of a different state than Defendant.
24           16.        This Court has personal jurisdiction over GM because GM has purposefully availed
25   itself of the privilege of conducting business in the State of California by advertising and selling its
26   manufactured vehicles (including the Class Vehicles) within the State of California. Additionally, GM
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 1   has maintained systematic and continuous business contacts with the State of California and is
 2   registered to conduct business in this State.
 3           17.    Venue is proper in this District under 28 U.S.C. § 1391 because GM is deemed to reside
 4   in any judicial district in which it is subject to personal jurisdiction. Additionally, Plaintiff Sloan Jr.
 5   resides in this District, and GM has marketed, advertised, sold, and leased Class Vehicles within this
 6   District.
 7                                               III.   PARTIES
 8   A.      Plaintiffs
 9           1.     California
10           18.    Raul Siqueiros is a resident of Vallejo, California.
11           19.    Mr. Siqueiros owns a 2011 Chevrolet Silverado, equipped with a Generation IV Vortec
12   5300 Engine. Mr. Siqueiros purchased his Silverado new from Team Chevrolet Cadillac in Vallejo,
13   California.
14           20.    GM failed to disclose the Low-Tension Oil Ring Defect to Mr. Siqueiros before he
15   purchased his Silverado, despite GM’s knowledge of the defect, and Mr. Siqueiros, therefore,
16   purchased his Silverado with the incorrect understanding that it would be a reliable vehicle.
17           2.     Alabama
18           21.    Joseph Brannan is a resident of Columbus, Georgia.
19           22.    Mr. Brannan owns a 2010 GMC Yukon, equipped with a Generation IV Vortec 5300
20   Engine. Mr. Brannan purchased his Yukon in 2011 used with 29,168 miles from Joe V. Clayton
21   Chevrolet, located at 327 Brindlee Mountain Parkway, Arab, Alabama.
22           23.    GM failed to disclose the Low-Tension Oil Ring Defect to Mr. Brannan before he
23   purchased his Yukon, despite GM’s knowledge of the defect, and Mr. Brannan, therefore, purchased
24   his Yukon with the incorrect understanding that it would be a reliable vehicle.
25           3.     Arkansas
26           24.    Larry Goodwin is a resident of Mabelvale, Arkansas.
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 1          25.     Mr. Goodwin owns a 2011 Chevrolet Silverado 1500 equipped with a Generation IV
 2   Vortec 5300 Engine. Mr. Goodwin purchased his Silverado new in 2010 from Landers Chevrolet in
 3   Benton, Arkansas.
 4          26.     GM failed to disclose the Low-Tension Oil Ring Defect to Mr. Goodwin before he
 5   purchased his Silverado, despite GM’s knowledge of the defect, and Mr. Goodwin, therefore,
 6   purchased his Silverado with the incorrect understanding that it would be a reliable vehicle.
 7          4.      Colorado
 8          27.     Ted Edgecomb is resident of Monument, Colorado.
 9          28.     Mr. Edgecomb owns a 2011 Chevrolet Silverado, equipped with a Generation IV Vortec
10   5300 Engine.    Mr. Edgecomb purchased his Silverado new in 2011 from Century Chevrolet in
11   Broomfield, Colorado.
12          29.     GM failed to disclose the Low-Tension Oil Ring Defect to Mr. Edgecomb before he
13   purchased his Silverado, despite GM’s knowledge of the defect, and Mr. Edgecomb, therefore,
14   purchased his Silverado with the incorrect understanding that it would be a reliable vehicle.
15          5.      Delaware
16          30.     Marc Perkins is resident of Stafford, Virginia.
17          31.     Mr. Perkins owns a 2011 Chevrolet Avalanche, equipped with a Generation IV Vortec
18   5300 Engine. Mr. Perkins purchased his Avalanche new in 2011 from Porter Chevrolet in Newark,
19   Delaware.
20          32.     GM failed to disclose the Low-Tension Oil Ring Defect to Mr. Perkins before he
21   purchased his Avalanche, despite GM’s knowledge of the defect, and Mr. Perkins, therefore, purchased
22   his Avalanche with the incorrect understanding that it would be a reliable vehicle.
23          6.      Florida
24          33.     Donald Ludington is a resident of Palm Harbor, Florida.
25          34.     Mr. Ludington owns a 2010 Chevrolet Tahoe, equipped with a Generation IV Vortec
26   5300 Engine. Mr. Ludington purchased his Tahoe used with 30,000 miles in 2012 from Dimmit
27   Chevrolet, located at 25485 U.S. Highway 19, Clearwater, Florida.
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 1          35.     GM failed to disclose the Low-Tension Oil Ring Defect to Mr. Ludington before he
 2   purchased his Tahoe, despite GM’s knowledge of the defect, and Mr. Ludington therefore purchased
 3   his Tahoe with the incorrect understanding that it would be a reliable vehicle.
 4          36.     Thomas Shorter is a resident of Okeechobee, Florida.
 5          37.     Mr. Shorter owns a 2011 Chevrolet Silverado, equipped with a Generation IV Vortec
 6   5300 Engine. Mr. Shorter purchased his Silverado new from Gilbert Chevrolet in Okeechobee, Florida.
 7          38.     GM failed to disclose the Low-Tension Oil Ring Defect to Mr. Shorter before he
 8   purchased his Silverado, despite GM’s knowledge of the defect, and Mr. Shorter, therefore, purchased
 9   his Silverado with the incorrect understanding that it would be a reliable vehicle.
10          7.      Georgia
11          39.     Derick Bradford is a resident of Bainbridge, Georgia.
12          40.     Mr. Bradford owns a 2010 Chevrolet Silverado 1500 equipped with a Generation IV
13   Vortec 5300 Engine. Mr. Bradford purchased his Silverado used with 70,000 miles in 2014 from
14   Action GM in Bainbridge, Georgia.
15          41.     GM failed to disclose the Low-Tension Oil Ring Defect to Mr. Bradford before he
16   purchased his Silverado, despite GM’s knowledge of the defect, and Mr. Bradford, therefore, purchased
17   his Silverado with the incorrect understanding that it would be a reliable vehicle.
18          8.      Idaho
19          42.     Gabriel Del Valle is a resident of Antelope, California.
20          43.     Mr. Del Valle owns a 2013 Chevrolet Avalanche, equipped with a Generation IV Vortec
21   5300 Engine. Mr. Del Valle purchased his Avalanche used with 40,000 miles in February 2016 from
22   Peterson Chevrolet Buick Cadillac, located at 12300 West Fairview Ave, Boise, Idaho.
23          44.     GM failed to disclose the Low-Tension Oil Ring Defect to Mr. Del Valle before he
24   purchased his Avalanche, despite GM’s knowledge of the defect, and Mr. Del Valle, therefore,
25   purchased his Avalanche with the incorrect understanding that it would be a reliable vehicle.
26          9.      Illinois
27          45.     Kevin Hanneken is a resident of Jerseyville, Illinois.
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 1            46.       Mr. Hanneken owns a 2011 GMC Sierra 1500, equipped with a Generation IV Vortec
 2   5300 Engine. Mr. Hannekan purchased his Sierra new in 2011 from Quality Buick GMC Cadillac in
 3   Alton, Illinois.
 4            47.       GM failed to disclose the Low-Tension Oil Ring Defect to Mr. Hanneken before he
 5   purchased his Sierra, despite GM’s knowledge of the defect, and Mr. Hanneken, therefore, purchased
 6   his Sierra with the incorrect understanding that it would be a reliable vehicle.
 7            10.       Indiana
 8            48.       Gail B. Lannom is a resident of Marion, Illinois.
 9            49.       Ms. Lannom owns a 2012 Chevrolet Tahoe, equipped with a Generation IV Vortec 5300
10   Engine. Ms. Lannom purchased her Tahoe in January 2015 from Expressway Jeep in Mt. Vernon,
11   Indiana.
12            50.       GM failed to disclose the Low-Tension Oil Ring Defect to Ms. Lannom before she
13   purchased her Tahoe, despite GM’s knowledge of the defect, and Ms. Lannom, therefore, purchased her
14   Tahoe with the incorrect understanding that it would be a reliable vehicle.
15            11.       Iowa
16            51.       Bradley K. Zierke is a resident of Elmore, Minnesota.
17            52.       Mr. Zierke owns a 2012 Chevrolet Avalanche, equipped with a Generation IV Vortec
18   5300 Engine. Mr. Zierke purchased his Avalanche new in 2011 from Okoboji Chevrolet in Spirit Lake,
19   Iowa.
20            53.       GM failed to disclose the Low-Tension Oil Ring Defect to Mr. Zierke before he
21   purchased his Avalanche, despite GM’s knowledge of the defect, and Mr. Zierke, therefore, purchased
22   his Avalanche with the incorrect understanding that it would be a reliable vehicle.
23            12.       Kansas
24            54.       Dan Madson is a resident of Cheney, Kansas.
25            55.       Mr. Madson owns a 2013 Chevrolet Silverado, equipped with a Generation IV Vortec
26   5300 Engine. Mr. Madson purchased his Silverado used with 12,000 miles in December 2013 from
27   Lubbers Chevrolet in Cheney, Kansas.
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 1          56.     GM failed to disclose the Low-Tension Oil Ring Defect to Mr. Madson before he
 2   purchased his Silverado, despite GM’s knowledge of the defect, and Mr. Madson, therefore, purchased
 3   his Silverado with the incorrect understanding that it would be a reliable vehicle
 4          13.     Kentucky
 5          57.     James Faulkner is a resident of Manchester, Kentucky.
 6          58.     Mr. Faulkner owns a 2011 GMC Sierra 1500, equipped with a Generation IV Vortec
 7   5300 Engine.     Mr. Faulkner purchased his Sierra used with 19,000 miles in 2015 from Legacy
 8   Chevrolet in Corbin, Kentucky.
 9          59.     GM failed to disclose the Low-Tension Oil Ring Defect to Mr. Faulkner before he
10   purchased his Sierra, despite GM’s knowledge of the defect, and Mr. Faulkner, therefore, purchased his
11   Sierra with the incorrect understanding that it would be a reliable vehicle.
12          14.     Louisiana
13          60.     Joseph Olivier is a resident of Houma, Louisiana.
14          61.     Mr. Olivier owns a 2013 GMC Sierra, equipped with a Generation IV Vortec 5300
15   Engine. Mr. Olivier purchased his Sierra new from Barker Buick GMC in, Houma, Louisiana.
16          62.     GM failed to disclose the Low-Tension Oil Ring Defect to Mr. Olivier before he
17   purchased his Sierra, despite GM’s knowledge of the defect, and Mr. Olivier, therefore, purchased his
18   Sierra with the incorrect understanding that it would be a reliable vehicle.
19          15.     Massachusetts
20          63.     Scott Smith is a resident of Plymouth, Massachusetts.
21          64.     Mr. Smith owns a 2011 GMC Yukon, equipped with a Generation IV Vortec 5300
22   Engine. Mr. Smith purchased his Yukon in 2012 from Colonial GMC in Watertown, Massachusetts.
23          65.     GM failed to disclose the Low-Tension Oil Ring Defect to Mr. Smith before he
24   purchased his Yukon, despite GM’s knowledge of the defect, and Mr. Smith, therefore, purchased his
25   Yukon with the incorrect understanding that it would be a reliable vehicle.
26          16.     Minnesota
27          66.     Ross Dahl is a resident of Willmar, Minnesota.
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 1          67.     Mr. Dahl owns a 2010 Chevrolet Silverado, equipped with a Generation IV Vortec 5300
 2   Engine. Mr. Dahl purchased his Silverado in 2010 new from Davis Motors in Litchfield, Minnesota.
 3          68.     GM failed to disclose the Low-Tension Oil Ring Defect to Mr. Dahl before he
 4   purchased his Silverado, despite GM’s knowledge of the defect, and Mr. Dahl, therefore, purchased his
 5   Silverado with the incorrect understanding that it would be a reliable vehicle.
 6          69.     Drew Peterson is a resident of Vernon Center, Minnesota.
 7          70.     Mr. Peterson owns a 2013 Chevrolet Silverado, equipped with a Generation IV Vortec
 8   5300 Engine. Mr. Peterson purchased his Silverado in December 2012 new from Mankato Motors in
 9   Mankato, Minnesota.
10          71.     GM failed to disclose the Low-Tension Oil Ring Defect to Mr. Peterson before he
11   purchased his Silverado, despite GM’s knowledge of the defect, and Mr. Peterson, therefore, purchased
12   his Silverado with the incorrect understanding that it would be a reliable vehicle.
13          17.     Mississippi
14          72.     Michael Ware is a resident of Abbeville, Mississippi.
15          73.     Mr. Ware owns a 2013 Chevrolet Silverado 1500, equipped with a Generation IV Vortec
16   5300 Engine. Mr. Ware purchased his Silverado used with 75,000 miles in 2016 from Barnes Crossing
17   Hyundai Mazda in Tupelo, Mississippi 38804.
18          74.     GM failed to disclose the Low-Tension Oil Ring Defect to Mr. Ware before he
19   purchased his Silverado, despite GM’s knowledge of the defect, and Mr. Ware, therefore, purchased his
20   Silverado with the incorrect understanding that it would be a reliable vehicle.
21          18.     Missouri
22          75.     Steve Kitchen is a resident of Saint Charles, Missouri.
23          76.     Mr. Kitchen owns a 2013 Chevrolet Silverado, equipped with a Generation IV Vortec
24   5300 Engine. Mr. Kitchen purchased his Silverado used with 39,000 miles in July 2013 from Weber
25   Chevrolet Creve Coeur in Creve Coeur, Missouri.
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 1          77.     GM failed to disclose the Low-Tension Oil Ring Defect to Mr. Kitchen before he
 2   purchased his Silverado, despite GM’s knowledge of the defect, and Mr. Kitchen, therefore, purchased
 3   his Silverado with the incorrect understanding that it would be a reliable vehicle.
 4          19.     Nebraska
 5          78.     John Neubauer is a resident of Renville, Minnesota.
 6          79.     Mr. Neubauer owns a 2011 Chevrolet Silverado, equipped with a Generation IV Vortec
 7   5300 Engine. Mr. Neubauer purchased his Silverado used with 43,750 miles in 2012 from Sid Dillion
 8   Chevrolet in Blair, Nebraska.
 9          80.     GM failed to disclose the Low-Tension Oil Ring Defect to Mr. Neubauer before he
10   purchased his Silverado, despite GM’s knowledge of the defect, and Mr. Neubauer, therefore,
11   purchased his Silverado with the incorrect understanding that it would be a reliable vehicle.
12          20.     New Mexico
13          81.     Barbara Molina is a resident of Seboyeta, New Mexico.
14          82.     Ms. Molina owns a 2012 Chevrolet Avalanche, equipped with a Generation IV Vortec
15   5300 Engine. Ms. Molina purchased her Avalanche used with 2,334 miles from Galles Chevrolet,
16   located at 1601 Lomas Boulevard, Albuquerque, New Mexico.
17          83.     GM failed to disclose the Low-Tension Oil Ring Defect to Ms. Molina before she
18   purchased her Avalanche, despite GM’s knowledge of the defect, and Ms. Molina, therefore, purchased
19   her Avalanche with the incorrect understanding that it would be a reliable vehicle.
20          21.     North Carolina
21          84.     Steven Ehrke is a resident of Spring Hill, Florida.
22          85.     Mr. Ehrke owns a 2013 Chevrolet Silverado, equipped with a Generation IV Vortec
23   5300 Engine. Mr. Ehrke purchased his Silverado used with 16,844 miles on it in February 2016 from
24   Reed Lallier Chevrolet in Fayetteville, North Carolina.
25          86.     GM failed to disclose the Low-Tension Oil Ring Defect to Mr. Ehrke before he
26   purchased his Silverado, despite GM’s knowledge of the defect, and Mr. Ehrke, therefore, purchased
27   his Silverado with the incorrect understanding that it would be a reliable vehicle.
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 1          22.       North Dakota
 2          87.       Bill Mauch is a resident of Mooreton, North Dakota.
 3          88.       Mr. Mauch owns a 2011 Chevrolet Silverado, equipped with a Generation IV Vortec
 4   5300 Engine. Mr. Mauch purchased his Silverado in 2013 used from Smith Motors in Wahpeton,
 5   North Dakota.
 6          89.       GM failed to disclose the Low-Tension Oil Ring Defect to Mr. Mauch before he
 7   purchased his Silverado, despite GM’s knowledge of the defect, and Mr. Mauch, therefore, purchased
 8   his Silverado with the incorrect understanding that it would be a reliable vehicle.
 9          23.       Ohio
10          90.       Thomas Gulling is a resident of Newton Falls, Ohio.
11          91.       Mr. Gulling owns a 2013 Chevrolet Silverado 1500, equipped with a Generation IV
12   Vortec 5300 Engine. Mr. Gulling purchased his Silverado from Doug Chevrolet in Akron, Ohio.
13          92.       GM failed to disclose the Low-Tension Oil Ring Defect to Mr. Gulling before he
14   purchased his Silverado, despite GM’s knowledge of the defect, and Mr. Gulling, therefore, purchased
15   his Silverado with the incorrect understanding that it would be a reliable vehicle.
16          93.       Ronald Jones is a resident of Newton Falls, Ohio.
17          94.       Mr. Jones owns a 2013 Chevrolet Silverado 1500, equipped with a Generation IV
18   Vortec 5300 Engine. Mr. Jones purchased his Silverado from Spitzer Chevrolet Lordstown in North
19   Jackson, Ohio.
20          95.       GM failed to disclose the Low-Tension Oil Ring Defect to Mr. Gulling before he
21   purchased his Silverado, despite GM’s knowledge of the defect, and Mr. Gulling, therefore, purchased
22   his Silverado with the incorrect understanding that it would be a reliable vehicle.
23          24.       Oklahoma
24          96.       Mike Warpinski is a resident of Lawton, Oklahoma.
25          97.       Mr. Warpinski owns a 2012 Chevrolet Express 1500, equipped with a Generation IV
26   Vortec 5300 Engine. Mr. Warpinski purchased his Express used with 24,000 miles in 2014 from
27   Toyota of Lawton in Lawton, Oklahoma.
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 1          98.     GM failed to disclose the Low-Tension Oil Ring Defect to Mr. Warpinski before he
 2   purchased his Express, despite GM’s knowledge of the defect, and Mr. Warpinski, therefore, purchased
 3   his Express with the incorrect understanding that it would be a reliable vehicle.
 4          25.     Pennsylvania
 5          99.     John Graziano is a resident of Lake Ariel, Pennsylvania.
 6          100.    Mr. Graziano owns a 2012 Chevrolet Silverado, equipped with a Generation IV Vortec
 7   5300 Engine. Mr. Graziano purchased his Silverado new in December 2011 from Reedman Toll
 8   Chevrolet in Philadelphia, Pennsylvania.
 9          101.    GM failed to disclose the Low-Tension Oil Ring Defect to Mr. Graziano before he
10   purchased his Silverado, despite GM’s knowledge of the defect, and Mr. Graziano, therefore, purchased
11   his Silverado with the incorrect understanding that it would be a reliable vehicle.
12          26.     South Carolina
13          102.    Monteville Sloan, Jr. is a resident of Novato, California.
14          103.    Mr. Sloan owns a 2013 Chevrolet Silverado, equipped with a Generation IV Vortec
15   5300 Engine.    Mr. Sloan purchased his Silverado used with 9,100 miles from Master Chevrolet
16   Cadillac in Aiken, South Carolina in August 2014. He then moved to Novato, California in April 2015.
17          104.    GM failed to disclose the Low-Tension Oil Ring Defect to Mr. Sloan before he
18   purchased his Silverado, despite GM’s knowledge of the defect, and Mr. Sloan, therefore, purchased
19   his Silverado with the incorrect understanding that it would be a reliable vehicle.
20          27.     Tennessee
21          105.    Joshua Byrge is a resident of Maynardville, Tennessee.
22          106.    Mr. Byrge owns a 2012 Chevrolet Silverado, equipped with a Generation IV Vortec
23   5300 Engine. Mr. Byrge purchased his Silverado used with 44,160 miles in 2016 from Rusty Wallace
24   Honda in Knoxville, Tennessee.
25          107.    GM failed to disclose the Low-Tension Oil Ring Defect to Mr. Byrge before he
26   purchased his Silverado, despite GM’s knowledge of the defect, and Mr. Byrge therefore purchased his
27   Silverado with the incorrect understanding that it would be a reliable vehicle.
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 1          28.     Texas
 2          108.    Rudy Sanchez is a resident of San Antonio, Texas.
 3          109.    Mr. Sanchez owns a 2013 Chevrolet Silverado, equipped with a Generation IV Vortec
 4   5300 Engine. Mr. Sanchez purchased his Silverado new in July 2013 new from Freedom Chevrolet in
 5   San Antonio, Texas.
 6          110.    GM failed to disclose the Low-Tension Oil Ring Defect to Mr. Sanchez before he
 7   purchased his Silverado, despite GM’s knowledge of the defect, and Mr. Sanchez, therefore, purchased
 8   his Silverado with the incorrect understanding that it would be a reliable vehicle.
 9          29.     Virginia
10          111.    Christopher Thacker is a resident of Charlottesville, Virginia.
11          112.    Mr. Thacker owns a 2010 Chevrolet Silverado, equipped with a Generation IV Vortec
12   5300 Engine. Mr. Thacker purchased his Silverado used with 128,000 miles in June 2014 from Mallow
13   Ford of Charlottesville in Charlottesville, Virginia.
14          113.    GM failed to disclose the Low-Tension Oil Ring Defect to Mr. Thacker before he
15   purchased his Silverado, despite GM’s knowledge of the defect, and Mr. Thacker, therefore, purchased
16   his Silverado with the incorrect understanding that it would be a reliable vehicle.
17          30.     Washington
18          114.    Randy Clausen is a resident of Mukilteo, Washington.
19          115.    Mr. Clausen owns a 2012 Chevrolet Suburban, equipped with a Generation IV Vortec
20   5300 Engine. Mr. Clausen purchased his Suburban used with 20,000 miles in 2013 from Seaview
21   Buick GMC in Lynwood, Washington.
22          116.    GM failed to disclose the Low-Tension Oil Ring Defect to Mr. Clausen before he
23   purchased his Suburban, despite GM’s knowledge of the defect, and Mr. Clausen, therefore, purchased
24   his Suburban with the incorrect understanding that it would be a reliable vehicle.
25          31.     West Virginia
26          117.    James Robertson is a resident of Inwood, West Virginia.
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 1          118.      Mr. Robertson owns a 2010 GMC Sierra 1500, equipped with a Generation IV Vortec
 2   5300 Engine. Mr. Robertson purchased his Sierra new in 2010 from Opequon Motors in Martinsburg,
 3   West Virginia.
 4          119.      GM failed to disclose the Low-Tension Oil Ring Defect to Mr. Robertson before he
 5   purchased his Sierra, despite GM’s knowledge of the defect, and Mr. Robertson, therefore, purchased
 6   his Sierra with the incorrect understanding that it would be a reliable vehicle.
 7          32.       Wisconsin
 8          120.      Jonas Bednarek is a resident of Verona, Wisconsin.
 9          121.      Mr. Bednarek owns a 2010 Chevrolet Suburban, equipped with a Generation IV Vortec
10   5300 Engine. Mr. Bednarek purchased his Suburban used with 17,667 miles in 2010 from Ballweg
11   Chevrolet in Middleton, Wisconsin.
12          122.      GM failed to disclose the Low-Tension Oil Ring Defect to Mr. Bednarek before he
13   purchased his Suburban, despite GM’s knowledge of the defect, and Mr. Bednarek, therefore,
14   purchased his Suburban with the incorrect understanding that it would be a reliable vehicle
15   B.     Defendant
16          123.      General Motors LLC (“GM”) is a Delaware limited liability company, with its principal
17   place of business located at 300 Renaissance Center, Detroit, Michigan, and is a citizen of Delaware
18   and Michigan. The sole member and owner of General Motors LLC is General Motors Holding LLC.
19   General Motors Holdings LLC is a Delaware limited liability company with its principal place of
20   business in the State of Michigan. The sole member and owner of General Motors Holdings LLC is
21   General Motors Company, which is a Delaware corporation, with its principal place of business in the
22   State of Michigan, and is a citizen of Delaware and Michigan.
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 1                                   IV.    FACTUAL ALLEGATIONS
 2   A.     Introduction and Background
 3          124.   Beginning with certain model year 2000 vehicles, Old GM introduced its Vortec 5300
 4   engines. The Vortec 5300 was met with anticipation and fanfare due to its close resemblance to the
 5   adored 327ci of the 1960s, which was best known as the powerplant in the Corvette Stingray.
 6          125.   Old GM faced regulatory pressure to increase its fuel economy standards. In December
 7   2007, Congress passed the Energy Independence and Security Act of 2007, which increased fuel
 8   economy standards by forty percent by 2020.3
 9          126.   For certain model year 2007 vehicles, Old GM introduced its Generation IV Vortec
10   5300 Engines. These engines included Low-Tension Oil Rings.
11          127.   The Generation IV Vortec 5300 Engines suffer from excessive oil consumption and the
12   resulting internal component damage caused by inadequate lubricity levels.        This excessive oil
13   consumption problem negates any minor increase in performance associated with those engines.
14          128.   Old GM continued selling vehicles equipped with the Generation IV Vortec 5300
15   Engines through 2009.
16          129.   On June 8, 2009, Old GM filed for protection under Chapter 11 of the United States
17   Bankruptcy Code.
18          130.   Defendant General Motors LLC (“GM”) acquired the assets of Old GM and emerged
19   from bankruptcy on July 10, 2009. Defendant GM continued manufacturing and selling vehicles under
20   the GMC and Chevrolet brands.
21          131.   For model years 2010-2013, GM manufactured and sold the Class Vehicles – each of
22   which came equipped with the defective Generation IV Vortec 5300 Engine.
23

24
25

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27   3
      See “Fact Sheet: Energy Independence and Security Act of 2007” at https://georgewbush-
     whitehouse.archives.gov/news/releases/2007/12/20071219-1.html
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 1   B.     The Class Vehicles Suffer from Excessive Oil Consumption.
 2          1.      The Low-Tension Oil Rings in the Class Vehicles Lead to Oil Loss and Engine
                    Damage.
 3
            132.    GM defied decades of engineering logic when it manufactured and sold Generation IV
 4
     Vortec 5300 Engines featuring the Low-Tension Oil Rings.
 5
            133.    The goal and purpose of the Low-Tension Oil Rings was to increase engine performance
 6
     by reducing friction between the oil rings and the walls of the cylinder, which was meant to produce a
 7
     corresponding increase in horsepower and torque. The actual result, however, was that the oil rings
 8
     were no longer able to serve their purpose of keeping oil in the crankcase and out of the combustion
 9
     chamber.
10
            134.    In the Generation IV Vortec 5300 Engines, as is normal in automobile engines, pistons
11
     move vigorously up and down inside of cylinders, as shown below.
12
13

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16

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19
            135.    In order for the engine to run effectively and without causing engine damage, such as
20
     heat and friction wear, the pistons and cylinders require a thin film of oil between the opposing metal
21
     surfaces.   The oil reduces friction and heat, prevents surface scarring, and helps the moving
22
     components slide freely past each other.
23
            136.    Oil, however, is not supposed to travel around the pistons and into the combustion
24
     chambers at the top of the cylinders. If oil reaches the combustion chamber it will be burned during an
25
     engine’s power stroke, thereby reducing the quantity of oil in the vehicle, reducing engine lubricity, and
26
     increasing the risk of engine damage.
27
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 1             137.   To prevent oil from traveling around the pistons and into the combustion chamber,
 2   pistons are fitted with oil control rings, as shown below.
 3
 4

 5

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 7

 8
               138.   Unfortunately for purchasers or lessees of the Class Vehicles, the Low-Tension Oil
 9
     Rings that GM installed in the Generation IV Vortec 5300 Engines failed to achieve their intended
10
     purpose of keeping oil in the crankcase and out of the combustion chamber. Indeed, the Low-Tension
11
     Oil Rings were designed to have reduced tension, and were thus intended to press against the cylinder
12
     wall with less force than regular tension rings so as to reduce friction.
13
               139.   As a result of this reduced tension, within the Generation IV Vortec 5300 Engines, an
14
     excessive amount of oil creeps past the pistons and the oil rings, and migrates into the combustion
15
     chamber, where it is consumed during the combustion process.                This causes excessive oil loss,
16
     inadequate lubricity, and the resultant wear and failure of the internal moving components of the
17
     Generation IV Vortec 5300 Engines.
18
               140.   When GM introduced its fifth-generation Vortec 5300 engines for its model year 2014
19
     vehicles, GM remedied the oil loss problem, and the resulting lubricity-related wear and component
20
     failure, by abandoning its Low-Tension Oil Ring debacle and reverting back, on a going-forward basis,
21
     to standard tension oil rings as part of that engine overhaul and redesign. GM’s gamble on low-tension
22
     oil rings did not pay off, and owners and lessees of the Class Vehicles suffered economic injury as a
23
     result.
24
               2.     GM’s Oil Life Monitoring System Exacerbates the Oil Loss and Engine Damage
25                    Problems Caused by the Low-Tension Oil Rings.

26             141.   GM’s Oil Life Monitoring System, installed in each of the Class Vehicles, exacerbates

27   the oil loss and engine damage problems caused by the Low-Tension Oil Ring Defect due to the failure

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 1   of that system to advise drivers of a decreased oil level in their Class Vehicle even at a critically low
 2   levels.
 3             142.   The Oil Life Monitoring System alerts the driver to the estimated percentage of oil life
 4   left before an oil change is required. With respect to the Oil Life Monitoring System, “oil life” means
 5   the quality of the engine oil, not the oil level. The system uses varying factors to estimate oil health,
 6   such as heat cycles and engine running conditions. The Oil Life Monitoring System does not, however,
 7   alert drivers to low oil levels or oil loss, thereby exacerbating the Low-Tension Piston Ring Defect by
 8   failing to alert owners or lessees of their Class Vehicles’ oil consumption until it is much too late.
 9   C.        The Low-Tension Oil Ring Defect Within the Class Vehicles Has Caused Excessive Oil
               Loss and Engine Damage.
10
               143.   The Low-Tension Oil Ring Defect in the Class Vehicles results in excessive oil
11
     consumption and loss of lubricity, leading to increased friction and, thus, engine damage. That means
12
     that each Class Vehicle has suffered, and will continue to suffer, internal component wear.
13
               144.   The internal engine components subject to wear include: pistons, cylinder walls, rings,
14
     valves, valve guides, valve stem seals, lifters, push rods, camshafts, rockers, bearings, piston rods, wrist
15
     pins, crankshafts, and timing chain components.
16
               145.   Due to the Low-Tension Oil Ring Defect, all of the Class Vehicles have suffered, and
17
     will continue to suffer, metal-on-metal friction and heat levels that far exceed GM’s specifications,
18
     thereby causing engine damage.
19
               146.   The defect-induced excessive friction and heat expansion has worn, and will continue to
20
     wear, the internal steel components, sending steel shavings into the crankcase. The steel shavings
21
     travel through the oil passages and inevitably become lodged in tight spaces, where they cut into
22
     component surfaces moving against them.
23
               147.   Once the internal components are scarred and/or worn, they cannot be repaired and must
24
     be replaced. The friction and heat expansion damage caused by the Low-Tension Oil Ring Defect is
25
     irreversible and inevitable for all Class Vehicles, thereby damaging Plaintiffs and the other Class
26
     members.
27
28
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     C.     The Low-Tension Oil Ring Defect Within the Class Vehicles Presents an Unreasonable
 1          Safety Risk.
 2          148.    As GM acknowledges, low oil conditions, such as those that can result from the Low-
 3   Tension Oil Ring Defect, present dangerous safety hazards to the driver, other passengers of the Class
 4   Vehicles, and the public.
 5          149.    With insufficient oil and lubricity, the engines in the Class Vehicles will overheat and
 6   potentially catch fire. For this reason, GM warns in the manuals for the Class Vehicles: “Do not keep
 7   driving if the oil pressure is low. The engine can become so hot that it catches fire. Someone could be
 8   burned.”
 9          150.    Low oil conditions are also unsafe because, if the engine experiences enough damage,
10   the Class Vehicles’ engines will seize and the Class Vehicles will shut down unexpectedly, which could
11   cause an accident or leave drivers and passengers stranded in an unsafe situation. GM also warns
12   against this possibility in the manuals for the Class Vehicles when it states: “If you drive the vehicle
13   while the engine oil pressure is low, severe engine damage may occur. If a low oil pressure warning
14   appears on the Driver Information Center (DIC), stop the vehicle as soon as possible.”
15   D.     GM’s Knowledge of the Low-Tension Oil Ring Defect
16          151.    Low-Tension Oil Rings are a standard component of engines built for racing
17   competition because they can help provide greater horsepower, but such engines also consume
18   excessive amounts of oil due to the Low-Tension Oil Rings.4
19          152.    GM’s awareness of the Low-Tension Oil Ring Defect is evident from the fact that GM
20   abandoned its low-tension oil ring experiment in its redesigned Generation V Vortec 5300 Engines.
21   GM’s re-design of the defective Generation IV Vortec 5300 engines began as early as May 2011.5
22          153.    Further, as shown below, excessive oil loss has been a common complaint among
23   drivers of vehicles fitted with the Generation IV Vortec 5300 engines, dating back to vehicles
24
25   4
      See David Reher, Tech Talk #45 – Where to Find “Free” Horsepower, REHER MORRISON RACING
26   ENGINES, April 11, 2013, http://rehermorrison.com/tech-talk-45-where-to-find-free-horsepower/
     5
      Mike Levine, Inside GM’s State-of-the-Art Powertrain Engineering Center, PICKUPTRUCKS.COM,
27   May 17, 2011, http://news.pickuptrucks.com/2011/05/inside-gms-state-of-the-art-powertrain-
     engineering-center-.html.
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 1   manufactured by Old GM. For example, at www.carcomplaints.com, there are posts from as early as
 2   June of 2008 regarding excessive oil consumption problems with the 2007 Chevrolet Silverado with the
 3   Generation IV Vortec 5300 engine.
 4          154.     Knowledge derived from complaints received by Old GM can be imputed to Defendant
 5   GM, at least insofar as that knowledge was in the possession of an Old GM employee who continued
 6   employment at New GM or contained in a file transferred from Old GM to New GM. See In re Motors
 7   Liquidation Co., 541 B.R. 104, 108 (Bankr. S.D.N.Y. 2015). As recognized by the Second Circuit,
 8   Defendant GM immediately took over the business of Old GM, without any “reorganization” as
 9   traditionally takes place in the case of a bankruptcy. Elliot v. GM LLC, 829 F.3d 135, 145-46 (2d Cir.
10   2016). Thus, upon information and belief, Defendant GM, at its inception, also had knowledge of the
11   Low-Tension Oil Ring Defect from complaints from drivers of vehicles with the Generation IV Vortec
12   5300 engines.
13          155.     Moreover, as discussed further below, complaints regarding excessive oil consumption
14   in vehicles with the Generation IV Vortec 5300 engines continued following the commencement of
15   Defendant GM’s business in 2009.
16          156.     Faced with the fact that vehicles with Generation IV Vortec 5300 engines were suffering
17   excessive oil and engine damage due to the Low-Tension Oil Ring Defect, GM issued multiple
18   Technical Service Bulletins addressing the oil consumption issue (“TSBs”).
19          157.     The TSBs stated that the oil loss in the vehicles with Generation IV Vortec 5300 engines
20   could be caused by two conditions: (a) oil pulled through the positive crankcase ventilation system; or
21   (b) oil spray that is discharged from the Advanced Fuel Management system’s pressure relief valve
22   within the crankcase. The TSBs suggested fixes for each of these issues, but recognized that neither fix
23   may solve the oil loss problem. Rather, the TSBs explained that the ultimate fix for the oil
24   consumption problem was the replacement of the piston assemblies.6 Upon information and belief,
25

26

27   6
      See TSB No. 10-06-01-008G: Engine Oil Consumption on Aluminum Block/Iron Block Engines with
     Active Fuel Management.
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 1   the first version of these TSBs was released on August 24, 2010. 7 These TSBs continued to be issued
 2   through, at least, November 26, 2014 – thereby covering the entirety of the Class Period.8
 3            158.   Despite this knowledge, GM took no steps to remedy this issue, leaving Plaintiffs and
 4   the other Class Members with knowingly defective Class Vehicles.
 5   E.       Consumers Repeatedly Complained About Excessive Oil Consumption and Engine
              Damage in the Class Vehicles.
 6
              159.   Numerous complaints have been filed with the National Highway Traffic Safety
 7
     Administration (“NHTSA”) regarding excessive oil loss and resultant engine damage in the Class
 8
     Vehicles. By way of example:
 9
                    On September 14, 2014, a consumer reported an excessive oil consumption problem
10
                     with a 2010 Chevrolet Silverado 1500:
11
                            Excessive oil consumption caused spark plugs to prematurely fail causing
12                          the engine to misfire and run rough. . . . Initial repairs did not correct the
                            oil consumption problem (1/2 quart burned in approximately 1,000 –
13                          2,000 miles) . . . . I was told this was “normal” according to General
                            Motors’ standards.
14
                     NHTSA ID number: 10633824.
15
                    On March 31, 2015, a consumer reported an excessive oil consumption problem with a
16
                     2011 Chevrolet Avalanche:
17
                        At 40000 we noticed we were having issues with my Avalanche burning oil.
18                      When we asked the tech at Chevy he told me that was normal for the newer
                        engines to burn oil, at 130,000 miles we started having problems with the
19                      sparkplug fouling out . . . . At 180,000 mile and only four years old we had to
                        replace the engine after replacing the sparkplug and wire 3 times. . . .
20
                     NHTSA ID Number: 10852819.
21
                    On January 12, 2016, a consumer reported an excessive oil consumption problem with a
22
                     2010 Chevrolet Suburban: “The vehicle is consuming excessive amounts of engine oil
23
                     and fouling spark plugs.” NHTSA ID Number: 10819877.
24
25
     7
26       See http://www.gm-trucks.com/forums/topic/119095-update/
     8
      See http://gm.oemdtc.com/683/engine-oil-consumption-engine-oil-consumption-on-aluminum-
27   blockiron-block-engines-with-active-fuel-management-afm-2007-2015-cadillac-chevrolet-gmc-
     pontiac/2.
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 1                On February 4, 2016, a consumer reported an excessive oil consumption problem with a
 2                 2011 Chevrolet Suburban: “Excessive oil consumption that GM refuses to fix under
 3                 warranty.” NHTSA ID Number: 10826046.
 4          160.   Several Class Vehicle owners have also posted online complaints about excessive oil
 5   consumption and resultant engine damage to their Generation IV Vortec 5300 Engines. For example:
 6                The owner of a 2011 GMC Sierra 1500 wrote: “Just met with GM’s District
                   After Sales Manager and my GMC dealer’s Service Manager regarding
 7                 excessive oil consumption by my GMC Sierra 1500 4-WD Crew Cab with 37000
                   miles. As you might guess, nothing accomplished. . . . Early 2012, I noticed the
 8                 dipstick was dry and took truck to dealer for oil change. Closely monitored oil
                   use thereafter and discovered need to topoff with more than a quart every 200
 9                 miles during normal driving . . . This should not be considered normal!”9
10                The owner of a 2010 Chevrolet Silverado wrote: “Truck has been in and out of
                   the dealership 18 times regarding ticking in the motor, excessive oil consumption
11                 and blue smoke on start up.”10
12                The owner of a 2011 Chevrolet Tahoe wrote: “My 2009 Chevy Tahoe started
                   consuming a lot of oil at about 68,000 miles. It uses up about 2 + quarts every
13                 2000 miles. Chevy said that’s normal . . . really? Well when you don’t want to
                   take responsibility for your design mistakes than we just call it normal and it
14                 goes away and we don’t have to fix it.”11
15          161.   Consumer complaints about excessive oil consumption and resultant engine damage in
16   the Generation IV Vortec 5300 Engines long predated the Class Vehicles. Indeed, numerous consumer
17   complaints were filed with NHTSA regarding excessive oil loss and resultant engine damage within
18   pre-2010 vehicles manufactured by Old GM and equipped with the Generation IV Vortec 5300
19   Engines. By way of example:
20                A consumer reported an excessive oil consumption problem with a 2007
                   Chevrolet Silverado 1500: “The contact stated that the engine was consuming
21                 excessive oil. The vehicle was taken to the dealer, who stated that the vehicle
                   was operating to standard and that it was normal for a vehicle to burn oil
22                 between maintenance. The manufacturer was made aware of the failure. The
                   vehicle was not repaired. . . . The consumer stated the dealer stated this is a
23

24
     9
      Consumer Review of 2011 GMC Sierra 1500, available at
25   http://www.carcomplaints.com/GMC/Sierra_1500/2011/engine/excessive_oil_consumption.shtml
     10
26      Consumer Review of 2010 Chevrolet Silverado, available at
     http://www.carcomplaints.com/Chevrolet/Silverado/2010/engine/excessive_oil_consumption.shtml
27   11
        Consumer review of 2009 Chevrolet Tahoe, available at
     http://www.carcomplaints.com/Chevrolet/Tahoe/2009/engine/excessive_oil_consumption.shtml
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                    malfunction with the oil consumption. The manufacturer denies any
 1                  malfunctions.” NHTSA ID Number: 10498188.
 2                 A consumer reported an excessive oil consumption problem with a 2007 GMC
                    Yukon: “The contact stated that the vehicle would continue to drive sluggish and
 3                  consume excessive amounts of oil. The vehicle was not repaired. Manufacturer
                    was made aware of the failure.” NHTSA ID Number: 10854334.
 4
            162.    Several owners of Old GM-manufactured vehicles with the Generation IV Vortec 5300
 5
     Engines have also posted online complaints about excessive oil consumption with the Generation IV
 6
     Vortec 5300 Engines.
 7
            163.    For example, on www.carcomplaints.com, there are 68 complaints regarding excessive
 8
     oil consumption from owners of 2007 Chevrolet Silverados.12 These complaints include:
 9
                   “I started to have problems with my new 2007 Chevy Silverado in 2010 at
10                  45,000 miles. I had multiple fixes attempted but it continued to burn oil. They
                    performed a repair consisting of changing the valves, pistons, and rings which
11                  cost $1800. . . . The truck is now at 164,000 miles and I am burning through a
                    quart of oil a week.”
12
                   “DO NOT purchase a 2007 Chevrolet Silverado unless you want to spend more
13                  time putting oil in the engine than you do driving the vehicle itself. I love
                    Chevrolet Silverados but I am extremely disappointed with this issue because
14                  there isn’t a fix.”
15                 “The 5.3 uses a quart of oil every 1000 miles since it was new.”
16                 “From day one this truck has burned about a quart an oil change, and no, this
                    isn’t normal. Traction control problems, engine reduced power, this problem
17                  cripples the vehicle.”
18          164.    Of particular significance with regards to these NHTSA and online consumer complaints
19   is that they focus on the consequence of the Low-Tension Oil Ring Defect – the excessive oil
20   consumption and resultant engine damage – but they do not focus on the cause of the problem, namely
21   the defective low-tension oil rings that GM installed in each of the Class Vehicles that directly resulted
22   in the excessive oil consumption, lubricity reduction, and engine damage.
23          165.    These complaints readily reveal that GM was keenly aware of the Low-Tension Oil
24   Ring problem in the Class Vehicles. Indeed, GM has known about this defect in its Generation IV
25

26

27   12
        Consumer Reviews of 2007 Chevrolet Silverado, available at:
     http://www.carcomplaints.com/Chevrolet/Silverado/2007/engine/excessive_oil_consumption.shtml
28
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 1   Vortec 5300 Engines before, during, and after it sold and leased the Class Vehicles to Plaintiffs and the
 2   other Class members.
 3   F.     GM Trumpeted the Performance of the Generation IV Vortec 5300 Engines and
            Continuously Proclaimed That the Class Vehicles Were Dependable and of the Highest
 4          Quality, Concealing and Omitting the Low-Tension Oil Ring Defect.
 5          166.    GM extensively advertised the performance benefits of the Generation IV Vortec 5300
 6   Engines within the Class Vehicles. At all times relevant to this action, GM omitted and/or concealed
 7   the Low-Tension Oil Ring defect. Indeed, at no point during the time period relevant to this action did
 8   GM inform buyers and/or lessees of the Class Vehicles that the Generation IV Vortec 5300 Engines in
 9   the Class Vehicles suffered from the Low-Tension Oil Ring Defect that led to significant oil
10   consumption and resultant engine damage.
11          167.    Likewise, GM repeatedly told consumers that the Class Vehicles were dependable, long-
12   lasting, and of the highest quality. In so doing, GM led consumers to believe that the Class Vehicles
13   would be free from defects that result in excessive oil loss and engine damage.
14          168.    In its brochures and advertisements for the Class Vehicles, GM consistently touted the
15   performance benefits of the Generation IV Vortec 5300 Engines.
16          169.    For example, GM’s brochure for the 2013 Chevrolet Silverado advertises: “THE MOST
17   POWERFUL V8 ENGINES IN SILVERADO HISTORY” and claims that the 5.3L engine “offers V8
18   fuel efficiency that’s unsurpassed in its class.”13
19          170.    Similarly, GM’s brochure for the 2013 Chevrolet Tahoe advertises: “Great Power
20   Without Sacrifice,” and “fuel economy its competitors can’t beat.”14
21          171.    Likewise, GM’s brochure for the 2010 Chevrolet Colorado advertises that: “Chevy
22   Colorado is up to the challenge with reliability and strength that delivers on a dollar. . . . The available
23

24
     13
25      2013 Chevrolet Silverado brochure, available at
     https://www.chevrolet.com/content/dam/Chevrolet/northamerica/usa/nscwebsite/en/Home/Help%20Ce
26   nter/Download%20a%20Brochure/02_PDFs/MY13%20Silverado%201500%20eBrochure.pdf
     14
        2013 Chevrolet Tahoe brochure, available at
27   https://www.chevrolet.com/content/dam/Chevrolet/northamerica/usa/nscwebsite/en/Home/Help%20Ce
     nter/Download%20a%20Brochure/02_PDFs/MY13%20Tahoe-Suburban%20eBrochure.pdf
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 1   5.3L V8 engine pumps out 300 horsepower and has better fuel economy than Dodge Dakota. . . . Most
 2   important, every Colorado has the endurance and dependability you expect from a Chevy truck.”15
 3            172.   GM’s brochure for the 2012 GMC Sierra advertises that: “[T]rue craftsmanship is
 4   timeless. . . . That’s the same attitude that’s built into every Sierra. It’s why Sierra offers you over 300
 5   horsepower and 22 EPA-estimated highway miles per gallon in the same engine – V-8 fuel economy
 6   that no other competitor can beat.      It’s why Sierra offers advanced technology like Active Fuel
 7   Management, maximizing your engine’s performance to give you power and efficiency as you need it. .
 8   . .When you need to rely on something to keep your life on course, there is no substitute for
 9   professional grade engineering. GMC Sierra.”16
10            173.   GM’s brochure for the 2011 Chevrolet Silverado states, “Silverado – the most
11   dependable, long-lasting full size pickups on the road.” It goes on to say, “There are three stages of
12   safety. Silverado takes every one as seriously as you do.”17
13            174.   On August 29, 2011, GM’s website advertised: “Chevrolet provides consumers with
14   fuel-efficient, safe and reliable vehicles that deliver high quality, expressive design, spirited
15   performance and value.”18
16            175.   One online ad for “GM certified” used vehicles that ran through April 5, 2010 stated that
17   “GM certified means no worries.”
18            176.   In April 2010, General Motors Company Chairman and CEO Ed Whitacre proclaimed in
19   a commercial that GM was “designing, building, and selling the best cars in the world.”
20            177.   A radio ad that ran during the time period relevant to this action stated that “[a]t GM,
21   building quality cars is the most important thing we can do.”
22

23

24   15
       2010 Chevrolet Colorado brochure, available at http://www.auto-
25   brochures.com/makes/Chevrolet/Colorado/Chevrolet_US%20Colorado_2010.pdf
     16
        2012 GMC Sierra brochure, available at http://www.auto-
26   brochures.com/makes/GMC/Sierra/GMC_US%20Sierra_2012.pdf
     17
27        https://www.auto-brochures.com/makes/Chevrolet/HHR/Chevrolet_US%20HHR_2010.pdf.
     18
          https://media.gm.com/media/us/en/gm/news.detail/content/Pages/news/us/en/2014/Jul/0731-mpg.
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 1            178.    On November 10, 2010, GM published a video that told consumers that GM actually
 2   prevents any defects from reaching consumers. The video, entitled “Andy Danko: The White Glove
 3   Quality Check,” explains that there are “quality processes in the plant that prevent any defects from
 4   getting out.” The video also promoted the ideal that, when a customer buys a GM vehicle, they “drive
 5   it down the road and they never go back to the dealer.”19
 6            179.    No GM brochure, advertisement, or other marketing materials for or relating to the Class
 7   vehicles alerted customers to the Low-Tension Oil Ring Defect and the problems arising therefrom.
 8   Indeed, all such materials omitted the problem in all respects.
 9            180.    Moreover, in its public statements, GM consistently proclaimed that the Class Vehicles
10   were of the highest quality.
11            181.    In its 2010 Annual Report, GM told consumers that it built the world’s best
12   vehicles:
13            We truly are building a new GM, from the inside out. Our vision is clear: to design,
              build, and sell the world’s best vehicles . . . . Our plan is to steadily invest in creating
14            world-class vehicles, which will continuously drive our cycle of great design, high
              quality and higher profitability.20
15
              182.    Likewise, in its 2010 Annual Report, GM represented that it had a “world-class lineup”
16
     of vehicles.21
17
              183.    In a “Letter to Stockholders” contained in its 2011 Annual Report, GM noted that its
18
     brand had grown in value and that it designed the “World’s Best Vehicles”:
19
              Design, Build and Sell the World’s Best Vehicles
20
              This pillar is intended to keep the customer at the center of everything we do, and
21            success is pretty easy to define. It means creating vehicles that people desire, value and
              are proud to own. When we get this right, it transforms our reputation and the
22            company’s bottom line.22
23            184.    In its 2012 Annual Report, GM boasted that:
24
25   19
          https://www.youtube.com/watch?v=JRFO8UzoNho&list=UUxN-Csvy_9sveql5HJviDjA.
26   20
          GM 2010 Annual Report at 2.
     21
27        GM 2010 Annual Report at 12-13.
     22
          GM 2011 Annual Report at 2
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              What is immutable is our focus on the customer, which requires us to go from “good”
 1            today to “great” in everything we do, including product design, initial quality, durability,
              and service after the sale.23
 2
              185.   In its 2012 Annual Report, GM represented that product quality was a key focus:
 3
              Product quality and long-term durability are two other areas that demand our unrelenting
 4            attention, even though we are doing well on key measures.24
 5            186.   GM consistently promoted all its vehicles as reliable, and presented itself as a
 6   responsible manufacturer that stands behind GM-branded vehicles after they are sold.
 7            187.   GM knowingly omitted and concealed information about material defects in the Class
 8   Vehicles from the driving public, including Plaintiffs and the other Class members, thereby allowing
 9   unsuspecting vehicle owners and lessees to continue unknowingly driving defective vehicles that were
10   of diminished value and bound to cause costly problems.
11   G.       Pre-Filing Notice
12            188.   Plaintiff Ludington, individually and on behalf of the other Class members, notified GM
13   of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its corresponding
14   breach of warranties, through a notice letter dated October 27, 2016, and delivered by United States
15   Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed on October
16   28, 2016. GM never responded to this letter.
17            189.   Further, in accordance with California Civil Code Section 1782, Plaintiffs’ counsel sent
18   a certified letter to GM on November 23, 2016, notifying GM of violations of the California Consumer
19   Legal Remedies Act through its failure to disclose the Low-Tension Oil Ring Defect. The letter was
20   sent on behalf of Plaintiff Siqueiros and the other members of the California Class.
21            190.   By a letter dated November 29, 2016, GM acknowledged receipt of the November 23,
22   2016 letter, and assigned Plaintiff Siqueiros’s case file to its Early Resolution Program.              In its
23   November 29, 2016 letter, GM did not commit to provide any remedy for the Low-Tension Oil Defect
24   within Plaintiff Siqueiros’s Class Vehicle, did not state that it has taken or will take any actions to
25   identify or notify consumers similarly situated to Plaintiff Siqueiros, and did not commit to ceasing
26
     23
27        GM 2012 Annual Report at 12.
     24
          GM 2012 Annual Report at 10.
28
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 1   from engaging in the conduct complained of in Plaintiffs’ November 23, 2016 letter. Indeed, in its
 2   November 29, 2016 letter, GM did not even acknowledge the Low-Tension Oil Ring Defect.
 3                        V.     TOLLING OF THE STATUTES OF LIMITATION
 4   A.       Discovery Rule Tolling
 5            191.   Plaintiffs could not have discovered through the exercise of reasonable diligence that
 6   their Class Vehicles were defective within the time period of any applicable statutes of limitation.
 7            192.   Among other things, neither Plaintiffs nor the other Class members knew or could have
 8   known that the Class Vehicles are equipped with Generation IV Vortec 5300 Engines with the Low-
 9   Tension Oil Ring Defect, which causes those engines to consume oil at an abnormally high rate and to
10   sustain engine damage resulting therefrom.
11   B.       Fraudulent Concealment Tolling
12            193.   Throughout the time period relevant to this action, GM concealed from and failed to
13   disclose to Plaintiffs and the other Class members vital information about the Low-Tension Oil Ring
14   Defect described herein.
15            194.   Indeed, GM kept Plaintiffs and the other Class members ignorant of vital information
16   essential to the pursuit of their claims. As a result, neither Plaintiffs nor the other Class members could
17   have discovered the defect, even upon reasonable exercise of diligence.
18            195.   Specifically, throughout the Class Period, GM has been aware that the Generation IV
19   Vortec 5300 Engines it designed, manufactured, and installed in the Class Vehicles contained the Low-
20   Tension Oil Ring Defect, resulting in excessive oil loss and engine damage.
21            196.   Despite its knowledge of the defect, GM failed to disclose and concealed, and continues
22   to conceal, this critical information from Plaintiffs and the other Class members, even though, at any
23   point in time, it could have done so through individual correspondence, media release, or by other
24   means.
25            197.   Plaintiffs and the other Class members justifiably relied on GM to disclose the Low-
26   Tension Oil Ring Defect in the Class Vehicles that they purchased or leased, because that defect was
27   hidden and not discoverable through reasonable efforts by Plaintiffs and the other Class members.
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 1          198.    Thus, the running of all applicable statutes of limitation have been suspended with
 2   respect to any claims that Plaintiffs and the other Class members have sustained as a result of the
 3   defect, by virtue of the fraudulent concealment doctrine.
 4   C.     Estoppel
 5          199.    GM was under a continuous duty to disclose to Plaintiffs and the other Class members
 6   the true character, quality, and nature of the defective Generation IV Vortec 5300 Engines.
 7          200.    GM knowingly concealed the true nature, quality, and character of the defective
 8   Generation IV Vortec 5300 Engines from consumers.
 9          201.    Based on the foregoing, GM is estopped from relying on any statutes of limitations in
10   defense of this action.
11                                VI.     CLASS ACTION ALLEGATIONS
12          202.    Plaintiffs bring this action pursuant to Rules 23(a), 23(b)(2), and 23(b)(3) of the Federal
13   Rules of Civil Procedure on behalf of themselves and all others similarly situated.
14          203.    Plaintiffs seek to represent a class (“the Nationwide Class”) defined as:
15          All current and former owner or lessees of a Class Vehicle (as defined herein) that was
            purchased in the United States.
16
            204.    Plaintiffs also respectively seek to represent the following statewide classes (“the
17
     Statewide Classes”) defined as follows:
18
               All current and former owners or lessees of a Class Vehicle (as defined herein) that
19              was purchased or leased in the State of California (“the California Class”).
20             All current and former owners or lessees of a Class Vehicle (as defined herein) that
                was purchased or leased in the State of Alabama (“the Alabama Class”).
21
               All current and former owners or lessees of a Class Vehicle (as defined herein) that
22              was purchased or leased in the State of Arkansas (“the Arkansas Class”).
23             All current and former owners or lessees of a Class Vehicle (as defined herein) that
                was purchased or leased in the State of Colorado (“the Colorado Class”).
24
               All current and former owners or lessees of a Class Vehicle (as defined herein) that
25              was purchased or leased in the State Delaware (“the Delaware Class”).
26             All current and former owners or lessees of a Class Vehicle (as defined herein) that
                was purchased or leased in the State of Florida (“the Florida Class”).
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         All current and former owners or lessees of a Class Vehicle (as defined herein) that
 1        was purchased or leased in the State of Georgia (“the Georgia Class”).
 2       All current and former owners and lessees of a Class Vehicle (as defined herein) that
          was purchased or leased in the State of Idaho (“the Idaho Class”).
 3
         All current and former owners or lessees of a Class Vehicle (as defined herein) that
 4        was purchased or leased in the State of Illinois (“the Illinois Class”).
 5       All current and former owners and lessees of a Class Vehicle (as defined herein) that
          was purchased or leased in the State of Indiana (“the Indiana Class”).
 6
         All current and former owners and lessees of a Class Vehicle (as defined herein) that
 7        was purchased or leased in the State of Iowa (“the Iowa Class”).
 8       All current and former owners or lessees of a Class Vehicle (as defined herein) that
          was purchased or leased in the State of Kansas (“the Kansas Class”).
 9
         All current and former owners or lessees of a Class Vehicle (as defined herein) that
10        was purchased or leased in the State of Kentucky (“the Kentucky Class”).
11       All current and former owners or lessees of a Class Vehicle (as defined herein) that
          was purchased or leased in the State of Louisiana (“the Louisiana Class”).
12
         All current and former owners or lessees of a Class Vehicle (as defined herein) that
13        was purchased or leased in the State of Massachusetts (“the Massachusetts Class”).
14       All current and former owners and lessees of a Class Vehicle (as defined herein) that
          was purchased or leased in the State of Minnesota (“the Minnesota Class”).
15
         All current and former owners or lessees of a Class Vehicle (as defined herein) that
16        was purchased or leased in the State of Mississippi (“the Mississippi Class”).
17       All current and former owners or lessees of a Class Vehicle (as defined herein) that
          was purchased or leased in the State of Missouri (“the Missouri Class”).
18
         All current and former owners or lessees of a Class Vehicle (as defined herein) that
19        was purchased or leased in the State of Nebraska (“the Nebraska Class”).
20       All current and former owners and lessees of a Class Vehicle (as defined herein) that
          was purchased or leased in the State of New Mexico (“the New Mexico Class”).
21
         All current and former owners and lessees of a Class Vehicle (as defined herein) that
22        was purchased or leased in the State of North Carolina (“the North Carolina Class”).
23       All current and former owners and lessees of a Class Vehicle (as defined herein) that
          was purchased or leased in the State of North Dakota (“the North Dakota Class”).
24
         All current and former owners or lessees of a Class Vehicle (as defined herein) that
25        was purchased or leased in the State of Ohio (“the Ohio Class”).
26       All current and former owners or lessees of a Class Vehicle (as defined herein) that
          was purchased or leased in the State of Oklahoma (“the Oklahoma Class”).
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               All current and former owners and lessees of a Class Vehicle (as defined herein) that
 1              was purchased or leased in the State of Pennsylvania (“the Pennsylvania Class”).
 2             All current and former owners and lessees of a Class Vehicle (as defined herein) that
                was purchased or leased in the State of South Carolina (“the South Carolina Class”).
 3
               All current and former owners or lessees of a Class Vehicle (as defined herein) that
 4              was purchased or leased in the State of Tennessee (“the Tennessee Class”).
 5             All current and former owners or lessees of a Class Vehicle (as defined herein) that
                was purchased or leased in the State of Texas (“the Texas Class”).
 6
               All current and former owners or lessees of a Class Vehicle (as defined herein) that
 7              was purchased or leased in the State of Virginia (“the Virginia Class”).
 8             All current and former owners or lessees of a Class Vehicle (as defined herein) that
                was purchased or leased in the State of Washington (“the Washington Class”).
 9
               All current and former owners or lessees of a Class Vehicle (as defined herein) that
10              was purchased or leased in the State of West Virginia (“the West Virginia Class”).
11             All current and former owners or lessees of a Class Vehicle (as defined herein) that
                was purchased or leased in the State of Wisconsin (“the Wisconsin Class”).
12
            205.    Excluded from each of the Nationwide and Statewide Classes are Defendant General
13
     Motors LLC and any of its members, affiliates, parents, subsidiaries, officers, directors, employees,
14
     successors, or assigns; the judicial officers, and their immediate family members; and Court staff
15
     assigned to this case. Plaintiffs reserve the right to modify or amend these Nationwide and Statewide
16
     Class definitions, as appropriate, during the course of this litigation.
17
            206.    This action has been brought and may properly be maintained on behalf of the
18
     Nationwide and Statewide Classes proposed herein under the criteria of Rule 23 of the Federal Rules of
19
     Civil Procedure.
20
            207.    Numerosity – Federal Rule of Civil Procedure 23(a)(1).            The members of the
21
     Nationwide and Statewide Classes are so numerous and geographically dispersed that individual
22
     joinder of all class members is impracticable. While Plaintiffs are informed and believe that there are
23
     not less than two million members of the Nationwide and Statewide Classes, the precise number of
24
     Nationwide and Statewide Class is unknown to Plaintiffs, but may be ascertained from GM’s books and
25
     records. Nationwide and Statewide Class Members may be notified of the pendency of this action by
26
     recognized, Court-approved notice dissemination methods, which may include U.S. Mail, electronic
27
     mail, Internet postings, and/or published notice.
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 1          208.    Commonality and Predominance – Federal Rule of Civil Procedure 23(a)(2) and
 2   23(b)(3).   This action involves common questions of law and fact, which predominate over any
 3   questions affecting individual Nationwide and Statewide Class members, including, without limitation:
 4               a. whether GM engaged in the conduct alleged herein;
 5               b. whether GM’s alleged conduct violates applicable law;
 6               c. whether GM designed, advertised, marketed, distributed, leased, sold, or otherwise
 7                  placed the Class Vehicles into the stream of commerce in the United States;
 8               d. whether GM misled Nationwide and Statewide Class members about the quality of the
 9                  Generation IV Vortec 5300 Engines in the Class Vehicles;
10               e. whether the Generation IV Vortec 5300 Engines contain the Low-Tension Oil Ring
11                  Defect alleged herein;
12               f. whether GM had actual or imputed knowledge about the alleged defect but failed to
13                  disclose it to Plaintiffs and the other Nationwide and Statewide Class members;
14               g. whether GM’s omissions and concealment regarding the quality of the Class Vehicles
15                  were likely to deceive Statewide Class members in violation of the state consumer
16                  protection statutes alleged herein;
17               h. whether GM breached its express warranty to the Nationwide and Statewide Class
18                  members with respect to the Class Vehicles;
19               i. whether Nationwide and Statewide Class members overpaid for their Class Vehicles as a
20                  result of the defect alleged herein;
21               j. whether Nationwide and Statewide Class members are entitled to damages, restitution,
22                  restitutionary disgorgement, equitable relief, statutory damages, exemplary damages,
23                  and/or other relief; and
24               k. the amount and nature of relief to be awarded to Plaintiffs and the other Nationwide and
25                  Statewide Class members.
26          209.    Typicality – Federal Rule of Civil Procedure 23(a)(3). Plaintiffs’ claims are typical
27   of the other Nationwide and Statewide Class members’ claims because Plaintiffs and the Nationwide
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 1   and Statewide Class members purchased or leased Class Vehicles that contain defective Generation IV
 2   Vortec 5300 Engines. Neither Plaintiffs nor the other Nationwide and Statewide Class Members would
 3   have purchased the Class Vehicles, or would have paid less for the Class Vehicles, had they known of
 4   the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines. Plaintiffs and the other
 5   Nationwide and Statewide Class members suffered damages as a direct proximate result of the same
 6   wrongful practices in which GM engaged. Plaintiffs’ claims arise from the same practices and course
 7   of conduct that give rise to the claims of the other Nationwide and Statewide Class members.
 8          210.    Adequacy of Representation – Federal Rule of Civil Procedure 23(a)(4). Plaintiffs
 9   are adequate Class representatives because their interests do not conflict with the interests of the other
10   members of the Nationwide and Statewide Classes that they respectively seek to represent, Plaintiffs
11   have retained counsel competent and experienced in complex class action litigation, and Plaintiffs
12   intend to prosecute this action vigorously. The Nationwide and Statewide Classes’ interests will be
13   fairly and adequately protected by Plaintiffs and their counsel.
14          211.    Declaratory and Injunctive Relief – Federal Rule of Civil Procedure 23(b)(2). GM
15   has acted or refused to act on grounds generally applicable to Plaintiffs and the other Nationwide and
16   Statewide Class members, thereby making appropriate final injunctive relief and declaratory relief, as
17   described below, with respect to the Nationwide and Statewide Class members as a whole.
18          212.    Superiority – Federal Rule of Civil Procedure 23(b)(3). A class action is superior to
19   any other available means for the fair and efficient adjudication of this controversy, and no unusual
20   difficulties are likely to be encountered in the management of this class action. The damages or other
21   financial detriment suffered by Plaintiffs and the other Nationwide and Statewide Class members are
22   relatively small compared to the burden and expense that would be required to individually litigate their
23   claims against GM, so it would be impracticable for the Nationwide and Statewide Class members to
24   individually seek redress for GM’s wrongful conduct. Even if the Nationwide and Statewide Class
25   members could afford litigation the court system could not. Individualized litigation creates a potential
26   for inconsistent or contradictory judgments, and increases the delay and expense to all parties and the
27   court system. By contrast, the class action device presents far fewer management difficulties, and
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 1   provides the benefits of single adjudication, economy of scale, and comprehensive supervision by a
 2   single court.
 3                                        VII.    CLAIMS FOR RELIEF
 4   A.     Claim Brought on Behalf of the Nationwide Class
 5                                          COUNT 1
                       VIOLATION OF THE MAGNUSON-MOSS WARRANTY ACT
 6                                   15 U.S.C. §§ 2301, et seq.
 7          213.     Plaintiffs repeat and reallege paragraphs 1-212 as if fully set forth herein.
 8          214.     Plaintiffs bring this Count individually and on behalf of the other members of the
 9   Nationwide Class (the “Class,” for purposes of this Count).
10          215.     This Court has jurisdiction to decide claims brought under 15 U.S.C. § 2301 by virtue of
11   28 U.S.C. §§ 1332(a) and (d).
12          216.     Plaintiffs are “consumers” within the meaning of the Magnuson-Moss Warranty Act, 15
13   U.S.C. § 2301(3).
14          217.     GM is a “supplier” and “warrantor” within the meaning of the Magnuson-Moss
15   Warranty Act, 15 U.S.C. § 2301(4)-(5).
16          218.     The Class Vehicles are “consumer products” within the meaning of the Magnuson-Moss
17   Warranty Act, 15 U.S.C. § 2301(1).
18          219.     15 U.S.C. § 2310(d)(1) provides a cause of action for any consumer who is damaged by
19   the failure of a warrantor to comply with a written warranty.
20          220.     In its Limited Warranty, GM expressly warranted that it would repair or replace defects
21   in material or workmanship free of charge if they became apparent during the warranty period. GM
22   provides the following language in its 2012 Chevrolet Limited Warranty guide:
23          This warranty is for GM vehicles registered in the United States and normally operated
            in the United States and Canada, and is provided to the original and any subsequent
24          owners of the vehicle during the warranty period.
25          The warranty covers repairs to correct any vehicle defect . . . related to materials or
            workmanship occurring during the warranty period.
26
            Warranty repairs, including towing, parts, and labor, will be made at no charge.
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 1           221.    GM’s Limited Warranty is a written warranty within the meaning of the Magnuson-
 2   Moss Warranty Act, 15 U.S.C. § 2301(6). The Class Vehicles’ implied warranty of merchantability is
 3   covered by 15 U.S.C. § 2301(7).
 4           222.    With respect to Class members’ purchases or leases of the Class Vehicles, the terms of
 5   GM’s written warranty and implied warranty became part of the basis of the bargain between GM, on
 6   the one hand, and Plaintiffs and each of the other Class members, on the other.
 7           223.    GM breached these warranties as described in more detail above. Without limitation,
 8   the Class Vehicles are equipped with defective Generation IV Vortec 5300 Engines, which, as a result
 9   of the Low-Tension Oil Ring Defect, are designed so as to prematurely consume an abnormally large
10   amount of oil, resulting in low oil levels, reduced lubricity, and engine damage. The Low-Tension Oil
11   Ring Defect and the problems arising therefrom are exacerbated by the defective Oil Life Monitoring
12   System on each of the Class Vehicles that fails to advise drivers of a decreased oil level in their Class
13   Vehicle until it is at a chronically low level.
14           224.    Plaintiff Ludington, individually and on behalf of the other Class members, notified GM
15   of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its corresponding
16   breach of warranties, through a notice letter dated October 27, 2016, and delivered by United States
17   Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed on October
18   28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through numerous
19   complaints filed against it directly and through its dealers, as well as its own internal engineering
20   knowledge. GM has not taken any measures to cure its warranty breaches to Plaintiffs and the other
21   Class members.
22           225.    At the time of sale or lease of each Class Vehicle, GM knew, should have known, or was
23   reckless in not knowing of the Class Vehicles’ inability to perform as warranted, but nonetheless failed
24   to rectify the situation and/or disclose the defective design. Under the circumstances, the remedies
25   available under any informal settlement procedure would be inadequate, and any requirement that
26   Plaintiffs and the other Class members resort to an informal dispute resolution procedure and/or afford
27   GM a reasonable opportunity to cure its breach of warranties is excused and thus deemed satisfied.
28
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 1          226.    The amount in controversy of Plaintiffs’ individual claims meets or exceeds the sum of
 2   $25. The amount in controversy in this action exceeds the sum of $50,000, exclusive of interest and
 3   costs, computed on the basis of all claims to be determined in this lawsuit.
 4          227.    As a direct and proximate result of GM’s breaches of its Limited Warranty and the
 5   implied warranty of merchantability, Plaintiffs and the other Class members have sustained damages in
 6   an amount to be determined at trial.
 7          228.    Plaintiffs, individually and on behalf of all the other Class members, seek all damages
 8   permitted by law, including the diminution in value of their vehicles, in an amount to be proven at trial.
 9   B.     Claims Brought on Behalf of the Statewide Classes
10          1.      Claims Brought on Behalf of the California Class
11                                        COUNT 2
              VIOLATION OF THE CALIFORNIA CONSUMER LEGAL REMEDIES ACT
12                              Cal. Civ. Code. §§ 1750, et seq.
13          229.    Plaintiff Siqueiros (“Plaintiff,” for purposes of the California Class’s claims) repeats and
14   realleges Paragraphs 1-212 as if fully set forth herein.
15          230.    Plaintiff brings this Count individually and on behalf of the other members of the
16   California Class (the “Class,” for purposes of this Count).
17          231.    Plaintiff and the other Class members were deceived by GM’s failure to disclose that the
18   Class Vehicles share a common design defect in that they are fitted with defective engines that
19   consume an excessive amount of oil, leading to engine damage.
20          232.    GM engaged in unfair or deceptive acts or practices when, in the course of its business,
21   it knowingly omitted material facts as to the characteristics and qualities of the Class Vehicles.
22          233.    GM failed to disclose material information concerning the Class Vehicles that it had a
23   duty to disclose. GM had a duty to disclose the Low-Tension Oil Ring Defect because, as detailed
24   above: (a) GM knew about the Low-Tension Oil Ring Defect, (b) GM had exclusive knowledge
25   regarding the Low-Tension Oil Ring Defect not known to the general public, Plaintiff, or the other
26   Class members; and (c) GM actively concealed material facts concerning the Low-Tension Oil Ring
27   Defect from the general public, Plaintiff, and the other Class members.           As detailed above, the
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 1   information concerning the defect was known to GM at the time of advertising and selling the Class
 2   Vehicles, all of which was intended to induce consumers to purchase the Class Vehicles.
 3          234.    GM intended for Plaintiff and the other Class members to rely on it to provide
 4   adequately designed and adequately manufactured automobiles, and to honestly and accurately reveal
 5   the problems described throughout this Complaint.
 6          235.    GM intentionally failed or refused to disclose the Low-Tension Oil Ring Defect to
 7   consumers.
 8          236.    GM’s deceptive omissions were intended to induce Plaintiff and the other Class
 9   members to believe that the Class Vehicles were adequately designed and manufactured.
10          237.    GM’s conduct constitutes unfair acts or practices as defined by the California Consumer
11   Legal Remedies Act.
12          238.    Plaintiff and the other Class members have suffered injury in fact and actual damages
13   resulting from GM’s material omissions because they paid inflated purchase prices for the Class
14   Vehicles. Plaintiff and the other Class members are entitled to recover actual damages, punitive
15   damages, costs and attorneys’ fees, and all other relief that the Court deems proper under California
16   Civil Code § 1780.
17          239.    In accordance with California Civil Code Section 1782, Plaintiffs’ counsel sent a
18   certified letter to GM on November 23, 2016, notifying GM of its § 1770 violations. Pursuant to §
19   1782 of the Act, GM is hereby on notice of its particular § 1770 violations, and Plaintiffs’ demands that
20   GM rectify the problems associated with the actions detailed above and give notice to all affected
21   consumers of GM’s intent to so act.
22          240.    By a letter dated November 29, 2016, GM acknowledged receipt of the November 23,
23   2016 letter, and assigned Plaintiff Siqueiros’s case file to its Early Resolution Program.           In its
24   November 29, 2016 letter, GM did not commit to provide any remedy for the Low-Tension Oil Ring
25   Defect within Plaintiff Siqueiros’s Class Vehicle, did not state that it has taken or will take any actions
26   to identify or notify consumers similarly situated to Plaintiff Siqueiros, and did not commit to ceasing
27   from engaging in the conduct complained of in Plaintiffs’ letter. Indeed, in its November 29, 2016
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 1   letter, GM did not even acknowledge the Low-Tension Oil Ring Defect.                Accordingly, Plaintiff
 2   Siqueiros’s participation in the Early Resolution Program would be futile.
 3           241.    Pursuant to California Civil Code § 1780(d), attached hereto as Exhibit A is the affidavit
 4   showing that this action has been commenced in the proper forum.
 5                                         COUNT 3
                VIOLATION OF THE SONG-BEVERLY CONSUMER WARRANTY ACT
 6                         FOR BREACH OF EXPRESS WARRANTY
                                 Cal. Civ. Code §§ 1790, et seq.
 7
             242.    Plaintiff Siqueiros (“Plaintiff,” for purposes of the California Class’s claims) repeats and
 8
     realleges Paragraphs 1-212 as if fully set forth herein.
 9
             243.    Plaintiff brings this Count individually and on behalf of the other members of the
10
     California Class (the “Class,” for purposes of this Count).
11
             244.    Plaintiff and the other Class members are “buyers” within the meaning of Cal. Civ.
12
     Code. § 1791.
13
             245.    The Class Vehicles are “consumer goods” within the meaning of Cal. Civ. Code § 1791.
14
             246.    GM is a “manufacturer” of the Class Vehicles within the meaning of Cal. Civ. Code §
15
     1791.
16
             247.    Plaintiff and the other Class members bought or leased Class Vehicles manufactured by
17
     GM.
18
             248.    GM made an express warranty to Plaintiff and the other Class members within the
19
     meaning of Cal. Civ. Code §§ 1791.2 and 1793.2, as described above.
20
             249.    The Class Vehicles share a common design defect, in that they are equipped with
21
     Generation IV Vortec 5300 Engines, which have the Low-Tension Oil Ring Defect, causing the above-
22
     described excessive oil consumption, resulting in low oil levels, insufficient lubricity levels, and
23
     corresponding internal engine component damage.
24
             250.    The Class Vehicles are covered by GM’s express warranty. The defect described herein
25
     substantially impairs the use, value, and safety of the Class Vehicles to reasonable consumers,
26
     including Plaintiff and the other Class members.
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 1          251.    Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
 2   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
 3   corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
 4   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
 5   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
 6   numerous complaints filed against it directly and through its dealers, as well as its own internal
 7   engineering knowledge.
 8          252.    GM has had the opportunity to cure the defect in the Class Vehicles, but it has chosen
 9   not to do so. Giving GM a chance to cure the defect is not practicable in this case and would serve only
10   to delay this litigation, and is thus unnecessary.
11          253.    As a result of GM’s breach of its express warranty, Plaintiff and the other Class
12   members received goods with substantially impaired value. Plaintiff and the other Class members have
13   been damaged as a result of the diminished value of the Class Vehicles resulting from the Low-Tension
14   Oil Ring Defect.
15          254.    Pursuant to Cal. Civ. Code §§ 1793.2 & 1794, Plaintiff and the other Class members are
16   entitled to damages and other legal and equitable relief, including, at their election, the purchase price
17   of their vehicles, or the overpayment or diminution in value of their Class Vehicles.
18          255.    Pursuant to Cal. Civ. Code § 1794, Plaintiff and the other Class members are entitled to
19   costs and attorneys’ fees.
20                                         COUNT 4
                VIOLATION OF THE SONG-BEVERLY CONSUMER WARRANTY ACT
21                         FOR BREACH OF IMPLIED WARRANTY
                                 Cal. Civ. Code §§ 1790, et seq.
22
            256.    Plaintiff Siqueiros (“Plaintiff,” for purposes of the California Class’s claims) repeats and
23
     realleges Paragraphs 1-212 as if fully set forth herein.
24
            257.    Plaintiff brings this Count individually and on behalf of the other members of the
25
     California Class (the “Class,” for purposes of this Count).
26
            258.    Plaintiff and the other Class members who purchased their Class Vehicles in California
27
     are “buyers” within the meaning of Cal. Civ. Code. § 1791.
28
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 1           259.   The Class Vehicles are “consumer goods” within the meaning of Cal. Civ. Code § 1791.
 2           260.   GM is a “manufacturer” of the Class Vehicles within the meaning of Cal. Civ. Code §
 3   1791.
 4           261.   GM impliedly warranted to Plaintiff and the other members of the Class that the Class
 5   Vehicles were “merchantable” within the meaning of Cal. Civ. Code §§ 1791.1(a) & 1792.
 6           262.   Cal. Civ. Code § 1791.1(a) states that: “Implied warranty of merchantability” or
 7   “implied warranty that goods are merchantable” means that the consumer goods meet each of the
 8   following:
 9                  (1)    Pass without objection in the trade under the contract description;
10                  (2)    Are fit for the ordinary purposes for which such goods are used;
11                  (3)    Are adequately contained, packaged, and labeled; and
12                  (4)    Conform to the promises or affirmations of fact made on the container or label.
13           263.   The Class Vehicles would not pass without objection in the automotive trade because
14   they share a common design defect in that they are equipped with Generation IV Vortec 5300 Engines,
15   which have the Low-Tension Oil Ring Defect, causing the above-described excessive oil consumption,
16   resulting in low oil levels, insufficient lubricity levels, and corresponding internal engine component
17   damage.
18           264.   Because of the Low-Tension Oil Ring Defect, the Class Vehicles are not fit for their
19   ordinary purposes.
20           265.   The Class Vehicles were not adequately labeled because the labeling failed to disclose
21   the defects described herein.
22           266.   Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
23   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
24   corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
25   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
26   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
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 1   numerous complaints filed against it directly and through its dealers, as well as its own internal
 2   engineering knowledge.
 3            267.   GM has had the opportunity to cure the defect in the Class Vehicles, but it has chosen
 4   not to do so. Giving GM a chance to cure the defect is not practicable in this case and would serve only
 5   to delay this litigation, and is thus unnecessary.
 6            268.   As a result of GM’s breach of its implied warranty, Plaintiff and the other Class
 7   members received goods with substantially impaired value. Plaintiff and the other Class members have
 8   been damaged as a result of the diminished value of the Class Vehicles.
 9            269.   Under Cal. Civ. Code §§ 1791.1(d) & 1794, Plaintiff and the other Class members are
10   entitled to damages and other legal and equitable relief, including, at their election, the purchase price
11   of their Class Vehicles, or the overpayment or diminution in value of their Class Vehicles.
12            270.   Under Cal. Civ. Code § 1794, Plaintiff and the other Class members are entitled to costs
13   and attorneys’ fees.
14                                               COUNT 5
                                           FRAUDULENT OMISSION
15
              271.   Plaintiff Siqueiros (“Plaintiff,” for purposes of the California Class’s claims) repeats and
16
     realleges Paragraphs 1-212 as if fully set forth herein.
17
              272.   Plaintiff brings this Count individually and on behalf of the other members of the
18
     California Class (“Class,” for purposes of this Count).
19
              273.   GM was aware of the Low-Tension Oil Ring Defect within the Generation IV Vortec
20
     5300 Engines when it marketed and sold the Class Vehicles to Plaintiff and the other members of the
21
     Class.
22
              274.   Having been aware of the Low-Tension Oil Ring Defect within the Generation IV
23
     Vortec 5300 Engines, and having known that Plaintiff and the other members of the Class could not
24
     have reasonably been expected to know of the Low-Tension Oil Ring Defect, GM had a duty to
25
     disclose the defect to Plaintiff and the other members of the Class in connection with the sale or lease
26
     of the Class Vehicles.
27
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 1          275.    GM did not disclose the Low-Tension Oil Ring Defect within the Generation IV Vortec
 2   5300 Engines to Plaintiff and the other members of the Class in connection with the sale of the Class
 3   Vehicles.
 4          276.    For the reasons set forth above, the Low-Tension Oil Ring Defect within the Generation
 5   IV Vortec 5300 Engines comprises material information with respect to the sale or lease of the Class
 6   Vehicles.
 7          277.    In purchasing the Class Vehicles, Plaintiff and the other members of the Class
 8   reasonably relied on GM to disclose known material defects with respect to the Class Vehicles.
 9          278.    Had Plaintiff and the other members of the Class known of the Low-Tension Oil Ring
10   Defect within the Generation IV Vortec 5300 Engines, they would have not purchased the Class
11   Vehicles or would have paid less for the Class Vehicles.
12          279.    Through its omissions regarding the Low-Tension Oil Ring Defect within the
13   Generation IV Vortec 5300 Engines, GM intended to induce, and did induce, Plaintiff and the other
14   members of the Class to either purchase a Class Vehicle that they otherwise would not have purchased,
15   or pay more for a Class Vehicle than they otherwise would have paid.
16          280.    As a direct and proximate result of GM’s omissions, Plaintiff and the other members of
17   the Class either overpaid for the Class Vehicles or would not have purchased the Class Vehicles at all if
18   the Low-Tension Oil Ring Defect had been disclosed to them, and, therefore, have incurred damages in
19   an amount to be determined at trial.
20                                               COUNT 6
                                            UNJUST ENRICHMENT
21
            281.    Plaintiff Siqueiros (“Plaintiff,” for purposes of the California Class’s claims) repeats and
22
     realleges paragraphs 1-212 as if fully set forth herein.
23
            282.    Plaintiff brings this Count individually and on behalf of the other members of the
24
     California Class (the “Class,” for purposes of this Count).
25
            283.    GM has benefitted from selling and leasing at an unjust profit defective Class Vehicles
26
     that had artificially inflated prices due to GM’s concealment of the Low-Tension Oil Ring Defect, and
27
     Plaintiff and the other members of the Class have overpaid for these vehicles.
28
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 1             284.    GM has received and retained unjust benefits from Plaintiff and the other members of
 2   the Class, and inequity has resulted.
 3             285.    It is inequitable and unconscionable for GM to retain these benefits.
 4             286.    Because GM concealed its fraud and deception, Plaintiff and the other members of the
 5   Class were not aware of the true facts concerning the Class Vehicles and did not benefit from GM’s
 6   misconduct.
 7             287.    GM knowingly accepted the unjust benefits of its wrongful conduct.
 8             288.    As a result of GM’s misconduct, the amount of its unjust enrichment should be
 9   disgorged and returned to Plaintiff and the other members of the Class in an amount to be proven at
10   trial.
11                                            COUNT 7
                      VIOLATION OF THE CALIFORNIA UNFAIR COMPETITION LAW
12                             CAL. BUS. & PROF. CODE §§ 17200, et seq.
13             289.    Plaintiff Siqueiros (“Plaintiff,” for purposes of the California Class’s claims) repeats and
14   realleges paragraphs 1-212 as if fully set forth herein.
15             290.    Plaintiff brings this Count individually and on behalf of the other members of the
16   California Class (“Class,” for purposes of this Count).
17             291.    California Business and Professions Code § 17200 prohibits any “unlawful, unfair, or
18   fraudulent business acts or practices.”
19             292.    GM’s conduct violated multiple statutes and the common law, as alleged herein.
20             293.    GM has violated § 17200 by knowingly selling Class Vehicles that include defective
21   engines with Low-Tension Oil Rings that cause excessive oil consumption and omitting mention of this
22   defect to consumers.
23             294.    GM’s conduct was unscrupulous, offended established public policy, and was
24   fraudulent.
25             295.    The harm caused by GM’s conduct greatly outweighs any benefit to consumers.
26

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 1          296.    Plaintiff relied on the omissions of GM with respect to the quality and reliability of the
 2   Class Vehicles. Plaintiff and the other Class members would not have purchased or leased their Class
 3   Vehicles, and/or paid as much for them, but for GM’s omissions.
 4          297.    GM concealed and failed to disclose material information about the Class Vehicles in a
 5   manner that is likely to, and in fact did, deceive consumers and the public.
 6          298.    All of the wrongful conduct alleged herein occurred in the conduct of GM’s business.
 7          299.    Plaintiff, individually and on behalf of the other Class members, requests that this Court
 8   restore to Plaintiff and the other Class members any money acquired by unfair competition, including
 9   restitution and/or restitutionary disgorgement.
10          2.      Claims Brought on Behalf of the Alabama Class
11                                                COUNT 8
                                     BREACH OF EXPRESS WARRANTY
12                                    Ala. Code. §§ 7-2-313 and 7-2A-210
13          300.    Plaintiff Brannan (“Plaintiff,” for purposes of the Alabama Class’s claims) repeats and
14   realleges paragraphs 1-212 as if fully set forth herein.
15          301.    Plaintiff brings this Count individually and on behalf of the other members of the
16   Alabama Class (the “Class,” for purposes of this Count).
17          302.    GM is and was at all relevant times a merchant with respect to the Class Vehicles.
18          303.    In its Limited Warranty, GM expressly warranted that it would repair or replace defects
19   in material or workmanship free of charge if those defects became apparent during the warranty period.
20   GM provides the following language in its 2012 Chevrolet Limited Warranty guide:
21          This warranty is for GM vehicles registered in the United States and normally operated
            in the United States and Canada, and is provided to the original and any subsequent
22          owners of the vehicle during the warranty period.
23          The warranty covers repairs to correct any vehicle defect . . . related to materials or
            workmanship occurring during the warranty period.
24
            Warranty repairs, including towing, parts, and labor, will be made at no charge.
25
            304.    GM’s Limited Warranty formed the basis of the bargain that was reached when Plaintiff
26
     and the other Class members purchased or leased their Class Vehicles equipped with the defective
27
     Generation IV Vortec 5300 Engines.
28
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 1          305.   GM breached its express warranty to repair defects in materials and workmanship within
 2   the Class Vehicles. GM has not repaired, and has been unable to repair, the Class Vehicles’ materials
 3   and workmanship defects.
 4          306.   Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
 5   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
 6   corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
 7   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
 8   on October 28, 2016.     GM was also provided notice of the Low-Tension Oil Ring Defect through
 9   numerous complaints filed against it directly and through its dealers, as well as its own internal
10   engineering knowledge.
11          307.   Furthermore, the Limited Warranty fails in its essential purpose because the contractual
12   remedy is insufficient to make Plaintiff and the other Class members whole and because GM has failed
13   and/or has refused to adequately provided the promised remedies within a reasonable time.
14          308.   Accordingly, recovery by Plaintiff and the other Class members is not limited to the
15   limited warranty of repair to parts defective in materials and workmanship, and Plaintiff, individually
16   and on behalf of the other Class members, seeks all remedies as allowed by law.
17          309.   Also, as alleged in more detail herein, at the time that GM warranted and sold the Class
18   Vehicles it knew that the Class Vehicles did not conform to the warranty and were inherently defective,
19   and GM improperly concealed material facts regarding its Class Vehicles. Plaintiff and the other Class
20   members were therefore induced to purchase or lease the GM Vehicles under false pretenses.
21          310.   Moreover, much of the damage flowing from the Class Vehicles cannot be resolved
22   through the limited remedy of repairs, as those incidental and consequential damages have already been
23   suffered due to GM’s improper conduct as alleged herein, and due to its failure and/or continued failure
24   to provide such limited remedy within a reasonable time, and any limitation on Plaintiff’s and the other
25   Class members’ remedies would be insufficient to make them whole.
26          311.   As a direct and proximate result of GM’s breach of its express warranty, Plaintiff and
27   the other Class members have been damaged in an amount to be determined at trial.
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                                           COUNT 9
 1                   BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                   Ala. Code §§ 7-2-314 and 7-2A-212
 2
            312.    Plaintiff Brannan (“Plaintiff,” for purposes of the Alabama Class’s claims) repeats and
 3
     realleges paragraphs 1-212 as if fully set forth herein.
 4
            313.    Plaintiff brings this Count individually and on behalf of the other members of the
 5
     Alabama Class (the “Class,” for purposes of this Count).
 6
            314.    GM is and was at all relevant times a merchant with respect to motor vehicles under Ala.
 7
     Code §§ 7-2-104 and 7-2A-103.
 8
            315.    Pursuant to Ala. Code §§ 7-2-314 and 7-2A-212, a warranty that the Class Vehicles
 9
     were in merchantable condition was implied by law, and the Class Vehicles were bought and sold
10
     subject to an implied warranty of merchantability.
11
            316.    The Class Vehicles did not comply with the implied warranty of merchantability
12
     because, at the time of sale and at all times thereafter, they were defective and not in merchantable
13
     condition, would not pass without objection in the trade, and were not fit for the ordinary purpose for
14
     which vehicles were used. Specifically, the Class Vehicles suffer from the Low-Tension Oil Ring
15
     Defect which causes excessive oil loss and leads to engine damage.
16
            317.    Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
17
     notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
18
     corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
19
     United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
20
     on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
21
     numerous complaints filed against it directly and through its dealers, as well as its own internal
22
     engineering knowledge.
23
            318.    Plaintiff and the other Class members suffered injuries due to the defective nature of the
24
     Class Vehicles and GM’s breach of the warranty of merchantability.
25
            319.    As a direct and proximate result of GM’s breach of the warranty of merchantability,
26
     Plaintiff and the other Class members have been damaged in an amount to be proven at trial.
27
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                                                COUNT 10
 1                                         FRAUDULENT OMISSION
 2            320.   Plaintiff Brannan (“Plaintiff,” for purposes of the Alabama Class’s claims) repeats and
 3   realleges paragraphs 1-212 as if fully set forth herein.
 4            321.   Plaintiff brings this Count individually and on behalf of the other members of the
 5   Alabama Class (the “Class,” for purposes of this Count).
 6            322.   GM was aware of the Low-Tension Oil Ring Defect within the Generation IV Vortec
 7   5300 Engines when it marketed and sold the Class Vehicles to Plaintiff and the other members of the
 8   Class.
 9            323.   Having been aware of the Low-Tension Oil Ring Defect within the Generation IV
10   Vortec 5300 Engines, and having known that Plaintiff and the other members of the Class could not
11   have reasonably been expected to know of the Low-Tension Oil Ring Defect, GM had a duty to
12   disclose the defect to Plaintiff and the other members of the Class in connection with the sale or lease
13   of the Class Vehicles.
14            324.   GM did not disclose the Low-Tension Oil Ring Defect within the Generation IV Vortec
15   5300 Engines to Plaintiff and the other members of the Class in connection with the sale of the Class
16   Vehicles.
17            325.   For the reasons set forth above, the Low-Tension Oil Ring Defect within the Generation
18   IV Vortec 5300 Engines comprises material information with respect to the sale or lease of the Class
19   Vehicles.
20            326.   In purchasing the Class Vehicles, Plaintiff and the other members of the Class
21   reasonably relied on GM to disclose known material defects with respect to the Class Vehicles.
22            327.   Had Plaintiff and the other members of the Class known of the Low-Tension Oil Ring
23   Defect within the Generation IV Vortec 5300 Engines, they would have not purchased the Class
24   Vehicles or would have paid less for the Class Vehicles.
25            328.   Through its omissions regarding the Low-Tension Oil Ring Defect within the
26   Generation IV Vortec 5300 Engines, GM intended to induce, and did induce, Plaintiff and the other
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28
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 1   members of the Class to either purchase a Class Vehicle that they otherwise would not have purchased,
 2   or pay more for a Class Vehicle than they otherwise would have paid.
 3             329.   As a direct and proximate result of GM’s omissions, Plaintiff and the other members of
 4   the Class either overpaid for the Class Vehicles or would not have purchased the Class Vehicles at all if
 5   the Low-Tension Oil Ring Defect had been disclosed to them, and, therefore, have incurred damages in
 6   an amount to be determined at trial.
 7                                                COUNT 11
                                             UNJUST ENRICHMENT
 8
               330.   Plaintiff Brannan (“Plaintiff,” for purposes of the Alabama Class’s claims) repeats and
 9
     realleges paragraphs 1-212 as if fully set forth herein.
10
               331.   Plaintiff brings this Count individually and on behalf of the other members of the
11
     Alabama Class (the “Class,” for purposes of this Count).
12
               332.   GM has benefitted from selling and leasing at an unjust profit defective Class Vehicles
13
     that had artificially inflated prices due to GM’s concealment of the Low-Tension Oil Ring Defect, and
14
     Plaintiff and the other members of the Class have overpaid for these vehicles.
15
               333.   GM has received and retained unjust benefits from Plaintiff and the other members of
16
     the Class, and inequity has resulted.
17
               334.   It is inequitable and unconscionable for GM to retain these benefits.
18
               335.   Because GM concealed its fraud and deception, Plaintiff and the other members of the
19
     Class were not aware of the true facts concerning the Class Vehicles and did not benefit from GM’s
20
     misconduct.
21
               336.   GM knowingly accepted the unjust benefits of its wrongful conduct.
22
               337.   As a result of GM’s misconduct, the amount of its unjust enrichment should be
23
     disgorged and returned to Plaintiff and the other members of the Class in an amount to be proven at
24
     trial.
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 1          3.      Claims Brought on Behalf of the Arkansas Class
 2                                              COUNT 12
                                     VIOLATIONS OF ARKANSAS’S
 3                                 DECEPTIVE TRADE PRACTICES ACT
                                     Ark. Code Ann. §§ 4-88-101, et seq.
 4
            338.    Plaintiff Goodwin (“Plaintiff,” for purposes of the Arkansas Class’s claims) repeats and
 5
     realleges paragraphs 1-212 as if fully set forth herein.
 6
            339.    Plaintiff brings this claim individually and on behalf of the other members of the
 7
     Arkansas Class (the “Class,” for purposes of this Count).
 8
            340.    The Arkansas Deceptive Trade Practices Act, Ark. Code Ann. § 4-88-107, prohibits
 9
     “[e]ngaging in . . . unconscionable, false, or deceptive act[s] or practice[s] in business, commerce, or
10
     trade.” The Arkansas Deceptive Trade Practices Act, Ark. Code Ann. § 4-88-108, also prohibits in
11
     connection with the sale or advertisement of goods: “(1) The act, use, or employment by any person of
12
     any deception, fraud, or false pretense; or (2) The concealment, suppression, or omission of any
13
     material fact with the intent that others rely upon the concealment, suppression, or omission.”
14
            341.    By the conduct described in detail above and incorporated herein, GM engaged in
15
     deceptive trade practices.
16
            342.    GM’s omissions regarding the Low-Tension Oil Ring Defect, described above, that
17
     results in abnormally high oil consumption and resultant engine damage within the Generation IV
18
     Vortec 5300 Engines, are material facts that a reasonable person would have considered in deciding
19
     whether or not to purchase (or to pay the same price for) the Class Vehicles.
20
            343.    GM intended for Plaintiff and the other Class members to rely on GM’s omissions
21
     regarding the Low-Tension Oil Ring Defect.
22
            344.    Plaintiff and the other Class members justifiably acted or relied to their detriment upon
23
     GM’s omissions of fact concerning the above-described Low-Tension Oil Ring Defect that results in
24
     abnormally high oil consumption and resultant engine damage within the Generation IV Vortec 5300
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     Engines, as evidenced by Plaintiff and the other Class members’ purchases of Class Vehicles.
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 1          345.    Had GM disclosed all material information regarding the Low-Tension Oil Ring Defect
 2   to Plaintiff and the other Class members, Plaintiff and the other Class members would not have
 3   purchased or leased Class Vehicles or would have paid less to do so.
 4          346.    GM’s omissions have deceived Plaintiff, and those same business practices have
 5   deceived or are likely to deceive members of the consuming public and the other members of the Class.
 6          347.    In addition to being deceptive, the business practices of GM were unfair because GM
 7   knowingly sold Plaintiff and the other Class members Class Vehicles with defective engines that are
 8   essentially unusable for the purposes for which they were sold. The injuries to Plaintiff and the other
 9   Class members are substantial and greatly outweigh any alleged countervailing benefit to Plaintiff and
10   the other Class members or to competition under all of the circumstances. Moreover, in light of GM’s
11   exclusive knowledge of the Low-Tension Oil Ring Defect, the injury is not one that Plaintiff or the
12   other Class members could have reasonably avoided.
13          348.    As a direct and proximate result of GM’s unfair and deceptive trade practices, Plaintiff
14   and the other Class members have suffered ascertainable loss and actual damages. Plaintiff and the
15   other Class members who purchased or leased the Class Vehicles would not have purchased or leased
16   the Class Vehicles, or, alternatively, would have paid less for them had the truth about the Low-
17   Tension Oil Ring Defect been disclosed.          Plaintiff and the other Class members also suffered
18   diminished value of their vehicles. Plaintiff and the other Class members are entitled to recover actual
19   damages, attorneys’ fees and costs, and all other relief allowed under Ark. Code Ann. § 4-88-113.
20                                               COUNT 13
                                    BREACH OF EXPRESS WARRANTY
21                                  Ark. Code Ann. §§ 4-2-313 and 4-2A-210
22          349.    Plaintiff Goodwin (“Plaintiff,” for the purposes of the Arkansas Class’s claims) repeats
23   and realleges paragraphs 1-212 as if fully set forth herein.
24          350.    Plaintiff brings this Count individually and on behalf of the other members of the
25   Arkansas Class (the “Class,” for purposes of this Count).
26          351.    GM is and was at all relevant times a merchant with respect to the Class Vehicles.
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 1          352.   In its Limited Warranty, GM expressly warranted that it would repair or replace defects
 2   in material or workmanship free of charge if those defects became apparent during the warranty period.
 3   GM provides the following language in its 2012 Chevrolet Limited Warranty guide:
 4                 This warranty is for GM vehicles registered in the United States and normally
                   operated in the United States and Canada, and is provided to the original and any
 5                 subsequent owners of the vehicle during the warranty period.
 6                 The warranty covers repairs to correct any vehicle defect . . . related to materials
                   or workmanship occurring during the warranty period.
 7
                   Warranty repairs, including towing, parts, and labor, will be made at no charge.
 8
            353.   GM’s Limited Warranty formed the basis of the bargain that was reached when Plaintiff
 9
     and the other Class members purchased or leased their Class Vehicles equipped with the defective
10
     Generation IV Vortec 5300 Engines.
11
            354.   GM breached its express warranty to repair defects in materials and workmanship within
12
     the Class Vehicles. GM has not repaired, and has been unable to repair, the Class Vehicles’ materials
13
     and workmanship defects.
14
            355.   Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
15
     notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
16
     corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
17
     United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
18
     on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
19
     numerous complaints filed against it directly and through its dealers, as well as its own internal
20
     engineering knowledge.
21
            356.   Furthermore, the Limited Warranty fails in its essential purpose because the contractual
22
     remedy is insufficient to make Plaintiff and the other Class members whole and because GM has failed
23
     and/or has refused to adequately provided the promised remedies within a reasonable time.
24
            357.   Accordingly, recovery by Plaintiff and the other Class members is not limited to the
25
     limited warranty of repair to parts defective in materials and workmanship, and Plaintiff, individually
26
     and on behalf of the other Class members, seeks all remedies as allowed by law.
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 1          358.    Also, as alleged in more detail herein, at the time that GM warranted, leased, and sold
 2   the Class Vehicles it knew that the Class Vehicles did not conform to the warranty and were inherently
 3   defective, and GM improperly concealed material facts regarding its Class Vehicles. Plaintiff and the
 4   other Class members were therefore induced to purchase or lease the GM Vehicles under false
 5   pretenses.
 6          359.    Moreover, much of the damage flowing from the Class Vehicles cannot be resolved
 7   through the limited remedy of repairs, as those incidental and consequential damages have already been
 8   suffered due to GM’s improper conduct as alleged herein, and due to its failure and/or continued failure
 9   to provide such limited remedy within a reasonable time, and any limitation on Plaintiff’s and the other
10   Class members’ remedies would be insufficient to make them whole.
11          360.    As a direct and proximate result of GM’s breach of its express warranty, Plaintiff and
12   the other Class members have been damaged in an amount to be determined at trial.
13                                        COUNT 14
                     BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
14                             Ark. Code Ann. 4-2-314 and 4-2A-212
15          361.    Plaintiff Goodwin (“Plaintiff,” for purposes of the Arkansas Class’s claims) repeats and
16   realleges paragraphs 1-212 as if fully set forth herein.
17          362.    Plaintiff brings this Count individually and on behalf of the other members of the
18   Arkansas Class (the “Class,” for purposes of this Count).
19          363.    GM is and was at all relevant times a merchant with respect to motor vehicles under
20   Ark. Code Ann. §§ 4-2-104 and 4-2A-103.
21          364.    Pursuant to Ark. Code Ann. §§ 4-2-314 and 4-2A-212, a warranty that the Class
22   Vehicles were in merchantable condition was implied by law, and the Class Vehicles were bought and
23   sold subject to an implied warranty of merchantability.
24          365.    The Class Vehicles did not comply with the implied warranty of merchantability
25   because, at the time of sale and at all times thereafter, they were defective and not in merchantable
26   condition, would not pass without objection in the trade, and were not fit for the ordinary purpose for
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 1   which vehicles were used. Specifically, the Class Vehicles suffer from the Low-Tension Oil Ring
 2   Defect which causes excessive oil loss and leads to engine damage.
 3            366.   Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
 4   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
 5   corresponding breach of warranty, through a notice letter dated October 27, 2016 and delivered by
 6   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
 7   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
 8   numerous complaints filed against it directly and through its dealers, as well as its own internal
 9   engineering knowledge.
10            367.   Plaintiff and the other Class members suffered injuries due to the defective nature of the
11   Class Vehicles and GM’s breach of the warranty of merchantability.
12            368.   As a direct and proximate result of GM’s breach of the warranty of merchantability,
13   Plaintiff and the other Class members have been damaged in an amount to be proven at trial.
14                                              COUNT 15
                                           FRAUDULENT OMISSION
15
              369.   Plaintiff Goodwin (“Plaintiff,” for purposes of the Arkansas Class’s claims) repeats and
16
     realleges paragraphs 1-212 as if fully set forth herein.
17
              370.   Plaintiff brings this Count individually and on behalf of the other members of the
18
     Arkansas Class (the “Class,” for purposes of this Count).
19
              371.   GM was aware of the Low-Tension Oil Ring Defect within the Generation IV Vortec
20
     5300 Engines when it marketed and sold the Class Vehicles to Plaintiff and the other members of the
21
     Class.
22
              372.   Having been aware of the Low-Tension Oil Ring Defect within the Generation IV
23
     Vortec 5300 Engines, and having known that Plaintiff and the other members of the Class could not
24
     have reasonably been expected to know of the Low-Tension Oil Ring Defect, GM had a duty to
25
     disclose the defect to Plaintiff and the other members of the Class in connection with the sale or lease
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     of the Class Vehicles.
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 1          373.    GM did not disclose the Low-Tension Oil Ring Defect within the Generation IV Vortec
 2   5300 Engines to Plaintiff and the other members of the Class in connection with the sale of the Class
 3   Vehicles.
 4          374.    For the reasons set forth above, the Low-Tension Oil Ring Defect within the Generation
 5   IV Vortec 5300 Engines comprises material information with respect to the sale or lease of the Class
 6   Vehicles.
 7          375.    In purchasing the Class Vehicles, Plaintiff and the other members of the Class
 8   reasonably relied on GM to disclose known material defects with respect to the Class Vehicles.
 9          376.    Had Plaintiff and the other members of the Class known of the Low-Tension Oil Ring
10   Defect within the Generation IV Vortec 5300 Engines, they would have not purchased the Class
11   Vehicles or would have paid less for the Class Vehicles.
12          377.    Through its omissions regarding the Low-Tension Oil Ring Defect within the
13   Generation IV Vortec 5300 Engines, GM intended to induce, and did induce, Plaintiff and the other
14   members of the Class to either purchase a Class Vehicle that they otherwise would not have purchased,
15   or pay more for a Class Vehicle than they otherwise would have paid.
16          378.    As a direct and proximate result of GM’s omissions, Plaintiff and the other members of
17   the Class either overpaid for the Class Vehicles or would not have purchased the Class Vehicles at all if
18   the Low-Tension Oil Ring Defect had been disclosed to them, and, therefore, have incurred damages in
19   an amount to be determined at trial.
20                                               COUNT 16
                                            UNJUST ENRICHMENT
21
            379.    Plaintiff Goodwin (“Plaintiff,” for purposes of the Arkansas Class’s claims) repeats and
22
     realleges paragraphs 1-212 as if fully set forth herein.
23
            380.    Plaintiff brings this Count individually and on behalf of the other members of the
24
     Arkansas Class (the “Class,” for purposes of this Count).
25
            381.    GM has benefitted from selling and leasing at an unjust profit defective Class Vehicles
26
     that had artificially inflated prices due to GM’s concealment of the Low-Tension Oil Ring Defect, and
27
     Plaintiff and the other members of the Class have overpaid for these vehicles.
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 1             382.   GM has received and retained unjust benefits from Plaintiff and the other members of
 2   the Class, and inequity has resulted.
 3             383.   It is inequitable and unconscionable for GM to retain these benefits.
 4             384.   Because GM concealed its fraud and deception, Plaintiff and the other members of the
 5   Class were not aware of the true facts concerning the Class Vehicles and did not benefit from GM’s
 6   misconduct.
 7             385.   GM knowingly accepted the unjust benefits of its wrongful conduct.
 8             386.   As a result of GM’s misconduct, the amount of its unjust enrichment should be
 9   disgorged and returned to Plaintiff and the other members of the Class in an amount to be proven at
10   trial.
11             4.     Claims Brought on Behalf of the Colorado Class
12                                                 COUNT 17
                                      VIOLATIONS OF THE COLORADO
13
                                       CONSUMER PROTECTION ACT
14                                      Colo. Rev. Stat. §§ 6-1-101, et seq.
               387.   Plaintiff Edgecomb (“Plaintiff,” for purposes of the Colorado Class’s claims) repeats
15
     and realleges paragraphs 1-212 as if fully set forth herein.
16
               388.   Plaintiff brings this claim individually and on behalf of the other members of the
17
     Colorado Class (the “Class,” for purposes of this Count).
18
               389.   The Colorado Consumer Protection Act provides a cause of action “against any person
19
     who has engaged in or caused another to engage in any deceptive practices listed in [the Act]. Colo.
20
     Rev. Stat. § 6-1-113.
21
               390.   The deceptive trade practices listed in the Colorado Consumer Protection Act include:
22
     the “fail[ure] to disclose material information concerning goods, services, or property which
23
     information was known at the time of an advertisement or sale if such failure was intended to induce
24
     the consumer to enter into a transaction.” Colo. Rev. Stat. § 6-1-105.
25
               391.   By the conduct described in detail above and incorporated herein, GM engaged in
26
     deceptive acts in violation of the Colorado Consumer Protection Act.
27
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                                                      57
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 1          392.    GM’s omissions regarding the Low-Tension Oil Ring Defect, described above, that
 2   results in abnormally high oil consumption and resultant engine damage within the Generation IV
 3   Vortec 5300 Engines, are material facts that a reasonable person would have considered in deciding
 4   whether or not to purchase (or to pay the same price for) the Class Vehicles.
 5          393.    GM intended for Plaintiff and the other Class members to rely on GM’s omissions
 6   regarding the Low-Tension Oil Ring Defect.
 7          394.    Plaintiff and the other Class members justifiably acted or relied to their detriment upon
 8   GM’s omissions of fact concerning the above-described Low-Tension Oil Ring Defect that results in
 9   abnormally high oil consumption and resultant engine damage within the Generation IV Vortec 5300
10   Engines, as evidenced by Plaintiff and the other Class members’ purchases of Class Vehicles.
11          395.    Had GM disclosed all material information regarding the Low-Tension Oil Ring Defect
12   to Plaintiff and the other Class members, Plaintiff and the other Class members would not have
13   purchased or leased Class Vehicles or would have paid less to do so.
14          396.    GM’s omissions have deceived Plaintiff, and those same business practices have
15   deceived or are likely to deceive members of the consuming public and the other members of the Class.
16          397.    In addition to being deceptive, the business practices of GM were unfair because GM
17   knowingly sold Plaintiff and the other Class members Class Vehicles with defective engines that are
18   essentially unusable for the purposes for which they were sold. The injuries to Plaintiff and the other
19   Class members are substantial and greatly outweigh any alleged countervailing benefit to Plaintiff and
20   the other Class members or to competition under all of the circumstances. Moreover, in light of GM’s
21   exclusive knowledge of the Low-Tension Oil Ring Defect, the injury is not one that Plaintiff or the
22   other Class members could have reasonably avoided.
23          398.    As a direct and proximate result of GM’s unfair and deceptive trade practices, Plaintiff
24   and the other Class members have suffered ascertainable loss and actual damages. Plaintiff and the
25   other Class members who purchased or leased the Class Vehicles would not have purchased or leased
26   the Class Vehicles, or, alternatively, would have paid less for them had the truth about the Low-
27   Tension Oil Ring Defect been disclosed.        Plaintiff and the other Class members also suffered
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 1   diminished value of their vehicles. Plaintiff and the other Class members are entitled to recover actual
 2   damages, attorneys’ fees and costs, and all other relief allowed under Colo. Rev. Stat. §§ 6-1-101, et
 3   seq.
                                                   COUNT 18
 4                                  BREACH OF EXPRESS WARRANTY
                                    Colo. Rev. Stat. §§ 4-2-313 and 4-2.5-210
 5
             399.   Plaintiff Edgecomb (“Plaintiff,” for the purposes of the Colorado Class’s claims) repeats
 6
     and realleges paragraphs 1-212 as if fully set forth herein.
 7
             400.   Plaintiff brings this Count individually and on behalf of the other members of the
 8
     Colorado Class (the “Class,” for purposes of this Count).
 9
             401.   GM is and was at all relevant times a merchant with respect to the Class Vehicles.
10
             402.   In its Limited Warranty, GM expressly warranted that it would repair or replace defects
11
     in material or workmanship free of charge if those defects became apparent during the warranty period.
12
     GM provides the following language in its 2012 Chevrolet Limited Warranty guide:
13
                    This warranty is for GM vehicles registered in the United States and normally
14                  operated in the United States and Canada, and is provided to the original and any
15                  subsequent owners of the vehicle during the warranty period.

16                  The warranty covers repairs to correct any vehicle defect . . . related to materials
                    or workmanship occurring during the warranty period.
17
                    Warranty repairs, including towing, parts, and labor, will be made at no charge.
18
             403.   GM’s Limited Warranty formed the basis of the bargain that was reached when Plaintiff
19
     and the other Class members purchased or leased their Class Vehicles equipped with the defective
20
     Generation IV Vortec 5300 Engines.
21
             404.   GM breached its express warranty to repair defects in materials and workmanship within
22
     the Class Vehicles. GM has not repaired, and has been unable to repair, the Class Vehicles’ materials
23
     and workmanship defects.
24
             405.   Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
25
     notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
26
     corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
27
     United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
28
                                                     59
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 1   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
 2   numerous complaints filed against it directly and through its dealers, as well as its own internal
 3   engineering knowledge.
 4          406.    Furthermore, the Limited Warranty fails in its essential purpose because the contractual
 5   remedy is insufficient to make Plaintiff and the other Class members whole and because GM has failed
 6   and/or has refused to adequately provided the promised remedies within a reasonable time.
 7          407.    Accordingly, recovery by Plaintiff and the other Class members is not limited to the
 8   limited warranty of repair to parts defective in materials and workmanship, and Plaintiff, individually
 9   and on behalf of the other Class members, seeks all remedies as allowed by law.
10          408.    Also, as alleged in more detail herein, at the time that GM warranted, leased, and sold
11   the Class Vehicles it knew that the Class Vehicles did not conform to the warranty and were inherently
12   defective, and GM improperly concealed material facts regarding its Class Vehicles. Plaintiff and the
13   other Class members were therefore induced to purchase or lease the GM Vehicles under false
14   pretenses.
15          409.    Moreover, much of the damage flowing from the Class Vehicles cannot be resolved
16   through the limited remedy of repairs, as those incidental and consequential damages have already been
17   suffered due to GM’s improper conduct as alleged herein, and due to its failure and/or continued failure
18   to provide such limited remedy within a reasonable time, and any limitation on Plaintiff’s and the other
19   Class members’ remedies would be insufficient to make them whole.
20          410.    As a direct and proximate result of GM’s breach of its express warranty, Plaintiff and
21   the other Class members have been damaged in an amount to be determined at trial.
22                                           COUNT 19
                     BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
23
                              Colo. Rev. Stat. §§ 4-2-314 and 4-2.5-212
24          411.    Plaintiff Edgecomb (“Plaintiff,” for purposes of the Colorado Class’s claims) repeats
25   and realleges paragraphs 1-212 as if fully set forth herein.
26          412.    Plaintiff brings this Count individually and on behalf of the other members of the
27   Colorado Class (the “Class,” for purposes of this Count).
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 1          413.    GM is and was at all relevant times a merchant with respect to motor vehicles under
 2   Colo. Rev. Stat. §§ 4-2-104 and 4-2.5-103.
 3          414.    Pursuant to Colo. Rev. Code §§ 4-2-314 and 4-2.5-212, a warranty that the Class
 4   Vehicles were in merchantable condition was implied by law, and the Class Vehicles were bought and
 5   sold subject to an implied warranty of merchantability.
 6          415.    The Class Vehicles did not comply with the implied warranty of merchantability
 7   because, at the time of sale and at all times thereafter, they were defective and not in merchantable
 8   condition, would not pass without objection in the trade, and were not fit for the ordinary purpose for
 9   which vehicles were used. Specifically, the Class Vehicles suffer from the Low-Tension Oil Ring
10   Defect which causes excessive oil loss and leads to engine damage.
11          416.    Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
12   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
13   corresponding breach of warranty, through a notice letter dated October 27, 2016 and delivered by
14   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
15   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
16   numerous complaints filed against it directly and through its dealers, as well as its own internal
17   engineering knowledge.
18          417.    Plaintiff and the other Class members suffered injuries due to the defective nature of the
19   Class Vehicles and GM’s breach of the warranty of merchantability.
20          418.    As a direct and proximate result of GM’s breach of the warranty of merchantability,
21   Plaintiff and the other Class members have been damaged in an amount to be proven at trial.
22                                              COUNT 20
                                           FRAUDULENT OMISSION
23
            419.    Plaintiff Edgecomb (“Plaintiff,” for purposes of the Colorado Class’s claims) repeats
24
     and realleges paragraphs 1-212 as if fully set forth herein.
25
            420.    Plaintiff brings this Count individually and on behalf of the other members of the
26
     Colorado Class (the “Class,” for purposes of this Count).
27
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 1            421.   GM was aware of the Low-Tension Oil Ring Defect within the Generation IV Vortec
 2   5300 Engines when it marketed and sold the Class Vehicles to Plaintiff and the other members of the
 3   Class.
 4            422.   Having been aware of the Low-Tension Oil Ring Defect within the Generation IV
 5   Vortec 5300 Engines, and having known that Plaintiff and the other members of the Class could not
 6   have reasonably been expected to know of the Low-Tension Oil Ring Defect, GM had a duty to
 7   disclose the defect to Plaintiff and the other members of the Class in connection with the sale or lease
 8   of the Class Vehicles.
 9            423.   GM did not disclose the Low-Tension Oil Ring Defect within the Generation IV Vortec
10   5300 Engines to Plaintiff and the other members of the Class in connection with the sale of the Class
11   Vehicles.
12            424.   For the reasons set forth above, the Low-Tension Oil Ring Defect within the Generation
13   IV Vortec 5300 Engines comprises material information with respect to the sale or lease of the Class
14   Vehicles.
15            425.   In purchasing the Class Vehicles, Plaintiff and the other members of the Class
16   reasonably relied on GM to disclose known material defects with respect to the Class Vehicles.
17            426.   Had Plaintiff and the other members of the Class known of the Low-Tension Oil Ring
18   Defect within the Generation IV Vortec 5300 Engines, they would have not purchased the Class
19   Vehicles or would have paid less for the Class Vehicles.
20            427.   Through its omissions regarding the Low-Tension Oil Ring Defect within the
21   Generation IV Vortec 5300 Engines, GM intended to induce, and did induce, Plaintiff and the other
22   members of the Class to either purchase a Class Vehicle that they otherwise would not have purchased,
23   or pay more for a Class Vehicle than they otherwise would have paid.
24            428.   As a direct and proximate result of GM’s omissions, Plaintiff and the other members of
25   the Class either overpaid for the Class Vehicles or would not have purchased the Class Vehicles at all if
26   the Low-Tension Oil Ring Defect had been disclosed to them, and, therefore, have incurred damages in
27   an amount to be determined at trial.
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                                                  COUNT 21
 1                                           UNJUST ENRICHMENT
 2             429.   Plaintiff Edgecomb (“Plaintiff,” for purposes of the Colorado Class’s claims) repeats
 3   and realleges paragraphs 1-212 as if fully set forth herein.
 4             430.   Plaintiff brings this Count individually and on behalf of the other members of the
 5   Colorado Class (the “Class,” for purposes of this Count).
 6             431.   GM has benefitted from selling and leasing at an unjust profit defective Class Vehicles
 7   that had artificially inflated prices due to GM’s concealment of the Low-Tension Oil Ring Defect, and
 8   Plaintiff and the other members of the Class have overpaid for these vehicles.
 9             432.   GM has received and retained unjust benefits from Plaintiff and the other members of
10   the Class, and inequity has resulted.
11             433.   It is inequitable and unconscionable for GM to retain these benefits.
12             434.   Because GM concealed its fraud and deception, Plaintiff and the other members of the
13   Class were not aware of the true facts concerning the Class Vehicles and did not benefit from GM’s
14   misconduct.
15             435.   GM knowingly accepted the unjust benefits of its wrongful conduct.
16             436.   As a result of GM’s misconduct, the amount of its unjust enrichment should be
17   disgorged and returned to Plaintiff and the other members of the Class in an amount to be proven at
18   trial.
19             5.     Claims Brought on Behalf of the Delaware Class
20                                                  COUNT 22
                                      VIOLATIONS OF THE DELAWARE
21                                         CONSUMER FRAUD ACT
                                       Del. Code Ann. tit. 6, §§ 2511, et seq.
22
               437.   Plaintiff Perkins (“Plaintiff,” for purposes of the Delaware Class’s claims) repeats and
23
     realleges paragraphs 1-212 as if fully set forth herein.
24
               438.   Plaintiff brings this claim individually and on behalf of the other members of the
25
     Delaware Class (the “Class,” for purposes of this Count).
26
               439.   The Delaware Consumer Fraud Act, Del. Code Ann. tit. 6, §§ 2511, et seq., states that:
27
     “The act, use or employment by any person of any deception, fraud, false pretense . . . or the
28
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 1   concealment, suppression, or omission of any material fact with intent that others rely upon such
 2   concealment, suppression or omission, in connection with the sale, lease or advertisement of any
 3   merchandise, whether or not any person has in fact been misled, deceived or damaged thereby, is an
 4   unlawful practice.”
 5          440.    By the conduct described in detail above and incorporated herein, GM engaged in unfair
 6   or deceptive acts in violation of the Delaware Consumer Fraud Act.
 7          441.    GM’s omissions regarding the Low-Tension Oil Ring Defect, described above, that
 8   results in abnormally high oil consumption and resultant engine damage within the Generation IV
 9   Vortec 5300 Engines, are material facts that a reasonable person would have considered in deciding
10   whether or not to purchase (or to pay the same price for) the Class Vehicles.
11          442.    GM intended for Plaintiff and the other Class members to rely on GM’s omissions
12   regarding the Low-Tension Oil Ring Defect.
13          443.    Plaintiff and the other Class members justifiably acted or relied to their detriment upon
14   GM’s omissions of fact concerning the above-described Low-Tension Oil Ring Defect that results in
15   abnormally high oil consumption and resultant engine damage within the Generation IV Vortec 5300
16   Engines, as evidenced by Plaintiff and the other Class members’ purchases of Class Vehicles.
17          444.    Had GM disclosed all material information regarding the Low-Tension Oil Ring Defect
18   to Plaintiff and the other Class members, Plaintiff and the other Class members would not have
19   purchased or leased Class Vehicles or would have paid less to do so.
20          445.    GM’s omissions have deceived Plaintiff, and those same business practices have
21   deceived or are likely to deceive members of the consuming public and the other members of the Class.
22          446.    In addition to being deceptive, the business practices of GM were unfair because GM
23   knowingly sold Plaintiff and the other Class members Class Vehicles with defective engines that are
24   essentially unusable for the purposes for which they were sold. The injuries to Plaintiff and the other
25   Class members are substantial and greatly outweigh any alleged countervailing benefit to Plaintiffs and
26   the other Class members or to competition under all of the circumstances. Moreover, in light of GM’s
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 1   exclusive knowledge of the Low-Tension Oil Ring Defect, the injury is not one that Plaintiff or the
 2   other Class members could have reasonably avoided.
 3           447.   As a direct and proximate result of GM’s unfair and deceptive trade practices, Plaintiff
 4   and the other Class members have suffered ascertainable loss and actual damages. Plaintiff and the
 5   other Class members who purchased or leased the Class Vehicles would not have purchased or leased
 6   the Class Vehicles, or, alternatively, would have paid less for them had the truth about the Low-
 7   Tension Oil Ring Defect been disclosed.          Plaintiff and the other Class members also suffered
 8   diminished value of their vehicles. Plaintiff and the other Class members are entitled to recover actual
 9   damages, attorneys’ fees and costs, and all other relief allowed under Del. Code Ann. tit. 6, §§ 2511, et
10   seq.
11                                               COUNT 23
                                    BREACH OF EXPRESS WARRANTY
12                                 Del. Code Ann. tit. 6, §§ 2-313 and 2A-210
13           448.   Plaintiff Perkins (“Plaintiff,” for purposes of the Delaware Class’s claims) repeats and
14   realleges paragraphs 1-212 as if fully set forth herein.
15           449.   Plaintiff brings this Count individually and on behalf of the other members of the
16   Delaware Class (the “Class,” for purposes of this Count).
17           450.   GM is and was at all relevant times a merchant with respect to the Class Vehicles.
18           451.   In its Limited Warranty, GM expressly warranted that it would repair or replace defects
19   in material or workmanship free of charge if they became apparent during the warranty period. GM
20   provides the following language in its 2012 Chevrolet Limited Warranty guide:
21           This warranty is for GM vehicles registered in the United States and normally operated
             in the United States and Canada, and is provided to the original and any subsequent
22           owners of the vehicle during the warranty period.
23           The warranty covers repairs to correct any vehicle defect . . . related to materials or
             workmanship occurring during the warranty period.
24
             Warranty repairs, including towing, parts, and labor, will be made at no charge.
25
             452.   GM’s Limited Warranty formed the basis of the bargain that was reached when Plaintiff
26
     and the other Class members purchased or leased their Class Vehicles equipped with the defective
27
     Generation IV Vortec 5300 Engines.
28
                                                     65
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 1          453.   GM breached the express warranty to repair defects in materials and workmanship
 2   within the Class Vehicles. GM has not repaired, and has been unable to repair, the Class Vehicles’
 3   materials and workmanship defects.
 4          454.   Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
 5   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
 6   corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
 7   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
 8   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
 9   numerous complaints filed against it directly and through its dealers, as well as its own internal
10   engineering knowledge.
11          455.   Furthermore, the Limited Warranty fails in its essential purpose because the contractual
12   remedy is insufficient to make Plaintiffs and the other Class members whole and because GM has
13   failed and/or has refused to adequately provided the promised remedies within a reasonable time.
14          456.   Accordingly, recovery by Plaintiff and the other Class members is not limited to the
15   limited warranty of repair to parts defective in materials and workmanship, and Plaintiff, individually
16   and on behalf of the other Class members, seeks all remedies allowable by law.
17          457.   Also, and as alleged in more detail herein, at the time that GM warranted and sold the
18   Class Vehicles it knew that the Class Vehicles did not conform to the warranty and were inherently
19   defective, and GM improperly concealed material facts regarding its Class Vehicles. Plaintiff and the
20   other Class members were, therefore, induced to purchase or lease the Class Vehicles under false
21   pretenses.
22          458.   Moreover, much of the damage flowing from the Class Vehicles cannot be resolved
23   through the limited remedy of repairs, as those incidental and consequential damages have already been
24   suffered due to GM’s improper conduct as alleged herein, and due to its failure and/or continued failure
25   to provide such limited remedy within a reasonable time, and any limitation on Plaintiff and the other
26   Class members’ remedies would be insufficient to make them whole.
27
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 1          459.    As a direct and proximate result of GM’s breach of its express warranty, Plaintiff and
 2   the other Class members have been damaged in an amount to be determined at trial.
 3                                         COUNT 24
                     BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
 4                           Del. Code Ann. tit. 6, §§ 2-314 and 2A-212
 5          460.    Plaintiff Perkins (“Plaintiff,” for purposes of the Delaware Class’s claims) repeats and
 6   realleges paragraphs 1-212 as if fully set forth herein.
 7          461.    Plaintiff brings this Count individually and on behalf of the other members of the
 8   Delaware Class (the “Class,” for purposes of this Count).
 9          462.    GM is and was at all relevant times a merchant with respect to motor vehicles under Del.
10   Code Ann. tit. 6, §§ 2-104 and 2A-103.
11          463.    Pursuant to Del. Code Ann. tit. 6, §§ 2-314 and 2A-212, a warranty that the Class
12   Vehicles were in merchantable condition was implied by law, and the Class Vehicles were bought and
13   sold subject to an implied warranty of merchantability.
14          464.    The Class Vehicles did not comply with the implied warranty of merchantability
15   because, at the time of sale and at all times thereafter, they were defective and not in merchantable
16   condition, would not pass without objection in the trade, and were not fit for the ordinary purpose for
17   which vehicles were used. Specifically, the Class Vehicles suffer from the Low-Tension Oil Ring
18   Defect which causes excessive oil loss and leads to engine damage.
19          465.    Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
20   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
21   corresponding breach of warranty, through a notice letter dated October 27, 2016 and delivered by
22   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
23   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
24   numerous complaints filed against it directly and through its dealers, as well as its own internal
25   engineering knowledge.
26          466.    Plaintiff and the other Class members suffered injuries due to the defective nature of the
27   Class Vehicles and GM’s breach of the warranty of merchantability.
28
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 1            467.   As a direct and proximate result of GM’s breach of the warranty of merchantability,
 2   Plaintiff and the other Class members have been damaged in an amount to be proven at trial.
 3                                              COUNT 25
                                           FRAUDULENT OMISSION
 4
              468.   Plaintiff Perkins (“Plaintiff,” for purposes of the Delaware Class’s claims) repeats and
 5
     realleges paragraphs 1-212 as if fully set forth herein.
 6
              469.   Plaintiff brings this Count individually and on behalf of the other members of the
 7
     Delaware Class (the “Class,” for purposes of this Count).
 8
              470.   GM was aware of the Low-Tension Oil Ring Defect within the Generation IV Vortec
 9
     5300 Engines when it marketed and sold the Class Vehicles to Plaintiffs and the other members of the
10
     Class.
11
              471.   Having been aware of the Low-Tension Oil Ring Defect within the Generation IV
12
     Vortec 5300 Engines and having known that Plaintiff and the other members of the Class could not
13
     have reasonably been expected to know of the Low-Tension Oil Ring Defect GM had a duty to disclose
14
     the defect to Plaintiff and the other members of the Class in connection with the sale or lease of the
15
     Class Vehicles.
16
              472.   GM did not disclose the Low-Tension Oil Ring Defect within the Generation IV Vortec
17
     5300 Engines to Plaintiff and the other members of the Class in connection with the sale of the Class
18
     Vehicles.
19
              473.   For the reasons set forth above, the Low-Tension Oil Ring Defect within the Generation
20
     IV Vortec 5300 Engines comprises material information with respect to the sale or lease of the Class
21
     Vehicles.
22
              474.   In purchasing the Class Vehicles, Plaintiff and the other members of the Class
23
     reasonably relied on GM to disclose known material defects with respect to the Class Vehicles.
24
              475.   Had Plaintiff and the other members of the Class known of the Low-Tension Oil Ring
25
     Defect within the Generation IV Vortec 5300 Engines, they would have not purchased the Class
26
     Vehicles or would have paid less for the Class Vehicles.
27
28
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 1             476.   Through its omissions regarding the Low-Tension Oil Ring Defect within the
 2   Generation IV Vortec 5300 Engines, GM intended to induce, and did induce, Plaintiff and the other
 3   members of the Class to either purchase a Class Vehicle that they otherwise would not have purchased,
 4   or pay more for a Class Vehicle than they otherwise would have paid.
 5             477.   As a direct and proximate result of GM’s omissions, Plaintiff and the other members of
 6   the Class either overpaid for the Class Vehicles or would not have purchased the Class Vehicles at all if
 7   the Low-Tension Oil Ring Defect had been disclosed to them, and, therefore, have incurred damages in
 8   an amount to be determined at trial.
 9                                                COUNT 26
                                             UNJUST ENRICHMENT
10
               478.   Plaintiff Perkins (“Plaintiff,” for purposes of the Delaware Class’s claims) repeats and
11
     realleges paragraphs 1-212 as if fully set forth herein.
12
               479.   Plaintiff brings this Count individually and on behalf of the other members of the
13
     Delaware Class (the “Class,” for purposes of this Count).
14
               480.   GM has benefitted from selling and leasing at an unjust profit defective Class Vehicles
15
     that had artificially inflated prices due to GM’s concealment of the Low-Tension Oil Ring Defect, and
16
     Plaintiff and the other members of the Class have overpaid for these vehicles.
17
               481.   GM has received and retained unjust benefits from Plaintiff and the other members of
18
     the Class, and inequity has resulted.
19
               482.   It is inequitable and unconscionable for GM to retain these benefits.
20
               483.   Because GM concealed its fraud and deception, Plaintiff and the other members of the
21
     Class were not aware of the true facts concerning the Class Vehicles and did not benefit from GM’s
22
     misconduct.
23
               484.   GM knowingly accepted the unjust benefits of its wrongful conduct.
24
               485.   As a result of GM’s misconduct, the amount of its unjust enrichment should be
25
     disgorged and returned to Plaintiff and the other members of the Class in an amount to be proven at
26
     trial.
27
28
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 1          6.      Claims Brought on Behalf of the Florida Class
 2                                                COUNT 27
                               VIOLATIONS OF THE FLORIDA DECEPTIVE
 3                               AND UNFAIR TRADE PRACTICES ACT
                                       Fla. Stat. §§ 502.201, et seq.
 4
            486.    Plaintiffs Ludington and Shorter (“Plaintiffs,” for purposes of the Florida Class’s claims)
 5
     repeat and reallege paragraphs 1-212 as if fully set forth herein.
 6
            487.    Plaintiffs bring this claim individually and on behalf of the other members of the Florida
 7
     Class (the “Class,” for purposes of this Count).
 8
            488.    The Florida Deceptive and Unfair Trade Practices Act, F.S.A. §§ 501.201, et seq., states
 9
     that, “[u]nfair methods of competition, unconscionable acts or practices, and unfair or deceptive acts or
10
     practices in the conduct of any trade or commerce are hereby declared unlawful.”
11
            489.    By the conduct described in detail above and incorporated herein, GM engaged in unfair
12
     or deceptive acts in violation of F.S.A. § 501.204.
13
            490.    GM’s omissions regarding the Low-Tension Oil Ring Defect, described above, that
14
     results in abnormally high oil consumption and resultant engine damage within the Generation IV
15
     Vortec 5300 Engines, are material facts that a reasonable person would have considered in deciding
16
     whether or not to purchase (or to pay the same price for) the Class Vehicles.
17
            491.    GM intended for Plaintiff and the other Class members to rely on GM’s omissions
18
     regarding the Low-Tension Oil Ring Defect.
19
            492.    Plaintiffs and the other Class members justifiably acted or relied to their detriment upon
20
     GM’s omissions of fact concerning the above-described Low-Tension Oil Ring Defect that results in
21
     abnormally high oil consumption and resultant engine damage within the Generation IV Vortec 5300
22
     Engines, as evidenced by Plaintiffs and the other Class members’ purchases of Class Vehicles.
23
            493.    Had GM disclosed all material information regarding the Low-Tension Oil Ring Defect
24
     to Plaintiffs and the other Class members, Plaintiffs and the other Class members would not have
25
     purchased or leased Class Vehicles or would have paid less to do so.
26
            494.    GM’s omissions have deceived Plaintiffs, and those same business practices have
27
     deceived or are likely to deceive members of the consuming public and the other members of the Class.
28
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 1          495.    In addition to being deceptive, the business practices of GM were unfair because GM
 2   knowingly sold Plaintiffs and the other Class members Class Vehicles with defective engines that are
 3   essentially unusable for the purposes for which they were sold. The injuries to Plaintiffs and the other
 4   Class members are substantial and greatly outweigh any alleged countervailing benefit to Plaintiffs and
 5   the other Class members or to competition under all of the circumstances. Moreover, in light of GM’s
 6   exclusive knowledge of the Low-Tension Oil Ring Defect, the injury is not one that Plaintiffs or the
 7   other Class members could have reasonably avoided.
 8          496.    As a direct and proximate result of GM’s unfair and deceptive trade practices, Plaintiffs
 9   and the other Class members have suffered ascertainable loss and actual damages. Plaintiffs and the
10   other Class members who purchased or leased the Class Vehicles would not have purchased or leased
11   the Class Vehicles, or, alternatively, would have paid less for them had the truth about the Low-
12   Tension Oil Ring Defect been disclosed.         Plaintiffs and the other Class members also suffered
13   diminished value of their vehicles. Plaintiffs and the other Class members are entitled to recover actual
14   damages, attorneys’ fees and costs, and all other relief allowed under F.S.A. §§ 501.201, et seq.
15                                                COUNT 28
                                     BREACH OF EXPRESS WARRANTY
16                                     Fla. Stat. §§ 672.313 and 680.21
17          497.    Plaintiffs Ludington and Shorter (“Plaintiffs,” for purposes of the Florida Class’s claims)
18   repeat and reallege paragraphs 1-212 as if fully set forth herein.
19          498.    Plaintiffs bring this Count individually and on behalf of the other members of the
20   Florida Class (the “Class,” for purposes of this Count).
21          499.    GM is and was at all relevant times a merchant with respect to the Class Vehicles.
22          500.    In its Limited Warranty, GM expressly warranted that it would repair or replace defects
23   in material or workmanship free of charge if they became apparent during the warranty period. GM
24   provides the following language in its 2012 Chevrolet Limited Warranty guide:
25          This warranty is for GM vehicles registered in the United States and normally operated
            in the United States and Canada, and is provided to the original and any subsequent
26          owners of the vehicle during the warranty period.
27          The warranty covers repairs to correct any vehicle defect . . . related to materials or
            workmanship occurring during the warranty period.
28
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            Warranty repairs, including towing, parts, and labor, will be made at no charge.
 1
            501.   GM’s Limited Warranty formed the basis of the bargain that was reached when
 2
     Plaintiffs and the other Class members purchased or leased their Class Vehicles equipped with the
 3
     defective Generation IV Vortec 5300 Engines.
 4
            502.   GM breached the express warranty to repair defects in materials and workmanship
 5
     within the Class Vehicles. GM has not repaired, and has been unable to repair, the Class Vehicles’
 6
     materials and workmanship defects.
 7
            503.   Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
 8
     notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
 9
     corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
10
     United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
11
     on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
12
     numerous complaints filed against it directly and through its dealers, as well as its own internal
13
     engineering knowledge.
14
            504.   Furthermore, the Limited Warranty fails in its essential purpose because the contractual
15
     remedy is insufficient to make Plaintiffs and the other Class members whole and because GM has
16
     failed and/or has refused to adequately provided the promised remedies within a reasonable time.
17
            505.   Accordingly, recovery by Plaintiffs and the other Class members is not limited to the
18
     limited warranty of repair to parts defective in materials and workmanship, and Plaintiffs, individually
19
     and on behalf of the other Class members, seeks all remedies allowable by law.
20
            506.   Also, and as alleged in more detail herein, at the time that GM warranted and sold the
21
     Class Vehicles it knew that the Class Vehicles did not conform to the warranty and were inherently
22
     defective, and GM improperly concealed material facts regarding its Class Vehicles. Plaintiffs and the
23
     other Class members were, therefore, induced to purchase or lease the Class Vehicles under false
24
     pretenses.
25
            507.   Moreover, much of the damage flowing from the Class Vehicles cannot be resolved
26
     through the limited remedy of repairs, as those incidental and consequential damages have already been
27
     suffered due to GM’s improper conduct as alleged herein, and due to its failure and/or continued failure
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 1   to provide such limited remedy within a reasonable time, and any limitation on Plaintiffs and the other
 2   Class members’ remedies would be insufficient to make them whole.
 3            508.   As a direct and proximate result of GM’s breach of its express warranty, Plaintiffs and
 4   the other Class members have been damaged in an amount to be determined at trial.
 5                                              COUNT 29
                                           FRAUDULENT OMISSION
 6
              509.   Plaintiffs Ludington and Shorter (“Plaintiffs,” for purposes of the Florida Class’s claims)
 7
     repeat and reallege paragraphs 1-212 as if fully set forth herein.
 8
              510.   Plaintiffs bring this Count individually and on behalf of the other members of the
 9
     Florida Class (the “Class,” for purposes of this Count).
10
              511.   GM was aware of the Low-Tension Oil Ring Defect within the Generation IV Vortec
11
     5300 Engines when it marketed and sold the Class Vehicles to Plaintiffs and the other members of the
12
     Class.
13
              512.   Having been aware of the Low-Tension Oil Ring Defect within the Generation IV
14
     Vortec 5300 Engines, and having known that Plaintiffs and the other members of the Class could not
15
     have reasonably been expected to know of the Low-Tension Oil Ring Defect, GM had a duty to
16
     disclose the defect to Plaintiffs and the other members of the Class in connection with the sale or lease
17
     of the Class Vehicles.
18
              513.   GM did not disclose the Low-Tension Oil Ring Defect within the Generation IV Vortec
19
     5300 Engines to Plaintiffs and the other members of the Class in connection with the sale of the Class
20
     Vehicles.
21
              514.   For the reasons set forth above, the Low-Tension Oil Ring Defect within the Generation
22
     IV Vortec 5300 Engines comprises material information with respect to the sale or lease of the Class
23
     Vehicles.
24
              515.   In purchasing the Class Vehicles, Plaintiffs and the other members of the Class
25
     reasonably relied on GM to disclose known material defects with respect to the Class Vehicles.
26

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 1          516.    Had Plaintiffs and the other members of the Class known of the Low-Tension Oil Ring
 2   Defect within the Generation IV Vortec 5300 Engines, they would have not purchased the Class
 3   Vehicles or would have paid less for the Class Vehicles.
 4          517.    Through its omissions regarding the Low-Tension Oil Ring Defect within the
 5   Generation IV Vortec 5300 Engines, GM intended to induce, and did induce, Plaintiffs and the other
 6   members of the Class to either purchase a Class Vehicle that they otherwise would not have purchased,
 7   or pay more for a Class Vehicle than they otherwise would have paid.
 8          518.    As a direct and proximate result of GM’s omissions, Plaintiffs and the other members of
 9   the Class either overpaid for the Class Vehicles or would not have purchased the Class Vehicles at all if
10   the Low-Tension Oil Ring Defect had been disclosed to them, and, therefore, have incurred damages in
11   an amount to be determined at trial.
12                                                COUNT 30
                                             UNJUST ENRICHMENT
13
            519.    Plaintiffs Ludington and Shorter (“Plaintiffs,” for purposes of the Florida Class’s claims)
14
     repeat and reallege paragraphs 1-212 as if fully set forth herein.
15
            520.    Plaintiffs bring this Count individually and on behalf of the other members of the
16
     Florida Class (the “Class,” for purposes of this Count).
17
            521.    GM has benefitted from selling and leasing at an unjust profit defective Class Vehicles
18
     that had artificially inflated prices due to GM’s concealment of the Low-Tension Oil Ring Defect, and
19
     Plaintiffs and the other members of the Class have overpaid for these vehicles.
20
            522.    GM has received and retained unjust benefits from Plaintiffs and the other members of
21
     the Class, and inequity has resulted.
22
            523.    It is inequitable and unconscionable for GM to retain these benefits.
23
            524.    Because GM concealed its fraud and deception, Plaintiffs and the other members of the
24
     Class were not aware of the true facts concerning the Class Vehicles and did not benefit from GM’s
25
     misconduct.
26
            525.    GM knowingly accepted the unjust benefits of its wrongful conduct.
27
28
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 1             526.   As a result of GM’s misconduct, the amount of its unjust enrichment should be
 2   disgorged and returned to Plaintiffs and the other members of the Class in an amount to be proven at
 3   trial.
 4             7.     Claims Brought on Behalf of the Georgia Class
 5                                                 COUNT 31
                                         VIOLATIONS OF GEORGIA’S
 6                                     FAIR BUSINESS PRACTICES ACT
                                        Ga. Stat. Ann. §§ 10-1-390, et seq.
 7
               527.   Plaintiff Bradford (“Plaintiff,” for purposes of the Georgia Class’s claims) repeats and
 8
     realleges paragraphs 1-212 as if fully set forth herein.
 9
               528.   Plaintiff brings this claim individually and on behalf of the other members of the
10
     Georgia Class (the “Class,” for purposes of this Count).
11
               529.   The Georgia Fair Business Practices Act, Ga. Stat. Ann. § 10-1-393, states that, “[u]nfair
12
     or deceptive acts or practices in the conduct of consumer transactions and consumer acts or practices in
13
     trade or commerce are declared unlawful.”
14
               530.   By the conduct described in detail above and incorporated herein, GM engaged in unfair
15
     and deceptive trade practices.
16
               531.   GM’s omissions regarding the Low-Tension Oil Ring Defect, described above, that
17
     results in abnormally high oil consumption and resultant engine damage within the Generation IV
18
     Vortec 5300 Engines, are material facts that a reasonable person would have considered in deciding
19
     whether or not to purchase (or to pay the same price for) the Class Vehicles.
20
               532.   GM intended for Plaintiff and the other Class members to rely on GM’s omissions
21
     regarding the Low-Tension Oil Ring Defect.
22
               533.   Plaintiff and the other Class members justifiably acted or relied to their detriment upon
23
     GM’s omissions of fact concerning the above-described Low-Tension Oil Ring Defect that results in
24
     abnormally high oil consumption and resultant engine damage within the Generation IV Vortec 5300
25
     Engines, as evidenced by Plaintiff and the other Class members’ purchases of Class Vehicles.
26

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 1          534.    Had GM disclosed all material information regarding the Low-Tension Oil Ring Defect
 2   to Plaintiff and the other Class members, Plaintiff and the other Class members would not have
 3   purchased or leased Class Vehicles or would have paid less to do so.
 4          535.    GM’s omissions have deceived Plaintiff, and those same business practices have
 5   deceived or are likely to deceive members of the consuming public and the other members of the Class.
 6          536.    In addition to being deceptive, the business practices of GM were unfair because GM
 7   knowingly sold Plaintiff and the other Class members Class Vehicles with defective engines that are
 8   essentially unusable for the purposes for which they were sold. The injuries to Plaintiff and the other
 9   Class members are substantial and greatly outweigh any alleged countervailing benefit to Plaintiff and
10   the other Class members or to competition under all of the circumstances. Moreover, in light of GM’s
11   exclusive knowledge of the Low-Tension Oil Ring Defect, the injury is not one that Plaintiff or the
12   other Class members could have reasonably avoided.
13          537.    As a direct and proximate result of GM’s unfair and deceptive trade practices, Plaintiff
14   and the other Class members have suffered ascertainable loss and actual damages. Plaintiff and the
15   other Class members who purchased or leased the Class Vehicles would not have purchased or leased
16   the Class Vehicles, or, alternatively, would have paid less for them had the truth about the Low-
17   Tension Oil Ring Defect been disclosed.          Plaintiff and the other Class members also suffered
18   diminished value of their vehicles. Plaintiff and the other Class members are entitled to recover actual
19   damages, attorneys’ fees and costs, and all other relief allowed under Ga. Stat. Ann. § 10-1-399.
20                                                 COUNT 32
                                    BREACH OF EXPRESS WARRANTY
21                                  Ga. Stat. Ann. §§ 11-2-313 and 11-2a-210
22          538.    Plaintiff Bradford (“Plaintiff,” for the purposes of the Georgia Class’s claims) repeats
23   and realleges paragraphs 1-212 as if fully set forth herein.
24          539.    Plaintiff brings this Count individually and on behalf of the other members of the
25   Georgia Class (the “Class,” for purposes of this Count).
26          540.    GM is and was at all relevant times a merchant with respect to the Class Vehicles.
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 1          541.   In its Limited Warranty, GM expressly warranted that it would repair or replace defects
 2   in material or workmanship free of charge if those defects became apparent during the warranty period.
 3   GM provides the following language in its 2012 Chevrolet Limited Warranty guide:
 4                 This warranty is for GM vehicles registered in the United States and normally
                   operated in the United States and Canada, and is provided to the original and any
 5                 subsequent owners of the vehicle during the warranty period.
 6                 The warranty covers repairs to correct any vehicle defect . . . related to materials
                   or workmanship occurring during the warranty period.
 7
                   Warranty repairs, including towing, parts, and labor, will be made at no charge.
 8

 9          542.   GM’s Limited Warranty formed the basis of the bargain that was reached when Plaintiff
10   and the other Class members purchased or leased their Class Vehicles equipped with the defective
11   Generation IV Vortec 5300 Engines.
12          543.   GM breached its express warranty to repair defects in materials and workmanship within
13   the Class Vehicles. GM has not repaired, and has been unable to repair, the Class Vehicles’ materials
14   and workmanship defects.
15          544.   Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
16   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
17   corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
18   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
19   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
20   numerous complaints filed against it directly and through its dealers, as well as its own internal
21   engineering knowledge.
22          545.   Furthermore, the Limited Warranty fails in its essential purpose because the contractual
23   remedy is insufficient to make Plaintiff and the other Class members whole and because GM has failed
24   and/or has refused to adequately provided the promised remedies within a reasonable time.
25          546.   Accordingly, recovery by Plaintiff and the other Class members is not limited to the
26   limited warranty of repair to parts defective in materials and workmanship, and Plaintiff, individually
27   and on behalf of the other Class members, seeks all remedies as allowed by law.
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 1          547.    Also, as alleged in more detail herein, at the time that GM warranted, leased, and sold
 2   the Class Vehicles it knew that the Class Vehicles did not conform to the warranty and were inherently
 3   defective, and GM improperly concealed material facts regarding its Class Vehicles. Plaintiff and the
 4   other Class members were therefore induced to purchase or lease the GM Vehicles under false
 5   pretenses.
 6          548.    Moreover, much of the damage flowing from the Class Vehicles cannot be resolved
 7   through the limited remedy of repairs, as those incidental and consequential damages have already been
 8   suffered due to GM’s improper conduct as alleged herein, and due to its failure and/or continued failure
 9   to provide such limited remedy within a reasonable time, and any limitation on Plaintiff’s and the other
10   Class members’ remedies would be insufficient to make them whole.
11          549.    As a direct and proximate result of GM’s breach of its express warranty, Plaintiff and
12   the other Class members have been damaged in an amount to be determined at trial.
13                                          COUNT 33
                     BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
14                             Ga. Stat. Ann. 84-2-314 and 84-2A-212
15          550.    Plaintiff Bradford (“Plaintiff,” for purposes of the Georgia Class’s claims) repeats and
16   realleges paragraphs 1-212 as if fully set forth herein.
17          551.    Plaintiff brings this Count individually and on behalf of the other members of the
18   Georgia Class (the “Class,” for purposes of this Count).
19          552.    GM is and was at all relevant times a merchant with respect to motor vehicles under Ga.
20   Stat. Ann. §§ 11-2-104 and 11-2A-103.
21          553.    Pursuant to Ga. Stat. Ann. §§ 11-2-314 and 84-2A-212, a warranty that the Class
22   Vehicles were in merchantable condition was implied by law, and the Class Vehicles were bought and
23   sold subject to an implied warranty of merchantability.
24          554.    The Class Vehicles did not comply with the implied warranty of merchantability
25   because, at the time of sale and at all times thereafter, they were defective and not in merchantable
26   condition, would not pass without objection in the trade, and were not fit for the ordinary purpose for
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 1   which vehicles were used. Specifically, the Class Vehicles suffer from the Low-Tension Oil Ring
 2   Defect which causes excessive oil loss and leads to engine damage.
 3            555.   Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
 4   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
 5   corresponding breach of warranty, through a notice letter dated October 27, 2016 and delivered by
 6   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
 7   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
 8   numerous complaints filed against it directly and through its dealers, as well as its own internal
 9   engineering knowledge.
10            556.   Plaintiff and the other Class members suffered injuries due to the defective nature of the
11   Class Vehicles and GM’s breach of the warranty of merchantability.
12            557.   As a direct and proximate result of GM’s breach of the warranty of merchantability,
13   Plaintiff and the other Class members have been damaged in an amount to be proven at trial.
14                                              COUNT 34
                                           FRAUDULENT OMISSION
15
              558.   Plaintiff Bradford (“Plaintiff,” for purposes of the Georgia Class’s claims) repeats and
16
     realleges paragraphs 1-212 as if fully set forth herein.
17
              559.   Plaintiff brings this Count individually and on behalf of the other members of the
18
     Georgia Class (the “Class,” for purposes of this Count).
19
              560.   GM was aware of the Low-Tension Oil Ring Defect within the Generation IV Vortec
20
     5300 Engines when it marketed and sold the Class Vehicles to Plaintiff and the other members of the
21
     Class.
22
              561.   Having been aware of the Low-Tension Oil Ring Defect within the Generation IV
23
     Vortec 5300 Engines, and having known that Plaintiff and the other members of the Class could not
24
     have reasonably been expected to know of the Low-Tension Oil Ring Defect, GM had a duty to
25
     disclose the defect to Plaintiff and the other members of the Class in connection with the sale or lease
26
     of the Class Vehicles.
27
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 1          562.    GM did not disclose the Low-Tension Oil Ring Defect within the Generation IV Vortec
 2   5300 Engines to Plaintiff and the other members of the Class in connection with the sale of the Class
 3   Vehicles.
 4          563.    For the reasons set forth above, the Low-Tension Oil Ring Defect within the Generation
 5   IV Vortec 5300 Engines comprises material information with respect to the sale or lease of the Class
 6   Vehicles.
 7          564.    In purchasing the Class Vehicles, Plaintiff and the other members of the Class
 8   reasonably relied on GM to disclose known material defects with respect to the Class Vehicles.
 9          565.    Had Plaintiff and the other members of the Class known of the Low-Tension Oil Ring
10   Defect within the Generation IV Vortec 5300 Engines, they would have not purchased the Class
11   Vehicles or would have paid less for the Class Vehicles.
12          566.    Through its omissions regarding the Low-Tension Oil Ring Defect within the
13   Generation IV Vortec 5300 Engines, GM intended to induce, and did induce, Plaintiff and the other
14   members of the Class to either purchase a Class Vehicle that they otherwise would not have purchased,
15   or pay more for a Class Vehicle than they otherwise would have paid.
16          567.    As a direct and proximate result of GM’s omissions, Plaintiff and the other members of
17   the Class either overpaid for the Class Vehicles or would not have purchased the Class Vehicles at all if
18   the Low-Tension Oil Ring Defect had been disclosed to them, and, therefore, have incurred damages in
19   an amount to be determined at trial.
20                                               COUNT 35
                                            UNJUST ENRICHMENT
21
            568.    Plaintiff Bradford (“Plaintiff,” for purposes of the Georgia Class’s claims) repeats and
22
     realleges paragraphs 1-212 as if fully set forth herein.
23
            569.    Plaintiff brings this Count individually and on behalf of the other members of the
24
     Georgia Class (the “Class,” for purposes of this Count).
25
            570.    GM has benefitted from selling and leasing at an unjust profit defective Class Vehicles
26
     that had artificially inflated prices due to GM’s concealment of the Low-Tension Oil Ring Defect, and
27
     Plaintiff and the other members of the Class have overpaid for these vehicles.
28
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 1             571.   GM has received and retained unjust benefits from Plaintiff and the other members of
 2   the Class, and inequity has resulted.
 3             572.   It is inequitable and unconscionable for GM to retain these benefits.
 4             573.   Because GM concealed its fraud and deception, Plaintiff and the other members of the
 5   Class were not aware of the true facts concerning the Class Vehicles and did not benefit from GM’s
 6   misconduct.
 7             574.   GM knowingly accepted the unjust benefits of its wrongful conduct.
 8             575.   As a result of GM’s misconduct, the amount of its unjust enrichment should be
 9   disgorged and returned to Plaintiff and the other members of the Class in an amount to be proven at
10   trial.
11             8.     Claims Brought on Behalf of the Idaho Class
12                                          COUNT 36
                      VIOLATIONS OF THE IDAHO CONSUMER PROTECTION ACT
13                                Idaho Code Ann. §§ 48-601, et seq.
14             576.   Plaintiff Del Valle (“Plaintiff,” for purposes of the Idaho Class’s claims) repeats and
15   realleges paragraphs 1-212 as if fully set forth herein.
16             577.   Plaintiff brings this Count individually and on behalf of the other members of the Idaho
17   Class (the “Class,” for purposes of this Count).
18             578.   GM, Plaintiff and the other members of the Idaho Class are natural persons and legal
19   entities and, as such, constitute “persons” as defined by Idaho Code Ann. § 48-602(1).
20             579.   GM is engaged in “trade” or “commerce” within the meaning of Idaho Code Ann. § 48-
21   602(2).
22             580.   The Idaho Consumer Protection Act (“Idaho CPA”) prohibits “unfair or deceptive acts
23   or practices in the conduct of any trade or commerce . . . .” Idaho Code Ann. § 48-603.
24             581.   By the conduct described in detail above and incorporated herein, GM engaged in unfair
25   or deceptive acts in violation of Idaho Code Ann. § 48-603.
26             582.   GM’s omissions regarding the Low-Tension Oil Ring Defect, described above, that
27   results in abnormally high oil consumption and resultant engine damage within the Generation IV
28
                                                      81
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 1   Vortec 5300 Engines, are material facts that a reasonable person would have considered in deciding
 2   whether or not to purchase (or to pay the same price for) the Class Vehicles.
 3          583.    GM intended for Plaintiff and the other Class members to rely on GM’s omissions
 4   regarding the Low-Tension Oil Ring Defect.
 5          584.    Plaintiff and the other Class members justifiably acted or relied to their detriment upon
 6   GM’s omissions of fact concerning the above-described Low-Tension Oil Ring Defect that results in
 7   abnormally high oil consumption and resultant engine damage within the Generation IV Vortec 5300
 8   Engines, as evidenced by Plaintiff and the other Class members’ purchases of Class Vehicles.
 9          585.    Had GM disclosed all material information regarding the Low-Tension Oil Ring Defect
10   to Plaintiffs and the other Class members, Plaintiff and the other Class members would not have
11   purchased or leased Class Vehicles or would have paid less to do so.
12          586.    GM’s omissions have deceived Plaintiff, and those same business practices have
13   deceived or are likely to deceive members of the consuming public and the other members of the Class.
14          587.    In addition to being deceptive, the business practices of GM were unfair because GM
15   knowingly sold Plaintiff and the other Class members Class Vehicles with defective engines that are
16   essentially unusable for the purposes for which they were sold. The injuries to Plaintiff and the other
17   Class members are substantial and greatly outweigh any alleged countervailing benefit to Plaintiff and
18   the other Class members or to competition under all of the circumstances. Moreover, in light of GM’s
19   exclusive knowledge of the Low-Tension Oil Ring Defect, the injury is not one that Plaintiff or the
20   other Class members could have reasonably avoided.
21          588.    As a direct and proximate result of GM’s unfair and deceptive trade practices, Plaintiff
22   and the other Class members have suffered ascertainable loss and actual damages. Plaintiff and the
23   other Class members who purchased or leased the Class Vehicles would not have purchased or leased
24   the Class Vehicles, or, alternatively, would have paid less for them had the truth about the Low-
25   Tension Oil Ring Defect been disclosed.        Plaintiff and the other Class members also suffered
26   diminished value of their vehicles. Plaintiff and the other Class members are entitled to recover actual
27   damages, attorneys’ fees and costs, and all other relief allowed under Idaho Code Ann. § 48-608.
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                                                COUNT 37
 1                                  BREACH OF EXPRESS WARRANTY
                                  Idaho Code Ann. §§ 28-2-313 and 28-12-210
 2
            589.    Plaintiff Del Valle (“Plaintiff,” for purposes of the Idaho Class’s claims) repeats and
 3
     realleges paragraphs 1-212 as if fully set forth herein.
 4
            590.    Plaintiff brings this Count individually and on behalf of the other members of the Idaho
 5
     Class (the “Class,” for purposes of this Count).
 6
            591.    GM is and was at all relevant times a merchant with respect to the Class Vehicles.
 7
            592.    In its Limited Warranty, GM expressly warranted that it would repair or replace defects
 8
     in material or workmanship free of charge if those defects became apparent during the warranty period.
 9
     GM provides the following language in its 2012 Chevrolet Limited Warranty guide:
10
            This warranty is for GM vehicles registered in the United States and normally operated
11          in the United States and Canada, and is provided to the original and any subsequent
            owners of the vehicle during the warranty period.
12
            The warranty covers repairs to correct any vehicle defect . . . related to materials or
13          workmanship occurring during the warranty period.
14          Warranty repairs, including towing, parts, and labor, will be made at no charge.
15          593.    GM’s Limited Warranty formed the basis of the bargain that was reached when Plaintiff
16   and the other Class members purchased or leased their Class Vehicles equipped with the defective
17   Generation IV Vortec 5300 Engines.
18          594.    GM breached its express warranty to repair defects in materials and workmanship within
19   the Class Vehicles. GM has not repaired, and has been unable to repair, the Class Vehicles’ materials
20   and workmanship defects.
21          595.    Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
22   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
23   corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
24   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
25   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
26   numerous complaints filed against it directly and through its dealers, as well as its own internal
27   engineering knowledge.
28
                                                     83
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 1          596.    Furthermore, the Limited Warranty fails in its essential purpose because the contractual
 2   remedy is insufficient to make Plaintiff and the other Class members whole and because GM has failed
 3   and/or has refused to adequately provided the promised remedies within a reasonable time.
 4          597.    Accordingly, recovery by Plaintiff and the other Class members is not limited to the
 5   limited warranty of repair to parts defective in materials and workmanship, and Plaintiff, individually
 6   and on behalf of the other Class members, seeks all remedies as allowed by law.
 7          598.    Also, as alleged in more detail herein, at the time that GM warranted and sold the Class
 8   Vehicles it knew that the Class Vehicles did not conform to the warranty and were inherently defective,
 9   and GM improperly concealed material facts regarding its Class Vehicles. Plaintiff and the other Class
10   members were therefore induced to purchase or lease the GM Vehicles under false pretenses.
11          599.    Moreover, much of the damage flowing from the Class Vehicles cannot be resolved
12   through the limited remedy of repairs, as those incidental and consequential damages have already been
13   suffered due to GM’s improper conduct as alleged herein, and due to its failure and/or continued failure
14   to provide such limited remedy within a reasonable time, and any limitation on Plaintiff’s and the other
15   Class members’ remedies would be insufficient to make them whole.
16          600.    As a direct and proximate result of GM’s breach of its express warranty, Plaintiff and
17   the other Class members have been damaged in an amount to be determined at trial.
18                                         COUNT 38
                     BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
19                           Idaho Code Ann. §§ 28-2-314 and 28-12-212
20          601.    Plaintiff Del Valle (“Plaintiff,” for purposes of the Idaho Class’s claims) repeats and
21   realleges paragraphs 1-212 as if fully set forth herein.
22          602.    Plaintiff brings this Count individually and on behalf of the other members of the Idaho
23   Class (the “Class,” for purposes of this Count).
24          603.    GM is and was at all relevant times a merchant with respect to motor vehicles under
25   Idaho Code Ann. §§ 28-2-104 and 28-12-103.
26

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 1            604.   Pursuant to Idaho Code §§ 28-2-314 and 28-12-212, a warranty that the Class Vehicles
 2   were in merchantable condition was implied by law, and the Class Vehicles were bought and sold
 3   subject to an implied warranty of merchantability.
 4            605.   The Class Vehicles did not comply with the implied warranty of merchantability
 5   because, at the time of sale and at all times thereafter, they were defective and not in merchantable
 6   condition, would not pass without objection in the trade, and were not fit for the ordinary purpose for
 7   which vehicles were used. Specifically, the Class Vehicles suffer from the Low-Tension Oil Ring
 8   Defect which causes excessive oil loss and leads to engine damage.
 9            606.   Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
10   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
11   corresponding breach of warranty, through a notice letter dated October 27, 2016 and delivered by
12   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
13   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
14   numerous complaints filed against it directly and through its dealers, as well as its own internal
15   engineering knowledge.
16            607.   Plaintiff and the other Class members suffered injuries due to the defective nature of the
17   Class Vehicles and GM’s breach of the warranty of merchantability.
18            608.   As a direct and proximate result of GM’s breach of the warranty of merchantability,
19   Plaintiff and the other Class members have been damaged in an amount to be proven at trial.
20                                              COUNT 39
                                           FRAUDULENT OMISSION
21
              609.   Plaintiff Del Valle (“Plaintiff,” for purposes of the Idaho Class’s claims) repeats and
22
     realleges paragraphs 1-212 as if fully set forth herein.
23
              610.   Plaintiff brings this Count individually and on behalf of the other members of the Idaho
24
     Class (the “Class,” for purposes of this Count).
25
              611.   GM was aware of the Low-Tension Oil Ring Defect within the Generation IV Vortec
26
     5300 Engines when it marketed and sold the Class Vehicles to Plaintiff and the other members of the
27
     Class.
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                                                     85
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 1          612.    Having been aware of the Low-Tension Oil Ring Defect within the Generation IV
 2   Vortec 5300 Engines, and having known that Plaintiff and the other members of the Class could not
 3   have reasonably been expected to know of the Low-Tension Oil Ring Defect, GM had a duty to
 4   disclose the defect to Plaintiff and the other members of the Class in connection with the sale or lease
 5   of the Class Vehicles.
 6          613.    GM did not disclose the Low-Tension Oil Ring Defect within the Generation IV Vortec
 7   5300 Engines to Plaintiff and the other members of the Class in connection with the sale of the Class
 8   Vehicles.
 9          614.    For the reasons set forth above, the Low-Tension Oil Ring Defect within the Generation
10   IV Vortec 5300 Engines comprises material information with respect to the sale or lease of the Class
11   Vehicles.
12          615.    In purchasing the Class Vehicles, Plaintiff and the other members of the Class
13   reasonably relied on GM to disclose known material defects with respect to the Class Vehicles.
14          616.    Had Plaintiff and the other members of the Class known of the Low-Tension Oil Ring
15   Defect within the Generation IV Vortec 5300 Engines, they would have not purchased the Class
16   Vehicles or would have paid less for the Class Vehicles.
17          617.    Through its omissions regarding the Low-Tension Oil Ring Defect within the
18   Generation IV Vortec 5300 Engines, GM intended to induce, and did induce, Plaintiff and the other
19   members of the Class to either purchase a Class Vehicle that they otherwise would not have purchased,
20   or pay more for a Class Vehicle than they otherwise would have paid.
21          618.    As a direct and proximate result of GM’s omissions, Plaintiff and the other members of
22   the Class either overpaid for the Class Vehicles or would not have purchased the Class Vehicles at all if
23   the Low-Tension Oil Ring Defect had been disclosed to them, and, therefore, have incurred damages in
24   an amount to be determined at trial.
25                                               COUNT 40
                                            UNJUST ENRICHMENT
26
            619.    Plaintiff Del Valle (“Plaintiff,” for purposes of the Idaho Class’s claims) repeats and
27
     realleges paragraphs 1-212 as if fully set forth herein.
28
                                                     86
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 1             620.   Plaintiff brings this Count individually and on behalf of the other members of the Idaho
 2   Class (the “Class,” for purposes of this Count).
 3             621.   GM has benefitted from selling and leasing at an unjust profit defective Class Vehicles
 4   that had artificially inflated prices due to GM’s concealment of the Low-Tension Oil Ring Defect, and
 5   Plaintiff and the other members of the Class have overpaid for these vehicles.
 6             622.   GM has received and retained unjust benefits from Plaintiff and the other members of
 7   the Class, and inequity has resulted.
 8             623.   It is inequitable and unconscionable for GM to retain these benefits.
 9             624.   Because GM concealed its fraud and deception, Plaintiff and the other members of the
10   Class were not aware of the true facts concerning the Class Vehicles and did not benefit from GM’s
11   misconduct.
12             625.   GM knowingly accepted the unjust benefits of its wrongful conduct.
13             626.   As a result of GM’s misconduct, the amount of its unjust enrichment should be
14   disgorged and returned to Plaintiff and the other members of the Class in an amount to be proven at
15   trial.
16             9.     Claims Brought on Behalf of the Illinois Class
17                                             COUNT 41
                           VIOLATIONS OF THE ILLINOIS CONSUMER FRAUD
18                            AND DECEPTIVE BUSINESS PRACTICES ACT
                                    815 Ill. Comp. Stat. 505/1, et seq.
19
               627.   Plaintiff Hanneken (“Plaintiff,” for purposes of the Illinois Class’s claims) repeats and
20
     realleges paragraphs 1-212 as if fully set forth herein.
21
               628.   Plaintiff brings this claim individually and on behalf of the other members of the Illinois
22
     Class (the “Class,” for purposes of this Count).
23
               629.   The Illinois Consumer Fraud and Deceptive Business Practices Act, 815 Ill. Comp. Stat.
24
     505/2, states that, “[u]nfair methods of competition and unfair or deceptive acts or practices . . . are
25
     hereby declared unlawful whether any person has in fact been misled, deceived or damaged thereby.”
26
               630.   By the conduct described in detail above and incorporated herein, GM engaged in unfair
27
     or deceptive acts in violation of the Illinois Consumer Fraud and Deceptive Business Practices Act.
28
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 1          631.    GM’s omissions regarding the Low-Tension Oil Ring Defect, described above, that
 2   results in abnormally high oil consumption and resultant engine damage within the Generation IV
 3   Vortec 5300 Engines, are material facts that a reasonable person would have considered in deciding
 4   whether or not to purchase (or to pay the same price for) the Class Vehicles.
 5          632.    GM intended for Plaintiff and the other Class members to rely on GM’s omissions
 6   regarding the Low-Tension Oil Ring Defect.
 7          633.    Plaintiff and the other Class members justifiably acted or relied to their detriment upon
 8   GM’s omissions of fact concerning the above-described Low-Tension Oil Ring Defect that results in
 9   abnormally high oil consumption and resultant engine damage within the Generation IV Vortec 5300
10   Engines, as evidenced by Plaintiff and the other Class members’ purchases of Class Vehicles.
11          634.    Had GM disclosed all material information regarding the Low-Tension Oil Ring Defect
12   to Plaintiff and the other Class members, Plaintiff and the other Class members would not have
13   purchased or leased Class Vehicles or would have paid less to do so.
14          635.    GM’s omissions have deceived Plaintiff, and those same business practices have
15   deceived or are likely to deceive members of the consuming public and the other members of the Class.
16          636.    In addition to being deceptive, the business practices of GM were unfair because GM
17   knowingly sold Plaintiff and the other Class members Class Vehicles with defective engines that are
18   essentially unusable for the purposes for which they were sold. The injuries to Plaintiff and the other
19   Class members are substantial and greatly outweigh any alleged countervailing benefit to Plaintiff and
20   the other Class members or to competition under all of the circumstances. Moreover, in light of GM’s
21   exclusive knowledge of the Low-Tension Oil Ring Defect, the injury is not one that Plaintiff or the
22   other Class members could have reasonably avoided.
23          637.    As a direct and proximate result of GM’s unfair and deceptive trade practices, Plaintiff
24   and the other Class members have suffered ascertainable loss and actual damages. Plaintiff and the
25   other Class members who purchased or leased the Class Vehicles would not have purchased or leased
26   the Class Vehicles, or, alternatively, would have paid less for them had the truth about the Low-
27   Tension Oil Ring Defect been disclosed.        Plaintiff and the other Class members also suffered
28
                                                    88
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 1   diminished value of their vehicles. Plaintiff and the other Class members are entitled to recover actual
 2   damages, attorneys’ fees and costs, and all other relief allowed under 815 Ill Comp. Stat. 505/1, et seq.
 3                                                 COUNT 42
                                     BREACH OF EXPRESS WARRANTY
 4                                  810 Ill. Comp. Stat. 5/2-313 and 5/2A-210
 5          638.    Plaintiff Hanneken (“Plaintiff,” for the purposes of the Illinois Class’s claims) repeats
 6   and realleges paragraphs 1-212 as if fully set forth herein.
 7          639.    Plaintiff brings this Count individually and on behalf of the other members of the Illinois
 8   Class (the “Class,” for purposes of this Count).
 9          640.    GM is and was at all relevant times a merchant with respect to the Class Vehicles.
10          641.    In its Limited Warranty, GM expressly warranted that it would repair or replace defects
11   in material or workmanship free of charge if those defects became apparent during the warranty period.
12   GM provides the following language in its 2012 Chevrolet Limited Warranty guide:
13                  This warranty is for GM vehicles registered in the United States and normally
                    operated in the United States and Canada, and is provided to the original and any
14                  subsequent owners of the vehicle during the warranty period.
15                  The warranty covers repairs to correct any vehicle defect . . . related to materials
                    or workmanship occurring during the warranty period.
16
                    Warranty repairs, including towing, parts, and labor, will be made at no charge.
17
            642.    GM’s Limited Warranty formed the basis of the bargain that was reached when Plaintiff
18
     and the other Class members purchased or leased their Class Vehicles equipped with the defective
19
     Generation IV Vortec 5300 Engines.
20
            643.    GM breached its express warranty to repair defects in materials and workmanship within
21
     the Class Vehicles. GM has not repaired, and has been unable to repair, the Class Vehicles’ materials
22
     and workmanship defects.
23
            644.    Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
24
     notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
25
     corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
26
     United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
27
     on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
28
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 1   numerous complaints filed against it directly and through its dealers, as well as its own internal
 2   engineering knowledge.
 3            645.   Furthermore, the Limited Warranty fails in its essential purpose because the contractual
 4   remedy is insufficient to make Plaintiff and the other Class members whole and because GM has failed
 5   and/or has refused to adequately provided the promised remedies within a reasonable time.
 6            646.   Accordingly, recovery by Plaintiff and the other Class members is not limited to the
 7   limited warranty of repair to parts defective in materials and workmanship, and Plaintiff, individually
 8   and on behalf of the other Class members, seeks all remedies as allowed by law.
 9                                              COUNT 43
                                           FRAUDULENT OMISSION
10
              647.   Plaintiff Hanneken (“Plaintiff,” for purposes of the Illinois Class’s claims) repeats and
11
     realleges paragraphs 1-212 as if fully set forth herein.
12
              648.   Plaintiff brings this Count individually and on behalf of the other members of the Illinois
13
     Class (the “Class,” for purposes of this Count).
14
              649.   GM was aware of the Low-Tension Oil Ring Defect within the Generation IV Vortec
15
     5300 Engines when it marketed and sold the Class Vehicles to Plaintiff and the other members of the
16
     Class.
17
              650.   Having been aware of the Low-Tension Oil Ring Defect within the Generation IV
18
     Vortec 5300 Engines, and having known that Plaintiff and the other members of the Class could not
19
     have reasonably been expected to know of the Low-Tension Oil Ring Defect, GM had a duty to
20
     disclose the defect to Plaintiff and the other members of the Class in connection with the sale or lease
21
     of the Class Vehicles.
22
              651.   GM did not disclose the Low-Tension Oil Ring Defect within the Generation IV Vortec
23
     5300 Engines to Plaintiff and the other members of the Class in connection with the sale of the Class
24
     Vehicles.
25
              652.   For the reasons set forth above, the Low-Tension Oil Ring Defect within the Generation
26
     IV Vortec 5300 Engines comprises material information with respect to the sale or lease of the Class
27
     Vehicles.
28
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 1          653.    In purchasing the Class Vehicles, Plaintiff and the other members of the Class
 2   reasonably relied on GM to disclose known material defects with respect to the Class Vehicles.
 3          654.    Had Plaintiff and the other members of the Class known of the Low-Tension Oil Ring
 4   Defect within the Generation IV Vortec 5300 Engines, they would have not purchased the Class
 5   Vehicles or would have paid less for the Class Vehicles.
 6          655.    Through its omissions regarding the Low-Tension Oil Ring Defect within the
 7   Generation IV Vortec 5300 Engines, GM intended to induce, and did induce, Plaintiff and the other
 8   members of the Class to either purchase a Class Vehicle that they otherwise would not have purchased,
 9   or pay more for a Class Vehicle than they otherwise would have paid.
10          656.    As a direct and proximate result of GM’s omissions, Plaintiff and the other members of
11   the Class either overpaid for the Class Vehicles or would not have purchased the Class Vehicles at all if
12   the Low-Tension Oil Ring Defect had been disclosed to them, and, therefore, have incurred damages in
13   an amount to be determined at trial.
14                                                COUNT 44
                                             UNJUST ENRICHMENT
15
            657.    Plaintiff Hanneken (“Plaintiff,” for purposes of the Illinois Class’s claims) repeats and
16
     realleges paragraphs 1-212 as if fully set forth herein.
17
            658.    Plaintiff brings this Count individually and on behalf of the other members of the Illinois
18
     Class (the “Class,” for purposes of this Count).
19
            659.    GM has benefitted from selling and leasing at an unjust profit defective Class Vehicles
20
     that had artificially inflated prices due to GM’s concealment of the Low-Tension Oil Ring Defect, and
21
     Plaintiff and the other members of the Class have overpaid for these vehicles.
22
            660.    GM has received and retained unjust benefits from Plaintiff and the other members of
23
     the Class, and inequity has resulted.
24
            661.    It is inequitable and unconscionable for GM to retain these benefits.
25
            662.    Because GM concealed its fraud and deception, Plaintiff and the other members of the
26
     Class were not aware of the true facts concerning the Class Vehicles and did not benefit from GM’s
27
     misconduct.
28
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 1             663.   GM knowingly accepted the unjust benefits of its wrongful conduct.
 2             664.   As a result of GM’s misconduct, the amount of its unjust enrichment should be
 3   disgorged and returned to Plaintiff and the other members of the Class in an amount to be proven at
 4   trial.
 5             10.    Claims Brought on Behalf of the Indiana Class
 6                                              COUNT 45
                                      VIOLATIONS OF THE INDIANA
 7                                  DECEPTIVE CONSUMER SALES ACT
                                        Ind. Code §§ 24-5-0.5, et seq.
 8
               665.   Plaintiff Lannom (“Plaintiff,” for purposes of the Indiana Class’s claims) repeats and
 9
     realleges paragraphs 1-212 as if fully set forth herein.
10
               666.   Plaintiff brings this Count individually and on behalf of the other members of the
11
     Indiana Class (the “Class,” for purposes of this Count).
12
               667.   Pursuant to the Indiana Deceptive Consumer Sales Act, “A supplier may not commit an
13
     unfair, abusive, or deceptive act, omission, or practice in connection with a consumer transaction.” Ind.
14
     Code § 24-5-0.5-3.
15
               668.   By the conduct described in detail above and incorporated herein, GM engaged in unfair
16
     or deceptive acts in violation of Ind. Code § 24-5-0.5-3.
17
               669.   GM’s omissions regarding the Low-Tension Oil Ring Defect, described above, that
18
     results in abnormally high oil consumption and resultant engine damage within the Generation IV
19
     Vortec 5300 Engines, are material facts that a reasonable person would have considered in deciding
20
     whether or not to purchase (or to pay the same price for) the Class Vehicles.
21
               670.   GM intended for Plaintiff and the other Class members to rely on GM’s omissions of
22
     fact regarding the Low-Tension Oil Ring Defect.
23
               671.   Plaintiff and the other Class members justifiably acted or relied to their detriment upon
24
     GM’s omissions of fact concerning the above-described Low-Tension Oil Ring Defect that results in
25
     abnormally high oil consumption and resultant engine damage within the Generation IV Vortec 5300
26
     Engines, as evidenced by Plaintiff and the other Class members’ purchases of Class Vehicles.
27
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 1          672.    Had GM disclosed all material information regarding the Low-Tension Oil Ring Defect
 2   to Plaintiff and the other Class members, Plaintiff and the other Class members would not have
 3   purchased or leased Class Vehicles or would have paid less to do so.
 4          673.    GM’s omissions have deceived Plaintiff, and those same business practices have
 5   deceived or are likely to deceive members of the consuming public and the other Class members.
 6          674.    In addition to being deceptive, the business practices of GM were unfair because GM
 7   knowingly sold Plaintiff and the other Class members Class Vehicles with defective engines that are
 8   essentially unusable for the purposes for which they were sold. The injuries to Plaintiff and the other
 9   Class members are substantial and greatly outweigh any alleged countervailing benefit to Plaintiff and
10   the other Class members or to competition under all of the circumstances. Moreover, in light of GM’s
11   exclusive knowledge of the Low-Tension Oil Ring Defect, the injury is not one that Plaintiff or the
12   other Class members could have reasonably avoided.
13          675.    As a direct and proximate result of GM’s unfair and deceptive trade practices, Plaintiff
14   and the other Class members have suffered ascertainable loss and actual damages. Plaintiff and the
15   other Class members who purchased or leased the Class Vehicles would not have purchased or leased
16   the Class Vehicles, or, alternatively, would have paid less for them had the truth about the Low-
17   Tension Oil Ring Defect been disclosed.          Plaintiff and the other Class members also suffered
18   diminished value of their vehicles. Plaintiff and the other Class members are entitled to recover actual
19   damages, attorneys’ fees and costs, and all other relief allowed under Ind. Code §§ 24-5-0.5, et seq.
20                                                 COUNT 46
                                     BREACH OF EXPRESS WARRANTY
21                                  Ind. Code §§ 26-1-2-313 and 26-1-2.1-210
22          676.    Plaintiff Lannom (“Plaintiff,” for purpose of the Indiana Class’s claims) repeats and
23   realleges paragraphs 1-212 as if fully set forth herein.
24          677.    Plaintiff brings this Count individually and on behalf of the other members of the
25   Indiana Class (the “Class,” for purposes of this Count).
26          678.    GM is and was at all relevant times a merchant with respect to the Class Vehicles.
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 1          679.   In its Limited Warranty, GM expressly warranted that it would repair or replace defects
 2   in material or workmanship free of charge if they became apparent during the warranty period. GM
 3   provides the following language in its 2012 Chevrolet Limited Warranty guide:
 4          This warranty is for GM vehicles registered in the United States and normally operated
            in the United States and Canada, and is provided to the original and any subsequent
 5          owners of the vehicle during the warranty period.
 6          The warranty covers repairs to correct any vehicle defect . . . related to materials or
            workmanship occurring during the warranty period.
 7
            Warranty repairs, including towing, parts, and labor, will be made at no charge.
 8
            680.   GM’s Limited Warranty formed the basis of the bargain that was reached when Plaintiff
 9
     and the other Class members purchased or leased their Class Vehicles equipped with the defective
10
     Generation IV Vortec 5300 Engines.
11
            681.   GM breached the express warranty to repair defects in materials and workmanship
12
     within the Class Vehicles. GM has not repaired, and has been unable to repair, the Class Vehicles’
13
     materials and workmanship defects.
14
            682.   Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
15
     notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
16
     corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
17
     United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
18
     on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
19
     numerous complaints filed against it directly and through its dealers, as well as its own internal
20
     engineering knowledge.
21
            683.   Furthermore, the Limited Warranty fails in its essential purpose because the contractual
22
     remedy is insufficient to make Plaintiff and the other Class members whole and because GM has failed
23
     and/or has refused to adequately provided the promised remedies within a reasonable time.
24
            684.   Accordingly, recovery by Plaintiff and the other Class members is not limited to the
25
     limited warranty of repair to parts defective in materials and workmanship, and Plaintiff, individually
26
     and on behalf of the other Class members, seeks all remedies allowable by law.
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 1          685.    Also, and as alleged in more detail herein, at the time that GM warranted and sold the
 2   Class Vehicles it knew that the Class Vehicles did not conform to the warranty and were inherently
 3   defective, and GM improperly concealed material facts regarding its Class Vehicles. Plaintiff and the
 4   other Class members were, therefore, induced to purchase or lease the Class Vehicles under false
 5   pretenses.
 6          686.    Moreover, much of the damage flowing from the Class Vehicles cannot be resolved
 7   through the limited remedy of repairs, as those incidental and consequential damages have already been
 8   suffered due to GM’s improper conduct as alleged herein, and due to its failure and/or continued failure
 9   to provide such limited remedy within a reasonable time, and any limitation on Plaintiff and the other
10   Class members’ remedies would be insufficient to make them whole.
11          687.    As a direct and proximate result of GM’s breach of its express warranty, Plaintiff and
12   the other Class members have been damaged in an amount to be determined at trial.
13                                          COUNT 47
                     BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
14                               Ind. Code §§ 26-1-2-314 and 26-1-2.1-212
15          688.    Plaintiff Lannom (“Plaintiff,” for purposes of the Indiana Class’s claims) repeats and
16   realleges paragraphs 1-212 as if fully set forth herein.
17          689.    Plaintiff brings this Count individually and on behalf of the other members of the
18   Indiana Class (the “Class,” for purposes of this Count).
19          690.    GM is and was at all relevant times a merchant with respect to motor vehicles under Ind.
20   Code §§ 26-1-2-104 and 26-1-2.1-103.
21          691.    Pursuant to Ind. Code §§ 26-1-2-314 and 26-1-2.1-212, a warranty that the Class
22   Vehicles were in merchantable condition was implied by law, and the Class Vehicles were bought and
23   sold subject to an implied warranty of merchantability.
24          692.    The Class Vehicles did not comply with the implied warranty of merchantability
25   because, at the time of sale and at all times thereafter, they were defective and not in merchantable
26   condition, would not pass without objection in the trade, and were not fit for the ordinary purpose for
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 1   which vehicles were used. Specifically, the Class Vehicles suffer from the Low-Tension Oil Ring
 2   Defect which causes excessive oil loss and leads to engine damage.
 3            693.   Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
 4   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
 5   corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
 6   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
 7   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
 8   numerous complaints filed against it directly and through its dealers, as well as its own internal
 9   engineering knowledge.
10            694.   Plaintiff and the other Class members suffered injuries due to the defective nature of the
11   Class Vehicles and GM’s breach of the warranty of merchantability.
12            695.   As a direct and proximate result of GM’s breach of the warranty of merchantability,
13   Plaintiff and the other Class members have been damaged in an amount to be proven at trial.
14                                              COUNT 48
                                           FRAUDULENT OMISSION
15
              696.   Plaintiff Lannom (“Plaintiff,” for purposes of the Indiana Class’s claims) repeats and
16
     realleges paragraphs 1-212 as if fully set forth herein.
17
              697.   Plaintiff brings this Count individually and on behalf of the other members of the
18
     Indiana Class (the “Class,” for purposes of this Count).
19
              698.   GM was aware of the Low-Tension Oil Ring Defect within the Generation IV Vortec
20
     5300 Engines when it marketed and sold the Class Vehicles to Plaintiff and the other members of the
21
     Class.
22
              699.   Having been aware of the Low-Tension Oil Ring Defect within the Generation IV
23
     Vortec 5300 Engines, and having known that Plaintiff and the other members of the Class could not
24
     have reasonably been expected to know of the Low-Tension Oil Ring Defect, GM had a duty to
25
     disclose the defect to Plaintiff and the other members of the Class in connection with the sale or lease
26
     of the Class Vehicles.
27
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 1          700.    GM did not disclose the Low-Tension Oil Ring Defect within the Generation IV Vortec
 2   5300 Engines to Plaintiff and the other members of the Class in connection with the sale of the Class
 3   Vehicles.
 4          701.    For the reasons set forth above, the Low-Tension Oil Ring Defect within the Generation
 5   IV Vortec 5300 Engines comprises material information with respect to the sale or lease of the Class
 6   Vehicles.
 7          702.    In purchasing the Class Vehicles, Plaintiff and the other members of the Class
 8   reasonably relied on GM to disclose known material defects with respect to the Class Vehicles.
 9          703.    Had Plaintiff and the other members of the Class known of the Low-Tension Oil Ring
10   Defect within the Generation IV Vortec 5300 Engines, they would have not purchased the Class
11   Vehicles or would have paid less for the Class Vehicles.
12          704.    Through its omissions regarding the Low-Tension Oil Ring Defect within the
13   Generation IV Vortec 5300 Engines, GM intended to induce, and did induce, Plaintiff and the other
14   members of the Class to either purchase a Class Vehicle that they otherwise would not have purchased,
15   or pay more for a Class Vehicle than they otherwise would have paid.
16          705.    As a direct and proximate result of GM’s omissions, Plaintiff and the other members of
17   the Class either overpaid for the Class Vehicles or would not have purchased the Class Vehicles at all if
18   the Low-Tension Oil Ring Defect had been disclosed to them, and, therefore, have incurred damages in
19   an amount to be determined at trial.
20                                               COUNT 49
                                            UNJUST ENRICHMENT
21
            706.    Plaintiff Lannom (“Plaintiff,” for purposes of the Indiana Class’s claims) repeats and
22
     realleges paragraphs 1-212 as if fully set forth herein.
23
            707.    Plaintiff brings this Count individually and on behalf of the other members of the
24
     Indiana Class (the “Class,” for purposes of this Count).
25
            708.    GM has benefitted from selling and leasing at an unjust profit defective Class Vehicles
26
     that had artificially inflated prices due to GM’s concealment of the Low-Tension Oil Ring Defect, and
27
     Plaintiff and the other members of the Class have overpaid for these vehicles.
28
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 1             709.   GM has received and retained unjust benefits from Plaintiff and the other members of
 2   the Class, and inequity has resulted.
 3             710.   It is inequitable and unconscionable for GM to retain these benefits.
 4             711.   Because GM concealed its fraud and deception, Plaintiff and the other members of the
 5   Class were not aware of the true facts concerning the Class Vehicles and did not benefit from GM’s
 6   misconduct.
 7             712.   GM knowingly accepted the unjust benefits of its wrongful conduct.
 8             713.   As a result of GM’s misconduct, the amount of its unjust enrichment should be
 9   disgorged and returned to Plaintiff and the other members of the Class in an amount to be proven at
10   trial.
11             11.    Claims Brought on Behalf of the Iowa Class
12                                              COUNT 50
                                      BREACH OF EXPRESS WARRANTY
13                                         Iowa Code § 554.2313
14             714.   Plaintiff Zierke (“Plaintiff,” for purpose of the Iowa Class’s claims) repeats and
15   realleges paragraphs 1-212 as if fully set forth herein.
16             715.   Plaintiff brings this Count individually and on behalf of the other members of the Iowa
17   Class (the “Class,” for purposes of this Count).
18             716.   GM is and was at all relevant times a merchant with respect to the Class Vehicles.
19             717.   In its Limited Warranty, GM expressly warranted that it would repair or replace defects
20   in material or workmanship free of charge if they became apparent during the warranty period. GM
21   provides the following language in its 2012 Chevrolet Limited Warranty guide:
22             This warranty is for GM vehicles registered in the United States and normally operated
               in the United States and Canada, and is provided to the original and any subsequent
23             owners of the vehicle during the warranty period.
24             The warranty covers repairs to correct any vehicle defect . . . related to materials or
               workmanship occurring during the warranty period.
25
               Warranty repairs, including towing, parts, and labor, will be made at no charge.
26

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 1          718.   GM’s Limited Warranty formed the basis of the bargain that was reached when Plaintiff
 2   and the other Class members purchased or leased their Class Vehicles equipped with the defective
 3   Generation IV Vortec 5300 Engines.
 4          719.   GM breached the express warranty to repair defects in materials and workmanship
 5   within the Class Vehicles. GM has not repaired, and has been unable to repair, the Class Vehicles’
 6   materials and workmanship defects.
 7          720.   Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
 8   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
 9   corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
10   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
11   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
12   numerous complaints filed against it directly and through its dealers, as well as its own internal
13   engineering knowledge.
14          721.   Furthermore, the Limited Warranty fails in its essential purpose because the contractual
15   remedy is insufficient to make Plaintiff and the other Class members whole and because GM has failed
16   and/or has refused to adequately provided the promised remedies within a reasonable time.
17          722.   Accordingly, recovery by Plaintiff and the other Class members is not limited to the
18   limited warranty of repair to parts defective in materials and workmanship, and Plaintiff, individually
19   and on behalf of the other Class members, seeks all remedies allowable by law.
20          723.   Also, and as alleged in more detail herein, at the time that GM warranted and sold the
21   Class Vehicles it knew that the Class Vehicles did not conform to the warranty and were inherently
22   defective, and GM improperly concealed material facts regarding its Class Vehicles. Plaintiff and the
23   other Class members were, therefore, induced to purchase or lease the Class Vehicles under false
24   pretenses.
25          724.   Moreover, much of the damage flowing from the Class Vehicles cannot be resolved
26   through the limited remedy of repairs, as those incidental and consequential damages have already been
27   suffered due to GM’s improper conduct as alleged herein, and due to its failure and/or continued failure
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 1   to provide such limited remedy within a reasonable time, and any limitation on Plaintiff and the other
 2   Class members’ remedies would be insufficient to make them whole.
 3            725.   As a direct and proximate result of GM’s breach of its express warranty, Plaintiff and
 4   the other Class members have been damaged in an amount to be determined at trial.
 5                                              COUNT 51
                                           FRAUDULENT OMISSION
 6
              726.   Plaintiff Zierke (“Plaintiff,” for purposes of the Iowa Class’s claims) repeats and
 7
     realleges paragraphs 1-212 as if fully set forth herein.
 8
              727.   Plaintiff brings this Count individually and on behalf of the other members of the Iowa
 9
     Class (the “Class,” for purposes of this Count).
10
              728.   GM was aware of the Low-Tension Oil Ring Defect within the Generation IV Vortec
11
     5300 Engines when it marketed and sold the Class Vehicles to Plaintiff and the other members of the
12
     Class.
13
              729.   Having been aware of the Low-Tension Oil Ring Defect within the Generation IV
14
     Vortec 5300 Engines, and having known that Plaintiff and the other members of the Class could not
15
     have reasonably been expected to know of the Low-Tension Oil Ring Defect, GM had a duty to
16
     disclose the defect to Plaintiff and the other members of the Class in connection with the sale or lease
17
     of the Class Vehicles.
18
              730.   GM did not disclose the Low-Tension Oil Ring Defect within the Generation IV Vortec
19
     5300 Engines to Plaintiff and the other members of the Class in connection with the sale of the Class
20
     Vehicles.
21
              731.   For the reasons set forth above, the Low-Tension Oil Ring Defect within the Generation
22
     IV Vortec 5300 Engines comprises material information with respect to the sale or lease of the Class
23
     Vehicles.
24
              732.   In purchasing the Class Vehicles, Plaintiff and the other members of the Class
25
     reasonably relied on GM to disclose known material defects with respect to the Class Vehicles.
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 1          733.    Had Plaintiff and the other members of the Class known of the Low-Tension Oil Ring
 2   Defect within the Generation IV Vortec 5300 Engines, they would have not purchased the Class
 3   Vehicles or would have paid less for the Class Vehicles.
 4          734.    Through its omissions regarding the Low-Tension Oil Ring Defect within the
 5   Generation IV Vortec 5300 Engines, GM intended to induce, and did induce, Plaintiff and the other
 6   members of the Class to either purchase a Class Vehicle that they otherwise would not have purchased,
 7   or pay more for a Class Vehicle than they otherwise would have paid.
 8          735.    As a direct and proximate result of GM’s omissions, Plaintiff and the other members of
 9   the Class either overpaid for the Class Vehicles or would not have purchased the Class Vehicles at all if
10   the Low-Tension Oil Ring Defect had been disclosed to them, and, therefore, have incurred damages in
11   an amount to be determined at trial.
12                                                COUNT 52
                                             UNJUST ENRICHMENT
13
            736.    Plaintiff Zierke (“Plaintiff,” for purposes of the Iowa Class’s claims) repeats and
14
     realleges paragraphs 1-212 as if fully set forth herein.
15
            737.    Plaintiff brings this Count individually and on behalf of the other members of the Iowa
16
     Class (the “Class,” for purposes of this Count).
17
            738.    GM has benefitted from selling and leasing at an unjust profit defective Class Vehicles
18
     that had artificially inflated prices due to GM’s concealment of the Low-Tension Oil Ring Defect, and
19
     Plaintiff and the other members of the Class have overpaid for these vehicles.
20
            739.    GM has received and retained unjust benefits from Plaintiff and the other members of
21
     the Class, and inequity has resulted.
22
            740.    It is inequitable and unconscionable for GM to retain these benefits.
23
            741.    Because GM concealed its fraud and deception, Plaintiff and the other members of the
24
     Class were not aware of the true facts concerning the Class Vehicles and did not benefit from GM’s
25
     misconduct.
26
            742.    GM knowingly accepted the unjust benefits of its wrongful conduct.
27
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 1            743.   As a result of GM’s misconduct, the amount of its unjust enrichment should be
 2   disgorged and returned to Plaintiff and the other members of the Class in an amount to be proven at
 3   trial.
 4            12.    Claims Brought on Behalf of the Kansas Class
 5                                                 COUNT 53
                                         VIOLATIONS OF KANSAS
 6                                     CONSUMER PROTECTION ACT
                                        Kan. Stat. Ann. §§ 50-623, et seq.
 7
              744.   Plaintiff Madson (“Plaintiff,” for purposes of the Kansas Class’s claims) repeats and
 8
     realleges paragraphs 1-212 as if fully set forth herein.
 9
              745.   Plaintiff brings this claim individually and on behalf of the other members of the Kansas
10
     Class (the “Class,” for purposes of this Count).
11
              746.   The Kansas Consumer Protection Act, Kan. Stat. Ann. § 50-626, states that, “no supplier
12
     shall engage in any deceptive act or practice in connection with a consumer transaction.”
13
              747.   GM is a “supplier” within the meaning of the Kansas Consumer Protection Act.
14
              748.   By the conduct described in detail above and incorporated herein, GM engaged in
15
     deceptive trade practices.
16
              749.   GM’s omissions regarding the Low-Tension Oil Ring Defect, described above, that
17
     results in abnormally high oil consumption and resultant engine damage within the Generation IV
18
     Vortec 5300 Engines, are material facts that a reasonable person would have considered in deciding
19
     whether or not to purchase (or to pay the same price for) the Class Vehicles.
20
              750.   GM intended for Plaintiff and the other Class members to rely on GM’s omissions
21
     regarding the Low-Tension Oil Ring Defect.
22
              751.   Plaintiff and the other Class members justifiably acted or relied to their detriment upon
23
     GM’s omissions of fact concerning the above-described Low-Tension Oil Ring Defect that results in
24
     abnormally high oil consumption and resultant engine damage within the Generation IV Vortec 5300
25
     Engines, as evidenced by Plaintiff and the other Class members’ purchases of Class Vehicles.
26

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 1          752.    Had GM disclosed all material information regarding the Low-Tension Oil Ring Defect
 2   to Plaintiff and the other Class members, Plaintiff and the other Class members would not have
 3   purchased or leased Class Vehicles or would have paid less to do so.
 4          753.    GM’s omissions have deceived Plaintiff, and those same business practices have
 5   deceived or are likely to deceive members of the consuming public and the other members of the Class.
 6          754.    In addition to being deceptive, the business practices of GM were unfair because GM
 7   knowingly sold Plaintiff and the other Class members Class Vehicles with defective engines that are
 8   essentially unusable for the purposes for which they were sold. The injuries to Plaintiff and the other
 9   Class members are substantial and greatly outweigh any alleged countervailing benefit to Plaintiff and
10   the other Class members or to competition under all of the circumstances. Moreover, in light of GM’s
11   exclusive knowledge of the Low-Tension Oil Ring Defect, the injury is not one that Plaintiff or the
12   other Class members could have reasonably avoided.
13          755.    As a direct and proximate result of GM’s unfair and deceptive trade practices, Plaintiff
14   and the other Class members have suffered ascertainable loss and actual damages. Plaintiff and the
15   other Class members who purchased or leased the Class Vehicles would not have purchased or leased
16   the Class Vehicles, or, alternatively, would have paid less for them had the truth about the Low-
17   Tension Oil Ring Defect been disclosed.          Plaintiff and the other Class members also suffered
18   diminished value of their vehicles. Plaintiff and the other Class members are entitled to recover actual
19   damages, attorneys’ fees and costs, and all other relief allowed under Kan. Stat. Ann. § 50-634.
20                                                COUNT 54
                                    BREACH OF EXPRESS WARRANTY
21                                 Kan. Stat. Ann. §§ 84-2-313 and 84-2a-210
22          756.    Plaintiff Madson (“Plaintiff,” for the purposes of the Kansas Class’s claims) repeats and
23   realleges paragraphs 1-212 as if fully set forth herein.
24          757.    Plaintiff brings this Count individually and on behalf of the other members of the
25   Kansas Class (the “Class,” for purposes of this Count).
26          758.    GM is and was at all relevant times a merchant with respect to the Class Vehicles.
27
28
                                                    103
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 1          759.   In its Limited Warranty, GM expressly warranted that it would repair or replace defects
 2   in material or workmanship free of charge if those defects became apparent during the warranty period.
 3   GM provides the following language in its 2012 Chevrolet Limited Warranty guide:
 4                 This warranty is for GM vehicles registered in the United States and normally
                   operated in the United States and Canada, and is provided to the original and any
 5                 subsequent owners of the vehicle during the warranty period.
 6                 The warranty covers repairs to correct any vehicle defect . . . related to materials
                   or workmanship occurring during the warranty period.
 7
                   Warranty repairs, including towing, parts, and labor, will be made at no charge.
 8
            760.   GM’s Limited Warranty formed the basis of the bargain that was reached when Plaintiff
 9
     and the other Class members purchased or leased their Class Vehicles equipped with the defective
10
     Generation IV Vortec 5300 Engines.
11
            761.   GM breached its express warranty to repair defects in materials and workmanship within
12
     the Class Vehicles. GM has not repaired, and has been unable to repair, the Class Vehicles’ materials
13
     and workmanship defects.
14
            762.   Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
15
     notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
16
     corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
17
     United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
18
     on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
19
     numerous complaints filed against it directly and through its dealers, as well as its own internal
20
     engineering knowledge.
21
            763.   Furthermore, the Limited Warranty fails in its essential purpose because the contractual
22
     remedy is insufficient to make Plaintiff and the other Class members whole and because GM has failed
23
     and/or has refused to adequately provided the promised remedies within a reasonable time.
24
            764.   Accordingly, recovery by Plaintiff and the other Class members is not limited to the
25
     limited warranty of repair to parts defective in materials and workmanship, and Plaintiff, individually
26
     and on behalf of the other Class members, seeks all remedies as allowed by law.
27
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 1          765.    Also, as alleged in more detail herein, at the time that GM warranted, leased, and sold
 2   the Class Vehicles it knew that the Class Vehicles did not conform to the warranty and were inherently
 3   defective, and GM improperly concealed material facts regarding its Class Vehicles. Plaintiff and the
 4   other Class members were therefore induced to purchase or lease the GM Vehicles under false
 5   pretenses.
 6          766.    Moreover, much of the damage flowing from the Class Vehicles cannot be resolved
 7   through the limited remedy of repairs, as those incidental and consequential damages have already been
 8   suffered due to GM’s improper conduct as alleged herein, and due to its failure and/or continued failure
 9   to provide such limited remedy within a reasonable time, and any limitation on Plaintiff’s and the other
10   Class members’ remedies would be insufficient to make them whole.
11          767.    As a direct and proximate result of GM’s breach of its express warranty, Plaintiff and
12   the other Class members have been damaged in an amount to be determined at trial.
13                                            COUNT 55
                       BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
14                             Kan. Stat. Ann. 84-2-314 and 84-2a-212
15          768.    Plaintiff Madson (“Plaintiff,” for purposes of the Kansas Class’s claims) repeats and
16   realleges paragraphs 1-212 as if fully set forth herein.
17          769.    Plaintiff brings this Count individually and on behalf of the other members of the
18   Kansas Class (the “Class,” for purposes of this Count).
19          770.    GM is and was at all relevant times a merchant with respect to motor vehicles under
20   Kan. Stat. Ann. §§ 84-2-104 and 842a-103.
21          771.    Pursuant to Kan. Stat. Ann. §§ 84-2-314 and 84-2a-212, a warranty that the Class
22   Vehicles were in merchantable condition was implied by law, and the Class Vehicles were bought and
23   sold subject to an implied warranty of merchantability.
24          772.    The Class Vehicles did not comply with the implied warranty of merchantability
25   because, at the time of sale and at all times thereafter, they were defective and not in merchantable
26   condition, would not pass without objection in the trade, and were not fit for the ordinary purpose for
27
28
                                                    105
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 1   which vehicles were used. Specifically, the Class Vehicles suffer from the Low-Tension Oil Ring
 2   Defect which causes excessive oil loss and leads to engine damage.
 3            773.   Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
 4   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
 5   corresponding breach of warranty, through a notice letter dated October 27, 2016 and delivered by
 6   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
 7   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
 8   numerous complaints filed against it directly and through its dealers, as well as its own internal
 9   engineering knowledge.
10            774.   Plaintiff and the other Class members suffered injuries due to the defective nature of the
11   Class Vehicles and GM’s breach of the warranty of merchantability.
12            775.   As a direct and proximate result of GM’s breach of the warranty of merchantability,
13   Plaintiff and the other Class members have been damaged in an amount to be proven at trial.
14                                              COUNT 56
                                           FRAUDULENT OMISSION
15
              776.   Plaintiff Madson (“Plaintiff,” for purposes of the Kansas Class’s claims) repeats and
16
     realleges paragraphs 1-212 as if fully set forth herein.
17
              777.   Plaintiff brings this Count individually and on behalf of the other members of the
18
     Kansas Class (the “Class,” for purposes of this Count).
19
              778.   GM was aware of the Low-Tension Oil Ring Defect within the Generation IV Vortec
20
     5300 Engines when it marketed and sold the Class Vehicles to Plaintiff and the other members of the
21
     Class.
22
              779.   Having been aware of the Low-Tension Oil Ring Defect within the Generation IV
23
     Vortec 5300 Engines, and having known that Plaintiff and the other members of the Class could not
24
     have reasonably been expected to know of the Low-Tension Oil Ring Defect, GM had a duty to
25
     disclose the defect to Plaintiff and the other members of the Class in connection with the sale or lease
26
     of the Class Vehicles.
27
28
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 1          780.    GM did not disclose the Low-Tension Oil Ring Defect within the Generation IV Vortec
 2   5300 Engines to Plaintiff and the other members of the Class in connection with the sale of the Class
 3   Vehicles.
 4          781.    For the reasons set forth above, the Low-Tension Oil Ring Defect within the Generation
 5   IV Vortec 5300 Engines comprises material information with respect to the sale or lease of the Class
 6   Vehicles.
 7          782.    In purchasing the Class Vehicles, Plaintiff and the other members of the Class
 8   reasonably relied on GM to disclose known material defects with respect to the Class Vehicles.
 9          783.    Had Plaintiff and the other members of the Class known of the Low-Tension Oil Ring
10   Defect within the Generation IV Vortec 5300 Engines, they would have not purchased the Class
11   Vehicles or would have paid less for the Class Vehicles.
12          784.    Through its omissions regarding the Low-Tension Oil Ring Defect within the
13   Generation IV Vortec 5300 Engines, GM intended to induce, and did induce, Plaintiff and the other
14   members of the Class to either purchase a Class Vehicle that they otherwise would not have purchased,
15   or pay more for a Class Vehicle than they otherwise would have paid.
16          785.    As a direct and proximate result of GM’s omissions, Plaintiff and the other members of
17   the Class either overpaid for the Class Vehicles or would not have purchased the Class Vehicles at all if
18   the Low-Tension Oil Ring Defect had been disclosed to them, and, therefore, have incurred damages in
19   an amount to be determined at trial.
20                                               COUNT 57
                                            UNJUST ENRICHMENT
21
            786.    Plaintiff Madson (“Plaintiff,” for purposes of the Kansas Class’s claims) repeats and
22
     realleges paragraphs 1-212 as if fully set forth herein.
23
            787.    Plaintiff brings this Count individually and on behalf of the other members of the
24
     Kansas Class (the “Class,” for purposes of this Count).
25
            788.    GM has benefitted from selling and leasing at an unjust profit defective Class Vehicles
26
     that had artificially inflated prices due to GM’s concealment of the Low-Tension Oil Ring Defect, and
27
     Plaintiff and the other members of the Class have overpaid for these vehicles.
28
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 1            789.   GM has received and retained unjust benefits from Plaintiff and the other members of
 2   the Class, and inequity has resulted.
 3            790.   It is inequitable and unconscionable for GM to retain these benefits.
 4            791.   Because GM concealed its fraud and deception, Plaintiff and the other members of the
 5   Class were not aware of the true facts concerning the Class Vehicles and did not benefit from GM’s
 6   misconduct.
 7            792.   GM knowingly accepted the unjust benefits of its wrongful conduct.
 8            793.   As a result of GM’s misconduct, the amount of its unjust enrichment should be
 9   disgorged and returned to Plaintiff and the other members of the Class in an amount to be proven at
10   trial.
11            13.    Claims Brought on Behalf of the Kentucky Class
12                                                COUNT 58
                                     VIOLATIONS OF THE KENTUCKY
13                                    CONSUMER PROTECTION ACT
                                     Ky. Rev. Stat. Ann. §§ 367.110, et seq.
14
              794.   Plaintiff Faulkner (“Plaintiff,” for purposes of the Kentucky Class’s claims) repeats and
15
     realleges paragraphs 1-212 as if fully set forth herein.
16
              795.   Plaintiff brings this Count individually and on behalf of the other members of the
17
     Kentucky Class (the “Class,” for purposes of this Count).
18
              796.   Pursuant to the Kentucky Unfair Trade Practices Act, “[u]nfair, false, misleading, or
19
     deceptive acts or practices in the conduct of any trade or commerce” are unlawful. Ky. Rev. Stat. Ann.
20
     § 367.170(1).
21
              797.   By the conduct described in detail above and incorporated herein, GM engaged in unfair
22
     or deceptive acts in violation of Ky. Rev. Stat. Ann. § 367.170.
23
              798.   GM’s omissions regarding the Low-Tension Oil Ring Defect, described above, that
24
     results in abnormally high oil consumption and resultant engine damage within the Generation IV
25
     Vortec 5300 Engines, are material facts that a reasonable person would have considered in deciding
26
     whether or not to purchase (or to pay the same price for) the Class Vehicles.
27
28
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 1             799.   GM intended for Plaintiff and the other Class members to rely on GM’s omissions of
 2   fact regarding the Low-Tension Oil Ring Defect.
 3             800.   Plaintiff and the other Class members justifiably acted or relied to their detriment upon
 4   GM’s omissions of fact concerning the above-described Low-Tension Oil Ring Defect that results in
 5   abnormally high oil consumption and resultant engine damage within the Generation IV Vortec 5300
 6   Engines, as evidenced by Plaintiff and the other Class members’ purchases of Class Vehicles.
 7             801.   Had GM disclosed all material information regarding the Low-Tension Oil Ring Defect
 8   to Plaintiff and the other Class members, Plaintiff and the other Class members would not have
 9   purchased or leased Class Vehicles or would have paid less to do so.
10             802.   GM’s omissions have deceived Plaintiff, and those same business practices have
11   deceived or are likely to deceive members of the consuming public and the other Class members.
12             803.   In addition to being deceptive, the business practices of GM were unfair because GM
13   knowingly sold Plaintiff and the other Class members Class Vehicles with defective engines that are
14   essentially unusable for the purposes for which they were sold. The injuries to Plaintiff and the other
15   Class members are substantial and greatly outweigh any alleged countervailing benefit to Plaintiff and
16   the other Class members or to competition under all of the circumstances. Moreover, in light of GM’s
17   exclusive knowledge of the Low-Tension Oil Ring Defect, the injury is not one that Plaintiff or the
18   other Class members could have reasonably avoided.
19             804.   As a direct and proximate result of GM’s unfair and deceptive trade practices, Plaintiff
20   and the other Class members have suffered ascertainable loss and actual damages. Plaintiff and the
21   other Class members who purchased or leased the Class Vehicles would not have purchased or leased
22   the Class Vehicles, or, alternatively, would have paid less for them had the truth about the Low-
23   Tension Oil Ring Defect been disclosed.          Plaintiff and the other Class members also suffered
24   diminished value of their vehicles. Plaintiff and the other Class members are entitled to recover actual
25   damages, attorneys’ fees and costs, and all other relief allowed under Ky. Rev. Stat. Ann. §§ 367.110,
26   et seq.
27
28
                                                    109
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                                                  COUNT 59
 1                                  BREACH OF EXPRESS WARRANTY
                                Ky. Rev. Stat. Ann. §§ 355.2-313 and 355.2A-210
 2
            805.    Plaintiff Faulkner (“Plaintiff,” for purpose of the Kentucky Class’s claims) repeats and
 3
     realleges paragraphs 1-212 as if fully set forth herein.
 4
            806.    Plaintiff brings this Count individually and on behalf of the other members of the
 5
     Kentucky Class (the “Class,” for purposes of this Count).
 6
            807.    GM is and was at all relevant times a merchant with respect to the Class Vehicles.
 7
            808.    In its Limited Warranty, GM expressly warranted that it would repair or replace defects
 8
     in material or workmanship free of charge if they became apparent during the warranty period. GM
 9
     provides the following language in its 2012 Chevrolet Limited Warranty guide:
10
            This warranty is for GM vehicles registered in the United States and normally operated
11          in the United States and Canada, and is provided to the original and any subsequent
            owners of the vehicle during the warranty period.
12
            The warranty covers repairs to correct any vehicle defect . . . related to materials or
13          workmanship occurring during the warranty period.
14          Warranty repairs, including towing, parts, and labor, will be made at no charge.
15          809.    GM’s Limited Warranty formed the basis of the bargain that was reached when Plaintiff
16   and the other Class members purchased or leased their Class Vehicles equipped with the defective
17   Generation IV Vortec 5300 Engines.
18          810.    GM breached the express warranty to repair defects in materials and workmanship
19   within the Class Vehicles. GM has not repaired, and has been unable to repair, the Class Vehicles’
20   materials and workmanship defects.
21          811.    Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
22   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
23   corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
24   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
25   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
26   numerous complaints filed against it directly and through its dealers, as well as its own internal
27   engineering knowledge.
28
                                                    110
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 1          812.    Furthermore, the Limited Warranty fails in its essential purpose because the contractual
 2   remedy is insufficient to make Plaintiff and the other Class members whole and because GM has failed
 3   and/or has refused to adequately provided the promised remedies within a reasonable time.
 4          813.    Accordingly, recovery by Plaintiff and the other Class members is not limited to the
 5   limited warranty of repair to parts defective in materials and workmanship, and Plaintiff, individually
 6   and on behalf of the other Class members, seeks all remedies allowable by law.
 7          814.    Also, and as alleged in more detail herein, at the time that GM warranted and sold the
 8   Class Vehicles it knew that the Class Vehicles did not conform to the warranty and were inherently
 9   defective, and GM improperly concealed material facts regarding its Class Vehicles. Plaintiff and the
10   other Class members were, therefore, induced to purchase or lease the Class Vehicles under false
11   pretenses.
12          815.    Moreover, much of the damage flowing from the Class Vehicles cannot be resolved
13   through the limited remedy of repairs, as those incidental and consequential damages have already been
14   suffered due to GM’s improper conduct as alleged herein, and due to its failure and/or continued failure
15   to provide such limited remedy within a reasonable time, and any limitation on Plaintiff and the other
16   Class members’ remedies would be insufficient to make them whole.
17          816.    As a direct and proximate result of GM’s breach of its express warranty, Plaintiff and
18   the other Class members have been damaged in an amount to be determined at trial.
19                                          COUNT 60
                     BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
20                           Ky. Rev. Stat. Ann. §§ 355.2-314 and 355.2A-212
21          817.    Plaintiff Faulkner (“Plaintiff,” for purposes of the Kentucky Class’s claims) repeats and
22   realleges paragraphs 1-212 as if fully set forth herein.
23          818.    Plaintiff brings this Count individually and on behalf of the other members of the
24   Kentucky Class (the “Class,” for purposes of this Count).
25          819.    GM is and was at all relevant times a merchant with respect to motor vehicles under Ky.
26   Rev. Stat. Ann. §§ 355.2-104 and 355.2A-103.
27
28
                                                    111
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 1            820.   Pursuant to Ky. Rev. Stat. Ann. §§ 355.2-314 and 355.2A-212, a warranty that the Class
 2   Vehicles were in merchantable condition was implied by law, and the Class Vehicles were bought and
 3   sold subject to an implied warranty of merchantability.
 4            821.   The Class Vehicles did not comply with the implied warranty of merchantability
 5   because, at the time of sale and at all times thereafter, they were defective and not in merchantable
 6   condition, would not pass without objection in the trade, and were not fit for the ordinary purpose for
 7   which vehicles were used. Specifically, the Class Vehicles suffer from the Low-Tension Oil Ring
 8   Defect which causes excessive oil loss and leads to engine damage.
 9            822.   Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
10   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
11   corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
12   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
13   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
14   numerous complaints filed against it directly and through its dealers, as well as its own internal
15   engineering knowledge.
16            823.   Plaintiff and the other Class members suffered injuries due to the defective nature of the
17   Class Vehicles and GM’s breach of the warranty of merchantability.
18            824.   As a direct and proximate result of GM’s breach of the warranty of merchantability,
19   Plaintiff and the other Class members have been damaged in an amount to be proven at trial.
20                                              COUNT 61
                                           FRAUDULENT OMISSION
21
              825.   Plaintiff Faulkner (“Plaintiff,” for purposes of the Kentucky Class’s claims) repeats and
22
     realleges paragraphs 1-212 as if fully set forth herein.
23
              826.   Plaintiff brings this Count individually and on behalf of the other members of the
24
     Kentucky Class (the “Class,” for purposes of this Count).
25
              827.   GM was aware of the Low-Tension Oil Ring Defect within the Generation IV Vortec
26
     5300 Engines when it marketed and sold the Class Vehicles to Plaintiff and the other members of the
27
     Class.
28
                                                    112
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 1          828.    Having been aware of the Low-Tension Oil Ring Defect within the Generation IV
 2   Vortec 5300 Engines, and having known that Plaintiff and the other members of the Class could not
 3   have reasonably been expected to know of the Low-Tension Oil Ring Defect, GM had a duty to
 4   disclose the defect to Plaintiff and the other members of the Class in connection with the sale or lease
 5   of the Class Vehicles.
 6          829.    GM did not disclose the Low-Tension Oil Ring Defect within the Generation IV Vortec
 7   5300 Engines to Plaintiff and the other members of the Class in connection with the sale of the Class
 8   Vehicles.
 9          830.    For the reasons set forth above, the Low-Tension Oil Ring Defect within the Generation
10   IV Vortec 5300 Engines comprises material information with respect to the sale or lease of the Class
11   Vehicles.
12          831.    In purchasing the Class Vehicles, Plaintiff and the other members of the Class
13   reasonably relied on GM to disclose known material defects with respect to the Class Vehicles.
14          832.    Had Plaintiff and the other members of the Class known of the Low-Tension Oil Ring
15   Defect within the Generation IV Vortec 5300 Engines, they would have not purchased the Class
16   Vehicles or would have paid less for the Class Vehicles.
17          833.    Through its omissions regarding the Low-Tension Oil Ring Defect within the
18   Generation IV Vortec 5300 Engines, GM intended to induce, and did induce, Plaintiff and the other
19   members of the Class to either purchase a Class Vehicle that they otherwise would not have purchased,
20   or pay more for a Class Vehicle than they otherwise would have paid.
21          834.    As a direct and proximate result of GM’s omissions, Plaintiff and the other members of
22   the Class either overpaid for the Class Vehicles or would not have purchased the Class Vehicles at all if
23   the Low-Tension Oil Ring Defect had been disclosed to them, and, therefore, have incurred damages in
24   an amount to be determined at trial.
25                                               COUNT 62
                                            UNJUST ENRICHMENT
26
            835.    Plaintiff Faulkner (“Plaintiff,” for purposes of the Kentucky Class’s claims) repeats and
27
     realleges paragraphs 1-212 as if fully set forth herein.
28
                                                    113
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 1            836.   Plaintiff brings this Count individually and on behalf of the other members of the
 2   Kentucky Class (the “Class,” for purposes of this Count).
 3            837.   GM has benefitted from selling and leasing at an unjust profit defective Class Vehicles
 4   that had artificially inflated prices due to GM’s concealment of the Low-Tension Oil Ring Defect, and
 5   Plaintiff and the other members of the Class have overpaid for these vehicles.
 6            838.   GM has received and retained unjust benefits from Plaintiff and the other members of
 7   the Class, and inequity has resulted.
 8            839.   It is inequitable and unconscionable for GM to retain these benefits.
 9            840.   Because GM concealed its fraud and deception, Plaintiff and the other members of the
10   Class were not aware of the true facts concerning the Class Vehicles and did not benefit from GM’s
11   misconduct.
12            841.   GM knowingly accepted the unjust benefits of its wrongful conduct.
13            842.   As a result of GM’s misconduct, the amount of its unjust enrichment should be
14   disgorged and returned to Plaintiff and the other members of the Class in an amount to be proven at
15   trial.
16            13.    Claims Brought on Behalf of the Louisiana Class
17                                                  COUNT 63
                                                 REDHIBITION
18                                        La. Civ. Code Art. 2520, et seq.
19            843.   Plaintiff Olivier (“Plaintiff,” for purposes of the Louisiana Class’s claims) repeats and
20   realleges Paragraphs 1-212 as if fully set forth herein.
21            844.   Plaintiff brings this Count individually and on behalf of the other members of the
22   Louisiana Class (the “Class,” for purposes of this Count).
23            845.   GM, as seller of the Class Vehicles that include defective engines with the Low-Tension
24   Oil Ring Defect that causes excessive oil consumption and resultant engine damage, warranted to the
25   Plaintiff and the other Class members against redhibitory defects, or vices, in the Class Vehicles.
26            846.   GM, as the manufacturer of the Class Vehicles, is responsible for damage caused by the
27   failure of its product. GM manufactured, sold, and promoted the Class Vehicles and placed the Class
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 1   Vehicles into the stream of commerce. Under Louisiana law, the seller and manufacturer warrants the
 2   buyers of a product against redhibitory defects or vices in the things sold. La. Civ. Code Art. 2520.
 3          847.    The Class Vehicles contain redhibitory defects, as the Low-Tension Oil Ring Defect
 4   renders them either useless or their use so inconvenient that it must be presumed that a buyer, such as
 5   Plaintiff and other Class members, would not have bought the Class Vehicles had they known of the
 6   Low-Tension Oil Ring Defect. Pursuant to La. Civ. Code Art. 2520, Plaintiff and the other Class
 7   members are entitled to obtain a rescission of the sale of the Class Vehicles. Alternatively, without
 8   rendering the Class Vehicles totally useless, the Low-Tension Oil Ring Defect diminishes the Class
 9   Vehicles’ usefulness or value so that it must be presumed that if Plaintiff and the other Class members
10   would still have bought the Class Vehicles, they would have done so for a lesser price. La. Civ. Code
11   Art. 2520. In this instance, Plaintiff and the other Class members are entitled to a reduction of the
12   purchase price.
13          848.    The Class Vehicles contained the redhibitory defect described herein at the time of
14   purchase and the defect was not apparent to the Plaintiff and the other Class members. GM knew of the
15   Low-Tension Oil Ring Defect in the Class Vehicles, and failed to disclose this defect to Plaintiff and
16   the other Class members. Additionally, GM, as manufacturer and seller of the Class Vehicles, is
17   deemed to have known that the Class Vehicles they sold had redhibitory defects, and is liable as a bad
18   faith seller under redhibition.
19          849.    Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
20   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
21   corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
22   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
23   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
24   numerous complaints filed against it directly and through its dealers, as well as its own internal
25   engineering knowledge. Pursuant to La. Civil Code Art. 2522, such notice is not required when, as
26   here, the seller has actual knowledge of the existence of the defect.
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 1          850.    As a direct and proximate result of GM’s breach of its warranty of redhibition, Plaintiff
 2   and the other Class members have been damaged in an amount to be determined at trial.
 3          851.    Having known of the Low-Tension Oil Ring Defect contained in the Class Vehicles,
 4   GM is liable to Plaintiff and the Class members for the return of the purchase price with interest from
 5   the time it was paid, for reimbursement of the reasonable expenses occasioned by the sale and those
 6   expenses incurred for the preservation of the Class Vehicles, and also for damages and reasonable
 7   attorneys’ fees.
 8                                          COUNT 64
                        BREACH OF WARRANTY OF FITNESS FOR ORDINARY USE
 9                                    La. Civ. Code Art. 2524
10          852.    Plaintiff Olivier (“Plaintiff,” for purposes of the Louisiana Class’s claims) repeats and
11   realleges Paragraphs 1-212 as if fully set forth herein.
12          853.        Plaintiff brings this Count individually and on behalf of the other members of the
13   Louisiana Class (the “Class,” for purposes of this Count).
14          854.    In addition to warranting against redhibitory defects, GM, as sellers of the Class
15   Vehicles, warranted that the Class Vehicles were reasonably fit for their ordinary and intended use.
16   La. Civ. Code Art. 2524.
17          855.    The Class Vehicles equipped with defective Generation IV Vortec 5300 Engines are
18   defectively designed in that they contain a defect or flaw that causes the vehicles to be consume
19   excessive amounts of engine oil resulting in engine damage and are unduly prone to break down,
20   malfunction, and require costly repair. As a result, the Plaintiff and Class members’ vehicles are not
21   reasonably fit for their ordinary use.
22          856.    As a direct and proximate cause of GM’s design, manufacture, assembly, marketing, and
23   sales of the Class Vehicles, Plaintiff and the Class members have been damaged in an amount to be
24   determined at trial.
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                                                 COUNT 65
 1                                   BREACH OF EXPRESS WARRANTY
                                       Louisiana Products Liability Act
 2                                       La. R.S. § 9:2800.51, et seq.
 3          857.    Plaintiff Olivier (“Plaintiff,” for purposes of the Louisiana Class’s claims) repeats and
 4   realleges Paragraphs 1-212 as if fully set forth herein.
 5          858.    Plaintiff brings this Count individually and on behalf of the other members of the
 6   Louisiana Class (the “Class,” for purposes of this Count).
 7          859.    GM is and was at all relevant times a seller and manufacturer with respect to the Class
 8   Vehicles.
 9          860.    GM has defectively designed, manufactured, sold, or otherwise placed in the stream of
10   commerce Class Vehicles as set forth herein.
11          861.    The Class Vehicles in question are unreasonably dangerous and defective under the
12   Louisiana Products Liability Act (“LPLA”), La. R.S. § 9:2800.58, because the vehicles do not conform
13   to the express warranty provided by GM.
14          862.    GM knew and expected that the Class Vehicles would eventually be sold to and operated
15   by purchasers, lessees, and/or eventual owners of the Class Vehicles, including Plaintiff and the other
16   Class members; consequently, Plaintiff and the other Class members were expected users of the
17   products which GM manufactured.
18          863.    The Class Vehicles reached Plaintiff and the other Class members without substantial
19   changes in their condition from time of completion of manufacture by GM.
20          864.    The defects in the Class Vehicles could not have been contemplated by any reasonable
21   person expected to operate the Class Vehicles and, therefore, presented an unreasonably dangerous
22   situation for expected users of the Class Vehicles even though the Class Vehicles were operated by
23   expected users in a reasonable manner.
24          865.    In its Limited Warranty, GM expressly warranted that it would repair or replace defects
25   in material or workmanship free of charge if those defects became apparent during the warranty period.
26   GM provides the following language in its 2012 Chevrolet Limited Warranty guide:
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            This warranty is for GM vehicles registered in the United States and normally operated
 1          in the United States and Canada, and is provided to the original and any subsequent
            owners of the vehicle during the warranty period.
 2
            The warranty covers repairs to correct any vehicle defect . . . related to materials or
 3          workmanship occurring during the warranty period.
 4          Warranty repairs, including towing, parts, and labor, will be made at no charge.
 5
            61.     Also, as alleged in more detail herein, at the time that GM warranted and sold the Class
 6
 7   Vehicles it knew that the Class Vehicles did not conform to the warranty and were inherently defective,

 8   and GM improperly concealed material facts regarding its Class Vehicles. Plaintiff and the other Class

 9   members were therefore induced to purchase or lease the Class Vehicles under false pretenses.
10
            866.    Moreover, much of the damage flowing from the Class Vehicles cannot be resolved
11
     through the limited remedy of repairs, as those incidental and consequential damages have already been
12
     suffered due to GM’s improper conduct as alleged herein, and due to its failure and/or continued failure
13
     to provide such limited remedy within a reasonable time, and any limitation on Plaintiff’s and the other
14

15   Class members’ remedies would be insufficient to make them whole.

16          867.    As a direct and proximate cause of GM’s design, manufacture, assembly, marketing, and
17   sales of the Class Vehicles, Plaintiffs and the other Class members have sustained and will continue to
18
     sustain the loss of use of their Class Vehicles, economic losses and consequential damages, and are
19
     therefore entitled to compensatory relief in an amount to be determined at trial. Plaintiff, individually
20
     and on behalf of the other Class members, asserts the application of res ipsa loquitur under the
21
22   Louisiana Products Liability Act.

23
                                                COUNT 66
24                                         FRAUDULENT OMISSION

25          868.    Plaintiff Olivier (“Plaintiff,” for purposes of the Louisiana Class’s claims) repeats and

26   realleges paragraphs 1-212 as if fully set forth herein.

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 1            869.   Plaintiff brings this Count individually and on behalf of the other members of the
 2   Louisiana Class (the “Class,” for purposes of this Count).
 3            870.   GM was aware of the Low-Tension Oil Ring Defect within the Generation IV Vortec
 4   5300 Engines when it marketed and sold the Class Vehicles to Plaintiff and the other members of the
 5   Class.
 6            871.   Having been aware of the Low-Tension Oil Ring Defect within the Generation IV
 7   Vortec 5300 Engines, and having known that Plaintiff and the other members of the Class could not
 8   have reasonably been expected to know of the Low-Tension Oil Ring Defect, GM had a duty to
 9   disclose the defect to Plaintiff and the other members of the Class in connection with the sale or lease
10   of the Class Vehicles.
11            872.   GM did not disclose the Low-Tension Oil Ring Defect within the Generation IV Vortec
12   5300 Engines to Plaintiff and the other members of the Class in connection with the sale of the Class
13   Vehicles.
14            873.   For the reasons set forth above, the Low-Tension Oil Ring Defect within the Generation
15   IV Vortec 5300 Engines concerns material information with respect to the sale or lease of the Class
16   Vehicles.
17            874.   In purchasing the Class Vehicles, Plaintiff and the other members of the Class
18   reasonably relied on GM to disclose known material defects with respect to the Class Vehicles.
19            875.   Had Plaintiff and the other members of the Class known of the Low-Tension Oil Ring
20   Defect within the Generation IV Vortec 5300 Engines, they would have not purchased the Class
21   Vehicles or would have paid less for the Class Vehicles.
22            876.   Through its omissions regarding the Low-Tension Oil Ring Defect within the
23   Generation IV Vortec 5300 Engines, GM intended to induce, and did induce, Plaintiff and the other
24   members of the Class to either purchase a Class Vehicle that they otherwise would not have purchased,
25   or pay more for a Class Vehicle than they otherwise would have paid.
26            877.   As a direct and proximate result of GM’s omissions, Plaintiff and the other members of
27   the Class either overpaid for the Class Vehicles or would not have purchased the Class Vehicles at all if
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 1   the Low-Tension Oil Ring Defect had been disclosed to them, and, therefore, have incurred damages in
 2   an amount to be determined at trial.
 3                                            COUNT 67
                      VIOLATION OF LOUISIANA UNFAIR TRADE PRACTICES ACT
 4                               La. Rev. Stat. Ann. §§ 51:1401, et seq.
 5             878.   Plaintiff Olivier (“Plaintiff,” for purposes of the Louisiana Class’s claims) repeats and
 6   realleges paragraphs 1-212 as if fully set forth herein.
 7             879.   Plaintiff brings this Count individually and on behalf of the other members of the
 8   Louisiana Class (the “Class,” for purposes of this Count).
 9             880.   GM had the duty to refrain from the use of unfair methods of competition and unfair or
10   deceptive acts or practices in the conduct of its trade and commerce. This includes the duty to refrain
11   from knowingly exploiting consumers in an effort to gain an unfair advantage over them.
12             881.   GM’s sale of the Class Vehicle to Plaintiff and the other Class members was a
13   “consumer transaction” within the scope of the Louisiana Unfair Trade Practices Act, La. Rev. Stat.
14   Ann. §§ 51: 1401, et seq. The transactions involved commerce with a natural person, the subject of
15   which transactions was primarily intended for personal, family or household use and resulted in an
16   ascertainable loss of money or property, as a result of the unfair or deceptive act or practice.
17             882.   GM’s omissions regarding the Low-Tension Oil Ring Defect, described above, that
18   results in abnormally high oil consumption and resultant engine damage within the Generation IV
19   Vortec 5300 Engines, are material facts that a reasonable person would have considered in deciding
20   whether or not to purchase (or to pay the same price for) the Class Vehicles.
21             883.   GM intended for Plaintiff and the other Class members to rely on GM’s omissions
22   regarding the Low-Tension Oil Ring Defect. GM failed to give Plaintiff and the other Class members
23   sufficient notice or warning regarding this defect.
24             884.   Plaintiff and the other Class members relied upon GM’s omissions when purchasing
25   vehicles containing the Generation IV Vortec 5300 Engines.
26             885.   Plaintiff and the other Class members were deceived by GM’s concealment of the
27   defect.
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 1          886.    Had GM disclosed all material information regarding the Low-Tension Oil Ring Defect
 2   to Plaintiff and the other Class members, Plaintiff and the other Class members would not have
 3   purchased or leased Class Vehicles or would have paid less to do so.
 4          887.    GM’s omissions have deceived Plaintiff, and those same business practices have
 5   deceived or are likely to deceive members of the consuming public and the other members of the Class.
 6          888.    In addition to being deceptive, the business practices of GM were unfair because GM
 7   knowingly sold Plaintiff and the other Class members Class Vehicles with defective engines. The
 8   injuries to Plaintiff and the other Class members are substantial and greatly outweigh any alleged
 9   countervailing benefit to Plaintiff and the other Class members or to competition under all of the
10   circumstances. Moreover, in light of GM’s exclusive knowledge of the Low-Tension Oil Ring Defect,
11   the injury is not one that Plaintiff or the other Class members could have reasonably avoided.
12          889.    As a direct and proximate result of GM’s unfair and deceptive trade practices, Plaintiff
13   and the other Class members have suffered ascertainable loss and actual damages. Plaintiff and the
14   other Class members who purchased or leased the Class Vehicles would not have purchased or leased
15   the Class Vehicles, or, alternatively, would have paid less for them had the truth about the Low-
16   Tension Oil Ring Defect been disclosed.          Plaintiff and the other Class members also suffered
17   diminished value of their vehicles. Plaintiff and the other Class members are entitled to recover actual
18   damages, treble and/or punitive damages, attorneys’ fees and costs, and all other relief allowed under
19   La. Rev. Stat. Ann. §§ 51: 1401, et seq.
20          890.    Plaintiff and the other Class Members are also entitled to and hereby seek an order
21   directing GM to pay Plaintiffs’ reasonably attorneys’ fees and costs of suit, as awarded by the Court.
22                                               COUNT 68
                                            UNJUST ENRICHMENT
23
            891.     Plaintiff Olivier (“Plaintiff,” for purposes of the Louisiana Class’s claims) repeats and
24
     realleges paragraphs 1-212 as if fully set forth herein.
25
            892.    Plaintiff brings this Count individually and on behalf of the other members of the
26
     Louisiana Class (the “Class,” for purposes of this Count).
27
28
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 1             893.   GM has benefitted from selling and leasing at an unjust profit defective Class Vehicles
 2   that had artificially inflated prices due to GM’s concealment of the Low-Tension Oil Ring Defect, and
 3   Plaintiff and the other members of the Class have overpaid for these vehicles.
 4             894.   GM has received and retained unjust benefits from Plaintiff and the other members of
 5   the Class, and inequity has resulted.
 6             895.   It is inequitable and unconscionable for GM to retain these benefits.
 7             896.   Because GM concealed its fraud and deception, Plaintiff and the other members of the
 8   Class were not aware of the true facts concerning the Class Vehicles and did not benefit from GM’s
 9   misconduct.
10             897.   GM knowingly accepted the unjust benefits of its wrongful conduct.
11             898.   As a result of GM’s misconduct, the amount of its unjust enrichment should be
12   disgorged and returned to Plaintiff and the other members of the Class in an amount to be proven at
13   trial.
14             15.    Claims Brought on Behalf of the Massachusetts Class
15                                        COUNT 69
                            VIOLATIONS OF THE MASSACHUSETTS
16            REGULATION OF BUSINESS PRACTICES FOR CONSUMER PROTECTION ACT
                               Mass Gen. Laws ch. 93A, §§ 1, et seq.
17
               899.   Plaintiff Smith (“Plaintiff,” for purposes of the Massachusetts Class’s claims) repeats
18
     and realleges paragraphs 1-212 as if fully set forth herein.
19
               900.   Plaintiff brings this Count individually and on behalf of the other members of the
20
     Massachusetts Class (the “Class,” for purposes of this Count).
21
               901.   The Massachusetts Regulation of Business Practices for Consumer Protection Act
22
     prohibits “[u]nfair methods of competition and unfair or deceptive practices in the conduct of any trade
23
     or commerce. . . .” Mass Gen. Laws ch. 93A, § 2.
24
               902.   By the conduct described in detail above and incorporated herein, GM engaged in unfair
25
     or deceptive acts in violation of Mass Gen. Laws ch. 93A, § 2.
26
               903.   GM’s omissions regarding the Low-Tension Oil Ring Defect, described above, that
27
     results in abnormally high oil consumption and resultant engine damage within the Generation IV
28
                                                     122
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 1   Vortec 5300 Engines, are material facts that a reasonable person would have considered in deciding
 2   whether or not to purchase (or to pay the same price for) the Class Vehicles.
 3          904.    GM intended for Plaintiff and the other Class members to rely on GM’s omissions of
 4   fact regarding the Low-Tension Oil Ring Defect.
 5          905.    Plaintiff and the other Class members justifiably acted or relied to their detriment upon
 6   GM’s omissions of fact concerning the above-described Low-Tension Oil Ring Defect that results in
 7   abnormally high oil consumption and resultant engine damage within the Generation IV Vortec 5300
 8   Engines, as evidenced by Plaintiff and the other Class members’ purchases of Class Vehicles.
 9          906.    Had GM disclosed all material information regarding the Low-Tension Oil Ring Defect
10   to Plaintiff and the other Class members, Plaintiff and the other Class members would not have
11   purchased or leased Class Vehicles or would have paid less to do so.
12          907.    GM’s omissions deceived Plaintiff, and those same business practices have deceived or
13   are likely to deceive members of the consuming public and the other Class members.
14          908.    In addition to being deceptive, the business practices of GM were unfair because GM
15   knowingly sold Plaintiff and the other Class members Class Vehicles with defective engines that are
16   essentially unusable for the purposes for which they were sold. The injuries to Plaintiff and the other
17   Class members are substantial and greatly outweigh any alleged countervailing benefit to Plaintiff and
18   the other Class members or to competition under all of the circumstances. Moreover, in light of GM’s
19   exclusive knowledge of the Low-Tension Oil Ring Defect, the injury is not one that Plaintiff or the
20   other Class members could have reasonably avoided.
21          909.    As a direct and proximate result of GM’s unfair and deceptive trade practices, Plaintiff
22   and the other Class members have suffered ascertainable loss and actual damages. Plaintiff and the
23   other Class members who purchased or leased the Class Vehicles would not have purchased or leased
24   the Class Vehicles, or, alternatively, would have paid less for them had the truth about the Low-
25   Tension Oil Ring Defect been disclosed.        Plaintiff and the other Class members also suffered
26   diminished value of their vehicles. Plaintiff and the other Class members are entitled to recover actual
27   damages, attorneys’ fees and costs, and all other relief allowed under Mass Gen. Laws ch. 93A, § 9.
28
                                                   123
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                                                 COUNT 70
 1                                 BREACH OF EXPRESS WARRANTY
                                 Mass Gen. Laws ch. 106, §§ 2-313 and 2A-210
 2
            910.    Plaintiff Smith (“Plaintiff,” for purposes of the Massachusetts Class’s claims) repeats
 3
     and realleges paragraphs 1-212 as if fully set forth herein.
 4
            911.    Plaintiff brings this Count individually and on behalf of the other members of the
 5
     Massachusetts Class (the “Class,” for purposes of this Count).
 6
            912.    GM is and was at all relevant times a merchant with respect to the Class Vehicles.
 7
            913.    In its Limited Warranty, GM expressly warranted that it would repair or replace defects
 8
     in material or workmanship free of charge if they became apparent during the warranty period. GM
 9
     provides the following language in its 2012 Chevrolet Limited Warranty guide:
10
            This warranty is for GM vehicles registered in the United States and normally operated
11          in the United States and Canada, and is provided to the original and any subsequent
            owners of the vehicle during the warranty period.
12
            The warranty covers repairs to correct any vehicle defect . . . related to materials or
13          workmanship occurring during the warranty period.
14          Warranty repairs, including towing, parts, and labor, will be made at no charge.
15          914.    GM’s Limited Warranty formed the basis of the bargain that was reached when Plaintiff
16   and the other Class members purchased or leased their Class Vehicles equipped with the defective
17   Generation IV Vortec 5300 Engines.
18          915.    GM breached the express warranty to repair defects in materials and workmanship
19   within the Class Vehicles. GM has not repaired, and has been unable to repair, the Class Vehicles’
20   materials and workmanship defects.
21          916.    Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
22   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
23   corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
24   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
25   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
26   numerous complaints filed against it directly and through its dealers, as well as its own internal
27   engineering knowledge.
28
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 1          917.    Furthermore, the Limited Warranty fails in its essential purpose because the contractual
 2   remedy is insufficient to make Plaintiff and the other Class members whole and because GM has failed
 3   and/or has refused to adequately provided the promised remedies within a reasonable time.
 4          918.    Accordingly, recovery by Plaintiff and the other Class members is not limited to the
 5   limited warranty of repair to parts defective in materials and workmanship, and Plaintiff, individually
 6   and on behalf of the other Class members, seeks all remedies allowable by law.
 7          919.    Also, and as alleged in more detail herein, at the time that GM warranted and sold the
 8   Class Vehicles it knew that the Class Vehicles did not conform to the warranty and were inherently
 9   defective, and GM improperly concealed material facts regarding its Class Vehicles. Plaintiff and the
10   other Class members were, therefore, induced to purchase or lease the Class Vehicles under false
11   pretenses.
12          920.    Moreover, much of the damage flowing from the Class Vehicles cannot be resolved
13   through the limited remedy of repairs, as those incidental and consequential damages have already been
14   suffered due to GM’s improper conduct as alleged herein, and due to its failure and/or continued failure
15   to provide such limited remedy within a reasonable time, and any limitation on Plaintiffs and the other
16   Class members’ remedies would be insufficient to make them whole.
17          921.    As a direct and proximate result of GM’s breach of its express warranty, Plaintiff and
18   the other Class members have been damaged in an amount to be determined at trial.
19                                         COUNT 71
                     BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
20                          Mass Gen. Laws ch. 106, §§ 2-314 and 2A-212
21          922.    Plaintiff Smith (“Plaintiff,” for purposes of the Massachusetts Class’s claims) repeats
22   and realleges paragraphs 1-212 as if fully set forth herein.
23          923.    Plaintiff brings this Count individually and on behalf of the other members of the
24   Massachusetts Class (the “Class,” for purposes of this Count).
25          924.    GM is and was at all relevant times a merchant with respect to motor vehicles under
26   Mass Gen. Laws ch. 106, §§ 2-104 and 2A-103.
27
28
                                                    125
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 1            925.   Pursuant to Mass Gen. Laws ch. 106, §§ 2-314 and 2A-212, a warranty that the Class
 2   Vehicles were in merchantable condition was implied by law, and the Class Vehicles were bought and
 3   sold subject to an implied warranty of merchantability.
 4            926.   The Class Vehicles did not comply with the implied warranty of merchantability
 5   because, at the time of sale and at all times thereafter, they were defective and not in merchantable
 6   condition, would not pass without objection in the trade, and were not fit for the ordinary purpose for
 7   which vehicles were used. Specifically, the Class Vehicles suffer from the Low-Tension Oil Ring
 8   Defect which causes excessive oil loss and leads to engine damage.
 9            927.   Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
10   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
11   corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
12   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
13   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
14   numerous complaints filed against it directly and through its dealers, as well as its own internal
15   engineering knowledge.
16            928.   Plaintiff and the other Class members suffered injuries due to the defective nature of the
17   Class Vehicles and GM’s breach of the warranty of merchantability.
18            929.   As a direct and proximate result of GM’s breach of the warranty of merchantability,
19   Plaintiff and the other Class members have been damaged in an amount to be proven at trial.
20                                              COUNT 72
                                           FRAUDULENT OMISSION
21
              930.   Plaintiff Smith (“Plaintiff,” for purposes of the Massachusetts Class’s claims) repeats
22
     and realleges paragraphs 1-212 as if fully set forth herein.
23
              931.   Plaintiff brings this Count individually and on behalf of the other members of the
24
     Massachusetts Class (the “Class,” for purposes of this Count).
25
              932.   GM was aware of the Low-Tension Oil Ring Defect within the Generation IV Vortec
26
     5300 Engines when it marketed and sold the Class Vehicles to Plaintiffs and the other members of the
27
     Class.
28
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 1          933.    Having been aware of the Low-Tension Oil Ring Defect within the Generation IV
 2   Vortec 5300 Engines, and having known that Plaintiffs and the other members of the Class could not
 3   have reasonably been expected to know of the Low-Tension Oil Ring Defect, GM had a duty to
 4   disclose the defect to Plaintiff and the other members of the Class in connection with the sale or lease
 5   of the Class Vehicles.
 6          934.    GM did not disclose the Low-Tension Oil Ring Defect within the Generation IV Vortec
 7   5300 Engines to Plaintiff and the other members of the Class in connection with the sale of the Class
 8   Vehicles.
 9          935.    For the reasons set forth above, the Low-Tension Oil Ring Defect within the Generation
10   IV Vortec 5300 Engines comprises material information with respect to the sale or lease of the Class
11   Vehicles.
12          936.    In purchasing the Class Vehicles, Plaintiff and the other members of the Class
13   reasonably relied on GM to disclose known material defects with respect to the Class Vehicles.
14          937.    Had Plaintiff and the other members of the Class known of the Low-Tension Oil Ring
15   Defect within the Generation IV Vortec 5300 Engines, they would have not purchased the Class
16   Vehicles or would have paid less for the Class Vehicles.
17          938.    Through its omissions regarding the Low-Tension Oil Ring Defect within the
18   Generation IV Vortec 5300 Engines, GM intended to induce, and did induce, Plaintiff and the other
19   members of the Class to either purchase a Class Vehicle that they otherwise would not have purchased,
20   or pay more for a Class Vehicle than they otherwise would have paid.
21          939.    As a direct and proximate result of GM’s omissions, Plaintiff and the other members of
22   the Class either overpaid for the Class Vehicles or would not have purchased the Class Vehicles at all if
23   the Low-Tension Oil Ring Defect had been disclosed to them, and, therefore, have incurred damages in
24   an amount to be determined at trial.
25                                               COUNT 73
                                            UNJUST ENRICHMENT
26
            940.    Plaintiff Smith (“Plaintiff,” for purposes of the Massachusetts Class’s claims) repeats
27
     and realleges paragraphs 1-212 as if fully set forth herein.
28
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 1             941.   Plaintiffs bring this Count individually and on behalf of the other members of the
 2   Massachusetts Class (the “Class,” for purposes of this Count).
 3             942.   GM has benefitted from selling and leasing at an unjust profit defective Class Vehicles
 4   that had artificially inflated prices due to GM’s concealment of the Low-Tension Oil Ring Defect, and
 5   Plaintiff and the other members of the Class have overpaid for these vehicles.
 6             943.   GM has received and retained unjust benefits from Plaintiff and the other members of
 7   the Class, and inequity has resulted.
 8             944.   It is inequitable and unconscionable for GM to retain these benefits.
 9             945.   Because GM concealed its fraud and deception, Plaintiff and the other members of the
10   Class were not aware of the true facts concerning the Class Vehicles and did not benefit from GM’s
11   misconduct.
12             946.   GM knowingly accepted the unjust benefits of its wrongful conduct.
13             947.   As a result of GM’s misconduct, the amount of its unjust enrichment should be
14   disgorged and returned to Plaintiff and the other members of the Class in an amount to be proven at
15   trial.
16             16.    Claims Brought on Behalf of the Minnesota Class
17                                         COUNT 74
              VIOLATIONS OF THE MINNESOTA PREVENTION OF CONSUMER FRAUD ACT
18                                 Minn. Stat. §§ 325F.68, et seq.
19             948.   Plaintiffs Dahl and Peterson (“Plaintiffs,” for purposes of the Minnesota Class’s claims)
20   repeat and reallege paragraphs 1-212 as if fully set forth herein.
21             949.   Plaintiffs bring this Count individually and on behalf of the other members of the
22   Minnesota Class (the “Class,” for purposes of this Count).
23             950.   The Minnesota Prevention of Consumer Fraud Act prohibits “any fraud, false pretense,
24   false promise, misrepresentation, misleading statement or deceptive practice.” Minn. Stat. § 325F.69.
25             951.   By the conduct described in detail above and incorporated herein, GM engaged in unfair
26   or deceptive acts in violation of Minn. Stat. § 325F.69.
27
28
                                                     128
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 1          952.    GM’s omissions regarding the Low-Tension Oil Ring Defect, described above, that
 2   results in abnormally high oil consumption and resultant engine damage within the Generation IV
 3   Vortec 5300 Engines, are material facts that a reasonable person would have considered in deciding
 4   whether or not to purchase (or to pay the same price for) the Class Vehicles.
 5          953.    GM intended for Plaintiffs and the other Class members to rely on GM’s omissions of
 6   fact regarding the Low-Tension Oil Ring Defect.
 7          954.    Plaintiffs and the other Class members justifiably acted or relied to their detriment upon
 8   GM’s omissions of fact concerning the above-described Low-Tension Oil Ring Defect that results in
 9   abnormally high oil consumption and resultant engine damage within the Generation IV Vortec 5300
10   Engines, as evidenced by Plaintiffs and the other Class members’ purchases of Class Vehicles.
11          955.    Had GM disclosed all material information regarding the Low-Tension Oil Ring Defect
12   to Plaintiffs and the other Class members, Plaintiffs and the other Class members would not have
13   purchased or leased Class Vehicles or would have paid less to do so.
14          956.    GM’s omissions have deceived Plaintiffs, and those same business practices have
15   deceived or are likely to deceive members of the consuming public and the other Class members.
16          957.    In addition to being deceptive, the business practices of GM were unfair because GM
17   knowingly sold Plaintiffs and the other Class members Class Vehicles with defective engines that are
18   essentially unusable for the purposes for which they were sold. The injuries to Plaintiffs and the other
19   Class members are substantial and greatly outweigh any alleged countervailing benefit to Plaintiffs and
20   the other Class members or to competition under all of the circumstances. Moreover, in light of GM’s
21   exclusive knowledge of the Low-Tension Oil Ring Defect, the injury is not one that Plaintiffs or the
22   other Class members could have reasonably avoided.
23          958.    As a direct and proximate result of GM’s unfair and deceptive trade practices, Plaintiffs
24   and the other Class members have suffered ascertainable loss and actual damages. Plaintiffs and the
25   other Class members who purchased or leased the Class Vehicles would not have purchased or leased
26   the Class Vehicles, or, alternatively, would have paid less for them had the truth about the Low-
27   Tension Oil Ring Defect been disclosed.        Plaintiffs and the other Class members also suffered
28
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 1   diminished value of their vehicles. Plaintiffs and the other Class members are entitled to recover actual
 2   damages, attorneys’ fees and costs, and all other relief allowed under Minn. Stat. § 8.31, subd. 3a.
 3                                                 COUNT 75
                                     BREACH OF EXPRESS WARRANTY
 4                                     Minn. Stat. §§ 325G.19, 336.2-313
 5          959.    Plaintiffs Dahl and Peterson (“Plaintiffs,” for purposes of the Minnesota Class’s claims)
 6   repeat and reallege paragraphs 1-212 as if fully set forth herein.
 7          960.    Plaintiffs bring this Count individually and on behalf of the other members of the
 8   Minnesota Class (the “Class,” for purposes of this Count).
 9          961.    GM is and was at all relevant times a merchant with respect to the Class Vehicles.
10          962.    In its Limited Warranty, GM expressly warranted that it would repair or replace defects
11   in material or workmanship free of charge if they became apparent during the warranty period. GM
12   provides the following language in its 2012 Chevrolet Limited Warranty guide:
13          This warranty is for GM vehicles registered in the United States and normally operated
            in the United States and Canada, and is provided to the original and any subsequent
14          owners of the vehicle during the warranty period.
15          The warranty covers repairs to correct any vehicle defect . . . related to materials or
            workmanship occurring during the warranty period.
16
            Warranty repairs, including towing, parts, and labor, will be made at no charge.
17
            963.    GM’s Limited Warranty formed the basis of the bargain that was reached when
18
     Plaintiffs and the other Class members purchased or leased their Class Vehicles equipped with the
19
     defective Generation IV Vortec 5300 Engines.
20
            964.    GM breached the express warranty to repair defects in materials and workmanship
21
     within the Class Vehicles. GM has not repaired, and has been unable to repair, the Class Vehicles’
22
     materials and workmanship defects.
23
            965.    Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
24
     notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
25
     corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
26
     United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
27
     on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
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 1   numerous complaints filed against it directly and through its dealers, as well as its own internal
 2   engineering knowledge.
 3          966.    Furthermore, the Limited Warranty fails in its essential purpose because the contractual
 4   remedy is insufficient to make Plaintiffs and the other Class members whole and because GM has
 5   failed and/or has refused to adequately provided the promised remedies within a reasonable time.
 6          967.    Accordingly, recovery by Plaintiffs and the other Class members is not limited to the
 7   limited warranty of repair to parts defective in materials and workmanship, and Plaintiffs, individually
 8   and on behalf of the other Class members, seek all remedies allowable by law.
 9          968.    Also, and as alleged in more detail herein, at the time that GM warranted and sold the
10   Class Vehicles it knew that the Class Vehicles did not conform to the warranty and were inherently
11   defective, and GM improperly concealed material facts regarding its Class Vehicles. Plaintiffs and the
12   other Class members were, therefore, induced to purchase or lease the Class Vehicles under false
13   pretenses.
14          969.    Moreover, much of the damage flowing from the Class Vehicles cannot be resolved
15   through the limited remedy of repairs, as those incidental and consequential damages have already been
16   suffered due to GM’s improper conduct as alleged herein, and due to its failure and/or continued failure
17   to provide such limited remedy within a reasonable time, and any limitation on Plaintiffs and the other
18   Class members’ remedies would be insufficient to make them whole.
19          970.    As a direct and proximate result of GM’s breach of its express warranty, Plaintiffs and
20   the other Class members have been damaged in an amount to be determined at trial.
21                                      COUNT 76
                     BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
22                                     Minn. Stat. § 336.2-314
23          971.    Plaintiffs Dahl and Peterson (“Plaintiffs,” for purposes of the Minnesota Class’s claims)
24   repeat and reallege paragraphs 1-212 as if fully set forth herein.
25          972.    Plaintiffs bring this Count individually and on behalf of the other members of the
26   Minnesota Class (the “Class,” for purposes of this Count).
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 1          973.    GM is and was at all relevant times a merchant with respect to motor vehicles under
 2   Minn. Stat. § 336.2-314.
 3          974.    Pursuant to Minn. Stat. § 336.2-314, a warranty that the Class Vehicles were in
 4   merchantable condition was implied by law, and the Class Vehicles were bought and sold subject to an
 5   implied warranty of merchantability.
 6          975.    The Class Vehicles did not comply with the implied warranty of merchantability
 7   because, at the time of sale and at all times thereafter, they were defective and not in merchantable
 8   condition, would not pass without objection in the trade, and were not fit for the ordinary purpose for
 9   which vehicles were used. Specifically, the Class Vehicles suffer from the Low-Tension Oil Ring
10   Defect which causes excessive oil loss and leads to engine damage.
11          976.    Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
12   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
13   corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
14   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
15   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
16   numerous complaints filed against it directly and through its dealers, as well as its own internal
17   engineering knowledge.
18          977.    Plaintiffs and the other Class members suffered injuries due to the defective nature of
19   the Class Vehicles and GM’s breach of the warranty of merchantability.
20          978.    As a direct and proximate result of GM’s breach of the warranty of merchantability,
21   Plaintiffs and the other Class members have been damaged in an amount to be proven at trial.
22                                              COUNT 77
                                           FRAUDULENT OMISSION
23
            979.    Plaintiffs Dahl and Peterson (“Plaintiffs,” for purposes of the Minnesota Class’s claims)
24
     repeat and reallege paragraphs 1-212 as if fully set forth herein.
25
            980.    Plaintiffs bring this Count individually and on behalf of the other members of the
26
     Minnesota Class (the “Class,” for purposes of this Count).
27
28
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 1            981.   GM was aware of the Low-Tension Oil Ring Defect within the Generation IV Vortec
 2   5300 Engines when it marketed and sold the Class Vehicles to Plaintiffs and the other members of the
 3   Class.
 4            982.   Having been aware of the Low-Tension Oil Ring Defect within the Generation IV
 5   Vortec 5300 Engines, and having known that Plaintiffs and the other members of the Class could not
 6   have reasonably been expected to know of the Low-Tension Oil Ring Defect, GM had a duty to
 7   disclose the defect to Plaintiffs and the other members of the Class in connection with the sale or lease
 8   of the Class Vehicles.
 9            983.   GM did not disclose the Low-Tension Oil Ring Defect within the Generation IV Vortec
10   5300 Engines to Plaintiffs and the other members of the Class in connection with the sale of the Class
11   Vehicles.
12            984.   For the reasons set forth above, the Low-Tension Oil Ring Defect within the Generation
13   IV Vortec 5300 Engines comprises material information with respect to the sale or lease of the Class
14   Vehicles.
15            985.   In purchasing the Class Vehicles, Plaintiffs and the other members of the Class
16   reasonably relied on GM to disclose known material defects with respect to the Class Vehicles.
17            986.   Had Plaintiffs and the other members of the Class known of the Low-Tension Oil Ring
18   Defect within the Generation IV Vortec 5300 Engines, they would have not purchased the Class
19   Vehicles or would have paid less for the Class Vehicles.
20            987.   Through its omissions regarding the Low-Tension Oil Ring Defect within the
21   Generation IV Vortec 5300 Engines, GM intended to induce, and did induce, Plaintiffs and the other
22   members of the Class to either purchase a Class Vehicle that they otherwise would not have purchased,
23   or pay more for a Class Vehicle than they otherwise would have paid.
24            988.   As a direct and proximate result of GM’s omissions, Plaintiffs and the other members of
25   the Class either overpaid for the Class Vehicles or would not have purchased the Class Vehicles at all if
26   the Low-Tension Oil Ring Defect had been disclosed to them, and, therefore, have incurred damages in
27   an amount to be determined at trial.
28
                                                   133
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                                                  COUNT 78
 1                                           UNJUST ENRICHMENT
 2            989.   Plaintiffs Dahl and Peterson (“Plaintiffs,” for purposes of the Minnesota Class’s claims)
 3   repeat and reallege paragraphs 1-212 as if fully set forth herein.
 4            990.   Plaintiffs bring this Count individually and on behalf of the other members of the
 5   Minnesota Class (the “Class,” for purposes of this Count).
 6            991.   GM has benefitted from selling and leasing at an unjust profit defective Class Vehicles
 7   that had artificially inflated prices due to GM’s concealment of the Low-Tension Oil Ring Defect, and
 8   Plaintiffs and the other members of the Class have overpaid for these vehicles.
 9            992.   GM has received and retained unjust benefits from Plaintiffs and the other members of
10   the Class, and inequity has resulted.
11            993.   It is inequitable and unconscionable for GM to retain these benefits.
12            994.   Because GM concealed its fraud and deception, Plaintiffs and the other members of the
13   Class were not aware of the true facts concerning the Class Vehicles and did not benefit from GM’s
14   misconduct.
15            995.   GM knowingly accepted the unjust benefits of its wrongful conduct.
16            996.   As a result of GM’s misconduct, the amount of its unjust enrichment should be
17   disgorged and returned to Plaintiffs and the other members of the Class in an amount to be proven at
18   trial.
              17.    Claims Brought on Behalf of the Mississippi Class
19
                                                  COUNT 79
20                                  BREACH OF EXPRESS WARRANTY
                                   Miss. Code Ann. §§ 75-2-313 and 75-2a-210
21
              997.   Plaintiff Ware (“Plaintiff,” for purpose of the Mississippi Class’s claims) repeats and
22
     realleges paragraphs 1-212 as if fully set forth herein.
23
              998.   Plaintiff brings this Count individually and on behalf of the other members of the
24
     Mississippi Class (the “Class,” for purposes of this Count).
25
              999.   GM is and was at all relevant times a merchant with respect to the Class Vehicles.
26

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 1          1000. In its Limited Warranty, GM expressly warranted that it would repair or replace defects
 2   in material or workmanship free of charge if they became apparent during the warranty period. GM
 3   provides the following language in its 2012 Chevrolet Limited Warranty guide:
 4          This warranty is for GM vehicles registered in the United States and normally operated
            in the United States and Canada, and is provided to the original and any subsequent
 5          owners of the vehicle during the warranty period.
 6          The warranty covers repairs to correct any vehicle defect . . . related to materials or
            workmanship occurring during the warranty period.
 7
            Warranty repairs, including towing, parts, and labor, will be made at no charge.
 8
            1001. GM’s Limited Warranty formed the basis of the bargain that was reached when Plaintiff
 9
     and the other Class members purchased or leased their Class Vehicles equipped with the defective
10
     Generation IV Vortec 5300 Engines.
11
            1002. GM breached the express warranty to repair defects in materials and workmanship
12
     within the Class Vehicles. GM has not repaired, and has been unable to repair, the Class Vehicles’
13
     materials and workmanship defects.
14
            1003. Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
15
     notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
16
     corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
17
     United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
18
     on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
19
     numerous complaints filed against it directly and through its dealers, as well as its own internal
20
     engineering knowledge.
21
            1004. Furthermore, the Limited Warranty fails in its essential purpose because the contractual
22
     remedy is insufficient to make Plaintiff and the other Class members whole and because GM has failed
23
     and/or has refused to adequately provided the promised remedies within a reasonable time.
24
            1005. Accordingly, recovery by Plaintiff and the other Class members is not limited to the
25
     limited warranty of repair to parts defective in materials and workmanship, and Plaintiff, individually
26
     and on behalf of the other Class members, seeks all remedies allowable by law.
27
28
                                                  135
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 1          1006. Also, and as alleged in more detail herein, at the time that GM warranted and sold the
 2   Class Vehicles it knew that the Class Vehicles did not conform to the warranty and were inherently
 3   defective, and GM improperly concealed material facts regarding its Class Vehicles. Plaintiff and the
 4   other Class members were, therefore, induced to purchase or lease the Class Vehicles under false
 5   pretenses.
 6          1007. Moreover, much of the damage flowing from the Class Vehicles cannot be resolved
 7   through the limited remedy of repairs, as those incidental and consequential damages have already been
 8   suffered due to GM’s improper conduct as alleged herein, and due to its failure and/or continued failure
 9   to provide such limited remedy within a reasonable time, and any limitation on Plaintiff and the other
10   Class members’ remedies would be insufficient to make them whole.
11          1008. As a direct and proximate result of GM’s breach of its express warranty, Plaintiff and
12   the other Class members have been damaged in an amount to be determined at trial.
13                                               COUNT 80
                                    BREACH OF IMPLIED WARRANTY
14                                 Miss. Code Ann. §§ 75-2-314 and 75-2a-212
15          1009. Plaintiff Ware (“Plaintiff,” for purposes of the Mississippi Class’s claims) repeats and
16   realleges paragraphs 1-212 as if fully set forth herein.
17          1010. Plaintiff brings this Count individually and on behalf of other members of the
18   Mississippi Class (the “Class,” for purposes of this Count).
19          1011. GM has defectively designed, manufactured, sold, or otherwise placed in the stream of
20   commerce the Class Vehicles as set forth above.
21          1012. GM is and was at all relevant times a merchant with respect to motor vehicles under
22   Miss. Code Ann. §§ 75-2-104 and 75-2A-103.
23          1013. Pursuant to Miss. Code Ann. §§ 75-2-314 and 75-2a-212, a warranty that the Class
24   Vehicles were in merchantable condition and useful for their ordinary purpose for which they were
25   designed, manufactured, and sold was implied by law, and the Class Vehicles were bought and sold
26   subject to an implied warranty of merchantability.
27
28
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 1            1014. The Class Vehicles did not comply with the implied warranty of merchantability
 2   because, at the time of sale and at all times thereafter, they were defective and not in merchantable
 3   condition, would not pass without objection in the trade, and were not fit for the ordinary purpose for
 4   which vehicles were used. Specifically, the Class Vehicles suffer from the Low-Tension Oil Ring
 5   Defect which causes excessive oil loss and leads to engine damage.
 6            1015. Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
 7   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
 8   corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
 9   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
10   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
11   numerous complaints filed against it directly and through its dealers, as well as its own internal
12   engineering knowledge.
13            1016. Plaintiff and the other Class members suffered injuries due to the defective nature of the
14   Class Vehicles and GM’s breach of the warranty of merchantability.
15            1017. As a direct and proximate result of GM’s breach of the warranty of merchantability,
16   Plaintiff and the other Class members have been damaged in an amount to be proven at trial.
17                                              COUNT 81
                                           FRAUDULENT OMISSION
18
              1018. Plaintiff Ware (“Plaintiff,” for purposes of the Mississippi Class’s claims) repeats and
19
     realleges paragraphs 1-212 as if fully set forth herein.
20
              1019. Plaintiff brings this Count individually and on behalf of the other members of the
21
     Mississippi Class (the “Class,” for purposes of this Count).
22
              1020. GM was aware of the Low-Tension Oil Ring Defect within the Generation IV Vortec
23
     5300 Engines when it marketed and sold the Class Vehicles to Plaintiff and the other members of the
24
     Class.
25
              1021. Having been aware of the Low-Tension Oil Ring Defect within the Generation IV
26
     Vortec 5300 Engines, and having known that Plaintiff and the other members of the Class could not
27
     have reasonably been expected to know of the Low-Tension Oil Ring Defect, GM had a duty to
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 1   disclose the defect to Plaintiff and the other members of the Class in connection with the sale or lease
 2   of the Class Vehicles.
 3          1022. GM did not disclose the Low-Tension Oil Ring Defect within the Generation IV Vortec
 4   5300 Engines to Plaintiff and the other members of the Class in connection with the sale of the Class
 5   Vehicles.
 6          1023. For the reasons set forth above, the Low-Tension Oil Ring Defect within the Generation
 7   IV Vortec 5300 Engines comprises material information with respect to the sale or lease of the Class
 8   Vehicles.
 9          1024. In purchasing the Class Vehicles, Plaintiff and the other members of the Class
10   reasonably relied on GM to disclose known material defects with respect to the Class Vehicles.
11          1025. Had Plaintiff and the other members of the Class known of the Low-Tension Oil Ring
12   Defect within the Generation IV Vortec 5300 Engines, they would have not purchased the Class
13   Vehicles or would have paid less for the Class Vehicles.
14          1026. Through its omissions regarding the Low-Tension Oil Ring Defect within the
15   Generation IV Vortec 5300 Engines, GM intended to induce, and did induce, Plaintiff and the other
16   members of the Class to either purchase a Class Vehicle that they otherwise would not have purchased,
17   or pay more for a Class Vehicle than they otherwise would have paid.
18          1027. As a direct and proximate result of GM’s omissions, Plaintiff and the other members of
19   the Class either overpaid for the Class Vehicles or would not have purchased the Class Vehicles at all if
20   the Low-Tension Oil Ring Defect had been disclosed to them, and, therefore, have incurred damages in
21   an amount to be determined at trial.
22                                               COUNT 82
                                            UNJUST ENRICHMENT
23
            1028. Plaintiff Ware (“Plaintiff,” for purposes of the Mississippi Class’s claims) repeats and
24
     realleges paragraphs 1-212 as if fully set forth herein.
25
            1029. Plaintiff brings this Count individually and on behalf of the other members of the
26
     Mississippi Class (the “Class,” for purposes of this Count).
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 1            1030. GM has benefitted from selling and leasing at an unjust profit defective Class Vehicles
 2   that had artificially inflated prices due to GM’s concealment of the Low-Tension Oil Ring Defect, and
 3   Plaintiff and the other members of the Class have overpaid for these vehicles.
 4            1031. GM has received and retained unjust benefits from Plaintiff and the other members of
 5   the Class, and inequity has resulted.
 6            1032. It is inequitable and unconscionable for GM to retain these benefits.
 7            1033. Because GM concealed its fraud and deception, Plaintiff and the other members of the
 8   Class were not aware of the true facts concerning the Class Vehicles and did not benefit from GM’s
 9   misconduct.
10            1034. GM knowingly accepted the unjust benefits of its wrongful conduct.
11            1035. As a result of GM’s misconduct, the amount of its unjust enrichment should be
12   disgorged and returned to Plaintiff and the other members of the Class in an amount to be proven at
13   trial.
14            18.    Claims Brought on Behalf of the Missouri Class
15                                          COUNT 83
                    VIOLATIONS OF MISSOURI MERCHANDISING PRACTICES ACT
16                                Mo. Rev. Stat. § 407.010, et. seq.
17            1036. Plaintiff Kitchen (“Plaintiff,” for purposes of the Missouri Class’s claims) repeats and
18   realleges paragraphs 1-212 as if fully set forth herein.
19            1037. Plaintiff brings this Count individually and on behalf of the other members of the
20   Missouri Class (the “Class,” for purposes of this Count).
21            1038. GM, Plaintiff and the other Class members are “persons” within the meaning of Mo.
22   Rev. Stat. § 407.010(5).
23            1039. GM engaged in “trade” or “commerce” in the State of Missouri within the meaning of
24   Mo. Rev. Stat. § 407.010(7).
25            1040. The Missouri Merchandising Practices Act (“Missouri MPA”) makes unlawful the “act,
26   use or employment by any person of any deception, fraud, false pretense, misrepresentation, unfair
27   practice, or the concealment, suppression, or omission of any material fact in connection with the sale
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 1   or advertisement of any merchandise.” Mo. Rev. Stat. § 407.020. In the course of GM’s business, it
 2   willfully failed to disclose and actively concealed the Low-Tension Oil Ring Defect, described above,
 3   that results in abnormally high oil consumption and resultant engine damage within the GM Generation
 4   IV Vortec 5300 Engines. Accordingly, GM used or employed deception, fraud, false pretense, false
 5   promise, misrepresentation, unfair practice or the concealment, suppression, or omission of any
 6   material fact in connection with the sale or advertisement of merchandise in trade or commerce, in
 7   violation of the Missouri MPA. GM’s conduct offends public policy; is unethical, oppressive, or
 8   unscrupulous; and presents a risk of, or causes, substantial injury to consumers.
 9          1041. GM’s omissions regarding the Low-Tension Oil Ring Defect, described above, that
10   results in abnormally high oil consumption and resultant engine damage within the Generation IV
11   Vortec 5300 Engines, are material facts that a reasonable person would have considered in deciding
12   whether or not to purchase (or to pay the same price for) the Class Vehicles.
13          1042. GM intended for Plaintiff and the other Class members to rely on GM’s omissions of
14   fact regarding the Low-Tension Oil Ring Defect.
15          1043. Plaintiff and the other Class members justifiably acted or relied to their detriment upon
16   GM’s omissions of fact concerning the above-described Low-Tension Oil Ring Defect that results in
17   abnormally high oil consumption and resultant engine damage within the Generation IV Vortec 5300
18   Engines, as evidenced by Plaintiff and the other Class members’ purchases of Class Vehicles.
19          1044. Had GM disclosed all material information regarding the Low-Tension Oil Ring Defect
20   to Plaintiff and the other Class members, Plaintiff and the other Class members would not have
21   purchased or leased Class Vehicles or would have paid less to do so.
22          1045. GM’s omissions have deceived Plaintiff, and those same business practices have
23   deceived or are likely to deceive members of the consuming public and the other Class members.
24          1046. In addition to being deceptive, the business practices of GM were unfair because GM
25   knowingly sold Plaintiff and the other Class members Class Vehicles with defective engines that are
26   essentially unusable for the purposes for which they were sold. The injuries to Plaintiff and the other
27   Class members are substantial and greatly outweigh any alleged countervailing benefit to Plaintiff and
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 1   the other Class members or to competition under all of the circumstances. Moreover, in light of GM’s
 2   exclusive knowledge of the Low-Tension Oil Ring Defect, the injury is not one that Plaintiff or the
 3   other Class members could have reasonably avoided.
 4          1047. As a direct and proximate result of GM’s unfair and deceptive trade practices, Plaintiff
 5
     and the other Class members have suffered ascertainable loss and actual damages. Plaintiff and the
 6
     other Class members who purchased or leased the Class Vehicles would not have purchased or leased
 7
     the Class Vehicles, or, alternatively, would have paid less for them had the truth about the Low-
 8

 9   Tension Oil Ring Defect been disclosed.          Plaintiff and the other Class members also suffered

10   diminished value of their vehicles. Plaintiff and the other Class members are entitled to recover actual

11   damages, attorneys’ fees and costs, and all other relief allowed under Mo. Rev. Stat. § 407.025.
12                                                 COUNT 84
                                    BREACH OF EXPRESS WARRANTY
13                                 Mo. Rev. Stat. §§ 400.2-313 and 400.2a-210
14          1048. Plaintiff Kitchen (“Plaintiff,” for purposes of the Missouri Class’s claims) repeats and
15   realleges paragraphs 1-212 as if fully set forth herein.
16          1049. Plaintiff brings this Count individually and on behalf of the other members of the
17   Missouri Class (the “Class,” for purposes of this Count).
18          1050. GM is and was at all relevant times a merchant with respect to the Class Vehicles.
19          1051. In its Limited Warranty, GM expressly warranted that it would repair or replace defects
20   in material or workmanship free of charge if they became apparent during the warranty period. GM
21   provides the following language in its 2012 Chevrolet Limited Warranty guide:
22                  This warranty is for GM vehicles registered in the United States and normally operated
23                  in the United States and Canada, and is provided to the original and any subsequent
24                  owners of the vehicle during the warranty period.
25                  The warranty covers repairs to correct any vehicle defect . . . related to materials or
                    workmanship occurring during the warranty period.
26
                    Warranty repairs, including towing, parts, and labor, will be made at no charge.
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28
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 1          1052. GM’s Limited Warranty formed the basis of the bargain that was reached when Plaintiff
 2   and the other Class members purchased or leased their Class Vehicles equipped with the defective
 3   Generation IV Vortec 5300 Engines.
 4          1053. GM breached the express warranty to repair defects in materials and workmanship
 5   within the Class Vehicles. GM has not repaired, and has been unable to repair, the Class Vehicles’
 6   materials and workmanship defects.
 7          1054. Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
 8   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
 9   corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
10   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
11   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
12   numerous complaints filed against it directly and through its dealers, as well as its own internal
13   engineering knowledge.
14          1055. Furthermore, the Limited Warranty fails in its essential purpose because the contractual
15   remedy is insufficient to make Plaintiff and the other Class members whole and because GM has failed
16   and/or has refused to adequately provided the promised remedies within a reasonable time.
17          1056. Accordingly, recovery by Plaintiff and the other Class members is not limited to the
18   limited warranty of repair to parts defective in materials and workmanship, and Plaintiffs, individually
19   and on behalf of the other Class members, seek all remedies allowable by law.
20          1057. Also, and as alleged in more detail herein, at the time that GM warranted and sold the
21   Class Vehicles it knew that the Class Vehicles did not conform to the warranty and were inherently
22   defective, and GM improperly concealed material facts regarding its Class Vehicles. Plaintiff and the
23   other Class members were, therefore, induced to purchase or lease the Class Vehicles under false
24   pretenses.
25          1058. Moreover, much of the damage flowing from the Class Vehicles cannot be resolved
26   through the limited remedy of repairs, as those incidental and consequential damages have already been
27   suffered due to GM’s improper conduct as alleged herein, and due to its failure and/or continued failure
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 1   to provide such limited remedy within a reasonable time, and any limitation on Plaintiff and the other
 2   Class members’ remedies would be insufficient to make them whole.
 3          1059. As a direct and proximate result of GM’s breach of its express warranty, Plaintiff and
 4   the other Class members have been damaged in an amount to be determined at trial.
 5                                           COUNT 85
                     BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
 6                           Mo. Rev. Stat. §§ 400.2-314 and 400.2a-212
 7          1060. Plaintiff Kitchen (“Plaintiff,” for purposes of the Missouri Class’s claims) repeats and

 8   realleges paragraphs 1-212 as if fully set forth herein.

 9          1061. Plaintiff brings this Count individually and on behalf of the other members of the

10   Missouri Class (the “Class,” for purposes of this Count).

11          1062. GM is and was at all relevant times a merchant with respect to motor vehicles under Mo.

12   Rev. Stat. §§ 400.2-104 and 400.2a-103.

13          1063. Pursuant to Mo. Rev. Stat. §§ 400.2-314 and 400.2a-212, a warranty that the Class

14   Vehicles were in merchantable condition was implied by law, and the Class Vehicles were bought and

15   sold subject to an implied warranty of merchantability.

16          1064. The Class Vehicles did not comply with the implied warranty of merchantability

17   because, at the time of sale and at all times thereafter, they were defective and not in merchantable

18   condition, would not pass without objection in the trade, and were not fit for the ordinary purpose for

19   which vehicles were used. Specifically, the Class Vehicles suffer from the Low-Tension Oil Ring

20   Defect which causes excessive oil loss and leads to engine damage.

21          1065. GM was provided notice of these issues by numerous complaints filed against it,

22   including the instant complaint. Additionally, Plaintiff Ludington, individually and on behalf of the

23   other Nationwide Class members, notified GM of the Low-Tension Oil Ring Defect in the Generation

24   IV Vortec 5300 Engines, and its corresponding breach of warranty, through a notice letter dated

25   October 27, 2016 and delivered by United States Certified Mail to GM’s headquarters in Detroit,

26   Michigan. The return receipt was signed on October 28, 2016. GM was also provided notice of the

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 1   Low-Tension Oil Ring Defect through numerous complaints filed against it directly and through its
 2   dealers, as well as its own internal engineering knowledge.
 3            1066. Plaintiff and the other Class members suffered injuries due to the defective nature of the
 4   Class Vehicles and GM’s breach of the warranty of merchantability.
 5            1067. As a direct and proximate result of GM’s breach of the warranty of merchantability,
 6   Plaintiff and the other Class members have been damaged in an amount to be proven at trial.
 7                                              COUNT 86
                                           FRAUDULENT OMISSION
 8
              1068. Plaintiff Kitchen (“Plaintiff,” for purposes of the Missouri Class’s claims) repeats and
 9
     realleges paragraphs 1-212 as if fully set forth herein.
10
              1069. Plaintiff brings this Count individually and on behalf of the other members of the
11
     Missouri Class (the “Class,” for purposes of this Count).
12
              1070. GM was aware of the Low-Tension Oil Ring Defect within the Generation IV Vortec
13
     5300 Engines when it marketed and sold the Class Vehicles to Plaintiff and the other members of the
14
     Class.
15
              1071. Having been aware of the Low-Tension Oil Ring Defect, and having known that
16
     Plaintiff and the other members of the Class could not have reasonably been expected to know of the
17
     Low-Tension Oil Ring Defect, GM had a duty to disclose these defects to Plaintiff and the other
18
     members of the Class in connection with the sale of the Class Vehicles.
19
              1072. GM disclosed information concerning the reliability and performance of the Class
20
     Vehicles, but GM did not disclose the Low-Tension Oil Ring Defect to Plaintiff and the other members
21
     of the Class in connection with the sale of the Class Vehicles.
22
              1073. For the reasons set forth above, the existence of the Low-Tension Oil Ring Defect
23
     comprises material information with respect to the sale of the Class Vehicles.
24
              1074. In purchasing the Class Vehicles, Plaintiff and the other members of the Class
25
     reasonably relied on GM to disclose known material defects with respect to the Class Vehicles.
26

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 1          1075. Had Plaintiff and the other members of the Class known of the Low-Tension Oil Ring
 2   Defect, they would have not purchased the Class Vehicles or would have paid less for the Class
 3   Vehicles.
 4          1076. GM actively concealed and/or suppressed these material facts, in whole or in part, with
 5   the intent to induce Plaintiff and the other Class members to purchase or lease Class Vehicles.
 6          1077. Through its omission regarding the Low-Tension Oil Ring Defect, GM intended to
 7   induce, and did induce, Plaintiff and the other members of the Class to either purchase a Class Vehicle
 8   that they otherwise would not have purchased, or pay more for a Class Vehicle than they otherwise
 9   would have paid.
10          1078. As a direct and proximate result of GM’s omission, Plaintiff and the other members of
11   the Class either paid too much for the Class Vehicles or would not have purchased the Class Vehicles if
12   the Low-Tension Oil Ring Defect had been disclosed to them, and therefore have incurred damages in
13   an amount to be determined at trial.
14                                                COUNT 87
                                             UNJUST ENRICHMENT
15
            1079. Plaintiff Kitchen (“Plaintiff,” for purposes of the Missouri Class’s claims) repeats and
16
     realleges paragraphs 1-212 as if fully set forth herein.
17
            1080. Plaintiff brings this Count individually and on behalf of the other members of the
18
     Missouri Class (the “Class,” for purposes of this Count).
19
            1081. GM has benefitted from selling and leasing at an unjust profit defective Class Vehicles
20
     that had artificially inflated prices due to GM’s concealment of the Low-Tension Oil Ring Defect, and
21
     Plaintiff and the other members of the Class have overpaid for these vehicles.
22
            1082. GM has received and retained unjust benefits from Plaintiff and the other members of
23
     the Class, and inequity has resulted.
24
            1083. It is inequitable and unconscionable for GM to retain these benefits.
25
            1084. Because GM concealed its fraud and deception, Plaintiff and the other members of the
26
     Class were not aware of the true facts concerning the Class Vehicles and did not benefit from GM’s
27
     misconduct.
28
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 1            1085. GM knowingly accepted the unjust benefits of its wrongful conduct.
 2            1086. As a result of GM’s misconduct, the amount of its unjust enrichment should be
 3   disgorged and returned to Plaintiff and the other members of the Class in an amount to be proven at
 4   trial.
 5            19.    Claims Brought on Behalf of the Nebraska Class
 6                                            COUNT 88
                    VIOLATIONS OF THE NEBRASKA CONSUMER PROTECTION ACT
 7                                 Neb. Rev. Stat. §§ 59-1601, et seq.
 8            1087. Plaintiff Neubauer (“Plaintiff,” for purposes of the Nebraska Class’s claims) repeats and
 9   realleges paragraphs 1-212 as if fully set forth herein.
10            1088. Plaintiff brings this Count individually and on behalf of the other members of the
11   Nebraska Class (the “Class,” for purposes of this Count).
12            1089. Pursuant to the Nebraska Consumer Protection Act, “[u]nfair methods of competition
13   and unfair or deceptive acts or practices in the conduct of any trade or commerce [are] unlawful.” Neb.
14   Rev. Stat. § 59-1602.
15            1090. By the conduct described in detail above and incorporated herein, GM engaged in unfair
16   or deceptive acts in violation of Neb. Rev. Stat. § 59-1602.
17            1091. GM’s omissions regarding the Low-Tension Oil Ring Defect, described above, that
18   results in abnormally high oil consumption and resultant engine damage within the Generation IV
19   Vortec 5300 Engines, are material facts that a reasonable person would have considered in deciding
20   whether or not to purchase (or to pay the same price for) the Class Vehicles.
21            1092. GM intended for Plaintiff and the other Class members to rely on GM’s omissions of
22   fact regarding the Low-Tension Oil Ring Defect.
23            1093. Plaintiff and the other Class members justifiably acted or relied to their detriment upon
24   GM’s omissions of fact concerning the above-described Low-Tension Oil Ring Defect that results in
25   abnormally high oil consumption and resultant engine damage within the Generation IV Vortec 5300
26   Engines, as evidenced by Plaintiff and the other Class members’ purchases of Class Vehicles.
27
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 1            1094. Had GM disclosed all material information regarding the Low-Tension Oil Ring Defect
 2   to Plaintiff and the other Class members, Plaintiff and the other Class members would not have
 3   purchased or leased Class Vehicles or would have paid less to do so.
 4            1095. GM’s omissions have deceived Plaintiff, and those same business practices have
 5   deceived or are likely to deceive members of the consuming public and the other Class members.
 6            1096. In addition to being deceptive, the business practices of GM were unfair because GM
 7   knowingly sold Plaintiff and the other Class members Class Vehicles with defective engines that are
 8   essentially unusable for the purposes for which they were sold. The injuries to Plaintiff and the other
 9   Class members are substantial and greatly outweigh any alleged countervailing benefit to Plaintiff and
10   the other Class members or to competition under all of the circumstances. Moreover, in light of GM’s
11   exclusive knowledge of the Low-Tension Oil Ring Defect, the injury is not one that Plaintiff or the
12   other Class members could have reasonably avoided.
13            1097. As a direct and proximate result of GM’s unfair and deceptive trade practices, Plaintiff
14   and the other Class members have suffered ascertainable loss and actual damages. Plaintiff and the
15   other Class members who purchased or leased the Class Vehicles would not have purchased or leased
16   the Class Vehicles, or, alternatively, would have paid less for them had the truth about the Low-
17   Tension Oil Ring Defect been disclosed.          Plaintiff and the other Class members also suffered
18   diminished value of their vehicles. Plaintiff and the other Class members are entitled to recover actual
19   damages, attorneys’ fees and costs, and all other relief allowed under Neb. Rev. Stat. §§ 59-1602, et
20   seq.
21                                                COUNT 89
                                     BREACH OF EXPRESS WARRANTY
22                                    Neb. Rev. Stat. §§ 2-313 and 2A-210
23            1098. Plaintiff Neubauer (“Plaintiff,” for purpose of the Nebraska Class’s claims) repeats and
24   realleges paragraphs 1-212 as if fully set forth herein.
25            1099. Plaintiff brings this Count individually and on behalf of the other members of the
26   Nebraska Class (the “Class,” for purposes of this Count).
27            1100. GM is and was at all relevant times a merchant with respect to the Class Vehicles.
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 1          1101. In its Limited Warranty, GM expressly warranted that it would repair or replace defects
 2   in material or workmanship free of charge if they became apparent during the warranty period. GM
 3   provides the following language in its 2012 Chevrolet Limited Warranty guide:
 4          This warranty is for GM vehicles registered in the United States and normally operated
            in the United States and Canada, and is provided to the original and any subsequent
 5          owners of the vehicle during the warranty period.
 6          The warranty covers repairs to correct any vehicle defect . . . related to materials or
            workmanship occurring during the warranty period.
 7
            Warranty repairs, including towing, parts, and labor, will be made at no charge.
 8
            1102. GM’s Limited Warranty formed the basis of the bargain that was reached when Plaintiff
 9
     and the other Class members purchased or leased their Class Vehicles equipped with the defective
10
     Generation IV Vortec 5300 Engines.
11
            1103. GM breached the express warranty to repair defects in materials and workmanship
12
     within the Class Vehicles. GM has not repaired, and has been unable to repair, the Class Vehicles’
13
     materials and workmanship defects.
14
            1104. Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
15
     notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
16
     corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
17
     United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
18
     on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
19
     numerous complaints filed against it directly and through its dealers, as well as its own internal
20
     engineering knowledge.
21
            1105. Furthermore, the Limited Warranty fails in its essential purpose because the contractual
22
     remedy is insufficient to make Plaintiff and the other Class members whole and because GM has failed
23
     and/or has refused to adequately provided the promised remedies within a reasonable time.
24
            1106. Accordingly, recovery by Plaintiff and the other Class members is not limited to the
25
     limited warranty of repair to parts defective in materials and workmanship, and Plaintiff, individually
26
     and on behalf of the other Class members, seeks all remedies allowable by law.
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 1          1107. Also, and as alleged in more detail herein, at the time that GM warranted and sold the
 2   Class Vehicles it knew that the Class Vehicles did not conform to the warranty and were inherently
 3   defective, and GM improperly concealed material facts regarding its Class Vehicles. Plaintiff and the
 4   other Class members were, therefore, induced to purchase or lease the Class Vehicles under false
 5   pretenses.
 6          1108. Moreover, much of the damage flowing from the Class Vehicles cannot be resolved
 7   through the limited remedy of repairs, as those incidental and consequential damages have already been
 8   suffered due to GM’s improper conduct as alleged herein, and due to its failure and/or continued failure
 9   to provide such limited remedy within a reasonable time, and any limitation on Plaintiff and the other
10   Class members’ remedies would be insufficient to make them whole.
11          1109. As a direct and proximate result of GM’s breach of its express warranty, Plaintiff and
12   the other Class members have been damaged in an amount to be determined at trial.
13                                        COUNT 90
                     BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
14                                Neb. Rev. Stat. §§ 2-314 and 2A-212
15          1110. Plaintiff Neubauer (“Plaintiff,” for purposes of the Nebraska Class’s claims) repeats and
16   realleges paragraphs 1-212 as if fully set forth herein.
17          1111. Plaintiff brings this Count individually and on behalf of the other members of the
18   Nebraska Class (the “Class,” for purposes of this Count).
19          1112. GM is and was at all relevant times a merchant with respect to motor vehicles under
20   Neb. Rev. Stat. §§ 2-104 and 2A-103.
21          1113. Pursuant to Neb. Rev. Stat. §§ 2-314 and 2A-212, a warranty that the Class Vehicles
22   were in merchantable condition was implied by law, and the Class Vehicles were bought and sold
23   subject to an implied warranty of merchantability.
24          1114. The Class Vehicles did not comply with the implied warranty of merchantability
25   because, at the time of sale and at all times thereafter, they were defective and not in merchantable
26   condition, would not pass without objection in the trade, and were not fit for the ordinary purpose for
27
28
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 1   which vehicles were used. Specifically, the Class Vehicles suffer from the Low-Tension Oil Ring
 2   Defect which causes excessive oil loss and leads to engine damage.
 3            1115. Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
 4   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
 5   corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
 6   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
 7   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
 8   numerous complaints filed against it directly and through its dealers, as well as its own internal
 9   engineering knowledge.
10            1116. Plaintiff and the other Class members suffered injuries due to the defective nature of the
11   Class Vehicles and GM’s breach of the warranty of merchantability.
12            1117. As a direct and proximate result of GM’s breach of the warranty of merchantability,
13   Plaintiff and the other Class members have been damaged in an amount to be proven at trial.
14                                              COUNT 91
                                           FRAUDULENT OMISSION
15
              1118. Plaintiff Neubauer (“Plaintiff,” for purposes of the Nebraska Class’s claims) repeats and
16
     realleges paragraphs 1-212 as if fully set forth herein.
17
              1119. Plaintiff brings this Count individually and on behalf of the other members of the
18
     Nebraska Class (the “Class,” for purposes of this Count).
19
              1120. GM was aware of the Low-Tension Oil Ring Defect within the Generation IV Vortec
20
     5300 Engines when it marketed and sold the Class Vehicles to Plaintiff and the other members of the
21
     Class.
22
              1121. Having been aware of the Low-Tension Oil Ring Defect within the Generation IV
23
     Vortec 5300 Engines, and having known that Plaintiff and the other members of the Class could not
24
     have reasonably been expected to know of the Low-Tension Oil Ring Defect, GM had a duty to
25
     disclose the defect to Plaintiff and the other members of the Class in connection with the sale or lease
26
     of the Class Vehicles.
27
28
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 1          1122. GM did not disclose the Low-Tension Oil Ring Defect within the Generation IV Vortec
 2   5300 Engines to Plaintiff and the other members of the Class in connection with the sale of the Class
 3   Vehicles.
 4          1123. For the reasons set forth above, the Low-Tension Oil Ring Defect within the Generation
 5   IV Vortec 5300 Engines comprises material information with respect to the sale or lease of the Class
 6   Vehicles.
 7          1124. In purchasing the Class Vehicles, Plaintiff and the other members of the Class
 8   reasonably relied on GM to disclose known material defects with respect to the Class Vehicles.
 9          1125. Had Plaintiff and the other members of the Class known of the Low-Tension Oil Ring
10   Defect within the Generation IV Vortec 5300 Engines, they would have not purchased the Class
11   Vehicles or would have paid less for the Class Vehicles.
12          1126. Through its omissions regarding the Low-Tension Oil Ring Defect within the
13   Generation IV Vortec 5300 Engines, GM intended to induce, and did induce, Plaintiff and the other
14   members of the Class to either purchase a Class Vehicle that they otherwise would not have purchased,
15   or pay more for a Class Vehicle than they otherwise would have paid.
16          1127. As a direct and proximate result of GM’s omissions, Plaintiff and the other members of
17   the Class either overpaid for the Class Vehicles or would not have purchased the Class Vehicles at all if
18   the Low-Tension Oil Ring Defect had been disclosed to them, and, therefore, have incurred damages in
19   an amount to be determined at trial.
20                                               COUNT 92
                                            UNJUST ENRICHMENT
21
            1128. Plaintiff Neubauer (“Plaintiff,” for purposes of the Nebraska Class’s claims) repeats and
22
     realleges paragraphs 1-212 as if fully set forth herein.
23
            1129. Plaintiff brings this Count individually and on behalf of the other members of the
24
     Nebraska Class (the “Class,” for purposes of this Count).
25
            1130. GM has benefitted from selling and leasing at an unjust profit defective Class Vehicles
26
     that had artificially inflated prices due to GM’s concealment of the Low-Tension Oil Ring Defect, and
27
     Plaintiff and the other members of the Class have overpaid for these vehicles.
28
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 1            1131. GM has received and retained unjust benefits from Plaintiff and the other members of
 2   the Class, and inequity has resulted.
 3            1132. It is inequitable and unconscionable for GM to retain these benefits.
 4            1133. Because GM concealed its fraud and deception, Plaintiff and the other members of the
 5   Class were not aware of the true facts concerning the Class Vehicles and did not benefit from GM’s
 6   misconduct.
 7            1134. GM knowingly accepted the unjust benefits of its wrongful conduct.
 8            1135. As a result of GM’s misconduct, the amount of its unjust enrichment should be
 9   disgorged and returned to Plaintiff and the other members of the Class in an amount to be proven at
10   trial.
11            20.    Claims Brought on Behalf of the New Mexico Class
12                                                COUNT 93
                                    VIOLATIONS OF THE NEW MEXICO
13                                   UNFAIR TRADE PRACTICES ACT
                                       N.M. Stat. Ann. §§ 57-12-1, et seq.
14
              1136. Plaintiff Molina (“Plaintiff,” for purposes of the New Mexico Class’s claims) repeats
15
     and realleges paragraphs 1-212 as if fully set forth herein.
16
              1137. Plaintiff brings this Count individually and on behalf of the other members of the New
17
     Mexico Class (the “Class,” for purposes of this Count).
18
              1138. Pursuant to the New Mexico Unfair Trade Practices Act, “[u]nfair or deceptive trade
19
     practices and unconscionable trade practices in the conduct of any trade or commerce are unlawful.”
20
     N.M. Stat. Ann. § 57-12-3.
21
              1139. By the conduct described in detail above and incorporated herein, GM engaged in unfair
22
     or deceptive acts in violation of N.M. Stat. Ann. § 57-12-3.
23
              1140. GM’s omissions regarding the Low-Tension Oil Ring Defect, described above, that
24
     results in abnormally high oil consumption and resultant engine damage within the Generation IV
25
     Vortec 5300 Engines, are material facts that a reasonable person would have considered in deciding
26
     whether or not to purchase (or to pay the same price for) the Class Vehicles.
27
28
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 1            1141. GM intended for Plaintiff and the other Class members to rely on GM’s omissions of
 2   fact regarding the Low-Tension Oil Ring Defect.
 3            1142. Plaintiff and the other Class members justifiably acted or relied to their detriment upon
 4   GM’s omissions of fact concerning the above-described Low-Tension Oil Ring Defect that results in
 5   abnormally high oil consumption and resultant engine damage within the Generation IV Vortec 5300
 6   Engines, as evidenced by Plaintiff and the other Class members’ purchases of Class Vehicles.
 7            1143. Had GM disclosed all material information regarding the Low-Tension Oil Ring Defect
 8   to Plaintiff and the other Class members, Plaintiff and the other Class members would not have
 9   purchased or leased Class Vehicles or would have paid less to do so.
10            1144. GM’s omissions have deceived Plaintiff, and those same business practices have
11   deceived or are likely to deceive members of the consuming public and the other Class members.
12            1145. In addition to being deceptive, the business practices of GM were unfair because GM
13   knowingly sold Plaintiff and the other Class members Class Vehicles with defective engines that are
14   essentially unusable for the purposes for which they were sold. The injuries to Plaintiff and the other
15   Class members are substantial and greatly outweigh any alleged countervailing benefit to Plaintiff and
16   the other Class members or to competition under all of the circumstances. Moreover, in light of GM’s
17   exclusive knowledge of the Low-Tension Oil Ring Defect, the injury is not one that Plaintiff or the
18   other Class members could have reasonably avoided.
19            1146. As a direct and proximate result of GM’s unfair and deceptive trade practices, Plaintiff
20   and the other Class members have suffered ascertainable loss and actual damages. Plaintiff and the
21   other Class members who purchased or leased the Class Vehicles would not have purchased or leased
22   the Class Vehicles, or, alternatively, would have paid less for them had the truth about the Low-
23   Tension Oil Ring Defect been disclosed.         Plaintiff and the other Class members also suffered
24   diminished value of their vehicles. Plaintiff and the other Class members are entitled to recover actual
25   damages, attorneys’ fees and costs, and all other relief allowed under N.M. Stat. Ann. §§ 57-12-1, et
26   seq.
27
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 1
                                                   COUNT 94
 2                                  BREACH OF EXPRESS WARRANTY
                                   N.M. Stat. Ann. §§ 55-2-313 and 55-2A-210
 3
            1147. Plaintiff Molina (“Plaintiff,” for purpose of the New Mexico Class’s claims) repeats and
 4
     realleges paragraphs 1-212 as if fully set forth herein.
 5
            1148. Plaintiff brings this Count individually and on behalf of the other members of the New
 6
     Mexico Class (the “Class,” for purposes of this Count).
 7
            1149. GM is and was at all relevant times a merchant with respect to the Class Vehicles.
 8
            1150. In its Limited Warranty, GM expressly warranted that it would repair or replace defects
 9
     in material or workmanship free of charge if they became apparent during the warranty period. GM
10
     provides the following language in its 2012 Chevrolet Limited Warranty guide:
11
            This warranty is for GM vehicles registered in the United States and normally operated
12          in the United States and Canada, and is provided to the original and any subsequent
            owners of the vehicle during the warranty period.
13
            The warranty covers repairs to correct any vehicle defect . . . related to materials or
14          workmanship occurring during the warranty period.
15          Warranty repairs, including towing, parts, and labor, will be made at no charge.
16          1151. GM’s Limited Warranty formed the basis of the bargain that was reached when Plaintiff
17   and the other Class members purchased or leased their Class Vehicles equipped with the defective
18   Generation IV Vortec 5300 Engines.
19          1152. GM breached the express warranty to repair defects in materials and workmanship
20   within the Class Vehicles. GM has not repaired, and has been unable to repair, the Class Vehicles’
21   materials and workmanship defects.
22          1153. Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
23   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
24   corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
25   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
26   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
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 1   numerous complaints filed against it directly and through its dealers, as well as its own internal
 2   engineering knowledge.
 3          1154. Furthermore, the Limited Warranty fails in its essential purpose because the contractual
 4   remedy is insufficient to make Plaintiff and the other Class members whole and because GM has failed
 5   and/or has refused to adequately provided the promised remedies within a reasonable time.
 6          1155. Accordingly, recovery by Plaintiff and the other Class members is not limited to the
 7   limited warranty of repair to parts defective in materials and workmanship, and Plaintiff, individually
 8   and on behalf of the other Class members, seeks all remedies allowable by law.
 9          1156. Also, and as alleged in more detail herein, at the time that GM warranted and sold the
10   Class Vehicles it knew that the Class Vehicles did not conform to the warranty and were inherently
11   defective, and GM improperly concealed material facts regarding its Class Vehicles. Plaintiff and the
12   other Class members were, therefore, induced to purchase or lease the Class Vehicles under false
13   pretenses.
14          1157. Moreover, much of the damage flowing from the Class Vehicles cannot be resolved
15   through the limited remedy of repairs, as those incidental and consequential damages have already been
16   suffered due to GM’s improper conduct as alleged herein, and due to its failure and/or continued failure
17   to provide such limited remedy within a reasonable time, and any limitation on Plaintiff and the other
18   Class members’ remedies would be insufficient to make them whole.
19          1158. As a direct and proximate result of GM’s breach of its express warranty, Plaintiff and
20   the other Class members have been damaged in an amount to be determined at trial.
21                                          COUNT 95
                     BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
22                              N.M. Stat. Ann. §§ 55-2-314 and 55-2A-212
23          1159. Plaintiff Molina (“Plaintiff,” for purposes of the New Mexico Class’s claims) repeats
24   and realleges paragraphs 1-212 as if fully set forth herein.
25          1160. Plaintiff brings this Count individually and on behalf of the other members of the New
26   Mexico Class (the “Class,” for purposes of this Count).
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 1          1161. GM is and was at all relevant times a merchant with respect to motor vehicles under
 2   N.M. Stat. Ann. §§ 55-2-104 and 55-2A-103.
 3          1162. Pursuant to N.M. Stat. Ann. §§ 55-2-314 and 55-2A-212, a warranty that the Class
 4   Vehicles were in merchantable condition was implied by law, and the Class Vehicles were bought and
 5   sold subject to an implied warranty of merchantability.
 6          1163. The Class Vehicles did not comply with the implied warranty of merchantability
 7   because, at the time of sale and at all times thereafter, they were defective and not in merchantable
 8   condition, would not pass without objection in the trade, and were not fit for the ordinary purpose for
 9   which vehicles were used. Specifically, the Class Vehicles suffer from the Low-Tension Oil Ring
10   Defect which causes excessive oil loss and leads to engine damage.
11          1164. Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
12   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
13   corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
14   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
15   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
16   numerous complaints filed against it directly and through its dealers, as well as its own internal
17   engineering knowledge.
18          1165. Plaintiff and the other Class members suffered injuries due to the defective nature of the
19   Class Vehicles and GM’s breach of the warranty of merchantability.
20          1166. As a direct and proximate result of GM’s breach of the warranty of merchantability,
21   Plaintiff and the other Class members have been damaged in an amount to be proven at trial.
22                                              COUNT 96
                                           FRAUDULENT OMISSION
23
            1167. Plaintiff Molina (“Plaintiff,” for purposes of the New Mexico Class’s claims) repeats
24
     and realleges paragraphs 1-212 as if fully set forth herein.
25
            1168. Plaintiff brings this Count individually and on behalf of the other members of the New
26
     Mexico Class (the “Class,” for purposes of this Count).
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 1            1169. GM was aware of the Low-Tension Oil Ring Defect within the Generation IV Vortec
 2   5300 Engines when it marketed and sold the Class Vehicles to Plaintiff and the other members of the
 3   Class.
 4            1170. Having been aware of the Low-Tension Oil Ring Defect within the Generation IV
 5   Vortec 5300 Engines, and having known that Plaintiff and the other members of the Class could not
 6   have reasonably been expected to know of the Low-Tension Oil Ring Defect, GM had a duty to
 7   disclose the defect to Plaintiff and the other members of the Class in connection with the sale or lease
 8   of the Class Vehicles.
 9            1171. GM did not disclose the Low-Tension Oil Ring Defect within the Generation IV Vortec
10   5300 Engines to Plaintiff and the other members of the Class in connection with the sale of the Class
11   Vehicles.
12            1172. For the reasons set forth above, the Low-Tension Oil Ring Defect within the Generation
13   IV Vortec 5300 Engines comprises material information with respect to the sale or lease of the Class
14   Vehicles.
15            1173. In purchasing the Class Vehicles, Plaintiff and the other members of the Class
16   reasonably relied on GM to disclose known material defects with respect to the Class Vehicles.
17            1174. Had Plaintiff and the other members of the Class known of the Low-Tension Oil Ring
18   Defect within the Generation IV Vortec 5300 Engines, they would have not purchased the Class
19   Vehicles or would have paid less for the Class Vehicles.
20            1175. Through its omissions regarding the Low-Tension Oil Ring Defect within the
21   Generation IV Vortec 5300 Engines, GM intended to induce, and did induce, Plaintiff and the other
22   members of the Class to either purchase a Class Vehicle that they otherwise would not have purchased,
23   or pay more for a Class Vehicle than they otherwise would have paid.
24            1176. As a direct and proximate result of GM’s omissions, Plaintiff and the other members of
25   the Class either overpaid for the Class Vehicles or would not have purchased the Class Vehicles at all if
26   the Low-Tension Oil Ring Defect had been disclosed to them, and, therefore, have incurred damages in
27   an amount to be determined at trial.
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                                                  COUNT 97
 1                                           UNJUST ENRICHMENT
 2            1177. Plaintiff Molina (“Plaintiff,” for purposes of the New Mexico Class’s claims) repeats
 3   and realleges paragraphs 1-212 as if fully set forth herein.
 4            1178. Plaintiff brings this Count individually and on behalf of the other members of the New
 5   Mexico Class (the “Class,” for purposes of this Count).
 6            1179. GM has benefitted from selling and leasing at an unjust profit defective Class Vehicles
 7   that had artificially inflated prices due to GM’s concealment of the Low-Tension Oil Ring Defect, and
 8   Plaintiff and the other members of the Class have overpaid for these vehicles.
 9            1180. GM has received and retained unjust benefits from Plaintiff and the other members of
10   the Class, and inequity has resulted.
11            1181. It is inequitable and unconscionable for GM to retain these benefits.
12            1182. Because GM concealed its fraud and deception, Plaintiff and the other members of the
13   Class were not aware of the true facts concerning the Class Vehicles and did not benefit from GM’s
14   misconduct.
15            1183. GM knowingly accepted the unjust benefits of its wrongful conduct.
16            1184. As a result of GM’s misconduct, the amount of its unjust enrichment should be
17   disgorged and returned to Plaintiff and the other members of the Class in an amount to be proven at
18   trial.
19            21.    Claims Brought on Behalf of the North Carolina Class
20                                            COUNT 98
                              VIOLATIONS OF THE NORTH CAROLINA
21                         UNFAIR AND DECEPTIVE TRADE PRACTICES ACT
                                    N.C. Gen. Stat. §§ 75-1.1, et seq.
22
              1185. Plaintiff Ehrke (“Plaintiff,” for purposes of the North Carolina Class’s claims) repeats
23
     and realleges paragraphs 1-212 as if fully set forth herein.
24
              1186. Plaintiff brings this Count individually and on behalf of the other members of the North
25
     Carolina Class (the “Class,” for purposes of this Count).
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 1             1187. GM engaged in unlawful, unfair, and deceptive trade practices in violation of the North
 2   Carolina Unfair and Deceptive Trade Practices Act by advertising, selling, and warranting the defective
 3   Class Vehicles.
 4             1188. GM knew that the Class Vehicles suffered from the Low-Tension Oil Ring Defect that
 5   results in abnormally high oil consumption and resultant engine damage.
 6             1189. In advertising, selling, and warranting the Class Vehicles, GM omitted material facts
 7   concerning the Low-Tension Oil Ring Defect that results in abnormally high oil consumption and
 8   resultant engine damage. GM failed to give Plaintiff and the other Class members sufficient notice or
 9   warning regarding this defect.
10             1190. GM intended that Plaintiff and the other Class members rely upon GM’s omissions
11   when purchasing vehicles containing the Generation IV Vortec 5300 Engines.
12             1191. Plaintiff and the other Class members were deceived by GM’s concealment of the
13   defect.
14             1192. GM’s conduct was in commerce and affected commerce.
15             1193. As a direct and proximate result of these unfair, willful, unconscionable, and deceptive
16   commercial practices, Plaintiff and the other Class members have been damaged and are entitled to
17   recover actual and treble damages, as well as attorneys’ fees and costs, and all other relief allowed
18   under N.C. Gen. Stat §§ 75-16 and 75-16.1.
19                                                  COUNT 99
                                     BREACH OF EXPRESS WARRANTY
20                                  N.C. Gen. Stat. §§ 25-2-313 and 25-2A-210
21             1194. Plaintiff Ehrke (“Plaintiff,” for purposes of the North Carolina Class’s claims) repeats
22   and realleges paragraphs 1-212 as if fully set forth herein.
23             1195. Plaintiff brings this Count individually and on behalf of the other members of the North
24   Carolina Class (the “Class,” for purposes of this Count).
25             1196. GM is and was at all relevant times a merchant with respect to the Class Vehicles.
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 1          1197. In its Limited Warranty, GM expressly warranted that it would repair or replace defects
 2   in material or workmanship free of charge if those defects became apparent during the warranty period.
 3   GM provides the following language in its 2012 Chevrolet Limited Warranty guide:
 4          This warranty is for GM vehicles registered in the United States and normally operated
            in the United States and Canada, and is provided to the original and any subsequent
 5          owners of the vehicle during the warranty period.
 6          The warranty covers repairs to correct any vehicle defect . . . related to materials or
            workmanship occurring during the warranty period.
 7
            Warranty repairs, including towing, parts, and labor, will be made at no charge.
 8
            1198. GM’s Limited Warranty formed the basis of the bargain that was reached when Plaintiff
 9
     and the other Class members purchased or leased their Class Vehicles equipped with the defective
10
     Generation IV Vortec 5300 Engines.
11
            1199. GM breached its express warranty to repair defects in materials and workmanship within
12
     the Class Vehicles. GM has not repaired, and has been unable to repair, the Class Vehicles’ materials
13
     and workmanship defects.
14
            1200. Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
15
     notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
16
     corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
17
     United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
18
     on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
19
     numerous complaints filed against it directly and through its dealers, as well as its own internal
20
     engineering knowledge.
21
            1201. Furthermore, the Limited Warranty fails in its essential purpose because the contractual
22
     remedy is insufficient to make Plaintiff and the other Class members whole and because GM has failed
23
     and/or has refused to adequately provided the promised remedies within a reasonable time.
24
            1202. Accordingly, recovery by Plaintiff and the other Class members is not limited to the
25
     limited warranty of repair to parts defective in materials and workmanship, and Plaintiff, individually
26
     and on behalf of the other Class members, seeks all remedies as allowed by law.
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 1          1203. Also, as alleged in more detail herein, at the time that GM warranted and sold the Class
 2   Vehicles it knew that the Class Vehicles did not conform to the warranty and were inherently defective,
 3   and GM improperly concealed material facts regarding its Class Vehicles. Plaintiff and the other Class
 4   members were therefore induced to purchase or lease the GM Vehicles under false pretenses.
 5          1204. Moreover, much of the damage flowing from the Class Vehicles cannot be resolved
 6   through the limited remedy of repairs, as those incidental and consequential damages have already been
 7   suffered due to GM’s improper conduct as alleged herein, and due to its failure and/or continued failure
 8   to provide such limited remedy within a reasonable time, and any limitation on Plaintiff’s and the other
 9   Class members’ remedies would be insufficient to make them whole.
10          1205. As a direct and proximate result of GM’s breach of its express warranty, Plaintiff and
11   the other Class members have been damaged in an amount to be determined at trial.
12                                            COUNT 100
                       BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
13                             N.C. Gen. Stat. §§ 25-2-314 and 25-2A-212
14          1206. Plaintiff Ehrke (“Plaintiff,” for purposes of the North Carolina Class’s claims) repeats
15   and realleges paragraphs 1-212 as if fully set forth herein.
16          1207. Plaintiff brings this Count individually and on behalf of the other members of the North
17   Carolina Class (the “Class,” for purposes of this Count).
18          1208. GM is and was at all relevant times a merchant with respect to motor vehicles under
19   N.C. Gen Stat. § 25-2-314 and 25-2A-212.
20          1209. Pursuant to N.C. Gen. Stat. §§ 25-2-314 and 25-2A-212, a warranty that the Class
21   Vehicles were in merchantable condition was implied by law, and the Class Vehicles were bought and
22   sold subject to an implied warranty of merchantability.
23          1210. The Class Vehicles did not comply with the implied warranty of merchantability
24   because, at the time of sale and at all times thereafter, they were defective and not in merchantable
25   condition, would not pass without objection in the trade, and were not fit for the ordinary purpose for
26   which vehicles were used. Specifically, the Class Vehicles suffer from the Low-Tension Oil Ring
27   Defect which causes excessive oil loss and leads to engine damage.
28
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 1          1211. Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
 2   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
 3   corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
 4   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
 5   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
 6   numerous complaints filed against it directly and through its dealers, as well as its own internal
 7   engineering knowledge.
 8          1212. Plaintiff and the other Class members suffered injuries due to the defective nature of the
 9   Class Vehicles and GM’s breach of the warranty of merchantability.
10          1213. As a direct and proximate result of GM’s breach of the warranty of merchantability,
11   Plaintiff and the other Class members have been damaged in an amount to be proven at trial.
12                                              COUNT 101
                                           FRAUDULENT OMISSION
13
            1214. Plaintiff Ehrke (“Plaintiff,” for purposes of the North Carolina Class’s claims) repeats
14
     and realleges paragraphs 1-212 as if fully set forth herein.
15
            1215. Plaintiff brings this Count individually and on behalf of the other members of the North
16
     Carolina Class (the “Class,” for purposes of this Count).
17
            1216. GM was aware of the Low-Tension Oil Ring Defect when it marketed and sold the Class
18
     Vehicles to Plaintiff and the other members of the Class.
19
            1217. Having been aware of the Low-Tension Oil Ring Defect, and having known that
20
     Plaintiff and the other members of the Class could not have reasonably been expected to know of the
21
     Low-Tension Oil Ring Defect, GM had a duty to disclose these defects to Plaintiff and the other
22
     members of the Class in connection with the sale of the Class Vehicles.
23
            1218. GM disclosed information concerning the reliability and performance of the Class
24
     Vehicles, but GM did not disclose the Low-Tension Oil Ring Defect to Plaintiff and the other members
25
     of the Class in connection with the sale of the Class Vehicles.
26
            1219. For the reasons set forth above, the existence of the Low-Tension Oil Ring Defect
27
     comprises material information with respect to the sale of the Class Vehicles.
28
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 1          1220. In purchasing the Class Vehicles, Plaintiff and the other members of the Class
 2   reasonably relied on GM to disclose known material defects with respect to the Class Vehicles.
 3          1221. Had Plaintiff and the other members of the Class known of the Low-Tension Oil Ring
 4   Defect, they would have not purchased the Class Vehicles or would have paid less for the Class
 5   Vehicles.
 6          1222. Through its omission regarding the Low-Tension Oil Ring Defect, GM intended to
 7   induce, and did induce, Plaintiff and the other members of the Class to either purchase a Class Vehicle
 8   that they otherwise would not have purchased, or pay more for a Class Vehicle than they otherwise
 9   would have paid.
10          1223. As a direct and proximate result of GM’s omission, Plaintiff and the other members of
11   the Class either paid too much for the Class Vehicles or would not have purchased the Class Vehicles if
12   the Low-Tension Oil Ring Defect had been disclosed to them, and therefore have incurred damages in
13   an amount to be determined at trial.
14                                               COUNT 102
                                             UNJUST ENRICHMENT
15
            1224. Plaintiff Ehrke (“Plaintiff,” for purposes of the North Carolina Class’s claims) repeats
16
     and realleges paragraphs 1-212 as if fully set forth herein.
17
            1225. Plaintiff brings this Count individually and on behalf of the other members of the North
18
     Carolina Class (the “Class,” for purposes of this Count).
19
            1226. GM has benefitted from selling and leasing at an unjust profit defective Class Vehicles
20
     that had artificially inflated prices due to GM’s concealment of the Low-Tension Oil Ring Defect, and
21
     Plaintiff and the other members of the Class have overpaid for these vehicles.
22
            1227. GM has received and retained unjust benefits from Plaintiff and the other members of
23
     the Class, and inequity has resulted.
24
            1228. It is inequitable and unconscionable for GM to retain these benefits.
25
            1229. Because GM concealed its fraud and deception, Plaintiff and the other members of the
26
     Class were not aware of the true facts concerning the Class Vehicles and did not benefit from GM’s
27
     misconduct.
28
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 1            1230. GM knowingly accepted the unjust benefits of its wrongful conduct.
 2            1231. As a result of GM’s misconduct, the amount of its unjust enrichment should be
 3   disgorged and returned to Plaintiff and the other members of the Class in an amount to be proven at
 4   trial.
 5            22.    Claims Brought on Behalf of the North Dakota Class
 6                                            COUNT 103
                           VIOLATIONS OF THE NORTH DAKOTA UNLAWFUL
 7                            SALES OR ADVERTISING PRACTICES LAW
                                   N.D. Cent. Code §§ 51-15-01, et seq.
 8
              1232. Plaintiff Mauch (“Plaintiff,” for purposes of the North Dakota Class’s claims) repeats
 9
     and realleges paragraphs 1-212 as if fully set forth herein.
10
              1233. Plaintiff brings this Count individually and on behalf of the other members of the North
11
     Dakota Class (the “Class,” for purposes of this Count).
12
              1234. The North Dakota Unlawful Sales or Advertising Practices Law prohibits any
13
     “deceptive act or practice, fraud, false pretense, false promise, or misrepresentation.” N.D. Cent. Code
14
     § 51-15-02.
15
              1235. By the conduct described in detail above and incorporated herein, GM engaged in unfair
16
     or deceptive acts in violation of N.D. Cent. Code § 51-15-02.
17
              1236. GM’s omissions regarding the Low-Tension Oil Ring Defect, described above, that
18
     results in abnormally high oil consumption and resultant engine damage within the Generation IV
19
     Vortec 5300 Engines, are material facts that a reasonable person would have considered in deciding
20
     whether or not to purchase (or to pay the same price for) the Class Vehicles.
21
              1237. GM intended for Plaintiff and the other Class members to rely on GM’s omissions of
22
     fact regarding the Low-Tension Oil Ring Defect.
23
              1238. Plaintiff and the other Class members justifiably acted or relied to their detriment upon
24
     GM’s omissions of fact concerning the above-described Low-Tension Oil Ring Defect that results in
25
     abnormally high oil consumption and resultant engine damage within the Generation IV Vortec 5300
26
     Engines, as evidenced by Plaintiff and the other Class members’ purchases of Class Vehicles.
27
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 1          1239. Had GM disclosed all material information regarding the Low-Tension Oil Ring Defect
 2   to Plaintiff and the other Class members, Plaintiff and the other Class members would not have
 3   purchased or leased Class Vehicles or would have paid less to do so.
 4          1240. GM’s omissions have deceived Plaintiff, and those same business practices have
 5   deceived or are likely to deceive members of the consuming public and the other Class members.
 6          1241. In addition to being deceptive, the business practices of GM were unfair because GM
 7   knowingly sold Plaintiff and the other Class members Class Vehicles with defective engines that are
 8   essentially unusable for the purposes for which they were sold. The injuries to Plaintiff and the other
 9   Class members are substantial and greatly outweigh any alleged countervailing benefit to Plaintiff and
10   the other Class members or to competition under all of the circumstances. Moreover, in light of GM’s
11   exclusive knowledge of the Low-Tension Oil Ring Defect, the injury is not one that Plaintiff or the
12   other Class members could have reasonably avoided.
13          1242. As a direct and proximate result of GM’s unfair and deceptive trade practices, Plaintiff
14   and the other Class members have suffered ascertainable loss and actual damages. Plaintiff and the
15   other Class members who purchased or leased the Class Vehicles would not have purchased or leased
16   the Class Vehicles, or, alternatively, would have paid less for them had the truth about the Low-
17   Tension Oil Ring Defect been disclosed.          Plaintiff and the other Class members also suffered
18   diminished value of their vehicles. Plaintiff and the other Class members are entitled to recover actual
19   damages, attorneys’ fees and costs, and all other relief allowed under N.D. Cent. Code § 51-15-09.
20                                              COUNT 104
                                     BREACH OF EXPRESS WARRANTY
21                                       N.D. Cent. Code § 41-02-30
22          1243. Plaintiff Mauch (“Plaintiff,” for purpose of the North Dakota Class’s claims) repeats and
23   realleges paragraphs 1-212 as if fully set forth herein.
24          1244. Plaintiff brings this Count individually and on behalf of the other members of the North
25   Dakota Class (the “Class,” for purposes of this Count).
26          1245. GM is and was at all relevant times a merchant with respect to the Class Vehicles.
27
28
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 1          1246. In its Limited Warranty, GM expressly warranted that it would repair or replace defects
 2   in material or workmanship free of charge if they became apparent during the warranty period. GM
 3   provides the following language in its 2012 Chevrolet Limited Warranty guide:
 4          This warranty is for GM vehicles registered in the United States and normally operated
            in the United States and Canada, and is provided to the original and any subsequent
 5          owners of the vehicle during the warranty period.
 6          The warranty covers repairs to correct any vehicle defect . . . related to materials or
            workmanship occurring during the warranty period.
 7
            Warranty repairs, including towing, parts, and labor, will be made at no charge.
 8
            1247. GM’s Limited Warranty formed the basis of the bargain that was reached when Plaintiff
 9
     and the other Class members purchased or leased their Class Vehicles equipped with the defective
10
     Generation IV Vortec 5300 Engines.
11
            1248. GM breached the express warranty to repair defects in materials and workmanship
12
     within the Class Vehicles. GM has not repaired, and has been unable to repair, the Class Vehicles’
13
     materials and workmanship defects.
14
            1249. Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
15
     notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
16
     corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
17
     United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
18
     on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
19
     numerous complaints filed against it directly and through its dealers, as well as its own internal
20
     engineering knowledge.
21
            1250. Furthermore, the Limited Warranty fails in its essential purpose because the contractual
22
     remedy is insufficient to make Plaintiff and the other Class members whole and because GM has failed
23
     and/or has refused to adequately provided the promised remedies within a reasonable time.
24
            1251. Accordingly, recovery by Plaintiff and the other Class members is not limited to the
25
     limited warranty of repair to parts defective in materials and workmanship, and Plaintiff, individually
26
     and on behalf of the other Class members, seeks all remedies allowable by law.
27
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 1          1252. Also, and as alleged in more detail herein, at the time that GM warranted and sold the
 2   Class Vehicles it knew that the Class Vehicles did not conform to the warranty and were inherently
 3   defective, and GM improperly concealed material facts regarding its Class Vehicles. Plaintiff and the
 4   other Class members were, therefore, induced to purchase or lease the Class Vehicles under false
 5   pretenses.
 6          1253. Moreover, much of the damage flowing from the Class Vehicles cannot be resolved
 7   through the limited remedy of repairs, as those incidental and consequential damages have already been
 8   suffered due to GM’s improper conduct as alleged herein, and due to its failure and/or continued failure
 9   to provide such limited remedy within a reasonable time, and any limitation on Plaintiff and the other
10   Class members’ remedies would be insufficient to make them whole.
11          1254. As a direct and proximate result of GM’s breach of its express warranty, Plaintiff and
12   the other Class members have been damaged in an amount to be determined at trial.
13                                      COUNT 105
                     BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
14                                   N.D. Cent. Code § 41-02-31
15          1255. Plaintiff Mauch (“Plaintiff,” for purposes of the North Dakota Class’s claims) repeats
16   and realleges paragraphs 1-212 as if fully set forth herein.
17          1256. Plaintiff brings this Count individually and on behalf of the other members of the North
18   Dakota Class (the “Class,” for purposes of this Count).
19          1257. GM is and was at all relevant times a merchant with respect to motor vehicles under
20   N.D. Cent. Code § 41-02-31.
21          1258. Pursuant to N.D. Cent. Code § 41-02-31, a warranty that the Class Vehicles were in
22   merchantable condition was implied by law, and the Class Vehicles were bought and sold subject to an
23   implied warranty of merchantability.
24          1259. The Class Vehicles did not comply with the implied warranty of merchantability
25   because, at the time of sale and at all times thereafter, they were defective and not in merchantable
26   condition, would not pass without objection in the trade, and were not fit for the ordinary purpose for
27
28
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 1   which vehicles were used. Specifically, the Class Vehicles suffer from the Low-Tension Oil Ring
 2   Defect which causes excessive oil loss and leads to engine damage.
 3            1260. Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
 4   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
 5   corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
 6   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
 7   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
 8   numerous complaints filed against it directly and through its dealers, as well as its own internal
 9   engineering knowledge.
10            1261. Plaintiff and the other Class members suffered injuries due to the defective nature of the
11   Class Vehicles and GM’s breach of the warranty of merchantability.
12            1262. As a direct and proximate result of GM’s breach of the warranty of merchantability,
13   Plaintiff and the other Class members have been damaged in an amount to be proven at trial.
14                                              COUNT 106
                                           FRAUDULENT OMISSION
15
              1263. Plaintiff Mauch (“Plaintiff,” for purposes of the North Dakota Class’s claims) repeats
16
     and realleges paragraphs 1-212 as if fully set forth herein.
17
              1264. Plaintiff brings this Count individually and on behalf of the other members of the North
18
     Dakota Class (the “Class,” for purposes of this Count).
19
              1265. GM was aware of the Low-Tension Oil Ring Defect within the Generation IV Vortec
20
     5300 Engines when it marketed and sold the Class Vehicles to Plaintiff and the other members of the
21
     Class.
22
              1266. Having been aware of the Low-Tension Oil Ring Defect within the Generation IV
23
     Vortec 5300 Engines, and having known that Plaintiff and the other members of the Class could not
24
     have reasonably been expected to know of the Low-Tension Oil Ring Defect, GM had a duty to
25
     disclose the defect to Plaintiff and the other members of the Class in connection with the sale or lease
26
     of the Class Vehicles.
27
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 1          1267. GM did not disclose the Low-Tension Oil Ring Defect within the Generation IV Vortec
 2   5300 Engines to Plaintiff and the other members of the Class in connection with the sale of the Class
 3   Vehicles.
 4          1268. For the reasons set forth above, the Low-Tension Oil Ring Defect within the Generation
 5   IV Vortec 5300 Engines comprises material information with respect to the sale or lease of the Class
 6   Vehicles.
 7          1269. In purchasing the Class Vehicles, Plaintiff and the other members of the Class
 8   reasonably relied on GM to disclose known material defects with respect to the Class Vehicles.
 9          1270. Had Plaintiff and the other members of the Class known of the Low-Tension Oil Ring
10   Defect within the Generation IV Vortec 5300 Engines, they would have not purchased the Class
11   Vehicles or would have paid less for the Class Vehicles.
12          1271. Through its omissions regarding the Low-Tension Oil Ring Defect within the
13   Generation IV Vortec 5300 Engines, GM intended to induce, and did induce, Plaintiff and the other
14   members of the Class to either purchase a Class Vehicle that they otherwise would not have purchased,
15   or pay more for a Class Vehicle than they otherwise would have paid.
16          1272. As a direct and proximate result of GM’s omissions, Plaintiff and the other members of
17   the Class either overpaid for the Class Vehicles or would not have purchased the Class Vehicles at all if
18   the Low-Tension Oil Ring Defect had been disclosed to them, and, therefore, have incurred damages in
19   an amount to be determined at trial.
20                                              COUNT 107
                                            UNJUST ENRICHMENT
21
            1273. Plaintiff Mauch (“Plaintiff,” for purposes of the North Dakota Class’s claims) repeats
22
     and realleges paragraphs 1-212 as if fully set forth herein.
23
            1274. Plaintiff brings this Count individually and on behalf of the other members of the North
24
     Dakota Class (the “Class,” for purposes of this Count).
25
            1275. GM has benefitted from selling and leasing at an unjust profit defective Class Vehicles
26
     that had artificially inflated prices due to GM’s concealment of the Low-Tension Oil Ring Defect, and
27
     Plaintiff and the other members of the Class have overpaid for these vehicles.
28
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 1            1276. GM has received and retained unjust benefits from Plaintiff and the other members of
 2   the Class, and inequity has resulted.
 3            1277. It is inequitable and unconscionable for GM to retain these benefits.
 4            1278. Because GM concealed its fraud and deception, Plaintiff and the other members of the
 5   Class were not aware of the true facts concerning the Class Vehicles and did not benefit from GM’s
 6   misconduct.
 7            1279. GM knowingly accepted the unjust benefits of its wrongful conduct.
 8            1280. As a result of GM’s misconduct, the amount of its unjust enrichment should be
 9   disgorged and returned to Plaintiff and the other members of the Class in an amount to be proven at
10   trial.
11            23.    Claims Brought on Behalf of the Ohio Class
12                                            COUNT 108
                    VIOLATIONS OF THE OHIO CONSUMER SALES PRACTICES ACT
13                              Ohio Rev. Code Ann. §§ 1345.01, et seq.
14            1281. Plaintiffs Gulling and Jones (“Plaintiffs,” for purposes of the Ohio Class’s claims) repeat
15   and reallege paragraphs 1-212 as if fully set forth herein.
16            1282. Plaintiffs bring this Count individually and on behalf of the other members of the Ohio
17   Class (the “Class,” for purposes of this Count).
18            1283. GM, Plaintiffs, and the other Class members are “persons” within the meaning of Ohio
19   Rev. Code Ann. § 145.01(B). GM is a “supplier” as defined by Ohio Rev. Code Ann. § 1345.01(c).
20            1284. Plaintiffs and the other Class members are “consumers” as that term is defined in Ohio
21   Rev. Code Ann. § 1345.01(D), and their purchase and lease of the Class Vehicles are “consumer
22   transactions” within the meaning of Ohio Rev. Code Ann. § 1345.01(A).
23            1285. Ohio Rev. Code Ann. § 1345.02 prohibits unfair or deceptive acts or practices in
24   connection with consumer transactions.
25            1286. In the course of GM’s business, GM violated the Ohio Consumer Sales Practices Act
26   (“CSPA”) by selling Class Vehicles with the Low-Tension Oil Ring Defect, leading to excessive oil
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 1   consumption and engine damage, or negligently concealing or suppressing material facts concerning
 2   the Low-Tension Oil Ring Defect in the Class Vehicles.
 3             1287. Further, as a result of placing a defective product into the stream of commerce, GM has
 4   breached its implied warranty in tort, which is an unfair and deceptive act, as defined in Ohio Rev.
 5   Code Ann. § 1345.09(B).
 6             1288. GM has committed unfair and deceptive acts in violation of the Ohio CSPA by
 7   knowingly placing into the stream of commerce the Class Vehicles with the Low-Tension Oil Ring
 8   Defect.
 9             1289. Moreover, GM has committed an unfair and deceptive act by knowingly concealing the
10   Low-Tension Oil Ring Defect in the Class Vehicles and failing to inform Plaintiffs and the other Class
11   members of this defect.
12             1290. The Ohio Attorney General has made available for public inspection prior state court
13   decisions which have held that the acts and omissions of GM as detailed in this Complaint, including,
14   but not limited to, the failure to honor both its implied and express warranties; and the concealment
15   and/or non-disclosure of a substantial defect, constitute deceptive sales practices in violation of the
16   CSPA. These cases include, but are not limited to, the following:
17                a. Mason v. Mercedes Benz USA, LLC (OPIF #10002382);
18                b. State ex rel. Betty D. Montgomery v. Ford Motor co. (OPIF #10002123);
19                c. State ex rel. Betty D. Montgomery v. Bridgestone/Firestone, Inc. (OPIF #10002025);
20                d. Bellinger v. Hewlett-Packard Co., No. 20744, 2002 Ohio App. LEXIS 1573 (Ohio Ct.
21                    App. Apr. 10, 2002) (OPIF #10002077);
22                e. Borror v. MarineMax of Ohio, No. OT-06-010, 2007 Ohio App. LEXIS 525 (Ohio Ct.
23                    App. Feb. 9, 2007) (OPIF #10002388);
24                f. State ex rel. Jim Petro v. Craftmatic Organization, Inc. (OPIF #10002347);
25                g. Cranford v. Joseph Airport Toyota, Inc. (OPIF #10001586);
26                h. Brown v. Spears (OPIF #10000403);
27                i. Brinkman v. Mazda Motor of America, Inc. (OPIF #10001427);
28
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 1               j. Mosley v. Performance Mitsubishi AKA Automanage (OPIF #10001326); and
 2               k. Walls v. Harry Williams dba Butch’s Auto Sales (OPIF #10001524).
 3           1291. GM’s unfair or deceptive acts or practices were likely to, and did, in fact, deceive
 4   consumers, including Plaintiffs and the other Class members, about the true reliability, dependability,
 5   efficiency, and quality of the Class Vehicles.
 6           1292. Plaintiffs and the other Class members suffered ascertainable loss and actual damages as
 7   a direct result of GM’s concealment of and failure to disclose material information, namely, the Low-
 8   Tension Oil Ring Defect. Plaintiffs and the other Class members who purchased or leased the Class
 9   Vehicles would not have done so, or would have paid significantly less, if the true nature of the Class
10   Vehicles had been disclosed. Plaintiffs and the other Class members also suffered diminished value of
11   their vehicles.
12           1293. GM is liable to Plaintiffs and the other Class members for compensatory damages,
13   injunctive/equitable relief, and attorneys’ fees pursuant to Ohio Rev. Code Ann. § 1345.09.
14                                               COUNT 109
                                    BREACH OF EXPRESS WARRANTY
15                                Ohio Rev. Code Ann. §§ 1302.26 and 1310.17
16           1294. Plaintiffs Gulling and Jones (“Plaintiffs,” for purposes of the Ohio Class’s claims) repeat
17   and reallege paragraphs 1-212 as if fully set forth herein.
18           1295. Plaintiffs bring this Count individually and on behalf of the other members of the Ohio
19   Class (the “Class,” for purposes of this Count).
20           1296. GM is and was at all relevant times a merchant with respect to the Class Vehicles.
21           1297. In its Limited Warranty, GM expressly warranted that it would repair or replace defects
22   in material or workmanship free of charge if they became apparent during the warranty period. GM
23   provides the following language in its 2012 Chevrolet Limited Warranty guide:
24           This warranty is for GM vehicles registered in the United States and normally operated
             in the United States and Canada, and is provided to the original and any subsequent
25           owners of the vehicle during the warranty period.
26           The warranty covers repairs to correct any vehicle defect . . . related to materials or
             workmanship occurring during the warranty period.
27
             Warranty repairs, including towing, parts, and labor, will be made at no charge.
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 1           1298. GM’s Limited Warranty formed the basis of the bargain that was reached when
 2   Plaintiffs and the other Class members purchased or leased their Class Vehicles equipped with the
 3   defective Generation IV Vortec 5300 Engines.
 4           1299. GM breached the express warranty to repair defects in materials and workmanship
 5   within the Class Vehicles. GM has not repaired, and has been unable to repair, the Class Vehicles’
 6   materials and workmanship defects.
 7           1300. Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
 8   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
 9   corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
10   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
11   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
12   numerous complaints filed against it directly and through its dealers, as well as its own internal
13   engineering knowledge.
14           1301. Furthermore, the limited warranty of repair fails in its essential purpose because the
15   contractual remedy is insufficient to make Plaintiffs and the other Class members whole and because
16   GM has failed and/or has refused to adequately provided the promised remedies within a reasonable
17   time.
18           1302. Accordingly, recovery by Plaintiffs and the other Class members is not limited to the
19   limited warranty of repair to parts defective in materials and workmanship, and Plaintiffs, individually
20   and on behalf of the other Class members, seek all remedies as allowed by law.
21           1303. Also, as alleged in more detail herein, at the time that GM warranted and sold the Class
22   Vehicles it knew that the Class Vehicles did not conform to the warranty and were inherently defective,
23   and GM improperly concealed material facts regarding its Class Vehicles. Plaintiffs and the other
24   Class members were, therefore, induced to purchase or lease the Class Vehicles under false pretenses.
25           1304. Moreover, much of the damage flowing from the Class Vehicles cannot be resolved
26   through the limited remedy of repairs, as those incidental and consequential damages have already been
27   suffered due to GM’s improper conduct as alleged herein, and due to its failure and/or continued failure
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 1   to provide such limited remedy within a reasonable time, and any limitation on Plaintiffs and the other
 2   Class members’ remedies would be insufficient to make Plaintiffs and the other Class members whole.
 3          1305. As a direct and proximate result of GM’s breach of express warranty, Plaintiffs and the
 4   other Class members have been damaged in an amount to be determined at trial.
 5                                          COUNT 110
                               BREACH OF IMPLIED WARRANTY IN TORT
 6
            1306. Plaintiffs Gulling and Jones (“Plaintiffs,” for purposes of the Ohio Class’s claims) repeat
 7
     and reallege paragraphs 1-212 as if fully set forth herein.
 8
            1307. Plaintiffs bring this Count individually and on behalf of the other members of the Ohio
 9
     Class (the “Class,” for purposes of this Count).
10
            1308. GM manufactured and sold the defective Class Vehicles to Plaintiffs and the other Class
11
     members.
12
            1309. The Class Vehicles are defective because they have a Generation IV Vortec 5300
13
     Engines with the Low-Tension Oil Ring Defect, causing the Class Vehicles to consume excessive
14
     amounts of oil, resulting in engine damage.
15
            1310. These defects existed at the time the Class Vehicles left the control of GM.
16
            1311. Based upon these defects, GM has failed to meet the expectations of a reasonable
17
     consumer. The Class Vehicles have failed in their ordinary, intended use, because they suffer from the
18
     Low-Tension Oil Ring Defect, causing excessive oil loss and resultant engine damage.
19
            1312. The above-described defects in the Class Vehicles were the direct and proximate cause
20
     of economic damages to Plaintiffs and the other Class members.
21
                                                COUNT 111
22                                         FRAUDULENT OMISSION
23          1313. Plaintiffs Gulling and Jones (“Plaintiffs,” for purposes of the Ohio Class’s claims) repeat
24   and reallege paragraphs 1-212 as if fully set forth herein.
25          1314. Plaintiffs bring this Count individually and on behalf of the other members of the Ohio
26   Class (the “Class,” for purposes of this Count).
27
28
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 1          1315. GM was aware of the Low-Tension Oil Ring Defect within the Generation IV Vortec
 2   5300 Engines when it marketed and sold the Class Vehicles to Plaintiffs and the other Class members.
 3          1316. Having been aware of the Low-Tension Oil Ring Defect within the Generation IV
 4   Vortec 5300 Engines, and having known that Plaintiffs and the other Class members could not have
 5   reasonably been expected to know of this defect, GM had a duty to disclose the Low-Tension Oil Ring
 6   Defect to Plaintiffs and the other Class members in connection with the sale or lease of the Class
 7   Vehicles.
 8          1317. GM did not disclose the Low-Tension Oil Ring Defect within the Generation IV Vortec
 9   5300 Engines to Plaintiffs and the other Class members in connection with the sale or lease of the Class
10   Vehicles.
11          1318. For the reasons set forth above, the Low-Tension Oil Ring Defect within the Generation
12   IV Vortec 5300 Engines comprises material information with respect to the sale or lease of the Class
13   Vehicles.
14          1319. In purchasing or leasing the Class Vehicles, Plaintiffs and the other Class members
15   reasonably relied on GM to disclose known material defects with respect to the Class Vehicles. Had
16   Plaintiffs and the other Class members known of the Low-Tension Oil Ring Defect within the
17   Generation IV Vortec 5300 Engines, they would have not purchased the Class Vehicles or would have
18   paid less for the Class Vehicles.
19          1320. Through its omissions regarding the latent oil consumption defect within the Generation
20   IV Vortec 5300 Engines, GM intended to induce, and did induce, Plaintiffs and the other Class
21   members to purchase or lease a Class Vehicle that they otherwise would not have purchased, or to pay
22   more for a Class Vehicle than they otherwise would have paid.
23          1321. As a direct and proximate result of GM’s omissions, Plaintiffs and the other Class
24   members either paid too much for the Class Vehicles or would not have purchased the Class Vehicles if
25   the Low-Tension Oil Ring Defect had been disclosed to them, and, therefore, have incurred damages in
26   an amount to be determined at trial.
27
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 1
                                                 COUNT 112
 2                                           UNJUST ENRICHMENT
 3            1322. Plaintiffs Gulling and Jones (“Plaintiffs,” for purposes of the Ohio Class’s claims) repeat
 4   and reallege paragraphs 1-212 as if fully set forth herein.
 5            1323. Plaintiffs bring this Count individually and on behalf of the other members of the Ohio
 6   Class (“Class,” for purposes of this Count).
 7            1324. GM has benefitted from selling and leasing at an unjust profit defective Class Vehicles
 8   that had artificially inflated prices due to GM’s concealment of the Low-Tension Oil Ring Defect, and
 9   Plaintiffs and the other members of the Class have overpaid for these vehicles.
10            1325. GM has received and retained unjust benefits from Plaintiffs and the other members of
11   the Class, and inequity has resulted.
12            1326. It is inequitable and unconscionable for GM to retain these benefits.
13            1327. Because GM concealed its fraud and deception, Plaintiffs and the other members of the
14   Class were not aware of the true facts concerning the Class Vehicles and did not benefit from GM’s
15   misconduct.
16            1328. GM knowingly accepted the unjust benefits of its wrongful conduct.
17            1329. As a result of GM’s misconduct, the amount of its unjust enrichment should be
18   disgorged and returned to Plaintiffs and the other members of the Class in an amount to be proven at
19   trial.
20            24.     Claims Brought on Behalf of the Oklahoma Class
21                                          COUNT 113
                    VIOLATIONS OF THE OKLAHOMA CONSUMER PROTECTION ACT
22                                 Okla. Stat. tit. 15, §§ 751, et seq.
23            1330. Plaintiff Warpinksi (“Plaintiff,” for purposes of the Oklahoma Class’s claims) repeats
24   and realleges paragraphs 1-212 as if fully set forth herein.
25            1331. Plaintiff brings this Count individually and on behalf of the other members of the
26   Oklahoma Class (the “Class,” for purposes of this Count).
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28
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 1          1332. By the conduct described in detail above and incorporated herein, GM engaged in unfair
 2   trade practices and deceptive trade practices in violation of Okla. Stat. tit. 15, §§ 752 and 753.
 3          1333. GM’s omissions regarding the Low-Tension Oil Ring Defect, described above, that
 4   results in abnormally high oil consumption and resultant engine damage within the Generation IV
 5   Vortec 5300 Engines, are material facts that a reasonable person would have considered in deciding
 6   whether or not to purchase (or to pay the same price for) the Class Vehicles.
 7          1334. GM intended for Plaintiff and the other Class members to rely on GM’s omissions
 8   regarding the Low-Tension Oil Ring Defect.
 9          1335. Plaintiffs and the other Class members justifiably acted or relied to their detriment upon
10   GM’s omissions of fact concerning the above-described Low-Tension Oil Ring Defect that results in
11   abnormally high oil consumption and resultant engine damage within the Generation IV Vortec 5300
12   Engines, as evidenced by Plaintiffs and the other Class members’ purchases of Class Vehicles.
13          1336. Had GM disclosed all material information regarding the Low-Tension Oil Ring Defect
14   to Plaintiffs and the other Class members, Plaintiffs and the other Class members would not have
15   purchased or leased Class Vehicles or would have paid less to do so.
16          1337. GM’s omissions have deceived Plaintiffs, and those same business practices have
17   deceived or are likely to deceive members of the consuming public and the other members of the Class.
18          1338. In addition to being deceptive, the business practices of GM were unfair because GM
19   knowingly sold Plaintiffs and the other Class members Class Vehicles with defective engines that are
20   essentially unusable for the purposes for which they were sold. The injuries to Plaintiffs and the other
21   Class members are substantial and greatly outweigh any alleged countervailing benefit to Plaintiffs and
22   the other Class members or to competition under all of the circumstances. Moreover, in light of GM’s
23   exclusive knowledge of the Low-Tension Oil Ring Defect, the injury is not one that Plaintiffs or the
24   other Class members could have reasonably avoided.
25          1339. As a direct and proximate result of GM’s unfair and deceptive trade practices, Plaintiffs
26   and the other Class members have suffered ascertainable loss and actual damages. Plaintiffs and the
27   other Class members who purchased or leased the Class Vehicles would not have purchased or leased
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 1   the Class Vehicles, or, alternatively, would have paid less for them had the truth about the Low-
 2   Tension Oil Ring Defect been disclosed.          Plaintiffs and the other Class members also suffered
 3   diminished value of their vehicles. Plaintiffs and the other Class members are entitled to recover actual
 4   damages, attorneys’ fees and costs, and all other relief allowed under Okla. Stat. tit. 15, §§ 751, et seq.
 5                                                  COUNT 114
                                    BREACH OF EXPRESS WARRANTY
 6                                  Okla. Stat. tit. 12A, §§ 2-313 and 2A-210
 7          1340. Plaintiff Warpinksi (“Plaintiff,” for purpose of the Oklahoma Class’s claims) repeats and
 8   realleges paragraphs 1-212 as if fully set forth herein.
 9          1341. Plaintiff brings this Count individually and on behalf of the other members of the
10   Oklahoma Class (the “Class,” for purposes of this Count).
11          1342. GM is and was at all relevant times a merchant with respect to the Class Vehicles.
12          1343. In its Limited Warranty, GM expressly warranted that it would repair or replace defects
13   in material or workmanship free of charge if they became apparent during the warranty period. GM
14   provides the following language in its 2012 Chevrolet Limited Warranty guide:
15          This warranty is for GM vehicles registered in the United States and normally operated
            in the United States and Canada, and is provided to the original and any subsequent
16          owners of the vehicle during the warranty period.
17          The warranty covers repairs to correct any vehicle defect . . . related to materials or
            workmanship occurring during the warranty period.
18
            Warranty repairs, including towing, parts, and labor, will be made at no charge.
19
            1344. GM’s Limited Warranty formed the basis of the bargain that was reached when Plaintiff
20
     and the other Class members purchased or leased their Class Vehicles equipped with the defective
21
     Generation IV Vortec 5300 Engines.
22
            1345. GM breached the express warranty to repair defects in materials and workmanship
23
     within the Class Vehicles. GM has not repaired, and has been unable to repair, the Class Vehicles’
24
     materials and workmanship defects.
25
            1346. Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
26
     notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
27
     corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
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 1   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
 2   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
 3   numerous complaints filed against it directly and through its dealers, as well as its own internal
 4   engineering knowledge.
 5          1347. Furthermore, the Limited Warranty fails in its essential purpose because the contractual
 6   remedy is insufficient to make Plaintiff and the other Class members whole and because GM has failed
 7   and/or has refused to adequately provided the promised remedies within a reasonable time.
 8          1348. Accordingly, recovery by Plaintiff and the other Class members is not limited to the
 9   limited warranty of repair to parts defective in materials and workmanship, and Plaintiff, individually
10   and on behalf of the other Class members, seeks all remedies allowable by law.
11          1349. Also, and as alleged in more detail herein, at the time that GM warranted and sold the
12   Class Vehicles it knew that the Class Vehicles did not conform to the warranty and were inherently
13   defective, and GM improperly concealed material facts regarding its Class Vehicles. Plaintiff and the
14   other Class members were, therefore, induced to purchase or lease the Class Vehicles under false
15   pretenses.
16          1350. Moreover, much of the damage flowing from the Class Vehicles cannot be resolved
17   through the limited remedy of repairs, as those incidental and consequential damages have already been
18   suffered due to GM’s improper conduct as alleged herein, and due to its failure and/or continued failure
19   to provide such limited remedy within a reasonable time, and any limitation on Plaintiff and the other
20   Class members’ remedies would be insufficient to make them whole.
21          1351. As a direct and proximate result of GM’s breach of its express warranty, Plaintiff and
22   the other Class members have been damaged in an amount to be determined at trial.
23                                          COUNT 115
                     BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
24                               Okla. Stat. tit. 12A, §§ 2-314 and 2A-212
25          1352. Plaintiff Warpinski (“Plaintiff,” for purposes of the Oklahoma Class’s claims) repeats
26   and realleges paragraphs 1-212 as if fully set forth herein.
27
28
                                                    179
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 1          1353. Plaintiff brings this Count individually and on behalf of the other members of the
 2   Oklahoma Class (the “Class,” for purposes of this Count).
 3          1354. GM is and was at all relevant times a merchant with respect to motor vehicles under
 4   Okla. Stat. tit. 12A, §§ 2-104 and 2A-103.
 5          1355. Pursuant to Okla. Stat. tit. 12A, §§§ 2-314 and 2A-212, a warranty that the Class
 6   Vehicles were in merchantable condition was implied by law, and the Class Vehicles were bought and
 7   sold subject to an implied warranty of merchantability.
 8          1356. The Class Vehicles did not comply with the implied warranty of merchantability
 9   because, at the time of sale and at all times thereafter, they were defective and not in merchantable
10   condition, would not pass without objection in the trade, and were not fit for the ordinary purpose for
11   which vehicles were used. Specifically, the Class Vehicles suffer from the Low-Tension Oil Ring
12   Defect which causes excessive oil loss and leads to engine damage.
13          1357. Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
14   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
15   corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
16   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
17   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
18   numerous complaints filed against it directly and through its dealers, as well as its own internal
19   engineering knowledge.
20          1358. Plaintiff and the other Class members suffered injuries due to the defective nature of the
21   Class Vehicles and GM’s breach of the warranty of merchantability.
22          1359. As a direct and proximate result of GM’s breach of the warranty of merchantability,
23   Plaintiff and the other Class members have been damaged in an amount to be proven at trial.
24                                              COUNT 116
                                           FRAUDULENT OMISSION
25
            1360. Plaintiff Warpinski (“Plaintiff,” for purposes of the Oklahoma Class’s claims) repeats
26
     and realleges paragraphs 1-212 as if fully set forth herein.
27
28
                                                    180
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 1            1361. Plaintiff brings this Count individually and on behalf of the other members of the
 2   Oklahoma Class (the “Class,” for purposes of this Count).
 3            1362. GM was aware of the Low-Tension Oil Ring Defect within the Generation IV Vortec
 4   5300 Engines when it marketed and sold the Class Vehicles to Plaintiff and the other members of the
 5   Class.
 6            1363. Having been aware of the Low-Tension Oil Ring Defect within the Generation IV
 7   Vortec 5300 Engines, and having known that Plaintiff and the other members of the Class could not
 8   have reasonably been expected to know of the Low-Tension Oil Ring Defect, GM had a duty to
 9   disclose the defect to Plaintiff and the other members of the Class in connection with the sale or lease
10   of the Class Vehicles.
11            1364. GM did not disclose the Low-Tension Oil Ring Defect within the Generation IV Vortec
12   5300 Engines to Plaintiff and the other members of the Class in connection with the sale of the Class
13   Vehicles.
14            1365. For the reasons set forth above, the Low-Tension Oil Ring Defect within the Generation
15   IV Vortec 5300 Engines comprises material information with respect to the sale or lease of the Class
16   Vehicles.
17            1366. In purchasing the Class Vehicles, Plaintiff and the other members of the Class
18   reasonably relied on GM to disclose known material defects with respect to the Class Vehicles.
19            1367. Had Plaintiff and the other members of the Class known of the Low-Tension Oil Ring
20   Defect within the Generation IV Vortec 5300 Engines, they would have not purchased the Class
21   Vehicles or would have paid less for the Class Vehicles.
22            1368. Through its omissions regarding the Low-Tension Oil Ring Defect within the
23   Generation IV Vortec 5300 Engines, GM intended to induce, and did induce, Plaintiff and the other
24   members of the Class to either purchase a Class Vehicle that they otherwise would not have purchased,
25   or pay more for a Class Vehicle than they otherwise would have paid.
26            1369. As a direct and proximate result of GM’s omissions, Plaintiff and the other members of
27   the Class either overpaid for the Class Vehicles or would not have purchased the Class Vehicles at all if
28
                                                   181
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 1   the Low-Tension Oil Ring Defect had been disclosed to them, and, therefore, have incurred damages in
 2   an amount to be determined at trial.
 3                                               COUNT 117
                                             UNJUST ENRICHMENT
 4
              1370. Plaintiff Warpinski (“Plaintiff,” for purposes of the Oklahoma Class’s claims) repeats
 5
     and realleges paragraphs 1-212 as if fully set forth herein.
 6
              1371. Plaintiff brings this Count individually and on behalf of the other members of the
 7
     Oklahoma Class (the “Class,” for purposes of this Count).
 8
              1372. GM has benefitted from selling and leasing at an unjust profit defective Class Vehicles
 9
     that had artificially inflated prices due to GM’s concealment of the Low-Tension Oil Ring Defect, and
10
     Plaintiff and the other members of the Class have overpaid for these vehicles.
11
              1373. GM has received and retained unjust benefits from Plaintiff and the other members of
12
     the Class, and inequity has resulted.
13
              1374. It is inequitable and unconscionable for GM to retain these benefits.
14
              1375. Because GM concealed its fraud and deception, Plaintiff and the other members of the
15
     Class were not aware of the true facts concerning the Class Vehicles and did not benefit from GM’s
16
     misconduct.
17
              1376. GM knowingly accepted the unjust benefits of its wrongful conduct.
18
              1377. As a result of GM’s misconduct, the amount of its unjust enrichment should be
19
     disgorged and returned to Plaintiff and the other members of the Class in an amount to be proven at
20
     trial.
21
              25.    Claims Brought on Behalf of the Pennsylvania Class
22
                                            COUNT 118
23                               VIOLATIONS OF THE PENNSYLVANIA
                       UNFAIR TRADE PRACTICS AND CONSUMER PROTECTION LAW
24                                   73 Pa. Cons. Stat. §§ 201-1, et seq.
25            1378. Plaintiff Graziano (“Plaintiff,” for the purposes of the Pennsylvania Class’s claims)
26   repeats and realleges paragraphs 1-212 as if fully set forth herein.
27
28
                                                    182
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 1          1379. Plaintiff brings this Count individually and on behalf of the other members of the
 2   Pennsylvania Class (the “Class,” for purposes of this Count).
 3          1380. GM, Plaintiff, and the other members of the Class are “persons” within the meaning of
 4   73 Pa. Cons. Stat. § 201-2(2).
 5          1381. GM is engaged in “trade” or “commerce” within the meaning of 73 Pa. Cons. Stat. §
 6   201-2(3).
 7          1382. The Pennsylvania Unfair Trade Practices Act (“Pennsylvania UTPA”) prohibits “unfair
 8   or deceptive acts or practices in the conduct of any trade or commerce . . . .” 73 Pa. Cons. Stat. § 201-3.
 9          1383. GM violated the Pennsylvania UTPA by engaging in unfair or deceptive acts or
10   practices by marketing, selling, and leasing Class Vehicles that it knew to contain the Low-Tension Oil
11   Ring Defect, while not disclosing the Low-Tension Oil Ring Defect to Plaintiff and the other Class
12   members.
13          1384. GM intentionally and knowingly omitted material facts regarding the Class Vehicles
14   with the intent to mislead Plaintiff and the other Class members.
15          1385. GM knew or should have known that its conduct violated the Pennsylvania UTPA.
16          1386. GM’s concealment of the Low-Tension Oil Ring Defect was material to Plaintiff and the
17   other Class members.
18          1387. Plaintiff and the other Class members suffered ascertainable loss and actual damages as
19   a direct and proximate result of GM’s deceptive acts and omissions. Plaintiff and the other Class
20   members who purchased or leased the Class Vehicles would not have purchased or leased them at all
21   and/or—if the Vehicles’ true nature had been disclosed and mitigated, and the Vehicles rendered legal
22   to sell—would have paid significantly less for them. Plaintiff and the other Class members also
23   suffered diminished value of their vehicles, as well as lost or diminished use.
24          1388. Pursuant to 73 Pa. Cons. Stat. § 201-9.2(a), Plaintiff and the other Class members seek
25   an order enjoining GM’s unfair and/or deceptive acts or practices, damages – trebled, punitive
26   damages, and attorneys’ fees, costs, and any other just and proper relief available under the
27   Pennsylvania UTPA.
28
                                                      183
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                                                  COUNT 119
 1                                   BREACH OF EXPRESS WARRANTY
                                      13 Pa. Cons. Stat. §§ 2313 and 2A210
 2
            1389. Plaintiff Graziano (“Plaintiff,” for the purposes of the Pennsylvania Class’s claims)
 3
     repeats and realleges paragraphs 1-212 as if fully set forth herein.
 4
            1390. Plaintiff brings this Count individually and on behalf of the other members of the
 5
     Pennsylvania Class (the “Class,” for purposes of this Count).
 6
            1391. GM is and was at all relevant times a “merchant” with respect to motor vehicles under
 7
     13 Pa. Cons. Stat. §§ 2104 and 2A103, and a “seller” of motor vehicles under § 2103(a).
 8
            1392. With respect to leases, GM is and was at all relevant times a “lessor” of motor vehicles
 9
     under 13 Pa. Cons. Stat. § 2A103(a).
10
            1393. The Class Vehicles are and were at all relevant times “goods” within the meaning of 13
11
     Pa. Cons. Stat. §§ 2105(a) and 2A103(a).
12
            1394. In its Limited Warranty, GM expressly warranted that it would repair or replace defects
13
     in material or workmanship free of charge if they became apparent during the warranty period. GM
14
     provides the following language in its 2012 Chevrolet Limited Warranty guide:
15
            This warranty is for GM vehicles registered in the United States and normally operated
16          in the United States and Canada, and is provided to the original and any subsequent
            owners of the vehicle during the warranty period.
17
            The warranty covers repairs to correct any vehicle defect . . . related to materials or
18          workmanship occurring during the warranty period.
19          Warranty repairs, including towing, parts, and labor, will be made at no charge.
20          1395. GM’s Limited Warranty formed the basis of the bargain that was reached when Plaintiff
21   and the other Class members purchased or leased their Class Vehicles equipped with the defective
22   Generation IV Vortec 5300 Engines.
23          1396. GM breached the express warranty to repair defects in materials and workmanship
24   within the Class Vehicles. GM has not repaired, and has been unable to repair, the Class Vehicles’
25   materials and workmanship defects.
26          1397. Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
27   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
28
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 1   corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
 2   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
 3   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
 4   numerous complaints filed against it directly and through its dealers, as well as its own internal
 5   engineering knowledge.
 6          1398. Furthermore, the Limited Warranty fails in its essential purpose because the contractual
 7   remedy is insufficient to make Plaintiff and the other Class members whole and because GM has failed
 8   and/or has refused to adequately provided the promised remedies within a reasonable time.
 9          1399. Accordingly, recovery by Plaintiff and the other Class members is not limited to the
10   limited warranty of repair to parts defective in materials and workmanship, and Plaintiff, individually
11   and on behalf of the other Class members, seeks all remedies as allowed by law.
12          1400. Also, as alleged in more detail herein, at the time that GM warranted and sold the Class
13   Vehicles it knew that the Class Vehicles did not conform to the warranty and were inherently defective,
14   and GM improperly concealed material facts regarding its Class Vehicles. Plaintiff and the other Class
15   members were, therefore, induced to purchase or lease the Class Vehicles under false pretenses.
16          1401. Moreover, much of the damage flowing from the Class Vehicles cannot be resolved
17   through the limited remedy of repairs, as those incidental and consequential damages have already been
18   suffered due to GM’s improper conduct as alleged herein, and due to its failure and/or continued failure
19   to provide such limited remedy within a reasonable time, and any limitation on Plaintiff’s and the other
20   Class members’ remedies would be insufficient to make Plaintiff and the other Class members whole.
21          1402. As a direct and proximate result of GM’s breach of express warranty, Plaintiff and the
22   other Class members have been damaged in an amount to be determined at trial.
23                                          COUNT 120
                     BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
24                              13 Pa. Cons. Stat. §§ 2314 and 2A212
25          1403. Plaintiff Graziano (“Plaintiff,” for purposes of the Pennsylvania Class’s claims) repeats
26   and realleges paragraphs 1-212 as if fully set forth herein.
27
28
                                                    185
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 1               1404. Plaintiff brings this Count individually and on behalf of the other members of the
 2   Pennsylvania Class (the “Class,” for purposes of this Count).
 3               1405. GM is and was at all relevant times a “merchant” with respect to motor vehicles under
 4   13 Pa. Cons. Stat. §§ 2104 and 2A103, and a “seller” of motor vehicles under § 2103(a).
 5               1406. With respect to leases, GM is and was at all relevant times a “lessor” of motor vehicles
 6   under 13 Pa. Cons. Stat. § 2A103(a).
 7               1407. The Class Vehicles are and were at all relevant times “goods” within the meaning of 13
 8   Pa. Cons. Stat. §§ 2105(a) and 2A103(a).
 9               1408. A warranty that the Class Vehicles were in merchantable condition and fit for the
10   ordinary purpose for which vehicles are used is implied in law pursuant to 13 Pa. Cons. Stat. §§ 2314
11   and 2A212.
12               1409. The Class Vehicles, when sold or leased and at all times hereafter, were not in
13   merchantable condition and are not fit for the ordinary purpose for which vehicles are used.
14   Specifically, the Class Vehicles are inherently defective in that they contain the Low-Tension Oil Ring
15   Defect which causes excessive oil loss and engine damage.
16               1410. Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
17   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
18   corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
19   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
20   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
21   numerous complaints filed against it directly and through its dealers, as well as its own internal
22   engineering knowledge.
23               1411. Plaintiff and the other Class members suffered injuries due to the defective nature of the
24   Class Vehicles and GM’s breach of the implied warranty of merchantability.
25               1412. As a direct and proximate result of GM’s breach of the implied warranty of
26   merchantability, Plaintiff and the other Class members have been damaged in an amount to be proven
27   at trial.
28
                                                       186
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                                                COUNT 121
 1                                         FRAUDULENT OMISSION
 2            1413. Plaintiff Graziano (“Plaintiff,” for purposes of the Pennsylvania Class’s claims) repeats
 3   and realleges paragraphs 1-212 as if fully set forth herein.
 4            1414. Plaintiff brings this Count individually and on behalf of the other members of the
 5   Pennsylvania Class (the “Class,” for purposes of this Count).
 6            1415. GM was aware of the Low-Tension Oil Ring Defect within the Generation IV Vortec
 7   5300 Engines when it marketed and sold the Class Vehicles to Plaintiff and the other members of the
 8   Class.
 9            1416. Having been aware of the Low-Tension Oil Ring Defect within the Generation IV
10   Vortec 5300 Engines, and having known that Plaintiff and the other members of the Class could not
11   have reasonably been expected to know of the Low-Tension Oil Ring Defect, GM had a duty to
12   disclose the defect to Plaintiff and the other members of the Class in connection with the sale or lease
13   of the Class Vehicles.
14            1417. GM did not disclose the Low-Tension Oil Ring Defect within the Generation IV Vortec
15   5300 Engines to Plaintiff and the other members of the Class in connection with the sale of the Class
16   Vehicles.
17            1418. For the reasons set forth above, the Low-Tension Oil Ring Defect within the Generation
18   IV Vortec 5300 Engines comprises material information with respect to the sale or lease of the Class
19   Vehicles.
20            1419. In purchasing the Class Vehicles, Plaintiff and the other members of the Class
21   reasonably relied on GM to disclose known material defects with respect to the Class Vehicles.
22            1420. Had Plaintiff and the other members of the Class known of the Low-Tension Oil Ring
23   Defect within the Generation IV Vortec 5300 Engines, they would have not purchased the Class
24   Vehicles or would have paid less for the Class Vehicles.
25            1421. Through its omissions regarding the Low-Tension Oil Ring Defect within the
26   Generation IV Vortec 5300 Engines, GM intended to induce, and did induce, Plaintiff and the other
27
28
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 1   members of the Class to either purchase a Class Vehicle that they otherwise would not have purchased,
 2   or pay more for a Class Vehicle than they otherwise would have paid.
 3            1422. As a direct and proximate result of GM’s omissions, Plaintiff and the other members of
 4   the Class either overpaid for the Class Vehicles or would not have purchased the Class Vehicles at all if
 5   the Low-Tension Oil Ring Defect had been disclosed to them, and, therefore, have incurred damages in
 6   an amount to be determined at trial.
 7                                               COUNT 122
                                             UNJUST ENRICHMENT
 8
              1423. Plaintiff Graziano (“Plaintiff,” for purposes of the Pennsylvania Class’s claims) repeats
 9
     and realleges paragraphs 1-212 as if fully set forth herein.
10
              1424. Plaintiff brings this Count individually and on behalf of the other members of the
11
     Pennsylvania Class (the “Class,” for purposes of this Count).
12
              1425. GM has benefitted from selling and leasing at an unjust profit defective Class Vehicles
13
     that had artificially inflated prices due to GM’s concealment of the Low-Tension Oil Ring Defect, and
14
     Plaintiff and the other members of the Class have overpaid for these vehicles.
15
              1426. GM has received and retained unjust benefits from Plaintiff and the other members of
16
     the Class, and inequity has resulted.
17
              1427. It is inequitable and unconscionable for GM to retain these benefits.
18
              1428. Because GM concealed its fraud and deception, Plaintiff and the other members of the
19
     Class were not aware of the true facts concerning the Class Vehicles and did not benefit from GM’s
20
     misconduct.
21
              1429. GM knowingly accepted the unjust benefits of its wrongful conduct.
22
              1430. As a result of GM’s misconduct, the amount of its unjust enrichment should be
23
     disgorged and returned to Plaintiff and the other members of the Class in an amount to be proven at
24
     trial.
25

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 1          26.     Claims Brought on Behalf of the South Carolina Class
 2                                         COUNT 123
             VIOLATIONS OF THE SOUTH CAROLINA REGULATION OF MANUFACTURERS,
 3                            DISTRIBUTORS, AND DEALERS ACT
                                S.C. Code Ann. §§ 56-151-10, et seq.
 4
            1431. Plaintiff Sloan Jr. (“Plaintiff,” for purposes of the South Carolina Class’s claims) repeats
 5
     and realleges paragraphs 1-212 as if fully set forth herein.
 6
            1432. Plaintiff brings this Count individually and on behalf of the other members of the South
 7
     Carolina Class (the “Class,” for purposes of this Count).
 8
            1433. Plaintiff and the other members of the South Carolina Class are natural persons and legal
 9
     entities and, as such, constitute “persons” as defined by S.C. Code Ann. § 56-15-10(n).
10
            1434. GM is a “manufacturer” as defined by S.C. Code Ann. § 56-15-10(b).
11
            1435. S.C. Code Ann. §§ 56-16-30 and 56-15-40 declare unlawful all “unfair or deceptive acts
12
     or practices” by a manufacturer.
13
            1436. S.C. Code Ann. § 56-15-110 provides a private right of action for any person who is
14
     injured in his or her business or property by an unfair and/or deceptive act or practice.
15
            1437. By the conduct described in detail above and incorporated herein, GM engaged in unfair
16
     and/or deceptive acts or practices in violation of S.C. Code Ann. §§ 56-15-30 and 56-15-40.
17
            1438. GM’s omissions regarding the Low-Tension Oil Ring Defect, described above, that
18
     results in abnormally high oil consumption and resultant engine damage within the Generation IV
19
     Vortec 5300 Engines, are material facts that a reasonable person would have considered in deciding
20
     whether or not to purchase (or to pay the same price for) the Class Vehicles.
21
            1439. GM intended for Plaintiff and the other Class members to rely on GM’s omissions
22
     regarding the Low-Tension Oil Ring Defect.
23
            1440. Plaintiff and the other Class members justifiably acted or relied to their detriment upon
24
     GM’s omissions of fact concerning the above-described Low-Tension Oil Ring Defect that results in
25
     abnormally high oil consumption and resultant engine damage within the Generation IV Vortec 5300
26
     Engines, as evidenced by Plaintiff and the other Class members’ purchases of Class Vehicles.
27
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 1          1441. Had GM disclosed all material information regarding the Low-Tension Oil Ring Defect
 2   to Plaintiffs and the other Class members, Plaintiff and the other Class members would not have
 3   purchased or leased Class Vehicles or would have paid less to do so.
 4          1442. GM’s omissions have deceived Plaintiff, and those same business practices have
 5   deceived or are likely to deceive members of the consuming public and the other members of the Class.
 6          1443. In addition to being deceptive, the business practices of GM were unfair because GM
 7   knowingly sold Plaintiff and the other Class members Class Vehicles with defective engines that are
 8   essentially unusable for the purposes for which they were sold. The injuries to Plaintiff and the other
 9   Class members are substantial and greatly outweigh any alleged countervailing benefit to Plaintiff and
10   the other Class members or to competition under all of the circumstances. Moreover, in light of GM’s
11   exclusive knowledge of the Low-Tension Oil Ring Defect, the injury is not one that Plaintiff or the
12   other Class members could have reasonably avoided.
13          1444. As a direct and proximate result of GM’s unfair and deceptive trade practices, Plaintiff
14   and the other Class members have suffered ascertainable loss and actual damages. Plaintiff and the
15   other Class members who purchased or leased the Class Vehicles would not have purchased or leased
16   the Class Vehicles, or, alternatively, would have paid less for them had the truth about the Low-
17   Tension Oil Ring Defect been disclosed.          Plaintiff and the other Class members also suffered
18   diminished value of their vehicles. Plaintiff and the other Class members are entitled to recover actual
19   damages, attorneys’ fees and costs, and all other relief allowed under S.C. Code Ann. § 56-15-110.
20                                              COUNT 124
                                    BREACH OF EXPRESS WARRANTY
21                                 S.C. Code Ann. §§ 36-2-313 and 36-2A-210
22          1445. Plaintiff Sloan Jr. (“Plaintiff,” for purposes of the South Carolina Class’s claims) repeats
23   and realleges paragraphs 1-212 as if fully set forth herein.
24          1446. Plaintiff brings this Count individually and on behalf of the other members of the South
25   Carolina Class (the “Class,” for purposes of this Count).
26          1447. GM is and was at all relevant times a merchant with respect to the Class Vehicles.
27
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 1          1448. In its Limited Warranty, GM expressly warranted that it would repair or replace defects
 2   in material or workmanship free of charge if those defects became apparent during the warranty period.
 3   GM provides the following language in its 2012 Chevrolet Limited Warranty guide:
 4          This warranty is for GM vehicles registered in the United States and normally operated
            in the United States and Canada, and is provided to the original and any subsequent
 5          owners of the vehicle during the warranty period.
 6          The warranty covers repairs to correct any vehicle defect . . . related to materials or
            workmanship occurring during the warranty period.
 7
            Warranty repairs, including towing, parts, and labor, will be made at no charge.
 8
            1449. GM’s Limited Warranty formed the basis of the bargain that was reached when Plaintiff
 9
     and the other Class members purchased or leased their Class Vehicles equipped with the defective
10
     Generation IV Vortec 5300 Engines.
11
            1450. GM breached its express warranty to repair defects in materials and workmanship within
12
     the Class Vehicles. GM has not repaired, and has been unable to repair, the Class Vehicles’ materials
13
     and workmanship defects.
14
            1451. Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
15
     notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
16
     corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
17
     United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
18
     on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
19
     numerous complaints filed against it directly and through its dealers, as well as its own internal
20
     engineering knowledge.
21
            1452. Furthermore, the Limited Warranty fails in its essential purpose because the contractual
22
     remedy is insufficient to make Plaintiff and the other Class members whole and because GM has failed
23
     and/or has refused to adequately provided the promised remedies within a reasonable time.
24
            1453. Accordingly, recovery by Plaintiff and the other Class members is not limited to the
25
     limited warranty of repair to parts defective in materials and workmanship, and Plaintiff, individually
26
     and on behalf of the other Class members, seeks all remedies as allowed by law.
27
28
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 1          1454. Also, as alleged in more detail herein, at the time that GM warranted and sold the Class
 2   Vehicles it knew that the Class Vehicles did not conform to the warranty and were inherently defective,
 3   and GM improperly concealed material facts regarding its Class Vehicles. Plaintiff and the other Class
 4   members were therefore induced to purchase or lease the GM Vehicles under false pretenses.
 5          1455. Moreover, much of the damage flowing from the Class Vehicles cannot be resolved
 6   through the limited remedy of repairs, as those incidental and consequential damages have already been
 7   suffered due to GM’s improper conduct as alleged herein, and due to its failure and/or continued failure
 8   to provide such limited remedy within a reasonable time, and any limitation on Plaintiff’s and the other
 9   Class members’ remedies would be insufficient to make them whole.
10          1456. As a direct and proximate result of GM’s breach of its express warranty, Plaintiff and
11   the other Class members have been damaged in an amount to be determined at trial.
12                                         COUNT 125
                     BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
13                              S.C. Code Ann. §§ 36-2-314 and 36-2A-212
14          1457. Plaintiff Sloan Jr. (“Plaintiff,” for purposes of the South Carolina Class’s claims) repeats
15   and realleges paragraphs 1-212 as if fully set forth herein.
16          1458. Plaintiff brings this Count individually and on behalf of the other members of the South
17   Carolina Class (the “Class,” for purposes of this Count).
18          1459. GM is and was at all relevant times a merchant with respect to motor vehicles under S.C.
19   Code Ann. §§ 36-2-104 and 36-2A-103.
20          1460. Pursuant to S.C. Code Ann. §§ 36-2-314 and 36-2A-212, a warranty that the Class
21   Vehicles were in merchantable condition was implied by law, and the Class Vehicles were bought and
22   sold subject to an implied warranty of merchantability.
23          1461. The Class Vehicles did not comply with the implied warranty of merchantability
24   because, at the time of sale and at all times thereafter, they were defective and not in merchantable
25   condition, would not pass without objection in the trade, and were not fit for the ordinary purpose for
26   which vehicles were used. Specifically, the Class Vehicles suffer from the Low-Tension Oil Ring
27   Defect which causes excessive oil loss and leads to engine damage.
28
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 1            1462. Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
 2   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
 3   corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
 4   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
 5   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
 6   numerous complaints filed against it directly and through its dealers, as well as its own internal
 7   engineering knowledge.
 8            1463. Plaintiff and the other Class members suffered injuries due to the defective nature of the
 9   Class Vehicles and GM’s breach of the warranty of merchantability.
10            1464. As a direct and proximate result of GM’s breach of the warranty of merchantability,
11   Plaintiff and the other Class members have been damaged in an amount to be proven at trial.
12                                              COUNT 126
                                           FRAUDULENT OMISSION
13
              1465. Plaintiff Sloan Jr. (“Plaintiff,” for purposes of the South Carolina Class’s claims) repeats
14
     and realleges paragraphs 1-212 as if fully set forth herein.
15
              1466. Plaintiff brings this Count individually and on behalf of the other members of the South
16
     Carolina Class (the “Class,” for purposes of this Count).
17
              1467. GM was aware of the Low-Tension Oil Ring Defect within the Generation IV Vortec
18
     5300 Engines when it marketed and sold the Class Vehicles to Plaintiff and the other members of the
19
     Class.
20
              1468. Having been aware of the Low-Tension Oil Ring Defect within the Generation IV
21
     Vortec 5300 Engines, and having known that Plaintiff and the other members of the Class could not
22
     have reasonably been expected to know of the Low-Tension Oil Ring Defect, GM had a duty to
23
     disclose the defect to Plaintiff and the other members of the Class in connection with the sale or lease
24
     of the Class Vehicles.
25
              1469. GM did not disclose the Low-Tension Oil Ring Defect within the Generation IV Vortec
26
     5300 Engines to Plaintiff and the other members of the Class in connection with the sale of the Class
27
     Vehicles.
28
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 1          1470. For the reasons set forth above, the Low-Tension Oil Ring Defect within the Generation
 2   IV Vortec 5300 Engines comprises material information with respect to the sale or lease of the Class
 3   Vehicles.
 4          1471. In purchasing the Class Vehicles, Plaintiff and the other members of the Class
 5   reasonably relied on GM to disclose known material defects with respect to the Class Vehicles.
 6          1472. Had Plaintiff and the other members of the Class known of the Low-Tension Oil Ring
 7   Defect within the Generation IV Vortec 5300 Engines, they would have not purchased the Class
 8   Vehicles or would have paid less for the Class Vehicles.
 9          1473. Through its omissions regarding the Low-Tension Oil Ring Defect within the
10   Generation IV Vortec 5300 Engines, GM intended to induce, and did induce, Plaintiff and the other
11   members of the Class to either purchase a Class Vehicle that they otherwise would not have purchased,
12   or pay more for a Class Vehicle than they otherwise would have paid.
13          1474. As a direct and proximate result of GM’s omissions, Plaintiff and the other members of
14   the Class either overpaid for the Class Vehicles or would not have purchased the Class Vehicles at all if
15   the Low-Tension Oil Ring Defect had been disclosed to them, and, therefore, have incurred damages in
16   an amount to be determined at trial.
17                                               COUNT 127
                                             UNJUST ENRICHMENT
18
            1475. Plaintiff Sloan Jr. (“Plaintiff,” for purposes of the South Carolina Class’s claims) repeats
19
     and realleges paragraphs 1-21 as if fully set forth herein.
20
            1476. Plaintiff brings this Count individually and on behalf of the other members of the South
21
     Carolina Class (the “Class,” for purposes of this Count).
22
            1477. GM has benefitted from selling and leasing at an unjust profit defective Class Vehicles
23
     that had artificially inflated prices due to GM’s concealment of the Low-Tension Oil Ring Defect, and
24
     Plaintiff and the other members of the Class have overpaid for these vehicles.
25
            1478. GM has received and retained unjust benefits from Plaintiff and the other members of
26
     the Class, and inequity has resulted.
27
            1479. It is inequitable and unconscionable for GM to retain these benefits.
28
                                                    194
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 1            1480. Because GM concealed its fraud and deception, Plaintiff and the other members of the
 2   Class were not aware of the true facts concerning the Class Vehicles and did not benefit from GM’s
 3   misconduct.
 4            1481. GM knowingly accepted the unjust benefits of its wrongful conduct.
 5            1482. As a result of GM’s misconduct, the amount of its unjust enrichment should be
 6   disgorged and returned to Plaintiff and the other members of the Class in an amount to be proven at
 7   trial.
 8            27.    Claims Brought on Behalf of the Tennessee Class
 9                                              COUNT 128
                                     VIOLATIONS OF THE TENNESSEE
10                                    CONSUMER PROTECTION ACT
                                     Tenn. Code Ann. §§ 47-18-101, et seq.
11
              1483. Plaintiff Byrge (“Plaintiff,” for purposes of the Tennessee Class’s claims) repeats and
12
     realleges paragraphs 1-212 as if fully set forth herein.
13
              1484. Plaintiff brings this Count individually and on behalf of the other members of the
14
     Tennessee Class (the “Class,” for purposes of this Count).
15
              1485. Pursuant to the Tennessee Consumer Protection Act, “[u]nfair or deceptive acts or
16
     practices affecting the conduct of any trade or commerce” are unlawful. Tenn. Code Ann. § 47-18-104.
17
              1486. By the conduct described in detail above and incorporated herein, GM engaged in unfair
18
     or deceptive acts in violation of Tenn. Code Ann. § 47-18-104
19
              1487. GM’s omissions regarding the Low-Tension Oil Ring Defect, described above, that
20
     results in abnormally high oil consumption and resultant engine damage within the Generation IV
21
     Vortec 5300 Engines, are material facts that a reasonable person would have considered in deciding
22
     whether or not to purchase (or to pay the same price for) the Class Vehicles.
23
              1488. GM intended for Plaintiff and the other Class members to rely on GM’s omissions of
24
     fact regarding the Low-Tension Oil Ring Defect.
25
              1489. Plaintiff and the other Class members justifiably acted or relied to their detriment upon
26
     GM’s omissions of fact concerning the above-described Low-Tension Oil Ring Defect that results in
27
28
                                                    195
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 1   abnormally high oil consumption and resultant engine damage within the Generation IV Vortec 5300
 2   Engines, as evidenced by Plaintiff and the other Class members’ purchases of Class Vehicles.
 3            1490. Had GM disclosed all material information regarding the Low-Tension Oil Ring Defect
 4   to Plaintiff and the other Class members, Plaintiff and the other Class members would not have
 5   purchased or leased Class Vehicles or would have paid less to do so.
 6            1491. GM’s omissions have deceived Plaintiff, and those same business practices have
 7   deceived or are likely to deceive members of the consuming public and the other Class members.
 8            1492. In addition to being deceptive, the business practices of GM were unfair because GM
 9   knowingly sold Plaintiff and the other Class members Class Vehicles with defective engines that are
10   essentially unusable for the purposes for which they were sold. The injuries to Plaintiff and the other
11   Class members are substantial and greatly outweigh any alleged countervailing benefit to Plaintiff and
12   the other Class members or to competition under all of the circumstances. Moreover, in light of GM’s
13   exclusive knowledge of the Low-Tension Oil Ring Defect, the injury is not one that Plaintiff or the
14   other Class members could have reasonably avoided.
15            1493. As a direct and proximate result of GM’s unfair and deceptive trade practices, Plaintiff
16   and the other Class members have suffered ascertainable loss and actual damages. Plaintiff and the
17   other Class members who purchased or leased the Class Vehicles would not have purchased or leased
18   the Class Vehicles, or, alternatively, would have paid less for them had the truth about the Low-
19   Tension Oil Ring Defect been disclosed.          Plaintiff and the other Class members also suffered
20   diminished value of their vehicles. Plaintiff and the other Class members are entitled to recover actual
21   damages, attorneys’ fees and costs, and all other relief allowed under Tenn. Code Ann. § 47-18-101, et
22   seq.
23                                              COUNT 129
                                    BREACH OF EXPRESS WARRANTY
24                                Tenn. Code Ann. §§ 47-2-313 and 47-2A-210
25            1494. Plaintiff Byrge (“Plaintiff,” for purpose of the Tennessee Class’s claims) repeats and
26   realleges paragraphs 1-212 as if fully set forth herein.
27
28
                                                    196
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 1          1495. Plaintiff brings this Count individually and on behalf of the other members of the
 2   Tennessee Class (the “Class,” for purposes of this Count).
 3          1496. GM is and was at all relevant times a merchant with respect to the Class Vehicles.
 4          1497. In its Limited Warranty, GM expressly warranted that it would repair or replace defects
 5   in material or workmanship free of charge if they became apparent during the warranty period. GM
 6   provides the following language in its 2012 Chevrolet Limited Warranty guide:
 7          This warranty is for GM vehicles registered in the United States and normally operated
            in the United States and Canada, and is provided to the original and any subsequent
 8          owners of the vehicle during the warranty period.
 9          The warranty covers repairs to correct any vehicle defect . . . related to materials or
            workmanship occurring during the warranty period.
10
            Warranty repairs, including towing, parts, and labor, will be made at no charge.
11
            1498. GM’s Limited Warranty formed the basis of the bargain that was reached when Plaintiff
12
     and the other Class members purchased or leased their Class Vehicles equipped with the defective
13
     Generation IV Vortec 5300 Engines.
14
            1499. GM breached the express warranty to repair defects in materials and workmanship
15
     within the Class Vehicles. GM has not repaired, and has been unable to repair, the Class Vehicles’
16
     materials and workmanship defects.
17
            1500. Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
18
     notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
19
     corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
20
     United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
21
     on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
22
     numerous complaints filed against it directly and through its dealers, as well as its own internal
23
     engineering knowledge.
24
            1501. Furthermore, the Limited Warranty fails in its essential purpose because the contractual
25
     remedy is insufficient to make Plaintiff and the other Class members whole and because GM has failed
26
     and/or has refused to adequately provided the promised remedies within a reasonable time.
27
28
                                                  197
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 1          1502. Accordingly, recovery by Plaintiff and the other Class members is not limited to the
 2   limited warranty of repair to parts defective in materials and workmanship, and Plaintiff, individually
 3   and on behalf of the other Class members, seeks all remedies allowable by law.
 4          1503. Also, and as alleged in more detail herein, at the time that GM warranted and sold the
 5   Class Vehicles it knew that the Class Vehicles did not conform to the warranty and were inherently
 6   defective, and GM improperly concealed material facts regarding its Class Vehicles. Plaintiff and the
 7   other Class members were, therefore, induced to purchase or lease the Class Vehicles under false
 8   pretenses.
 9          1504. Moreover, much of the damage flowing from the Class Vehicles cannot be resolved
10   through the limited remedy of repairs, as those incidental and consequential damages have already been
11   suffered due to GM’s improper conduct as alleged herein, and due to its failure and/or continued failure
12   to provide such limited remedy within a reasonable time, and any limitation on Plaintiff and the other
13   Class members’ remedies would be insufficient to make them whole.
14          1505. As a direct and proximate result of GM’s breach of its express warranty, Plaintiff and
15   the other Class members have been damaged in an amount to be determined at trial.
16                                         COUNT 130
                     BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
17                              Tenn. Code Ann. §§ 47-2-314 and 47-2A-212
18          1506. Plaintiff Byrge (“Plaintiff,” for purposes of the Tennessee Class’s claims) repeats and
19   realleges paragraphs 1-212 as if fully set forth herein.
20          1507. Plaintiff brings this Count individually and on behalf of the other members of the
21   Tennessee Class (the “Class,” for purposes of this Count).
22          1508. GM is and was at all relevant times a merchant with respect to motor vehicles under
23   Tenn. Code Ann. §§ 47-2-104 and 47-2A-103.
24          1509. Pursuant to Tenn. Code Ann. §§ 47-2-314 and 47-2A-212, a warranty that the Class
25   Vehicles were in merchantable condition was implied by law, and the Class Vehicles were bought and
26   sold subject to an implied warranty of merchantability.
27
28
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 1            1510. The Class Vehicles did not comply with the implied warranty of merchantability
 2   because, at the time of sale and at all times thereafter, they were defective and not in merchantable
 3   condition, would not pass without objection in the trade, and were not fit for the ordinary purpose for
 4   which vehicles were used. Specifically, the Class Vehicles suffer from the Low-Tension Oil Ring
 5   Defect which causes excessive oil loss and leads to engine damage.
 6            1511. Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
 7   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
 8   corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
 9   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
10   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
11   numerous complaints filed against it directly and through its dealers, as well as its own internal
12   engineering knowledge.
13            1512. Plaintiff and the other Class members suffered injuries due to the defective nature of the
14   Class Vehicles and GM’s breach of the warranty of merchantability.
15            1513. As a direct and proximate result of GM’s breach of the warranty of merchantability,
16   Plaintiff and the other Class members have been damaged in an amount to be proven at trial.
17                                              COUNT 131
                                           FRAUDULENT OMISSION
18
              1514. Plaintiff Byrge (“Plaintiff,” for purposes of the Tennessee Class’s claims) repeats and
19
     realleges paragraphs 1-212 as if fully set forth herein.
20
              1515. Plaintiff brings this Count individually and on behalf of the other members of the
21
     Tennessee Class (the “Class,” for purposes of this Count).
22
              1516. GM was aware of the Low-Tension Oil Ring Defect within the Generation IV Vortec
23
     5300 Engines when it marketed and sold the Class Vehicles to Plaintiff and the other members of the
24
     Class.
25
              1517. Having been aware of the Low-Tension Oil Ring Defect within the Generation IV
26
     Vortec 5300 Engines, and having known that Plaintiff and the other members of the Class could not
27
     have reasonably been expected to know of the Low-Tension Oil Ring Defect, GM had a duty to
28
                                                    199
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 1   disclose the defect to Plaintiff and the other members of the Class in connection with the sale or lease
 2   of the Class Vehicles.
 3          1518. GM did not disclose the Low-Tension Oil Ring Defect within the Generation IV Vortec
 4   5300 Engines to Plaintiff and the other members of the Class in connection with the sale of the Class
 5   Vehicles.
 6          1519. For the reasons set forth above, the Low-Tension Oil Ring Defect within the Generation
 7   IV Vortec 5300 Engines comprises material information with respect to the sale or lease of the Class
 8   Vehicles.
 9          1520. In purchasing the Class Vehicles, Plaintiff and the other members of the Class
10   reasonably relied on GM to disclose known material defects with respect to the Class Vehicles.
11          1521. Had Plaintiff and the other members of the Class known of the Low-Tension Oil Ring
12   Defect within the Generation IV Vortec 5300 Engines, they would have not purchased the Class
13   Vehicles or would have paid less for the Class Vehicles.
14          1522. Through its omissions regarding the Low-Tension Oil Ring Defect within the
15   Generation IV Vortec 5300 Engines, GM intended to induce, and did induce, Plaintiff and the other
16   members of the Class to either purchase a Class Vehicle that they otherwise would not have purchased,
17   or pay more for a Class Vehicle than they otherwise would have paid.
18          1523. As a direct and proximate result of GM’s omissions, Plaintiff and the other members of
19   the Class either overpaid for the Class Vehicles or would not have purchased the Class Vehicles at all if
20   the Low-Tension Oil Ring Defect had been disclosed to them, and, therefore, have incurred damages in
21   an amount to be determined at trial.
22                                              COUNT 132
                                            UNJUST ENRICHMENT
23
            1524. Plaintiff Byrge (“Plaintiff,” for purposes of the Tennessee Class’s claims) repeats and
24
     realleges paragraphs 1-212 as if fully set forth herein.
25
            1525. Plaintiff brings this Count individually and on behalf of the other members of the
26
     Tennessee Class (the “Class,” for purposes of this Count).
27
28
                                                    200
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 1            1526. GM has benefitted from selling and leasing at an unjust profit defective Class Vehicles
 2   that had artificially inflated prices due to GM’s concealment of the Low-Tension Oil Ring Defect, and
 3   Plaintiff and the other members of the Class have overpaid for these vehicles.
 4            1527. GM has received and retained unjust benefits from Plaintiff and the other members of
 5   the Class, and inequity has resulted.
 6            1528. It is inequitable and unconscionable for GM to retain these benefits.
 7            1529. Because GM concealed its fraud and deception, Plaintiff and the other members of the
 8   Class were not aware of the true facts concerning the Class Vehicles and did not benefit from GM’s
 9   misconduct.
10            1530. GM knowingly accepted the unjust benefits of its wrongful conduct.
11            1531. As a result of GM’s misconduct, the amount of its unjust enrichment should be
12   disgorged and returned to Plaintiff and the other members of the Class in an amount to be proven at
13   trial.
14            28.    Claims Brought on Behalf of the Texas Class
15                                          COUNT 133
                        VIOLATION OF TEXAS DECEPTIVE TRADE PRACTICES –
16
                                  CONSUMER PROTECTION ACT
17                              Tex. Bus. & Com. Code §§ 17.01, et seq.
              1532. Plaintiff Sanchez (“Plaintiff,” for purposes of the Texas Class’s claims) repeats and
18
     realleges paragraphs 1-212 as if fully set forth herein.
19
              1533. Plaintiff brings this Count individually and on behalf of the other members of the Texas
20
     Class (the “Class,” for purposes of this Count).
21
              1534. The Texas Deceptive Trade Practices—Consumer Protection Act (“TDTPA”) states that
22
     it is unlawful to commit “[f]alse, misleading, or deceptive acts or practices in the conduct of any trade
23
     or commerce.” Tex. Bus. & Com. Code § 17.46.
24
              1535. By the conduct described in detail above and incorporated herein, GM engaged in false,
25
     misleading and deceptive trade practices.
26
              1536. Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
27
     notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
28
                                                  201
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 1   corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
 2   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
 3   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
 4   numerous complaints filed against it directly and through its dealers, as well as its own internal
 5   engineering knowledge.
 6          1537. GM’s omissions regarding the Low-Tension Oil Ring Defect, described above, that
 7   results in abnormally high oil consumption and resultant engine damage within the Generation IV
 8   Vortec 5300 Engines, are material facts that a reasonable person would have considered in deciding
 9   whether or not to purchase (or to pay the same price for) the Class Vehicles.
10          1538. GM intended for Plaintiff and the other Class members to rely on GM’s omissions
11   regarding the Low-Tension Oil Ring Defect.
12          1539. Plaintiff and the other Class members justifiably acted or relied to their detriment upon
13   GM’s omissions of fact concerning the above-described Low-Tension Oil Ring Defect that results in
14   abnormally high oil consumption and resultant engine damage within the Generation IV Vortec 5300
15   Engines, as evidenced by Plaintiff and the other Class members’ purchases of Class Vehicles.
16          1540. Had GM disclosed all material information regarding the Low-Tension Oil Ring Defect
17   to Plaintiff and the other Class members, Plaintiff and the other Class members would not have
18   purchased or leased Class Vehicles or would have paid less to do so.
19          1541. GM’s omissions have deceived Plaintiff, and those same business practices have
20   deceived or are likely to deceive members of the consuming public and the other members of the Class.
21          1542. In addition to being deceptive, the business practices of GM were unfair because GM
22   knowingly sold Plaintiff and the other Class members Class Vehicles with defective engines that are
23   essentially unusable for the purposes for which they were sold. The injuries to Plaintiff and the other
24   Class members are substantial and greatly outweigh any alleged countervailing benefit to Plaintiff and
25   the other Class members or to competition under all of the circumstances. Moreover, in light of GM’s
26   exclusive knowledge of the Low-Tension Oil Ring Defect, the injury is not one that Plaintiff or the
27   other Class members could have reasonably avoided.
28
                                                   202
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 1          1543. As a direct and proximate result of GM’s unfair and deceptive trade practices, Plaintiff
 2   and the other Class members have suffered ascertainable loss and actual damages. Plaintiff and the
 3   other Class members who purchased or leased the Class Vehicles would not have purchased or leased
 4   the Class Vehicles, or, alternatively, would have paid less for them had the truth about the Low-
 5   Tension Oil Ring Defect been disclosed.          Plaintiff and the other Class members also suffered
 6   diminished value of their vehicles. Plaintiff and the other Class members are entitled to recover actual
 7   damages, attorneys’ fees and costs, and all other relief allowed under the TDTPA.
 8                                              COUNT 134
                                    BREACH OF EXPRESS WARRANTY
 9                                Tex. Bus. & Com. Code §§ 2.313 and 2A.210
10          1544. Plaintiff Sanchez (“Plaintiff” for purposes of the Texas Class’s claims) repeats and
11   realleges paragraphs 1-212 as if fully set forth herein.
12          1545. Plaintiff brings this Count individually and on behalf of the Texas Class (the “Class,” for
13   purposes of this Count).
14          1546. GM is and was at all relevant times a merchant with respect to the Class Vehicles.
15          1547. In its Limited Warranty, GM expressly warranted that it would repair or replace defects
16   in material or workmanship free of charge if they became apparent during the warranty period. GM
17   provides the following language in its 2012 Chevrolet Limited Warranty guide:
18          This warranty is for GM vehicles registered in the United States and normally operated
            in the United States and Canada, and is provided to the original and any subsequent
19          owners of the vehicle during the warranty period.
20          The warranty covers repairs to correct any vehicle defect . . . related to materials or
            workmanship occurring during the warranty period.
21
            Warranty repairs, including towing, parts, and labor, will be made at no charge.
22
            1548. GM’s Limited Warranty formed the basis of the bargain that was reached when Plaintiff
23
     and the other Class members purchased or leased their Class Vehicles equipped with the defective
24
     Generation IV Vortec 5300 Engines.
25
            1549. GM breached the express warranty to repair defects in materials and workmanship
26
     within the Class Vehicles. GM has not repaired, and has been unable to repair, the Class Vehicles’
27
     materials and workmanship defects.
28
                                                    203
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 1          1550. Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
 2   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
 3   corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
 4   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
 5   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
 6   numerous complaints filed against it directly and through its dealers, as well as its own internal
 7   engineering knowledge.
 8          1551. Furthermore, the Limited Warranty fails in its essential purpose because the contractual
 9   remedy is insufficient to make Plaintiff and the other Class members whole and because GM has failed
10   and/or has refused to adequately provided the promised remedies within a reasonable time.
11          1552. Accordingly, recovery by Plaintiff and the other Class members is not limited to the
12   limited warranty of repair to parts defective in materials and workmanship, and Plaintiff, individually
13   and on behalf of the other Class members, seeks all remedies allowable by law.
14          1553. Also, and as alleged in more detail herein, at the time that GM warranted and sold the
15   Class Vehicles it knew that the Class Vehicles did not conform to the warranty and were inherently
16   defective, and GM improperly concealed material facts regarding its Class Vehicles. Plaintiff and the
17   other Class members were, therefore, induced to purchase or lease the Class Vehicles under false
18   pretenses.
19          1554. Moreover, much of the damage flowing from the Class Vehicles cannot be resolved
20   through the limited remedy of repairs, as those incidental and consequential damages have already been
21   suffered due to GM’s improper conduct as alleged herein, and due to its failure and/or continued failure
22   to provide such limited remedy within a reasonable time, and any limitation on Plaintiff and the other
23   Class members’ remedies would be insufficient to make them whole.
24          1555. As a direct and proximate result of GM’s breach of its express warranty, Plaintiff and
25   the other Class members have been damaged in an amount to be determined at trial.
26

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                                             COUNT 135
 1                       BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                                 Tex. Bus. & Com. Code §§ 2.314 and 2A.212
 2
            1556. Plaintiff Sanchez (“Plaintiff,” for purposes of the Texas Class’s claims) repeats and
 3
     realleges paragraphs 1-212 as if fully set forth herein.
 4
            1557. Plaintiff brings this Count individually and on behalf of the Texas Class (the “Class,” for
 5
     purposes of this Count).
 6
            1558. GM is and was at all relevant times a merchant with respect to motor vehicles under
 7
     Tex. Bus. & Com. Code §§ 2.104 and 2A.103.
 8
            1559. Pursuant to Tex. Bus. & Com. Code §§ 2.314 and 2A.212, a warranty that the Class
 9
     Vehicles were in merchantable condition was implied by law, and the Class Vehicles were bought and
10
     sold subject to an implied warranty of merchantability.
11
            1560. The Class Vehicles did not comply with the implied warranty of merchantability
12
     because, at the time of sale and at all times thereafter, they were defective and not in merchantable
13
     condition, would not pass without objection in the trade, and were not fit for the ordinary purpose for
14
     which vehicles were used. Specifically, the Class Vehicles suffer from the Low-Tension Oil Ring
15
     Defect which causes excessive oil loss and leads to engine damage.
16
            1561. Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
17
     notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
18
     corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
19
     United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
20
     on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
21
     numerous complaints filed against it directly and through its dealers, as well as its own internal
22
     engineering knowledge.
23
            1562. Plaintiff and the other Class members suffered injuries due to the defective nature of the
24
     Class Vehicles and GM’s breach of the warranty of merchantability.
25
            1563. As a direct and proximate result of GM’s breach of the warranty of merchantability,
26
     Plaintiff and the other Class members have been damaged in an amount to be proven at trial.
27
28
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                                    FIRST AMENDED CLASS ACTION COMPLAINT
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                                                COUNT 136
 1                                         FRAUDULENT OMISSION
 2            1564. Plaintiff Sanchez (“Plaintiff,” for purposes of the Texas Class’s claims) repeats and
 3   realleges paragraphs 1-212 as if fully set forth herein.
 4            1565. Plaintiff brings this Count individually and on behalf of the other members of the Texas
 5   Class (the “Class,” for purposes of this Count).
 6            1566. GM was aware of the Low-Tension Oil Ring Defect within the Generation IV Vortec
 7   5300 Engines when it marketed and sold the Class Vehicles to Plaintiff and the other members of the
 8   Class.
 9            1567. Having been aware of the Low-Tension Oil Ring Defect within the Generation IV
10   Vortec 5300 Engines and having known that Plaintiff and the other members of the Class could not
11   have reasonably been expected to know of the Low-Tension Oil Ring Defect, GM had a duty to
12   disclose the defect to Plaintiff and the other members of the Class in connection with the sale or lease
13   of the Class Vehicles.
14            1568. GM did not disclose the Low-Tension Oil Ring Defect within the Generation IV Vortec
15   5300 Engines to Plaintiff and the other members of the Class in connection with the sale of the Class
16   Vehicles.
17            1569. For the reasons set forth above, the Low-Tension Oil Ring Defect within the Generation
18   IV Vortec 5300 Engines comprises material information with respect to the sale or lease of the Class
19   Vehicles.
20            1570. In purchasing the Class Vehicles, Plaintiff and the other members of the Class
21   reasonably relied on GM to disclose known material defects with respect to the Class Vehicles.
22            1571. Had Plaintiff and the other members of the Class known of the Low-Tension Oil Ring
23   Defect within the Generation IV Vortec 5300 Engines, they would have not purchased the Class
24   Vehicles or would have paid less for the Class Vehicles.
25            1572. Through its omissions regarding the Low-Tension Oil Ring Defect within the
26   Generation IV Vortec 5300 Engines, GM intended to induce, and did induce, Plaintiff and the other
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 1   members of the Class to either purchase a Class Vehicle that they otherwise would not have purchased,
 2   or pay more for a Class Vehicle than they otherwise would have paid.
 3            1573. As a direct and proximate result of GM’s omissions, Plaintiff and the other members of
 4   the Class either overpaid for the Class Vehicles or would not have purchased the Class Vehicles at all if
 5   the Low-Tension Oil Ring Defect had been disclosed to them, and, therefore, have incurred damages in
 6   an amount to be determined at trial
 7                                               COUNT 137
                                             UNJUST ENRICHMENT
 8
              1574. Plaintiff Sanchez (“Plaintiff,” for purposes of the Texas Class’s claims) repeats and
 9
     realleges paragraphs 1-212 as if fully set forth herein.
10
              1575. Plaintiff brings this Count individually and on behalf of the other members of the Texas
11
     (the “Class,” for purposes of this Count).
12
              1576. GM has benefitted from selling and leasing at an unjust profit defective Class Vehicles
13
     that had artificially inflated prices due to GM’s concealment of the Low-Tension Oil Ring Defect, and
14
     Plaintiff and the other members of the Class have overpaid for these vehicles.
15
              1577. GM has received and retained unjust benefits from Plaintiff and the other members of
16
     the Class, and inequity has resulted.
17
              1578. It is inequitable and unconscionable for GM to retain these benefits.
18
              1579. Because GM concealed its fraud and deception, Plaintiff and the other members of the
19
     Class were not aware of the true facts concerning the Class Vehicles and did not benefit from GM’s
20
     misconduct.
21
              1580. GM knowingly accepted the unjust benefits of its wrongful conduct.
22
              1581. As a result of GM’s misconduct, the amount of its unjust enrichment should be
23
     disgorged and returned to Plaintiff and the other members of the Class in an amount to be proven at
24
     trial.
25

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                                    FIRST AMENDED CLASS ACTION COMPLAINT
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 1          29.     Claims Brought on Behalf of the Virginia Class
 2                                        COUNT 138
                   VIOLATIONS OF THE VIRGINIA CONSUMER PROTECTION ACT
 3                               Va. Code Ann. §§ 59.1-196, et seq.
 4          1582. Plaintiff Thacker (“Plaintiff,” for purposes of the Virginia Class’s claims) repeats and
 5   realleges paragraphs 1-212 as if fully set forth herein.
 6          1583. Plaintiff brings this Count individually and on behalf of the other members of the
 7   Virginia Class (the “Class,” for purposes of this Count).
 8          1584. GM, Plaintiffs, and the other Class members are “persons” within the meaning of Va.
 9   Code Ann. § 59.1-198. GM is a “supplier” as defined by Va. Code Ann. § 59.1-198.
10          1585. The purchase and lease of the Class Vehicles by Plaintiff and the other Class members
11   are “consumer transactions” within the meaning of Va. Code Ann. § 59.1-198.
12          1586. The Virginia Consumer Protection Act prohibits “deception, fraud, false pretense, false
13   promise, or misrepresentation in connection with a consumer transaction.” Va. Code Ann. § 59.1-
14   200(14).
15          1587. By the conduct described in detail above and incorporated herein, GM engaged in unfair
16   or deceptive acts in violation of Va. Code Ann. § 59.1-200.
17          1588. GM’s omissions regarding the Low-Tension Oil Ring Defect, described above, that
18   results in abnormally high oil consumption and resultant engine damage within the Generation IV
19   Vortec 5300 Engines, are material facts that a reasonable person would have considered in deciding
20   whether or not to purchase (or to pay the same price for) the Class Vehicles.
21          1589. GM intended for Plaintiff and the other Class members to rely on GM’s omissions of
22   fact regarding the Low-Tension Oil Ring Defect.
23          1590. Plaintiff and the other Class members justifiably acted or relied to their detriment upon
24   GM’s omissions of fact concerning the above-described Low-Tension Oil Ring Defect that results in
25   abnormally high oil consumption and resultant engine damage within the Generation IV Vortec 5300
26   Engines, as evidenced by Plaintiff and the other Class members’ purchases of Class Vehicles.
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 1            1591. Had GM disclosed all material information regarding the Low-Tension Oil Ring Defect
 2   to Plaintiff and the other Class members, Plaintiff and the other Class members would not have
 3   purchased or leased Class Vehicles or would have paid less to do so.
 4            1592. GM’s omissions have deceived Plaintiff, and those same business practices have
 5   deceived or are likely to deceive members of the consuming public and the other Class members.
 6            1593. In addition to being deceptive, the business practices of GM were unfair because GM
 7   knowingly sold Plaintiff and the other Class members Class Vehicles with defective engines that are
 8   essentially unusable for the purposes for which they were sold. The injuries to Plaintiff and the other
 9   Class members are substantial and greatly outweigh any alleged countervailing benefit to Plaintiff and
10   the other Class members or to competition under all of the circumstances. Moreover, in light of GM’s
11   exclusive knowledge of the Low-Tension Oil Ring Defect, the injury is not one that Plaintiff or the
12   other Class members could have reasonably avoided.
13            1594. As a direct and proximate result of GM’s unfair and deceptive trade practices, Plaintiff
14   and the other Class members have suffered ascertainable loss and actual damages. Plaintiff and the
15   other Class members who purchased or leased the Class Vehicles would not have purchased or leased
16   the Class Vehicles, or, alternatively, would have paid less for them had the truth about the Low-
17   Tension Oil Ring Defect been disclosed.          Plaintiff and the other Class members also suffered
18   diminished value of their vehicles. Plaintiff and the other Class members are entitled to recover actual
19   damages, attorneys’ fees and costs, and all other relief allowed under Va. Code Ann. §§ 59.1-196, et
20   seq.
21                                              COUNT 139
                                     BREACH OF EXPRESS WARRANTY
22                                   Va. Code Ann. §§ 8.2-313 and 8.2a-210
23            1595. Plaintiff Thacker (“Plaintiff,” for purpose of the Virginia Class’s claims) repeats and
24   realleges paragraphs 1-212 as if fully set forth herein.
25            1596. Plaintiff brings this Count individually and on behalf of the other members of the
26   Virginia Class (the “Class,” for purposes of this Count).
27            1597. GM is and was at all relevant times a merchant with respect to the Class Vehicles.
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                                                    209
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 1          1598. In its Limited Warranty, GM expressly warranted that it would repair or replace defects
 2   in material or workmanship free of charge if they became apparent during the warranty period. GM
 3   provides the following language in its 2012 Chevrolet Limited Warranty guide:
 4          This warranty is for GM vehicles registered in the United States and normally operated
            in the United States and Canada, and is provided to the original and any subsequent
 5          owners of the vehicle during the warranty period.
 6          The warranty covers repairs to correct any vehicle defect . . . related to materials or
            workmanship occurring during the warranty period.
 7
            Warranty repairs, including towing, parts, and labor, will be made at no charge.
 8
            1599. GM’s Limited Warranty formed the basis of the bargain that was reached when Plaintiff
 9
     and the other Class members purchased or leased their Class Vehicles equipped with the defective
10
     Generation IV Vortec 5300 Engines.
11
            1600. GM breached the express warranty to repair defects in materials and workmanship
12
     within the Class Vehicles. GM has not repaired, and has been unable to repair, the Class Vehicles’
13
     materials and workmanship defects.
14
            1601. Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
15
     notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
16
     corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
17
     United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
18
     on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
19
     numerous complaints filed against it directly and through its dealers, as well as its own internal
20
     engineering knowledge.
21
            1602. Furthermore, the Limited Warranty fails in its essential purpose because the contractual
22
     remedy is insufficient to make Plaintiff and the other Class members whole and because GM has failed
23
     and/or has refused to adequately provided the promised remedies within a reasonable time.
24
            1603. Accordingly, recovery by Plaintiff and the other Class members is not limited to the
25
     limited warranty of repair to parts defective in materials and workmanship, and Plaintiff, individually
26
     and on behalf of the other Class members, seeks all remedies allowable by law.
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                                                  210
                                  FIRST AMENDED CLASS ACTION COMPLAINT
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 1          1604. Also, and as alleged in more detail herein, at the time that GM warranted and sold the
 2   Class Vehicles it knew that the Class Vehicles did not conform to the warranty and were inherently
 3   defective, and GM improperly concealed material facts regarding its Class Vehicles. Plaintiff and the
 4   other Class members were, therefore, induced to purchase or lease the Class Vehicles under false
 5   pretenses.
 6          1605. Moreover, much of the damage flowing from the Class Vehicles cannot be resolved
 7   through the limited remedy of repairs, as those incidental and consequential damages have already been
 8   suffered due to GM’s improper conduct as alleged herein, and due to its failure and/or continued failure
 9   to provide such limited remedy within a reasonable time, and any limitation on Plaintiff and the other
10   Class members’ remedies would be insufficient to make them whole.
11          1606. As a direct and proximate result of GM’s breach of its express warranty, Plaintiff and
12   the other Class members have been damaged in an amount to be determined at trial.
13                                        COUNT 140
                     BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
14                               Va. Code Ann. §§ 8.2-314 and 8.2a-212
15          1607. Plaintiff Thacker (“Plaintiff,” for purposes of the Virginia Class’s claims) repeats and
16   realleges paragraphs 1-212 as if fully set forth herein.
17          1608. Plaintiff brings this Count individually and on behalf of the other members of the
18   Virginia Class (the “Class,” for purposes of this Count).
19          1609. GM is and was at all relevant times a merchant with respect to motor vehicles under Va.
20   Code Ann. §§ 8.2-104 and 8.2a-103.
21          1610. Pursuant to Va. Code Ann. §§ 8.2-314 and 8.2a-212, a warranty that the Class Vehicles
22   were in merchantable condition was implied by law, and the Class Vehicles were bought and sold
23   subject to an implied warranty of merchantability.
24          1611. The Class Vehicles did not comply with the implied warranty of merchantability
25   because, at the time of sale and at all times thereafter, they were defective and not in merchantable
26   condition, would not pass without objection in the trade, and were not fit for the ordinary purpose for
27
28
                                                    211
                                    FIRST AMENDED CLASS ACTION COMPLAINT
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 1   which vehicles were used. Specifically, the Class Vehicles suffer from the Low-Tension Oil Ring
 2   Defect which causes excessive oil loss and leads to engine damage.
 3            1612. Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
 4   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
 5   corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
 6   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
 7   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
 8   numerous complaints filed against it directly and through its dealers, as well as its own internal
 9   engineering knowledge.
10            1613. Plaintiff and the other Class members suffered injuries due to the defective nature of the
11   Class Vehicles and GM’s breach of the warranty of merchantability.
12            1614. As a direct and proximate result of GM’s breach of the warranty of merchantability,
13   Plaintiff and the other Class members have been damaged in an amount to be proven at trial.
14                                              COUNT 141
                                           FRAUDULENT OMISSION
15
              1615. Plaintiff Thacker (“Plaintiff,” for purposes of the Virginia Class’s claims) repeats and
16
     realleges paragraphs 1-212 as if fully set forth herein.
17
              1616. Plaintiff brings this Count individually and on behalf of the other members of the
18
     Virginia Class (the “Class,” for purposes of this Count).
19
              1617. GM was aware of the Low-Tension Oil Ring Defect within the Generation IV Vortec
20
     5300 Engines when it marketed and sold the Class Vehicles to Plaintiff and the other members of the
21
     Class.
22
              1618. Having been aware of the Low-Tension Oil Ring Defect within the Generation IV
23
     Vortec 5300 Engines, and having known that Plaintiff and the other members of the Class could not
24
     have reasonably been expected to know of the Low-Tension Oil Ring Defect, GM had a duty to
25
     disclose the defect to Plaintiff and the other members of the Class in connection with the sale or lease
26
     of the Class Vehicles.
27
28
                                                    212
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 1          1619. GM did not disclose the Low-Tension Oil Ring Defect within the Generation IV Vortec
 2   5300 Engines to Plaintiff and the other members of the Class in connection with the sale of the Class
 3   Vehicles.
 4          1620. For the reasons set forth above, the Low-Tension Oil Ring Defect within the Generation
 5   IV Vortec 5300 Engines comprises material information with respect to the sale or lease of the Class
 6   Vehicles.
 7          1621. In purchasing the Class Vehicles, Plaintiff and the other members of the Class
 8   reasonably relied on GM to disclose known material defects with respect to the Class Vehicles.
 9          1622. Had Plaintiff and the other members of the Class known of the Low-Tension Oil Ring
10   Defect within the Generation IV Vortec 5300 Engines, they would have not purchased the Class
11   Vehicles or would have paid less for the Class Vehicles.
12          1623. Through its omissions regarding the Low-Tension Oil Ring Defect within the
13   Generation IV Vortec 5300 Engines, GM intended to induce, and did induce, Plaintiff and the other
14   members of the Class to either purchase a Class Vehicle that they otherwise would not have purchased,
15   or pay more for a Class Vehicle than they otherwise would have paid.
16          1624. As a direct and proximate result of GM’s omissions, Plaintiff and the other members of
17   the Class either overpaid for the Class Vehicles or would not have purchased the Class Vehicles at all if
18   the Low-Tension Oil Ring Defect had been disclosed to them, and, therefore, have incurred damages in
19   an amount to be determined at trial.
20                                              COUNT 142
                                            UNJUST ENRICHMENT
21
            1625. Plaintiff Thacker (“Plaintiff,” for purposes of the Virginia Class’s claims) repeats and
22
     realleges paragraphs 1-212 as if fully set forth herein.
23
            1626. Plaintiff brings this Count individually and on behalf of the other members of the
24
     Virginia Class (the “Class,” for purposes of this Count).
25
            1627. GM has benefitted from selling and leasing at an unjust profit defective Class Vehicles
26
     that had artificially inflated prices due to GM’s concealment of the Low-Tension Oil Ring Defect, and
27
     Plaintiff and the other members of the Class have overpaid for these vehicles.
28
                                                    213
                                    FIRST AMENDED CLASS ACTION COMPLAINT
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 1            1628. GM has received and retained unjust benefits from Plaintiff and the other members of
 2   the Class, and inequity has resulted.
 3            1629. It is inequitable and unconscionable for GM to retain these benefits.
 4            1630. Because GM concealed its fraud and deception, Plaintiff and the other members of the
 5   Class were not aware of the true facts concerning the Class Vehicles and did not benefit from GM’s
 6   misconduct.
 7            1631. GM knowingly accepted the unjust benefits of its wrongful conduct.
 8            1632. As a result of GM’s misconduct, the amount of its unjust enrichment should be
 9   disgorged and returned to Plaintiff and the other members of the Class in an amount to be proven at
10   trial.
11            30.    Claims Brought on Behalf of the Washington Class
12                                         COUNT 143
                 VIOLATIONS OF THE WASHINGTON CONSUMER PROTECTION ACT
13                              Wash. Rev. Code §§ 19.86.010, et seq.
14            1633. Plaintiff Clausen (“Plaintiff,” for purposes of the Washington Class’s claims) repeats
15   and realleges paragraphs 1-212 as if fully set forth herein.
16            1634. Plaintiff brings this Count individually and on behalf of the other members of the
17   Washington Class (the “Class,” for purposes of this Count).
18            1635. GM, Plaintiff, and the Washington Class are “person[s]” under Wash. Rev. Code §
19   19.86.010(1).
20            1636. GM engaged in “trade” or “commerce” under Wash. Rev. Code § 19.86.010(2).
21            1637. The Washington Consumer Protection Act broadly prohibits “[u]nfair methods of
22   competition and unfair or deceptive acts or practices in the conduct of any trade or commerce.” Wash.
23   Rev. Code. § 19.86.020.
24            1638. By the conduct described in detail above and incorporated herein, GM engaged in unfair
25   or deceptive acts in violation of the Washington Consumer Protection Act.
26            1639. GM’s omissions regarding the Low-Tension Oil Ring Defect, described above, that
27   results in abnormally high oil consumption and resultant engine damage within the Generation IV
28
                                                    214
                                    FIRST AMENDED CLASS ACTION COMPLAINT
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 1   Vortec 5300 Engines, are material facts that a reasonable person would have considered in deciding
 2   whether or not to purchase (or to pay the same price for) the Class Vehicles.
 3          1640. GM intended for Plaintiff and the other Class members to rely on GM’s omissions
 4   regarding the Low-Tension Oil Ring Defect.
 5          1641. Plaintiff and the other Class members justifiably acted or relied to their detriment upon
 6   GM’s omissions of fact concerning the above-described Low-Tension Oil Ring Defect that results in
 7   abnormally high oil consumption and resultant engine damage within the Generation IV Vortec 5300
 8   Engines, as evidenced by Plaintiff and the other Class members’ purchases of Class Vehicles.
 9          1642. Had GM disclosed all material information regarding the Low-Tension Oil Ring Defect
10   to Plaintiff and the other Class members, Plaintiff and the other Class members would not have
11   purchased or leased Class Vehicles or would have paid less to do so.
12          1643. GM’s omissions have deceived Plaintiff, and those same business practices have
13   deceived or are likely to deceive members of the consuming public and the other members of the Class.
14          1644. In addition to being deceptive, the business practices of GM were unfair because GM
15   knowingly sold Plaintiffs and the other Class members Class Vehicles with defective engines that are
16   essentially unusable for the purposes for which they were sold. The injuries to Plaintiff and the other
17   Class members are substantial and greatly outweigh any alleged countervailing benefit to Plaintiff and
18   the other Class members or to competition under all of the circumstances. Moreover, in light of GM’s
19   exclusive knowledge of the Low-Tension Oil Ring Defect, the injury is not one that Plaintiff or the
20   other Class members could have reasonably avoided.
21          1645. As a direct and proximate result of GM’s unfair and deceptive trade practices, Plaintiff
22   and the other Class members have suffered ascertainable loss and actual damages. Plaintiff and the
23   other Class members who purchased or leased the Class Vehicles would not have purchased or leased
24   the Class Vehicles, or, alternatively, would have paid less for them had the truth about the Low-
25   Tension Oil Ring Defect been disclosed.        Plaintiff and the other Class members also suffered
26   diminished value of their vehicles. Plaintiff and the other Class members are entitled to recover actual
27   damages, attorneys’ fees and costs, and all other relief allowed under Wash. Rev. Code § 19.86.090.
28
                                                   215
                                   FIRST AMENDED CLASS ACTION COMPLAINT
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                                                COUNT 144
 1                                 BREACH OF EXPRESS WARRANTY
                                 Wash. Rev. Code § 62A.2-313 and 62A.2A-210
 2
            1646. Plaintiff Clausen (“Plaintiff,” for purpose of the Washington Class’s claims) repeats and
 3
     realleges paragraphs 1-212 as if fully set forth herein.
 4
            1647. Plaintiff brings this Count individually and on behalf of the other members of the
 5
     Washington Class (the “Class,” for purposes of this Count).
 6
            1648. GM is and was at all relevant times a merchant with respect to the Class Vehicles.
 7
            1649. In its Limited Warranty, GM expressly warranted that it would repair or replace defects
 8
     in material or workmanship free of charge if they became apparent during the warranty period. GM
 9
     provides the following language in its 2012 Chevrolet Limited Warranty guide:
10
            This warranty is for GM vehicles registered in the United States and normally operated
11          in the United States and Canada, and is provided to the original and any subsequent
            owners of the vehicle during the warranty period.
12
            The warranty covers repairs to correct any vehicle defect . . . related to materials or
13          workmanship occurring during the warranty period.
14          Warranty repairs, including towing, parts, and labor, will be made at no charge.
15          1650. GM’s Limited Warranty formed the basis of the bargain that was reached when Plaintiff
16   and the other Class members purchased or leased their Class Vehicles equipped with the defective
17   Generation IV Vortec 5300 Engines.
18          1651. GM breached the express warranty to repair defects in materials and workmanship
19   within the Class Vehicles. GM has not repaired, and has been unable to repair, the Class Vehicles’
20   materials and workmanship defects.
21          1652. Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
22   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
23   corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
24   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
25   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
26   numerous complaints filed against it directly and through its dealers, as well as its own internal
27   engineering knowledge.
28
                                                    216
                                    FIRST AMENDED CLASS ACTION COMPLAINT
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 1            1653. Furthermore, the Limited Warranty fails in its essential purpose because the contractual
 2   remedy is insufficient to make Plaintiff and the other Class members whole and because GM has failed
 3   and/or has refused to adequately provided the promised remedies within a reasonable time.
 4            1654. Accordingly, recovery by Plaintiff and the other Class members is not limited to the
 5   limited warranty of repair to parts defective in materials and workmanship, and Plaintiff, individually
 6   and on behalf of the other Class members, seeks all remedies allowable by law.
 7            1655. Also, and as alleged in more detail herein, at the time that GM warranted and sold the
 8   Class Vehicles it knew that the Class Vehicles did not conform to the warranty and were inherently
 9   defective, and GM improperly concealed material facts regarding its Class Vehicles. Plaintiff and the
10   other Class members were, therefore, induced to purchase or lease the Class Vehicles under false
11   pretenses.
12            1656. Moreover, much of the damage flowing from the Class Vehicles cannot be resolved
13   through the limited remedy of repairs, as those incidental and consequential damages have already been
14   suffered due to GM’s improper conduct as alleged herein, and due to its failure and/or continued failure
15   to provide such limited remedy within a reasonable time, and any limitation on Plaintiff and the other
16   Class members’ remedies would be insufficient to make them whole.
17            1657. As a direct and proximate result of GM’s breach of its express warranty, Plaintiff and
18   the other Class members have been damaged in an amount to be determined at trial.
19                                              COUNT 145
                                           FRAUDULENT OMISSION
20
              1658. Plaintiff Clausen (“Plaintiff,” for purposes of the Washington Class’s claims) repeats
21
     and realleges paragraphs 1-212 as if fully set forth herein.
22
              1659. Plaintiff brings this Count individually and on behalf of the other members of the
23
     Washington Class (the “Class,” for purposes of this Count).
24
              1660. GM was aware of the Low-Tension Oil Ring Defect within the Generation IV Vortec
25
     5300 Engines when it marketed and sold the Class Vehicles to Plaintiff and the other members of the
26
     Class.
27
28
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 1          1661. Having been aware of the Low-Tension Oil Ring Defect within the Generation IV
 2   Vortec 5300 Engines, and having known that Plaintiff and the other members of the Class could not
 3   have reasonably been expected to know of the Low-Tension Oil Ring Defect, GM had a good-faith
 4   duty to disclose the defect to Plaintiff and the other members of the Class in connection with the sale or
 5   lease of the Class Vehicles.
 6          1662. GM did not disclose the Low-Tension Oil Ring Defect within the Generation IV Vortec
 7   5300 Engines to Plaintiff and the other members of the Class in connection with the sale or lease of the
 8   Class Vehicles.
 9          1663. For the reasons set forth above, the Low-Tension Oil Ring Defect within the Generation
10   IV Vortec 5300 Engines comprises material information with respect to the sale or lease of the Class
11   Vehicles.
12          1664. In purchasing the Class Vehicles, Plaintiff and the other members of the Class
13   reasonably relied on GM to disclose known material defects with respect to the Class Vehicles.
14          1665. Had Plaintiff and the other members of the Class known of the Low-Tension Oil Ring
15   Defect within the Generation IV Vortec 5300 Engines, they would have not purchased the Class
16   Vehicles or would have paid less for the Class Vehicles.
17          1666. Through its omissions regarding the Low-Tension Oil Ring Defect within the
18   Generation IV Vortec 5300 Engines, GM intended to induce, and did induce, Plaintiff and the other
19   members of the Class to either purchase a Class Vehicle that they otherwise would not have purchased,
20   or pay more for a Class Vehicle than they otherwise would have paid.
21          1667. As a direct and proximate result of GM’s omissions, Plaintiff and the other members of
22   the Class either overpaid for the Class Vehicles or would not have purchased the Class Vehicles at all if
23   the Low-Tension Oil Ring Defect had been disclosed to them, and, therefore, have incurred damages in
24   an amount to be determined at trial.
25                                              COUNT 146
                                            UNJUST ENRICHMENT
26
            1668. Plaintiff Clausen (“Plaintiff,” for purposes of the Washington Class’s claims) repeats
27
     and realleges paragraphs 1-212 as if fully set forth herein.
28
                                                    218
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 1            1669. Plaintiff brings this Count individually and on behalf of the other members of the
 2   Washington Class (the “Class,” for purposes of this Count).
 3            1670. GM has benefitted from selling and leasing at an unjust profit defective Class Vehicles
 4   that had artificially inflated prices due to GM’s concealment of the Low-Tension Oil Ring Defect, and
 5   Plaintiff and the other members of the Class have overpaid for these vehicles.
 6            1671. GM has received and retained unjust benefits from Plaintiff and the other members of
 7   the Class, and inequity has resulted.
 8            1672. It is inequitable and unconscionable for GM to retain these benefits.
 9            1673. Because GM concealed its fraud and deception, Plaintiff and the other members of the
10   Class were not aware of the true facts concerning the Class Vehicles and did not benefit from GM’s
11   misconduct.
12            1674. GM knowingly accepted the unjust benefits of its wrongful conduct.
13            1675. As a result of GM’s misconduct, the amount of its unjust enrichment should be
14   disgorged and returned to Plaintiff and the other members of the Class in an amount to be proven at
15   trial.
16            31.    Claims Brought on Behalf of the West Virginia Class
17                                          COUNT 147
                                VIOLATIONS OF THE WEST VIRGINIA
18                            CONSUMER CREDIT AND PROTECTIONS ACT
                                   W. Va. Code §§ 46A-6-101, et seq.
19
              1676. Plaintiff Robertson (“Plaintiff,” for purposes of the West Virginia Class’s claims)
20
     repeats and realleges paragraphs 1-212 as if fully set forth herein.
21
              1677. Plaintiff brings this claim individually and on behalf of the other members of the West
22
     Virginia Class (the “Class,” for purposes of this Count).
23
              1678. The West Virginia Consumer Credit and Protections Act, W. Va. Code § 46A-6-104,
24
     states that, “[u]nfair methods of competition and unfair or deceptive acts or practices in the conduct of
25
     any trade or commerce are hereby declared unlawful.”
26
              1679. By the conduct described in detail above and incorporated herein, GM engaged in unfair
27
     or deceptive acts in violation of the West Virginia Consumer Credit and Protections Act.
28
                                                    219
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 1          1680. GM’s omissions regarding the Low-Tension Oil Ring Defect, described above, that
 2   results in abnormally high oil consumption and resultant engine damage within the Generation IV
 3   Vortec 5300 Engines, are material facts that a reasonable person would have considered in deciding
 4   whether or not to purchase (or to pay the same price for) the Class Vehicles.
 5          1681. GM intended for Plaintiff and the other Class members to rely on GM’s omissions
 6   regarding the Low-Tension Oil Ring Defect.
 7          1682. Plaintiff and the other Class members justifiably acted or relied to their detriment upon
 8   GM’s omissions of fact concerning the above-described Low-Tension Oil Ring Defect that results in
 9   abnormally high oil consumption and resultant engine damage within the Generation IV Vortec 5300
10   Engines, as evidenced by Plaintiff and the other Class members’ purchases of Class Vehicles.
11          1683. Had GM disclosed all material information regarding the Low-Tension Oil Ring Defect
12   to Plaintiff and the other Class members, Plaintiff and the other Class members would not have
13   purchased or leased Class Vehicles or would have paid less to do so.
14          1684. GM’s omissions have deceived Plaintiff, and those same business practices have
15   deceived or are likely to deceive members of the consuming public and the other members of the Class.
16          1685. In addition to being deceptive, the business practices of GM were unfair because GM
17   knowingly sold Plaintiffs and the other Class members Class Vehicles with defective engines that are
18   essentially unusable for the purposes for which they were sold. The injuries to Plaintiff and the other
19   Class members are substantial and greatly outweigh any alleged countervailing benefit to Plaintiff and
20   the other Class members or to competition under all of the circumstances. Moreover, in light of GM’s
21   exclusive knowledge of the Low-Tension Oil Ring Defect, the injury is not one that Plaintiff or the
22   other Class members could have reasonably avoided.
23          1686. As a direct and proximate result of GM’s unfair and deceptive trade practices, Plaintiff
24   and the other Class members have suffered ascertainable loss and actual damages. Plaintiff and the
25   other Class members who purchased or leased the Class Vehicles would not have purchased or leased
26   the Class Vehicles, or, alternatively, would have paid less for them had the truth about the Low-
27   Tension Oil Ring Defect been disclosed.        Plaintiff and the other Class members also suffered
28
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 1   diminished value of their vehicles. Plaintiff and the other Class members are entitled to recover actual
 2   damages, attorneys’ fees and costs, and all other relief allowed under W. Va. Code § 46A-6-101, et seq.
 3                                              COUNT 148
                                    BREACH OF EXPRESS WARRANTY
 4                                  W. Va. Code §§ 46-2-213 and 46-2A-210
 5          1687. Plaintiff Robertson (“Plaintiff,” for the purposes of the West Virginia Class’s claims)
 6   repeats and realleges paragraphs 1-212 as if fully set forth herein.
 7          1688. Plaintiff brings this Count individually and on behalf of the other members of the West
 8   Virginia Class (the “Class,” for purposes of this Count).
 9          1689. GM is and was at all relevant times a merchant with respect to the Class Vehicles.
10          1690. In its Limited Warranty, GM expressly warranted that it would repair or replace defects
11   in material or workmanship free of charge if those defects became apparent during the warranty period.
12   GM provides the following language in its 2012 Chevrolet Limited Warranty guide:
13                  This warranty is for GM vehicles registered in the United States and normally
                    operated in the United States and Canada, and is provided to the original and any
14                  subsequent owners of the vehicle during the warranty period.
15                  The warranty covers repairs to correct any vehicle defect . . . related to materials
                    or workmanship occurring during the warranty period.
16
                    Warranty repairs, including towing, parts, and labor, will be made at no charge.
17

18          1691. GM’s Limited Warranty formed the basis of the bargain that was reached when Plaintiff
19   and the other Class members purchased or leased their Class Vehicles equipped with the defective
20   Generation IV Vortec 5300 Engines.
21          1692. GM breached its express warranty to repair defects in materials and workmanship within
22   the Class Vehicles. GM has not repaired, and has been unable to repair, the Class Vehicles’ materials
23   and workmanship defects.
24          1693. Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
25   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
26   corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
27   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
28
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 1   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
 2   numerous complaints filed against it directly and through its dealers, as well as its own internal
 3   engineering knowledge.
 4          1694. Furthermore, the Limited Warranty fails in its essential purpose because the contractual
 5   remedy is insufficient to make Plaintiff and the other Class members whole and because GM has failed
 6   and/or has refused to adequately provided the promised remedies within a reasonable time.
 7          1695. Accordingly, recovery by Plaintiff and the other Class members is not limited to the
 8   limited warranty of repair to parts defective in materials and workmanship, and Plaintiff, individually
 9   and on behalf of the other Class members, seeks all remedies as allowed by law.
10          1696. Also, as alleged in more detail herein, at the time that GM warranted, leased, and sold
11   the Class Vehicles it knew that the Class Vehicles did not conform to the warranty and were inherently
12   defective, and GM improperly concealed material facts regarding its Class Vehicles. Plaintiff and the
13   other Class members were therefore induced to purchase or lease the GM Vehicles under false
14   pretenses.
15          1697. Moreover, much of the damage flowing from the Class Vehicles cannot be resolved
16   through the limited remedy of repairs, as those incidental and consequential damages have already been
17   suffered due to GM’s improper conduct as alleged herein, and due to its failure and/or continued failure
18   to provide such limited remedy within a reasonable time, and any limitation on Plaintiff’s and the other
19   Class members’ remedies would be insufficient to make them whole.
20          1698. As a direct and proximate result of GM’s breach of its express warranty, Plaintiff and
21   the other Class members have been damaged in an amount to be determined at trial.
22                                           COUNT 149
                       BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
23                             W. Va. Code §§ 46-2-314 and 46-2A-212
24          1699. Plaintiff Robertson (“Plaintiff,” for purposes of the West Virginia Class’s claims)
25   repeats and realleges paragraphs 1-212 as if fully set forth herein.
26          1700. Plaintiff brings this Count individually and on behalf of the other members of the West
27   Virginia Class (the “Class,” for purposes of this Count).
28
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 1          1701. GM is and was at all relevant times a merchant with respect to motor vehicles under W.
 2   Va. Code §§ 46-2-104 and 46-2A-103.
 3          1702. Pursuant to W. Va. Code §§ 46-2-314 and 46-2A-212, a warranty that the Class
 4   Vehicles were in merchantable condition was implied by law, and the Class Vehicles were bought and
 5   sold subject to an implied warranty of merchantability.
 6          1703. The Class Vehicles did not comply with the implied warranty of merchantability
 7   because, at the time of sale and at all times thereafter, they were defective and not in merchantable
 8   condition, would not pass without objection in the trade, and were not fit for the ordinary purpose for
 9   which vehicles were used. Specifically, the Class Vehicles suffer from the Low-Tension Oil Ring
10   Defect which causes excessive oil loss and leads to engine damage.
11          1704. Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
12   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
13   corresponding breach of warranty, through a notice letter dated October 27, 2016 and delivered by
14   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
15   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
16   numerous complaints filed against it directly and through its dealers, as well as its own internal
17   engineering knowledge.
18          1705. Plaintiff and the other Class members suffered injuries due to the defective nature of the
19   Class Vehicles and GM’s breach of the warranty of merchantability.
20          1706. As a direct and proximate result of GM’s breach of the warranty of merchantability,
21   Plaintiff and the other Class members have been damaged in an amount to be proven at trial.
22                                                COUNT 150
                                             FRAUDULENT OMISSION
23
            1707. Plaintiff Robertson (“Plaintiff,” for purposes of the West Virginia Class’s claims)
24
     repeats and realleges paragraphs 1-212 as if fully set forth herein.
25
            1708. Plaintiff brings this Count individually and on behalf of the other members of the West
26
     Virginia Class (the “Class,” for purposes of this Count).
27
28
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 1            1709. GM was aware of the Low-Tension Oil Ring Defect within the Generation IV Vortec
 2   5300 Engines when it marketed and sold the Class Vehicles to Plaintiff and the other members of the
 3   Class.
 4            1710. Having been aware of the Low-Tension Oil Ring Defect within the Generation IV
 5   Vortec 5300 Engines, and having known that Plaintiff and the other members of the Class could not
 6   have reasonably been expected to know of the Low-Tension Oil Ring Defect, GM had a duty to
 7   disclose the defect to Plaintiff and the other members of the Class in connection with the sale or lease
 8   of the Class Vehicles.
 9            1711. GM did not disclose the Low-Tension Oil Ring Defect within the Generation IV Vortec
10   5300 Engines to Plaintiff and the other members of the Class in connection with the sale of the Class
11   Vehicles.
12            1712. For the reasons set forth above, the Low-Tension Oil Ring Defect within the Generation
13   IV Vortec 5300 Engines comprises material information with respect to the sale or lease of the Class
14   Vehicles.
15            1713. In purchasing the Class Vehicles, Plaintiff and the other members of the Class
16   reasonably relied on GM to disclose known material defects with respect to the Class Vehicles.
17            1714. Had Plaintiff and the other members of the Class known of the Low-Tension Oil Ring
18   Defect within the Generation IV Vortec 5300 Engines, they would have not purchased the Class
19   Vehicles or would have paid less for the Class Vehicles.
20            1715. Through its omissions regarding the Low-Tension Oil Ring Defect within the
21   Generation IV Vortec 5300 Engines, GM intended to induce, and did induce, Plaintiff and the other
22   members of the Class to either purchase a Class Vehicle that they otherwise would not have purchased,
23   or pay more for a Class Vehicle than they otherwise would have paid.
24            1716. As a direct and proximate result of GM’s omissions, Plaintiff and the other members of
25   the Class either overpaid for the Class Vehicles or would not have purchased the Class Vehicles at all if
26   the Low-Tension Oil Ring Defect had been disclosed to them, and, therefore, have incurred damages in
27   an amount to be determined at trial.
28
                                                   224
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                                                 COUNT 151
 1                                           UNJUST ENRICHMENT
 2            1717. Plaintiff Robertson (“Plaintiff,” for purposes of the West Virginia Class’s claims)
 3   repeats and realleges paragraphs 1-212 as if fully set forth herein.
 4            1718. Plaintiff brings this Count individually and on behalf of the other members of the West
 5   Virginia Class (the “Class,” for purposes of this Count).
 6            1719. GM has benefitted from selling and leasing at an unjust profit defective Class Vehicles
 7   that had artificially inflated prices due to GM’s concealment of the Low-Tension Oil Ring Defect, and
 8   Plaintiff and the other members of the Class have overpaid for these vehicles.
 9            1720. GM has received and retained unjust benefits from Plaintiff and the other members of
10   the Class, and inequity has resulted.
11            1721. It is inequitable and unconscionable for GM to retain these benefits.
12            1722. Because GM concealed its fraud and deception, Plaintiff and the other members of the
13   Class were not aware of the true facts concerning the Class Vehicles and did not benefit from GM’s
14   misconduct.
15            1723. GM knowingly accepted the unjust benefits of its wrongful conduct.
16            1724. As a result of GM’s misconduct, the amount of its unjust enrichment should be
17   disgorged and returned to Plaintiff and the other members of the Class in an amount to be proven at
18   trial.
19            32.    Claims Brought on Behalf of the Wisconsin Class
20                                           COUNT 152
                                     VIOLATIONS OF WISCONSIN’S
21                                 DECEPTIVE TRADE PRACTICES ACT
                                           Wis. Stat. § 100.18
22
              1725. Plaintiff Bednarek (“Plaintiff,” for purposes of the Wisconsin Class’s claims) repeats
23
     and realleges paragraphs 1-212 as if fully set forth herein.
24
              1726. Plaintiff brings this claim individually and on behalf of the other members of the
25
     Wisconsin Class (the “Class,” for purposes of this Count).
26
              1727. Wis. Stat. § 100.18 prohibits, in connection with the sale and lease of merchandise any
27
     “representation or statement of fact which is untrue, deceptive or misleading.”
28
                                                    225
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 1          1728. By the conduct described in detail above and incorporated herein, GM engaged in
 2   deceptive trade practices.
 3          1729. GM’s omissions regarding the Low-Tension Oil Ring Defect, described above, that
 4   results in abnormally high oil consumption and resultant engine damage within the Generation IV
 5   Vortec 5300 Engines, are material facts that a reasonable person would have considered in deciding
 6   whether or not to purchase (or to pay the same price for) the Class Vehicles.
 7          1730. GM intended for Plaintiff and the other Class members to rely on GM’s omissions
 8   regarding the Low-Tension Oil Ring Defect.
 9          1731. Plaintiff and the other Class members justifiably acted or relied to their detriment upon
10   GM’s omissions of fact concerning the above-described Low-Tension Oil Ring Defect that results in
11   abnormally high oil consumption and resultant engine damage within the Generation IV Vortec 5300
12   Engines, as evidenced by Plaintiff and the other Class members’ purchases of Class Vehicles.
13          1732. Had GM disclosed all material information regarding the Low-Tension Oil Ring Defect
14   to Plaintiff and the other Class members, Plaintiff and the other Class members would not have
15   purchased or leased Class Vehicles or would have paid less to do so.
16          1733. GM’s omissions have deceived Plaintiff, and those same business practices have
17   deceived or are likely to deceive members of the consuming public and the other members of the Class.
18          1734. In addition to being deceptive, the business practices of GM were unfair because GM
19   knowingly sold Plaintiffs and the other Class members Class Vehicles with defective engines that are
20   essentially unusable for the purposes for which they were sold. The injuries to Plaintiff and the other
21   Class members are substantial and greatly outweigh any alleged countervailing benefit to Plaintiff and
22   the other Class members or to competition under all of the circumstances. Moreover, in light of GM’s
23   exclusive knowledge of the Low-Tension Oil Ring Defect, the injury is not one that Plaintiff or the
24   other Class members could have reasonably avoided.
25          1735. As a direct and proximate result of GM’s unfair and deceptive trade practices, Plaintiff
26   and the other Class members have suffered ascertainable loss and actual damages. Plaintiff and the
27   other Class members who purchased or leased the Class Vehicles would not have purchased or leased
28
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 1   the Class Vehicles, or, alternatively, would have paid less for them had the truth about the Low-
 2   Tension Oil Ring Defect been disclosed.          Plaintiff and the other Class members also suffered
 3   diminished value of their vehicles. Plaintiff and the other Class members are entitled to recover actual
 4   damages, attorneys’ fees and costs, and all other relief allowed under Wis. Stat. § 100.18.
 5                                                COUNT 153
                                     BREACH OF EXPRESS WARRANTY
 6                                     Wis. Stat. §§ 402.313 and 411.210
 7          1736. Plaintiff Bednarek (“Plaintiff,” for the purposes of the Wisconsin Class’s claims) repeats
 8   and realleges paragraphs 1-212 as if fully set forth herein.
 9          1737. Plaintiff brings this Count individually and on behalf of the other members of the
10   Wisconsin Class (the “Class,” for purposes of this Count).
11          1738. GM is and was at all relevant times a merchant with respect to the Class Vehicles.
12          1739. In its Limited Warranty, GM expressly warranted that it would repair or replace defects
13   in material or workmanship free of charge if those defects became apparent during the warranty period.
14   GM provides the following language in its 2012 Chevrolet Limited Warranty guide:
15                  This warranty is for GM vehicles registered in the United States and normally
                    operated in the United States and Canada, and is provided to the original and any
16                  subsequent owners of the vehicle during the warranty period.
17                  The warranty covers repairs to correct any vehicle defect . . . related to materials
                    or workmanship occurring during the warranty period.
18
                    Warranty repairs, including towing, parts, and labor, will be made at no charge.
19

20          1740. GM’s Limited Warranty formed the basis of the bargain that was reached when Plaintiff
21   and the other Class members purchased or leased their Class Vehicles equipped with the defective
22   Generation IV Vortec 5300 Engines.
23          1741. GM breached its express warranty to repair defects in materials and workmanship within
24   the Class Vehicles. GM has not repaired, and has been unable to repair, the Class Vehicles’ materials
25   and workmanship defects.
26          1742. Plaintiff Ludington, individually and on behalf of the other Nationwide Class members,
27   notified GM of the Low-Tension Oil Ring Defect in the Generation IV Vortec 5300 Engines, and its
28
                                                    227
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 1   corresponding breach of warranty, through a notice letter dated October 27, 2016, and delivered by
 2   United States Certified Mail to GM’s headquarters in Detroit, Michigan. The return receipt was signed
 3   on October 28, 2016. GM was also provided notice of the Low-Tension Oil Ring Defect through
 4   numerous complaints filed against it directly and through its dealers, as well as its own internal
 5   engineering knowledge.
 6          1743. Furthermore, the Limited Warranty fails in its essential purpose because the contractual
 7   remedy is insufficient to make Plaintiff and the other Class members whole and because GM has failed
 8   and/or has refused to adequately provided the promised remedies within a reasonable time.
 9          1744. Accordingly, recovery by Plaintiff and the other Class members is not limited to the
10   limited warranty of repair to parts defective in materials and workmanship, and Plaintiff, individually
11   and on behalf of the other Class members, seeks all remedies as allowed by law.
12          1745. Also, as alleged in more detail herein, at the time that GM warranted, leased, and sold
13   the Class Vehicles it knew that the Class Vehicles did not conform to the warranty and were inherently
14   defective, and GM improperly concealed material facts regarding its Class Vehicles. Plaintiff and the
15   other Class members were therefore induced to purchase or lease the GM Vehicles under false
16   pretenses.
17          1746. Moreover, much of the damage flowing from the Class Vehicles cannot be resolved
18   through the limited remedy of repairs, as those incidental and consequential damages have already been
19   suffered due to GM’s improper conduct as alleged herein, and due to its failure and/or continued failure
20   to provide such limited remedy within a reasonable time, and any limitation on Plaintiff’s and the other
21   Class members’ remedies would be insufficient to make them whole.
22          1747. As a direct and proximate result of GM’s breach of its express warranty, Plaintiff and
23   the other Class members have been damaged in an amount to be determined at trial.
24                                              COUNT 154
                                           FRAUDULENT OMISSION
25
            1748. Plaintiff Bednarek (“Plaintiff,” for purposes of the Wisconsin Class’s claims) repeats
26
     and realleges paragraphs 1-212 as if fully set forth herein.
27
28
                                                    228
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 1            1749. Plaintiff brings this Count individually and on behalf of the other members of the
 2   Wisconsin Class (the “Class,” for purposes of this Count).
 3            1750. GM was aware of the Low-Tension Oil Ring Defect within the Generation IV Vortec
 4   5300 Engines when it marketed and sold the Class Vehicles to Plaintiff and the other members of the
 5   Class.
 6            1751. Having been aware of the Low-Tension Oil Ring Defect within the Generation IV
 7   Vortec 5300 Engines, and having known that Plaintiff and the other members of the Class could not
 8   have reasonably been expected to know of the Low-Tension Oil Ring Defect, GM had a duty to
 9   disclose the defect to Plaintiff and the other members of the Class in connection with the sale or lease
10   of the Class Vehicles.
11            1752. GM did not disclose the Low-Tension Oil Ring Defect within the Generation IV Vortec
12   5300 Engines to Plaintiff and the other members of the Class in connection with the sale of the Class
13   Vehicles.
14            1753. For the reasons set forth above, the Low-Tension Oil Ring Defect within the Generation
15   IV Vortec 5300 Engines comprises material information with respect to the sale or lease of the Class
16   Vehicles.
17            1754. In purchasing the Class Vehicles, Plaintiff and the other members of the Class
18   reasonably relied on GM to disclose known material defects with respect to the Class Vehicles.
19            1755. Had Plaintiff and the other members of the Class known of the Low-Tension Oil Ring
20   Defect within the Generation IV Vortec 5300 Engines, they would have not purchased the Class
21   Vehicles or would have paid less for the Class Vehicles.
22            1756. Through its omissions regarding the Low-Tension Oil Ring Defect within the
23   Generation IV Vortec 5300 Engines, GM intended to induce, and did induce, Plaintiff and the other
24   members of the Class to either purchase a Class Vehicle that they otherwise would not have purchased,
25   or pay more for a Class Vehicle than they otherwise would have paid.
26            1757. As a direct and proximate result of GM’s omissions, Plaintiff and the other members of
27   the Class either overpaid for the Class Vehicles or would not have purchased the Class Vehicles at all if
28
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 1   the Low-Tension Oil Ring Defect had been disclosed to them, and, therefore, have incurred damages in
 2   an amount to be determined at trial.
 3                                               COUNT 155
                                             UNJUST ENRICHMENT
 4
              1758. Plaintiff Bednarek (“Plaintiff,” for purposes of the Wisconsin Class’s claims) repeats
 5
     and realleges paragraphs 1-212 as if fully set forth herein.
 6
              1759. Plaintiff brings this Count individually and on behalf of the other members of the
 7
     Kansas Class (the “Class,” for purposes of this Count).
 8
              1760. GM has benefitted from selling and leasing at an unjust profit defective Class Vehicles
 9
     that had artificially inflated prices due to GM’s concealment of the Low-Tension Oil Ring Defect, and
10
     Plaintiff and the other members of the Class have overpaid for these vehicles.
11
              1761. GM has received and retained unjust benefits from Plaintiff and the other members of
12
     the Class, and inequity has resulted.
13
              1762. It is inequitable and unconscionable for GM to retain these benefits.
14
              1763. Because GM concealed its fraud and deception, Plaintiff and the other members of the
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     Class were not aware of the true facts concerning the Class Vehicles and did not benefit from GM’s
16
     misconduct.
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              1764. GM knowingly accepted the unjust benefits of its wrongful conduct.
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              1765. As a result of GM’s misconduct, the amount of its unjust enrichment should be
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     disgorged and returned to Plaintiff and the other members of the Class in an amount to be proven at
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     trial.
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                                        VIII. REQUEST FOR RELIEF
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              WHEREFORE, Plaintiffs, individually and on behalf of the other members of the Nationwide
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     Class and the Statewide Classes they respectively seek to represent, respectfully request that the Court
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     enter judgment in their favor and against Defendant, General Motors LLC, as follows:
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              1.     Declaring that this action is a proper class action, certifying the Nationwide and
26
     Statewide Classes as requested herein, designating Plaintiffs as Nationwide and Statewide Class
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     Representatives, an appointing Plaintiffs’ attorneys as Class Counsel;
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                                    FIRST AMENDED CLASS ACTION COMPLAINT
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 1          2.     Enjoining GM from continuing the unfair business practices alleged in this Complaint;
 2          3.     Ordering GM to pay actual and statutory damages (including punitive damages) and
 3   restitution to Plaintiffs and the other Nationwide and Statewide Class members, as allowable by law;
 4          4.     Ordering GM to pay both pre- and post-judgment interest on any amounts awarded;
 5          5.     Ordering GM to pay attorneys’ fees and costs of suit; and
 6          6.     Ordering such other and further relief as may be just and proper.
 7                                            IX. JURY DEMAND
 8          Plaintiffs hereby demand a trial by jury on all issues so triable.
 9   DATED: February 27, 2017
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                                   FIRST AMENDED CLASS ACTION COMPLAINT
     Case 3:16-cv-07244-EMC Document 29 Filed 02/27/17 Page 232 of 234




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                        FIRST AMENDED CLASS ACTION COMPLAINT
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10                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
11                                    SAN FRANCISCO DIVISION
12
      MONTEVILLE SLOAN, JR., RAUL                  Case No.: 16-cv-07244-EMC
13    SIQUEIROS, JOSEPH BRANNAN, LARRY
      GOODWIN, TED EDGECOMB, MARC                  EXHIBIT A TO FIRST AMENDED CLASS
14    PERKINS, DONALD LUDINGTON, THOMAS            ACTION COMPLAINT: DECLARATION OF
      SHORTER, DERICK BRADFORD, GABRIEL            RAUL SIQUEIROS
15    DEL VALLE, KEVIN HANNEKEN, GAIL
16    LANNOM, BRADLEY K. ZIERKE, DAN
      MADSON, JAMES FAULKNER, JOSEPH
17    OLIVIER, SCOTT SMITH, ROSS DAHL,
      DREW PETERSON, MICHAEL WARE,
18    STEVE KITCHEN, JOHN NEUBAUER,
      BARBARA MOLINA, STEVEN EHRKE, BILL
19
      MAUCH, THOMAS GULLING, RONALD
20    JONES, MIKE WARPINSKI, JOHN
      GRAZIANO, JOSHUA BYRGE, RUDY
21    SANCHEZ, CHRISTOPHER THACKER,
      RANDY CLAUSEN, JAMES ROBERTSON,
22    and JONAS BEDNAREK, individually and on
23    behalf of all others similarly situated,

24          Plaintiffs,

25           v.
26
      GENERAL MOTORS LLC,
27
28
                          EXHIBIT A TO FIRST AMENDED CLASS ACTION COMPLAINT:
                                     DECLARATION OF RAUL SIQUEIROS
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